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                                UNITED STATES COURT OF APPEALS
                                   FOR THE FEDERAL CIRCUIT


MASIMO CORPORATION,                            )
                                               )
               Patent Owner/Appellant,         )               APPEAL NOS.: 2022-1631
                                               )                            2022-1632
                        v.                     )                            2022-1633
                                               )                            2022-1634
APPLE INC.,                                    )                            2022-1635
                                               )                            2022-1636
               Petitioner/Appellee.            )                            2022-1637
                                               )                            2022-1638
                                               )
PROCEEDING NOS.: IPR2020-01520                 )
IPR2020-01521, IPR2020-01536,                  )
IPR2020-01537, IPR2020-01538,                  )
IPR2020-01539, IPR2020-01714, and              )
IPR2020-01715                                  )

                              NOTICE FORWARDING CERTIFIED L ISTS

       Notices of Appeal to the United States Court of Appeals for the Federal Circuit were timely

filed on April 12, 2022 in the United States Patent and Trademark Office (“USPTO”) in connection

with the above identified Inter Partes Review proceedings. Pursuant to 35 U.S.C. § 143, certified lists

are this day being forwarded to the Federal Circuit.


                                               Respectfully submitted,


                                               KATHERINE K. VIDAL
                                               Under Secretary of Commerce for
                                               Intellectual Property and Director of the
                                               United States Patent and Trademark Office


Date: May 23, 2022                       By:   /s/ Mekbib Solomon
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                                               Paralegal Specialist
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              Case: 22-1638          Document: 4          Page: 2   Filed: 05/25/2022




                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing NOTICE

FORWARDING CERTIFIED L ISTS was served on counsel for the Appellant and Appellee, via

electronic mail, this 23rd day of May 2022, as follows:



             FOR PATENT O WNER:                                     FOR PETITIONER:

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 Jeremiah Helm                                        Ashley Bolt
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         Case: 22-1638       Document: 4         Page: 3    Filed: 05/25/2022




                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01520
                       United States Patent No.: 10,258,265 B1
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
         Case: 22-1638        Document: 4       Page: 4   Filed: 05/25/2022




      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01520
   DATE                                          DESCRIPTION
08/31/2020   Petition for Inter Partes Review
08/31/2020   Petitioner’s Power of Attorney
09/17/2020   Notice of Filing Date Accorded
09/21/2020   Patent Owner’s Mandatory Notices
11/04/2020   Petitioner’s Updated Exhibit List
12/17/2020   Patent Owner’s Notice of Waiver of Preliminary Response
03/02/2021   Decision - Institution of Inter Partes Review Proceeding
03/02/2021   Scheduling Order
03/16/2021   Patent Owner’s Objections to Evidence
04/08/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – Jeremiah Helm
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – William Zimmerman
04/16/2021   Patent Owner’s Updated Exhibit List
04/20/2021   Decision Granting Patent Owner’s Motions for Pro Hac Vice Admission
04/20/2021   Patent Owner’s Amended Notice of Deposition - Thomas W. Kenny
04/21/2021   Patent Owner’s Updated Mandatory Notice
04/21/2021   Patent Owner’s Supplemental Power of Attorney – W. Zimmerman and J. Helm
04/22/2021   Petitioner’s Motion to Submit Supplemental Information
05/06/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
05/14/2021   Petitioner’s Submission of Supplemental Information
05/28/2021   Patent Owner’s Response
06/07/2021   Petitioner’s Objections to Evidence
07/19/2021   Petitioner’s Notice of Deposition - Vijay K. Madisetti
08/20/2021   Petitioner’s Reply to Patent Owner’s Response
08/27/2021   Patent Owner’s Objections to Evidence
09/09/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
10/01/2021   Patent Owner’s Sur-Reply
10/08/2021   Petitioner’s Objections to Evidence
10/20/2021   Petitioner’s Request for Oral Hearing
10/22/2021   Patent Owner’s Request for Oral Argument
10/28/2021   Patent Owner’s Supplemental Mandatory Notices
11/01/2021   Order Setting Oral Argument
11/22/2021   Petitioner’s Identification of Testimony
12/03/2021   Petitioner’s Updated Exhibit List
12/03/2021   Patent Owner’s Demonstratives for Trial Hearing
01/06/2022   Oral Hearing Transcript
01/10/2022   Petitioner’s Updated Mandatory Notices
02/23/2022   Final Written Decision
04/12/2022   Notice of Appeal
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Trials@uspto.gov                                                 Paper 39
571-272-7822                                      Date: February 23, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________


                            APPLE INC.,
                             Petitioner,

                                  v.

                       MASIMO CORPORATION,
                            Patent Owner.
                           ____________

                           IPR2020-01520
                         Patent 10,258,265 B1

                            ____________


Before GEORGE R. HOSKINS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

HOSKINS, Administrative Patent Judge.


                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
         Case: 22-1638     Document: 4      Page: 6    Filed: 05/25/2022

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Patent 10,258,265 B1

                           I.     INTRODUCTION

      Apple Inc. (“Petitioner”) filed a Petition (Paper 2, “Pet.”) pursuant to
35 U.S.C. §§ 311–319 to institute an inter partes review of U.S. Patent
No. 10,258,265 B1 (“the ’265 patent”), claims 1–4, 6–14, and 16–30. We
instituted the petitioned review (Paper 7, “Institution Decision” or
“Inst. Dec.”).
      Masimo Corporation (“Patent Owner”) filed a Patent Owner Response
(Paper 21, “PO Resp.”) to oppose the Petition. Petitioner filed a Reply
(Paper 24, “Pet. Reply”) to the Patent Owner Response. Patent Owner filed
a Sur-reply (Paper 27, “Sur-reply”) to the Reply. With prior authorization
from the Board, Petitioner filed an Identification of Testimony (Paper 33) in
response to the Sur-reply. An oral hearing was held, for which the transcript
was entered into the record (Paper 37, “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b)(4) and § 318(a). This
Decision is a final written decision under 35 U.S.C. § 318(a) and 37 C.F.R.
§ 42.73 as to the patentability of claims 1–4, 6–14, and 16–30 of the
’265 patent. We determine Petitioner has shown by a preponderance of the
evidence that those claims are unpatentable.

                            II.    BACKGROUND

           A.    Real Parties-in-Interest and Related Proceedings
      Petitioner identifies itself as the sole real party-in-interest for
Petitioner. Pet. 104. Patent Owner identifies itself as the sole real
party-in-interest for Patent Owner. Paper 4, 1.
      The parties identify one district court litigation as related to this
proceeding: Masimo Corp. et al. v. Apple Inc., Civil Action No. 8:20-cv-


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00048 (C.D. Cal.). Pet. 105; Paper 4, 1. We are also aware of several other
IPR proceedings challenging other patents at issue in that litigation. See,
e.g., Pet. 105; Paper 4, 3.

                              B.    The ’265 Patent

      The ’265 patent concerns noninvasive devices for measuring blood
analytes such as glucose, or other physiological characteristics such as pulse
rate. See Ex. 1001, code (57), 2:20–30. Figures 3C and 3E are reproduced
below:




Figure 3C is a perspective view of sensor 301a, comprising upper emitter
shell 304a pivotably connected to lower detector shell 306a, to sandwich a
person’s finger between the shells. See id. at 5:52–55, 18:39–51. Figure 3E
is a perspective view of detector shell 306b of a different but similar
sensor 301b. See id. at 5:59–61, 22:21–40 (“The features described with

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respect to the detector shell 306b can also be used with the detector
shell 306a of the sensor 301a.”).
      Emitter shell 304a houses emitter components (not shown in
Figure 3C) such as LEDs, which emit light of different wavelengths, such as
visible light, near infrared light, or infrared light. See id. at 5:3–7, 12:3–12,
13:8–15, 18:40–42, 18:62–63.
      Detector shell 306a / 306b houses four photodetectors 316, one
underneath each window 320–323 within finger bed 310 formed on top of
the shell. See id. at 19:4–5, 19:13–16, 19:38–48. Finger bed 310 includes “a
tissue thickness adjustor or protrusion 305,” which may be removed and
interchanged with other protrusions 305 to correspond to different finger
characteristics. Id. at 19:29–37.
      Sensor 301a operates in the following manner. A person places
a finger on finger bed 310, and upper emitter shell 304a pivots toward lower
detector shell 306a / 306b to hold the finger in place, and to shield the
interior of sensor 301a from interference by ambient light. See id. at
16:52–64, 18:43–51, 18:66–19:20. Then, the emitters housed in emitter
shell 304a emit light of different wavelengths, to pass through the person’s
finger and into windows 320–323 within finger bed 310, to reach
photodetectors 316. See id. at 19:38–48. Photodetectors 316 capture and
measure the light, which has been attenuated by the person’s finger tissue,
and output responsive signals to a processor that uses the signals to derive a
physiological parameter of the person. See id. at 2:20–30, 10:30–39,
10:62–11:1, 14:11–19, 15:31–35, 18:39–42.
      Another detector subassembly is shown in Figure 14D, reproduced
below:


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Figure 14D shows detector subassembly 1450 including submount 1400c,
cylindrical housing 1430, transparent cover 1432 with protrusion 605b
disposed on it, and four detectors 1410c. See id. at 6:54–55, 36:38–47. The
light focusing properties provided by protrusion 605b advantageously reduce
the number of detectors, or rows of detectors, that are required. See id. at
35:56–36:10; see also id. at Fig. 14B, 36:11–30 (illustrating and describing
function of a “partially cylindrical protrusion 605 (or alternatively, the
protrusion 605b)” to focus light on detector(s) 1410b).

                      C.    The Claims of the ’265 Patent

        The ’265 patent lists thirty claims, including two independent claims,
claims 1 and 26. Ex. 1001, 44:65–47:20. We reproduce illustrative claim 1
here:




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         1. A noninvasive optical physiological measurement device
         adapted to be worn by a wearer, the noninvasive optical
         physiological measurement device providing an indication of a
         physiological parameter of the wearer comprising:
              a plurality of emitters of different wavelengths;
              a housing having a surface and a circular wall protruding
              from the surface;
              at least four detectors arranged on the surface and spaced
              apart from each other, the at least four detectors configured
              to output one or more signals responsive to light from the
              one or more light emitters attenuated by body tissue, the one
              or more signals indicative of a physiological parameter of
              the wearer; and
              a light permeable cover arranged above at least a portion of
              the housing, the light permeable cover comprising a
              protrusion arranged to cover the at least four detectors.

Id. at 44:66–45:15.

                       D.      Prior Art and Asserted Grounds

         Petitioner relies on the following eight prior art references. See
Pet. 1–3.

    Name           Reference                        Date            Exhibit No(s).

    Aizawa         US 2002/0188210 A1               Dec. 12, 2002   1006

    Beyer          US 7,031,728 B2                  Apr. 18, 2006   1019

    Goldsmith      US 2007/0093786 A1               Apr. 26, 2007   1027

    Inokawa        JP 2006-296564 A                 Nov. 2, 2006    1007 & 10081

    Lo             US 2004/0138568 A1               July 15, 2004   1028

1
  Exhibit 1007 is the reference, which was published in the Japanese
language, and Exhibit 1008 is a certified English language translation.

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    Name           Reference                        Date              Exhibit No(s).

    Mendelson Y. Mendelson, et al.,      Aug. 1988                    1015
    -1988     Design and Evaluation of a
              New Reflectance Pulse
              Oximeter Sensor, Medical
              Instrumentation, Vol. 22,
              No. 4, 167–173 (1988)

    Mendelson Y. Mendelson, et al.,                 Dec. 26, 20072 1016
    -2006     A Wearable Reflectance
              Pulse Oximeter for Remote
              Physiological Monitoring,
              Proceedings of the 28th
              IEEE EMBS Annual Int’l
              Conf., 912–915 (2006)

    Ohsaki         US 2001/0056243 A1               Dec. 27, 2001     1014

           Petitioner relies on the following eight grounds of unpatentability, all
under 35 U.S.C. § 103. See Pet. 1–2.

      Ground Claim(s) Challenged                            References

                  1–4, 6–14, 16, 17,
      1A                                     Aizawa, Inokawa
                  19–23, 26–29

                  1–4, 6–14, 16, 17,
      1B                                     Aizawa, Inokawa, Ohsaki
                  19–23, 26–29

      1C          23, 24                     Aizawa, Inokawa, Mendelson-2006

      1D          23, 24                     Aizawa, Inokawa, Goldsmith, Lo




2
  This date for Mendelson-2006 is taken from the Petition (page 3), as the
date when the reference “was first cataloged by Cornell University’s library”
(Ex. 1026 ¶¶ 11–14).

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   Ground Claim(s) Challenged                              References

                                            Aizawa, Inokawa,
   1E          25
                                            Mendelson-2006, Beyer

               1–4, 6–14, 16–22,
   2A                                       Mendelson-1988, Inokawa
               26–30

                                            Mendelson-1988, Inokawa,
   2B          23, 24
                                            Mendelson-2006

                                            Mendelson-1988, Inokawa,
   2C          25
                                            Mendelson-2006, Beyer


                          E.       Testimonial Evidence

        Petitioner relies on the declaration testimony of Thomas W. Kenny,
Ph.D. (Exhibits 1003 and 1047). Patent Owner relies on the declaration
testimony of Vijay K. Madisetti, Ph.D. (Exhibit 2004).

                                 III.     ANALYSIS
                            A.          Statement of Law

        Petitioner bears the burden of proving unpatentability of the
challenged claims, and the burden of persuasion never shifts to Patent
Owner. Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800 F.3d 1375,
1378 (Fed. Cir. 2015). Petitioner must prove unpatentability by a
preponderance of the evidence. See 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).
        A patent claim is unpatentable under 35 U.S.C. § 103 if the
differences between the claimed subject matter and the prior art are such that
the subject matter, as a whole, would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406

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(2007). The question of obviousness is resolved on the basis of underlying
factual determinations including: (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) objective evidence of
non-obviousness, if made available in the record.3 See Graham v. John
Deere Co., 383 U.S. 1, 17–18 (1966).

                    B.     Level of Ordinary Skill in the Art

        Petitioner contends a person having ordinary skill in the art pertaining
to the ’265 patent (“POSITA”) would have “a Bachelor of Science degree in
an academic discipline emphasizing the design of electrical, computer, or
software technologies, in combination with training or at least one to two
years of related work experience with capture and processing of data or
information.” Pet. 3–4; Ex. 1003 ¶¶ 21–22. “Alternatively, the person could
have also had a Master of Science degree in a relevant academic discipline
with less than a year of related work experience in the same discipline.”
Pet. 4; Ex. 1003 ¶ 21.
        Patent Owner “applies Petitioner’s level of skill.” PO Resp. 10;
Ex. 2004 ¶¶ 35–38. Patent Owner emphasizes that this level of skill requires
no specific education or experience “with optics or optical physiological
monitors” or “in physiology,” and instead “focuses on data processing and
not sensor design.” PO Resp. 10; Ex. 2004 ¶ 37.
        Petitioner’s POSITA formulation is reasonable based on the record
and the agreement of the parties. We also determine it is consistent with the



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    The parties have not produced any objective evidence of non-obviousness.

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’265 patent claims and the prior art of record. We adopt Petitioner’s
POSITA formulation in this Decision.

                          C.    Claim Construction
      We interpret the ’265 patent claims “using the same claim
construction standard that would be used to construe the claim in a civil
action under 35 U.S.C. 282(b).” 37 C.F.R. § 42.100(b). This “includ[es]
construing the claim in accordance with the ordinary and customary
meaning of such claim as understood by one of ordinary skill in the art and
the prosecution history pertaining to the patent.” Id.
      Petitioner asserts “no formal claim constructions are necessary in this
proceeding.” Pet. 3. Patent Owner construes one claim term, “cover,”
seeking to distinguish Mendelson-1988 from the claims. See PO Resp. 9,
50–51. We address that claim construction here.

                                1.    “cover”

      Independent claim 1 requires “a light permeable cover,” and
independent claim 26 requires “a cover . . . comprising a lens portion.”
Ex. 1001, 45:13–15, 46:58–60.
      Patent Owner argues the claimed “cover” must be construed to
exclude “an optically clear adhesive/epoxy” and a “resin on a surface.” PO
Resp. 50; Ex. 2004 ¶¶ 111–114. Patent Owner asserts “the ’265 Patent
distinguishes a resin on a surface from a cover, explaining: ‘the cylindrical
housing 1430 (and transparent cover 1432) . . . can protect the
detectors 1410c and conductors 1412c more effectively than currently-
available resin epoxies.” PO Resp. 50–51 (quoting Ex. 1001, 36:58–67).



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      Patent Owner alleges Dr. Kenny also “distinguished a sealing resin
from a cover, acknowledging a ‘layer of sealing resin’ is ‘one way to protect
the components without using a cover.’” Id. at 51 (quoting Ex. 2009,
395:22–396:17); Ex. 2004 ¶ 113. Patent Owner argues its construction is
consistent with the prior art. PO Resp. 51 (citing Ex. 1008 ¶ 103, Fig. 17;
Ex. 1012, 5:2–6, Fig. 2B; Ex. 1013 ¶ 32, Fig. 2; Ex. 1023 ¶ 35; Ex. 1027
¶ 85, Fig. 9B); Ex. 2004 ¶ 114.
      Petitioner replies that “there is nothing in the specification or the
prosecution history [of the ’265 patent] that would lead a POSITA to
conclude that ‘cover’ should be interpreted based on anything other than its
plain meaning.” Pet. Reply 27 (citing Thorner v. Sony Computer
Entertainment America LLC, 669 F.3d 1362, 1368 (Fed. Cir. 2012)). That
plain meaning, according to Petitioner, is that “a cover is merely ‘something
that protects, shelters, or guards.’” Id. (quoting Ex. 1050); Ex. 1047 ¶ 56.
Petitioner argues Patent Owner’s reliance on the ’265 patent specification
takes certain text out of context, and when this context is considered, it is
clear that “the epoxy resin to which the ’265 patent compares its cover is not
[an] epoxy cover . . . but rather epoxy that is applied to solder joints.” Pet.
Reply 28 (citing Ex. 1001, 36:58–67); Ex. 1047 ¶ 58.
      Petitioner accuses Patent Owner of mischaracterizing Dr. Kenny’s
testimony, because he “clarified that using a sealing resin is ‘a pretty
common way to protect electronic components.’” Pet. Reply 28 (citing
Ex. 2009, 395:22–396:17); Ex. 1047 ¶ 57. Further according to Petitioner,
“such extrinsic evidence would not justify departure from plain meaning
under Thorner.” Pet. Reply 28.




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      Patent Owner maintains in response that the ’265 patent specification
disclosure at issue “specifically distinguishes a ‘resin’ on a surface from a
‘cover,’” and Petitioner’s reading of this disclosure is not persuasive.
Sur-reply 22–23.
      Upon review of the foregoing, we disagree with Patent Owner’s
limiting construction of the term “cover” to exclude epoxy and resin. The
plain and ordinary meaning of the term does not support Patent Owner’s
construction. A “cover” ordinarily connotes “something that protects,
shelters, or guards.” Ex. 1050 (Merriam-Webster’s Collegiate Dictionary,
11th ed. (©2005)), 288. That plain and ordinary meaning is consistent with
the ’265 patent’s description of “flex circuit cover 360, which can be made
of plastic or another suitable material . . . [and] can cover and thereby protect
a flex circuit (not shown).” Ex. 1001, 23:17–26. It is also consistent with
the ’265 patent’s description and illustration of “transparent cover 1432” in
Figure 14D, which covers and protects detectors 1410c and
conductors 1412c, and which “can be fabricated from glass or plastic, among
other materials.” See id. at 36:38–67 (emphasis added), Figs. 14D–14E.
      Any special definition for a claim term must be set forth in the
specification with reasonable clarity, deliberateness, and precision, so as to
give notice of the inventor’s own lexicography. See Merck & Co. v. Teva
Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir. 2005); In re Paulsen,
30 F.3d 1475, 1480 (Fed. Cir. 1994). Similarly: “The patentee may
demonstrate an intent to deviate from the ordinary and accustomed meaning
of a claim term by including in the specification expressions of manifest
exclusion or restriction, representing a clear disavowal of claim scope.”




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Teleflex, Inc. v. Ficosa North America Corp., 299 F.3d 1313, 1325 (Fed. Cir.
2002) (citation omitted).
      Here, based on our review of the intrinsic evidence, no such special
definition or express disavowal of the term “cover” to exclude epoxy and
resin exists. Patent Owner relies on the following description of Figure 14D
in this regard:
      In certain embodiments, the cylindrical housing 1430 (and
      transparent cover 1432) forms an airtight or substantially
      airtight or hermetic seal with the submount 1400c. As a result,
      the cylindrical housing 1430 can protect the detectors 1410c
      and conductors 1412c from fluids and vapors that can cause
      corrosion. Advantageously, in certain embodiments, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c more effectively than currently-available
      resin epoxies, which are sometimes applied to solder joints
      between conductors and detectors.
Ex. 1001, 36:58–67 (emphases added). First, the sentence cited by Patent
Owner begins with the phrase “Advantageously, in certain embodiments,”
which indicates the claimed invention is open to other embodiments, so
there is no lexicography or disavowal here. Second, we agree with
Petitioner’s reading of this sentence as distinguishing the prior art from the
claimed invention based on the location of the material (being applied only
to solder joints between conductors and detectors in the prior art, as opposed
to covering the conductors and detectors in the invention) and not the type of
material. Third, at best for Patent Owner, the ’265 patent expresses a
preference for a cover to be made of glass or plastic, because such materials
provide “more effective[]” protection than resin epoxies that were known to
the inventors of the ’265 patent when it was filed. See id. at 36:50–67. But
even this reading recognizes that resin epoxies provide some amount of


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protection, albeit a lesser amount than glass or plastic, and therefore may in
some embodiments provide a cover.
         The prior art references cited by Patent Owner do not persuade us
otherwise. Patent Owner cites various descriptions of a “cover” in the prior
art, but they do not even identify a material for the cover, much less suggest
that a cover may not be made of epoxy or resin. See Ex. 1008 ¶ 103
(cover 123); Ex. 1012, 5:2–6 (cover plate 21); Ex. 1013 ¶ 32 (cover 200);
Ex. 1027 ¶ 85 (cover 960). Patent Owner cites another reference which
describes materials 30, 40 and 50 as formed of a “thermoplastic resin,” and
illustrates these materials as covering LED 22 and bonding wire 23, but does
not describe the materials as being a “cover.” Ex. 1023 ¶ 35, Fig. 6. This
does not mean a POSITA would fail to consider these materials as being a
“cover,” despite that this specific term was not used in the reference.
         Dr. Kenny’s deposition testimony cited by Patent Owner also does not
persuade us otherwise. Dr. Kenny testifies that “a layer of sealing resin”
“could” be used to protect the electronic components in a sensor (Ex. 2009,
395:22–396:8). He was then asked “So that would be one way to protect the
components without using a cover, correct?” to which he answered “There
are many ways to protect the elements other than using a cover” and
maintained his proposed combination of prior art has a “cover” to achieve
purposes other than protecting electronic components. Id. at 396:9–17. He
did not squarely testify that sealing resin could not ever be a cover.
         Thus, we do not construe the claimed “cover” to exclude epoxy and
resin.




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                          2.    Other Claim Terms

      Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is
needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.,
868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need to be
construed “only to the extent necessary to resolve the controversy” (quoting
Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir.
1999))).

           D.   Ground 1A — Obviousness over Aizawa and Inokawa

      In Ground 1A, Petitioner argues claims 1–4, 6–14, 16, 17, 19–23,
and 26–29 of the ’265 patent would have been obvious over Aizawa and
Inokawa. Pet. 1–2, 6–48. Patent Owner opposes. PO Resp. 11–40. We
conclude a preponderance of the evidence supports Petitioner’s assertions as
to all challenged claims. We begin our analysis with brief summaries of
Aizawa and Inokawa, then we address the parties’ contentions.

                          1.    Aizawa Disclosure
      Aizawa discloses a pulse rate detector comprising a sensor worn on a
user’s wrist. Ex. 1006, code (57). Figures 1(a) and 1(b) are reproduced
below:




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Figure 1(a) is a schematic underside view, and Figure 1(b) is a schematic
cross-sectional side view, of pulse rate detector 1 including pulse rate
sensor 2, and belt 7 to be wrapped around a user’s wrist 10. Id. ¶¶ 17, 23,
26. Sensor 2 includes LED 21 which emits near infrared light. Id. ¶¶ 23, 27.
The emitted light enters the user’s wrist 10 and reflects off red corpuscles in
artery 11. Id. ¶ 27. Some of the reflected light is received by four
photodetectors 22 arranged around LED 21. Id. ¶¶ 23, 27. Associated

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electronics 3, 4, and 24 gather and process signals from photodetectors 22 to
generate a pulse wave indicative of the user’s pulse, and transmit the pulse
wave to an unshown display for display to the user. Id.
      Detector 1 includes holder 23 to hold LED 21 and photodetectors 22
in place. Id. ¶ 23. Acrylic transparent plate 6 is disposed between holder 23
and the user’s wrist 10. Id. ¶¶ 23, 26, 30. “[B]elt 7 is fastened such that the
acrylic transparent plate 6 becomes close to the artery 11 of the wrist 10,”
and “[t]hereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶ 26. “Since the acrylic transparent plate 6 is provided on
the detection face 23a of the holder 23, adhesion between the pulse rate
detector 1 and the wrist 10 can be improved, thereby further improving the
detection efficiency of a pulse wave.” Id. ¶ 30.

                          2.     Inokawa Disclosure
      Inokawa discloses an optical vital sensor system worn on a user’s
wrist. See Ex. 1008, code (57), ¶ 56. Figures 1 and 2 are reproduced below:




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Figure 1 is a perspective view, and Figure 2 is a diagrammatic side view, of
“a pulse sensor 1 that is able to sense the pulse, etc. by being attached, for
example, to a person’s . . . wrist” via wristband 5. Id. ¶¶ 56–57, 119.
       Sensor unit 3 has green LED 21 and infrared LED 23, with a single
photodiode 25 to detect light emitted from both LEDs and reflected from the
user’s wrist, as shown by arrows in Figure 2. Id. ¶¶ 57–58. The “basic
function of . . . green LED 21 is to sense the pulse . . . while the . . . infrared
LED 23 serves to sense body motion.” Id. ¶ 59.
       Pulse sensor 1 includes lens 27, which “makes it possible to increase
the light-gathering ability of the LED as well as to protect the LED or
[photodiode 25].” Id. ¶¶ 15, 58.
       Pulse sensor 1 also uses LEDs 21 and 23 to download data to a base
station, as shown in Figure 3, reproduced below.




Figure 3 illustrates pulse sensor 1 mounted on base station 17. Id. ¶¶ 60, 66.
Vital sign information stored in sensor 1 is downloaded to base station 17,

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which forwards the information to a personal computer 59 (shown in
Figure 7). Id. ¶¶ 66–67. Specifically, this information is encoded into light
emitted by infrared LED 23 of sensor 1 and detected by photodetector 45 of
base station 17. Id. ¶¶ 66–67, 76. At the same time, green LED 21 may
transmit “checksum” information to another photodetector of base station 17
(as shown in Figure 19), to increase the accuracy of data transmission. Id.
¶ 14; see also id. ¶¶ 109–111 (describing how “the presence of two pairs of
light-emitting and light-receiving elements makes it possible to efficiently
transmit information”). Mounting sensor 1 on base station 17 further
permits sensor 1 to be electrically charged via terminals 19 and 39. Id.
¶¶ 60, 66, Fig. 7.
      “As a result” of this optical data communication from sensor 1 to base
station 17, “there is no need to use a special wireless communication circuit
or a communication cable as previously, which makes it possible to transmit
vital sign information to the base device 17 accurately, easily, and without
malfunction.” Id. ¶ 77; see also id. ¶¶ 3–7 (describing a “problem” in prior
art devices that require “a dedicated wireless communication circuit” to
“transmit data wirelessly,” which is overcome by Inokawa’s optical data
communication to a base station because the dedicated wireless
communication circuit is unnecessary).

                                3.    Claim 1

      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of contending claim 1 is unpatentable as having been
obvious over Aizawa and Inokawa. Pet. 6–29; Ex. 1003 ¶¶ 53–63, 73–99.




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Patent Owner provides arguments and evidence in opposition, including
testimony from Dr. Madisetti. PO Resp. 11–40; Ex. 2004 ¶¶ 34, 39–88.

                   a)     Comparing Claim 1 with Aizawa
      Petitioner contends Aizawa’s pulse rate detector 1 exhibits each and
every limitation of claim 1, except that it has only one emitter (i.e., LED 21)
of near infrared light instead of the claimed “plurality of emitters of different
wavelengths,” and its light permeable cover (i.e., acrylic transparent plate 6)
lacks the claimed “protrusion.” See Pet. 6–9, 22–29; Ex. 1003 ¶¶ 53–58,
73–99. Patent Owner does not challenge Petitioner’s contentions in this
regard. We determine these contentions are supported by a preponderance
of the evidence, as follows.
      As pertinent to the undisputed limitations of claim 1, we find
Aizawa’s detector 1 is a noninvasive optical measurement device adapted to
be worn on a user’s wrist, to provide an indication of a physiological
parameter of the user (i.e., pulse wave).4 See Ex. 1006, Fig. 2, ¶¶ 2, 26;
Pet. 22–23; Ex. 1003 ¶ 73. We find Aizawa’s detector 1 has a single emitter
(i.e., LED 21) of one wavelength (i.e., near infrared light). See Ex. 1006,
Figs. 1(a)–1(b), ¶¶ 23, 27; Pet. 6–7, 23–24; Ex. 1003 ¶¶ 53–54, 74. We find
Aizawa’s detector 1 includes a housing having a surface and a circular wall
protruding from the surface. See Ex. 1006, Figs. 1(a)–1(b) & 2, ¶¶ 23–24;
Ex. 1003 ¶¶ 87–88. In particular, Petitioner annotates Aizawa’s Figures to
identify the “Housing” in red, the “Surface” in brown, and the “Circular
wall” in purple. See Pet. 24–25; Ex. 1003 ¶¶ 87–88.


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  Whether the preamble is limiting need not be resolved, because the
recitation in the preamble is satisfied by the prior art.

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      We find Aizawa’s detector 1 further includes four detectors (i.e.,
photodetectors 22) arranged on the housing’s surface and spaced apart from
each other, symmetrically on a circle centered on LED 21. See Ex. 1006,
Figs. 1(a)–1(b), ¶¶ 24, 29, 32; Pet. 25–27; Ex. 1003 ¶¶ 89–90. We find
Aizawa’s photodetectors 22 are configured to output signals responsive to
light emitted from LED 21 and attenuated by the user’s body tissue, and the
signals are indicative of the user’s pulse wave. See Ex. 1006 ¶¶ 23, 27, 28;
Pet. 27; Ex. 1003 ¶ 91.
      We find Aizawa’s detector 1 has a light permeable cover (i.e., plate 6)
mounted at detection face 23a of holder 23, to cover four photodetectors 22.
See Ex. 1006, Fig. 1(b), ¶ 23; Pet. 28–29; Ex. 1003 ¶¶ 92–93.

                   b)     Comparing Claim 1 with Inokawa
      Petitioner contends Inokawa’s pulse sensor 1 is a noninvasive optical
measurement device having two emitters (i.e., LEDs 21 and 23) of different
wavelengths, and a light permeable cover (i.e., lens 27) comprising a
protrusion arranged to cover its light detector (i.e., detector 25). See
Pet. 9–11; Ex. 1003 ¶¶ 59–63, 73–99. Patent Owner does not challenge
Petitioner’s contentions in this regard. We determine these contentions are
supported by a preponderance of the evidence, as follows.
      As pertinent to the undisputed limitations of claim 1, we find
Inokawa’s pulse sensor 1 is a noninvasive optical measurement device
adapted to be worn on a user’s wrist, to provide an indication of two
physiological parameters of the user (i.e., pulse and body motion). See
Ex. 1008, Figs. 1 & 2, ¶¶ 14, 56–59; Pet. 9–10; Ex. 1003 ¶¶ 59–60. We find
this is accomplished using light from green LED 21 to monitor the user’s



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pulse, and using light from infrared LED 23 to monitor the user’s motion,
both using detector 25. See Ex. 1008, Fig. 2, ¶¶ 14, 58–59; Pet. 10; Ex. 1003
¶ 60.
        We find Inokawa’s pulse sensor 1 also has a light permeable cover
(i.e., lens 27), which according to Inokawa “makes it possible to increase the
light-gathering ability of the LED as well as to protect the LED or
[photodiode 25].” Ex. 1008, Fig. 2, ¶¶ 15, 58; Pet. 10; Ex. 1003 ¶ 61. We
find lens 27 comprises a protrusion that covers the device’s detector 25.
Ex. 1008, Fig. 2; Pet. 10–11; Ex. 1003 ¶¶ 61, 95–96.

            c)     Obviousness of Combining Aizawa and Inokawa
        Petitioner contends a POSITA would have been motivated to modify
Aizawa’s pulse rate detector 1, in light of Inokawa’s disclosures, by:
(1) adding a second emitter to emit light of a different wavelength, so that
Aizawa’s detector 1 can monitor the user’s body motion for improved pulse
detection, and so that detector 1 can transmit information more reliably to a
base device with less error; and (2) adding a protrusion to Aizawa’s cover 6
to improve the sensor’s light detection efficiency. See Pet. 13–22. Patent
Owner opposes these contentions, and argues a person of ordinary skill in
the art would not have had a reasonable expectation of success, among other
things. See PO Resp. 15–40. We consider each modification in turn.

             (1)    Plurality of Emitters of Different Wavelengths

                         (i)      Petitioner’s Contentions
        Petitioner asserts that, “[w]hile Aizawa contemplates the use of
multiple emitters, Aizawa never specifically identifies the use of multiple
emitters operating at different wavelengths in conjunction with multiple

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detectors.” Pet. 17 (citing Ex. 1006 ¶ 33); Ex. 1003 ¶ 74. Inokawa, in
Petitioner’s view, discloses using an infrared LED “to detect vital signs and
transmit vital sign information,” and a separate green LED “to detect pulse.”
Pet. 17 (citing Ex. 1008 ¶¶ 14, 44, 58–59); Ex. 1003 ¶ 75.
      Petitioner asserts a POSITA “would have recognized Inokawa’s use
of two different emitters operating at different wavelengths as a desirable
configuration that would reap similar benefits for Aizawa.” Pet. 17;
Ex. 1003 ¶ 76. Specifically: “A POSITA would have recognized, in view of
Inokawa, that providing an additional emitter to Aizawa would allow
Aizawa’s device to use its existing infrared LED to detect body motion
while using the added green LED to detect pulse.” Pet. 17–18 (citing
Ex. 1008 ¶ 59), 23–24; Ex. 1003 ¶¶ 76–79. Dr. Kenny concludes “[t]he
added ability to measure body movement in this manner will allow for a
more reliable measurement that can, for instance, take into account and
correct for inaccurate readings related to body movement,” because “the
signal component corresponding to body movement can be subtracted from
the pulse signal to help better isolate the desired pulse data.” Ex. 1003 ¶ 77
(citing Exhibit 1010, 8:45–50); Pet. 18.
      Petitioner provides the following illustrations to portray the proposed
modification of Aizawa’s pulse rate detector 1. See Pet. 18; Ex. 1003 ¶ 77.




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At the left, Petitioner has annotated Aizawa’s Figure 1(b), to identify
Aizawa’s pre-existing single near infrared emitter 21 (colored green) in
relation to two of Aizawa’s four detectors 22 (colored red). See Pet. 18–19.
At the right, Petitioner has shown the proposed modification, which would
include two different emitters (colored green and purple), operating at two
different wavelengths. See id.
      As a second and independent motivation “for improving Aizawa by
adding a second LED/emitter,” Petitioner contends “Aizawa contemplates
uploading data to a base device yet is silent about how such data
transmission would be implemented, instead leaving such implementation
details to the POSITA.” Pet. 19–20 (citing Ex. 1006 ¶¶ 15, 23, 35);
Ex. 1003 ¶ 80. Inokawa, in Petitioner’s view, discloses how a wrist-worn
pulse sensor 1 can transmit data to base device 17 using infrared LED 23,
which advantageously means “it is not necessary to use a wireless
communication circuit or to establish connections via communication cable,
which makes it possible to easily transmit vital sign information with few
malfunctions and with a simple structure.” Pet. 19–21 (quoting Ex. 1008
¶ 7, and citing id. at Fig. 3, ¶ 60); Ex. 1003 ¶¶ 81–82.
      Petitioner further concludes: “A POSITA would have been motivated
and found it obvious and straightforward to incorporate Inokawa’s base
device and LED-based data transmission into Aizawa to, for instance,
‘make[] it possible to transmit vital sign information to the base device 17
accurately, easily, and without malfunction.’” Pet. 20–21 (quoting Ex. 1008
¶ 77); id. at 23–24; Ex. 1003 ¶¶ 83–84. In particular, according to
Petitioner, Inokawa “teaches that using two LEDs further helps improve data
transmission accuracy by using the second LED, such as green LED, to


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transmit checksum information such that ‘the accuracy of data can be
increased.’” Pet. 21 (citing Ex. 1008, Fig. 19, ¶¶ 44, 48, 111); Ex. 1003
¶ 83. In Petitioner’s view, this provides motivation “to supplement
Aizawa’s IR LED/emitter with a green LED/emitter to, as per Inokawa,
improve accuracy of data transmission from its sensor.” Pet. 21–22;
Ex. 1003 ¶ 84.

                      (ii)    Patent Owner’s Contentions

      Patent Owner argues Petitioner’s case for the obviousness of
modifying Aizawa to have two emitters of different wavelengths is not
supported by the evidence of record. See PO Resp. 11–13, 34–40;
Sur-reply 15–17.
      Patent Owner firstly contends the combination of Aizawa and
Inokawa does not result in the claimed invention, which requires a
“plurality” of emitters and “at least four” detectors. PO Resp. 34. Patent
Owner correctly points out that neither Aizawa nor Inokawa discloses a
device meeting both of those claim requirements, because Aizawa’s
embodiments have either a single emitter and multiple detectors (e.g.,
Ex. 1006, Fig. 1(a)) or multiple emitters and a single detector (e.g., id. ¶ 33),
and Inokawa discloses multiple emitters and a single detector (e.g.,
Ex. 1008, Fig. 2). See PO Resp. 11–13, 34–36 (citing Ex. 1006, code (57),
¶¶ 33, 26–27, Figs. 1, 2, 4, & 5; Ex. 1008 ¶ 58, Fig. 2); Ex. 2004 ¶¶ 40–43,
79–80. Patent Owner concludes, therefore, that a POSITA seeking to
improve upon Aizawa’s device to incorporate two emitters would be limited
to “positioning multiple LEDs around a single detector” based on the
combined disclosures of Aizawa and Inokawa. PO Resp. 35; Ex. 2004



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¶¶ 81–83. Patent Owner argues Dr. Kenny’s testimony in this regard
“conflicts with the references themselves” and so “is not credible.”
PO Resp. 35–36 (citing Ex. 1003 ¶¶ 55, 77).
      Patent Owner secondly contends the evidence does not support either
of Petitioner’s two proffered motivations for modifying Aizawa to have two
emitters of different wavelengths. As to the first motivation of adding the
capability to measure body movement using a second emitter to correct for
inaccurate pulse readings, Patent Owner asserts Dr. Kenny erroneously
testifies that Aizawa cannot do this with its single emitter. PO Resp. 36
(citing Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10); Ex. 2004 ¶ 84. This is
because Aizawa states its pulse rate detector comprises “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶ 15;
PO Resp. 36; Ex. 2004 ¶ 84.
      As to Petitioner’s second motivation of enabling Aizawa to transmit
data to a base device using an optical communication link, Patent Owner
asserts “Aizawa already includes a wireless transmitter . . . so Aizawa does
not need to incorporate Inokawa’s base device [optical] data transmission
arrangement.” PO Resp. 36–37 (citing Ex. 1006 ¶¶ 23, 28, 35); Ex. 2004
¶¶ 85–86. Indeed, Patent Owner argues “Dr. Kenny acknowledged Aizawa
does not indicate there are any problems with Aizawa’s form of data
transmission.” PO Resp. 37 (citing Ex. 2007, 409:13–410:2). Patent Owner
further contends “Aizawa’s goal is to address problems associated with
real-time measurement of heart rate,” where Patent Owner argues the
proposed combination would “eliminate[] the ability to take and display
real-time measurements, one of Aizawa’s stated goals.” PO Resp. 37–39
(citing Ex. 1006 ¶¶ 4, 15; Ex. 1003 ¶ 101; Ex. 2007, 402:6–11, 405:2–7,


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416:5–15; Ex. 2009, 393:6–14; Ex. 2011 ¶ 69 [sic 75]); Tr. 43:7–21 (also
citing Ex. 1006 ¶ 6); Ex. 2004 ¶ 86. Patent Owner insists Inokawa does not
aid Petitioner’s case, because Inokawa discloses the benefits of using a
second emitter in only two situations, to improve over a “cable”
communication or “to avoid the use of a ‘dedicated wireless communication
circuit,’” whereas “Aizawa already uses wireless transmission.” PO
Resp. 38 (citing Ex. 1008 ¶ 4); Ex. 2004 ¶ 87.
      Patent Owner accuses Petitioner and Dr. Kenny of overlooking further
complications that would ensue from modifying Aizawa to have two
emitters of different wavelengths. Patent Owner contends this would further
increase power consumption and cost. See PO Resp. 38 (citing Ex. 2009,
381:18–382:8, 383:22–385:9, 390:5–392:3); Ex. 2004 ¶ 88. Further
according to Patent Owner, Dr. Kenny overlooks how placing “two LEDs in
close proximity may cause thermal interference that could create significant
issues for sensor performance,” and would require “structural changes” to
Aizawa’s configuration. PO Resp. 39–40 (citing Ex. 2012, 59–60; Ex. 2007,
379:17–21, 384:16–388:16, 389:17–390:20, 394:11–395:22); Ex. 2004 ¶ 88.

                          (iii)   Petitioner’s Reply

      Concerning Petitioner’s first motivation, and in response to Patent
Owner’s reliance on Aizawa’s disclosure of “a device for computing the
amount of motion load from the pulse rate” (Ex. 1006 ¶ 15), Petitioner
asserts Patent Owner “fails to explain—and Aizawa itself is certainly
silent—regarding how Aizawa senses and computes motion load.” Pet.
Reply 21; Ex. 1047 ¶ 46. Petitioner also contends Aizawa “is silent on
whether it uses the computed motion load to improve the detection signal”



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and thereby provide a “more reliable” pulse reading, which is Petitioner’s
asserted improvement to Aizawa. Id. (emphases added) (citing Pet. 17;
Ex. 1003 ¶ 77; Ex. 2007, 401:11–402:4); Ex. 1047 ¶¶ 46–47.
      Concerning Petitioner’s second motivation, Petitioner maintains that
Inokawa’s use of two emitters having different wavelengths to upload data
to a base station using optical communication advantageously improves the
accuracy of the transmission by providing checksum information. Pet.
Reply 22–23 (citing Pet. 20–21; Ex. 1003 ¶ 83; Ex. 1008 ¶¶ 11, 44, 48;
Ex. 2007, 407:7–408:20, 416:5–15); Ex. 1047 ¶ 48.
      As to the “other complications” that Patent Owner alleges would
result from the proposed modification, Petitioner asserts “such minor issues
are ‘part of what [a POSITA] would bring . . . to the problem and would
know how to make the changes needed.’” Pet. Reply 23 (quoting Ex. 2007,
384:8–388:12); Ex. 1047 ¶ 49.

                        (iv)   Patent Owner’s Sur-reply
      Concerning Petitioner’s first motivation, Patent Owner asserts
Inokawa’s disclosure is just as sparse as Aizawa’s disclosure regarding how
to use optical data to measure body movement. Sur-reply 15 (citing
Ex. 1008 ¶ 59). Patent Owner also asserts “Petitioner cites nothing in
Inokawa that suggests” Inokawa’s two emitter data gathering is more
reliable or otherwise superior to Aizawa’s single emitter data gathering. Id.
at 15–16.
      Patent Owner also faults Petitioner for not specifying how a POSITA
would have solved the alleged “additional cost, energy use, and thermal




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problems” that would ensue from using two emitters in the Aizawa device.
Id. at 17.

                         (v)      Analysis and Conclusion
       Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that a POSITA would have been
motivated to replace Aizawa’s single near infrared LED 21, with an infrared
LED and a green LED, in light of Inokawa, with a reasonable expectation of
success.
       First, a POSITA would have been motivated to make this replacement
to improve the pulse measurements recorded by Aizawa’s detector 1.
Inokawa teaches that the infrared LED’s signal can be used “to detect vital
signs” such as “body motion,” and the green LED’s signal can be “used to
detect pulse.” Ex. 1008, Fig. 2, ¶¶ 14, 58–59; Ex. 1003 ¶¶ 60, 75–77;
Ex. 1047 ¶¶ 45–47.
       Patent Owner correctly points out that Aizawa describes its
single-emitter detector 1 as transmitting its pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only disclosure in Aizawa cited by Patent
Owner as relating to computing a motion characteristic of the user. Further,
we are unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear exactly what Aizawa proposes to do with the
computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 46
(“Aizawa does not even say whether it uses the computed motion load to



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improve the detection signal[.]”). Aizawa does, however, describe the
motion load as being computed “from the pulse rate,” rather than being an
input to the pulse rate calculation. Ex. 1006 ¶¶ 15, 35.
      Dr. Kenny, when asked whether it was his understanding that
“Aizawa’s sensor could not account for motion load?”, answered that
“Aizawa’s sensor attempts to prevent motion load rather than account for it.”
Ex. 2007, 400:7–11. He explained that, because Aizawa uses only a single
emitter with a single wavelength, “what [Aizawa] sees as a signal would be
some mixture of pulse rate and motion load if there was no effort to prevent
motion load,” so Aizawa seeks to solve the problem of “prevent[ing] motion
load from corrupting the pulse rate signal.” Id. at 400:12–401:10.
Dr. Kenny did not further explain this distinction between preventing and
accounting for motion load, in his deposition testimony cited by the parties
as relating to this issue. Id. at 400:7–402:4. We do not rely on this
distinction as a basis for our present decision, because we find no express
support for it in Aizawa’s disclosure (see Ex. 1006 ¶¶ 15, 28, 35), and it is
not explained in persuasive detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a
POSITA, upon reviewing Inokawa’ s disclosure of using two emitters of
different wavelengths to calculate a user’s pulse and motion separately,
would understand that these two separate measurements would enable the
device to calculate a “more reliable” pulse rate “that can . . . take into
account and correct for inaccurate [pulse] readings related to body
movement,” by subtracting the signal component corresponding to body
movement from the pulse signal “to help better isolate the desired pulse
data.” Ex. 1003 ¶ 77; Ex. 1047 ¶ 46. Aizawa does not disclose using the


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computed motion load in this specific fashion, so it appears that this would
improve upon the accuracy of Aizawa’s pulse measurements, by using the
computed motion load. See Ex. 1006 ¶¶ 15, 28, 35.
      Dr. Madisetti also offers no meaningful opposing testimony in this
regard. See, e.g., Ex. 2004 ¶ 84. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of
adding the bare ability to measure body movement to Aizawa. See id. In
fact, Dr. Kenny further testified that it would have been beneficial to use the
measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶ 77. Dr. Madisetti does not address that testimony. See
Ex. 2004 ¶ 84.
      Dr. Kenny cites Exhibit 1010 in support of his motivation testimony
in this regard. See Ex. 1003 ¶ 77 (citing Ex. 1010, 8:45–50). However, as
we stated in the Institution Decision, “the cited passage [of Exhibit 1010]
appears to discuss only a single light emitting element, so it provides very
little (if any) support for the testimony in paragraph 77 of Dr. Kenny’s
Declaration [Ex. 1003 ¶ 77].” Inst. Dec. 17 n.5. Patent Owner notes this in
the Sur-reply (at pages 16–17), but neither Dr. Kenny nor Dr. Madisetti
further addresses whether or how Exhibit 1010 might bear upon Dr. Kenny’s
testimony in paragraph 77 of his declaration.
      Nonetheless, because Dr. Madisetti’s testimony sets up a straw man to
attack, rather than directly addressing the entirety of Dr. Kenny’s testimony
in this regard, Dr. Kenny’s testimony stands unrebutted in the record before
us. Dr. Kenny’s testimony also makes intuitive sense that measuring the
user’s motion separately from the user’s pulse, for example by using two
interrogating emitters of two different wavelengths, would provide a reliable


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means of correcting the pulse data for motion artifacts by using the
separately measured motion data, rather than by trying to segregate these
two components in the single data stream provided by Aizawa’s single
emitter device. See, e.g., Ex. 1047 ¶ 47. We, therefore, are persuaded by
Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.
      Also, and independently, a POSITA would have been motivated to
replace Aizawa’s single near infrared LED 21, with an infrared LED and a
green LED, to provide a reliable method of uploading pulse data stored by
Aizawa’s wrist-worn pulse rate detector 1 to another device for display to
the user. Inokawa expressly touts such optically-based uploading of data
from Inokawa’s wrist-worn sensor 1 to Inokawa’s base station 17 as a
benefit of incorporating two emitters in sensor 1. See Ex. 1008, Figs. 3
& 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa identifies two specific benefits
of this optically-based data communication means. First, the infrared LED
can transmit the pulse data, and the green LED can separately transmit
“checksum” information to increase the accuracy of data transmission. Id. at
Fig. 19, ¶¶ 14, 109–111. Second, using light emitters in this fashion to
perform two functions (data collection by emitting light into the user’s wrist,
and data transmission by emitting light to photodetectors in a base station)
obviates the need for providing “a special wireless communication circuit [in
the wrist-worn sensor 1] or a communication cable.” Id. ¶¶ 3–7, 76–77.
      Patent Owner points out correctly that Aizawa already has a
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. However, Aizawa’s Figure 1(b)


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illustrates transmitter 4 only as an empty box contained within outer
casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to another
device. See id.
      Patent Owner contends, and Dr. Madisetti and Dr. Kenny both testify,
that Aizawa’s transmitter 4 is a “wireless” transmitter. See, e.g.,
PO Resp. 37; Ex. 2004 ¶¶ 86–87; Ex. 2007, 403:17–22, 414:19–21. They all
appear to equate “wireless” communication to radio frequency
communication, and not to include optical communication, even though both
radio frequency and optical communication do not use a wire. See, e.g.,
PO Resp. 37; Ex. 2004 ¶¶ 86–87. Petitioner disagrees that Aizawa discloses
any specific form of data transmission, including wireless transmission. See
Tr. 71:5–72:3 (“[T]he transmitter disclosure in Aizawa, they don’t say its’s a
wireless transmitter. That was a conjuration by [Patent Owner]. They don’t
specify whether it’s a wired or wireless.”). We assume, for this Decision,
that Aizawa expressly contemplates radio frequency communication as one
embodiment by which transmitter 4 may transmit data to devices other than
detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert Aizawa’s “goal” is to
measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., Ex. 2004 ¶¶ 86–87. We find Aizawa does
not support this assertion. Instead, Aizawa discusses prior art devices that
“estimat[e] a burden on the heart of a person who takes exercise by real-time
measuring his/her heart rate at the time of exercise” (Ex. 1006 ¶ 4 (emphasis


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added)), and then describes Aizawa’s detector 1 as having a transmitter for
transmitting the measured pulse rate data to another device for display (id.
¶ 15). Aizawa also refers to “noise caused by the shaking of the body of the
subject” as a problem to be addressed (id. ¶ 6), but this problem occurs
regardless of whether the shaking results from exercise or the normal
movement of the user’s wrist over the course of the day. Thus, Aizawa does
not tout, as an important feature of Aizawa’s invention, the real time display
of pulse rate data during exercise, regardless of whether the data gathered by
Aizawa’s wrist-worn detector 1 is transmitted wirelessly or otherwise. Id.
¶¶ 4, 6, 15.
      No doubt, a POSITA would have viewed the capability of a
wrist-worn pulse detector to transmit its pulse data to another device for
display in real time while the user is exercising to be a desirable feature in
some cases, even if this is not one of Aizawa’s specific goals. See, e.g.,
Ex. 2011 ¶ 75 (Dr. Kenny stating: “By wirelessly transmitting the collected
data wirelessly, Mendelson 2006’s system provides ‘numerous
advantages,’ . . . .”); Ex. 2009, 393:6–14 (Dr. Kenny agreeing that a
POSITA “would have seen the ability to wirelessly transmit collected data as
an advantage”). Nonetheless, Inokawa expressly discloses that, in other
cases, the benefits achieved thereby can be outweighed by obviating the
need for the wrist-worn sensor to include a special wireless communication
circuit. See Ex. 1008 ¶¶ 3–7, 76–77. We therefore conclude Petitioner’s
case for obviousness in this regard is supported by a preponderance of the
evidence. See, e.g., In re Urbanski, 809 F.3d 1237, 1243–44 (Fed. Cir.
2016) (persons of ordinary skill in the art may be motivated to pursue




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desirable properties of one prior art reference, even at the expense of
foregoing a benefit taught by another prior art reference).
      We are not persuaded by Patent Owner’s argument that Petitioner’s
case for obviousness is deficient on the basis that neither Aizawa nor
Inokawa expressly discloses a wrist-worn sensor device that has both a
plurality of emitters and at least four detectors, as claim 1 recites.
Obviousness does not require “‘some motivation or suggestion to combine
the prior art teachings’ [to] be found in the prior art.” KSR, 550 U.S. at 407,
415–418. Nor does it require the bodily incorporation of Inokawa’s device
into Aizawa’s device. See, e.g., In re Keller, 642 F.2d 413, 425
(CCPA 1981) (test for obviousness is not whether the features of one
reference may be bodily incorporated into the structure of the other
reference, but rather is “what the combined teachings of the references
would have suggested to those of ordinary skill in the art”); see also In re
Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir. 1986) (nonobviousness is not
established by attacking references individually when unpatentability is
predicated upon a combination of prior art disclosures). Instead, “[a] person
of ordinary skill is also a person of ordinary creativity, not an automaton,”
and “in many cases a person of ordinary skill will be able to fit the teachings
of multiple patents together like pieces of a puzzle.” KSR, 550 U.S.
at 420–421.
      In this case, a POSITA would have been motivated to modify
Aizawa’s wrist-worn detector 1 to replace its single near infrared LED 21
with an infrared LED and a green LED, based on Inokawa, and for all the
reasons provided above. A POSITA would additionally have known to keep
all four detectors 22 that are already present in Aizawa’s detector 1, so that


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“[e]ven when the attachment position of the sensor is dislocated, a pulse
wave can be detected accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9,
27. In short, the combination of Aizawa and Inokawa teaches that having
multiple emitters is beneficial, and having multiple detectors is beneficial,
for different and not inconsistent reasons.
      Finally, we agree with Petitioner’s position that the thermal
interference and power consumption issues that will arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of POSITA to solve. We credit Dr. Kenny’s
testimony in this regard. See Ex. 1003 ¶¶ 74–78, 85; Ex. 1047 ¶ 49. For
example, Dr. Kenny acknowledges this modification of Aizawa may
possibly “lead to increased power consumption,” but nonetheless concludes
“a POSITA would have known how to make the changes needed, for
example concerning circuitry, to add another LED,” because “Aizawa
already contemplates adding additional emitters.” Ex. 1003 ¶¶ 77–78 (citing
Ex. 2006 ¶ 32 (sic ¶ 33)). Dr. Kenny further testifies that this modification
“amount[s] to nothing more than the use of a known technique [i.e.,
Inokawa’s use of two emitters in a wrist-worn pulse detector] to improve
similar devices [i.e., Aizawa’s wrist-worn pulse detector] in the same way,
and combining prior art elements according to known methods to yield
predictable results.” Id. ¶¶ 79, 85 (citing Ex. 1015, 168, Fig. 2A).
      Patent Owner cites several portions of Dr. Kenny’s deposition
testimony that, in Patent Owner’s view, indicate Dr. Kenny fails to
appreciate the significance of the thermal effects, optical interference
complications, and power consumption needs, that are posed by adding a
second emitter to Aizawa’s device, and fails to explain how these issues


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would have been overcome. See PO Resp. 38, 39–40 (citing Ex. 2007,
379:17–21, 384:8–388:16, 389:17–390:20, 394:11–395:22; Ex. 2009,
381:18–382:8, 383:22–385:9, 390:5–392:3). We have reviewed this
deposition testimony, and we conclude Patent Owner overstates its
significance. It establishes, at most, that Dr. Kenny did not expressly
address these issues in his declaration (Exhibit 1003), but Dr. Kenny’s
opinion is that these issues would have been within the capability of a
POSITA to resolve. Based on the evidentiary record presented to us, we
agree with Dr. Kenny’s opinion. For example, Inokawa discloses a
wrist-worn pulse sensor 1 having two emitters 21 and 23 in close proximity
to each other, and Mendelson-1988 discloses an “optical sensor of a pulse
oximeter [that] consists of a red and an infrared light emitting diode[s]” as
0.3 x. 0.3 millimeter chips disposed within a few millimeters of each other.
See Ex. 1008, Figs. 1–2; Ex. 1015, 168, Figs. 2A–2C.
        Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how the issues that
arise from adding a second emitter to Aizawa would have been solved;
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult to solve in the context of Aizawa’s device or
wrist-worn pulse sensing devices in general. See Ex. 2004 ¶ 88. For
example, Dr. Madisetti cites Exhibit 20125 as “discussing power and thermal
considerations,” and cites the ’265 patent as disclosing “using a thermistor
and heat sinks and adjusting for temperature drift in the measurements.”
Ex. 2004 ¶ 88 (citing Ex. 2012, 59–60; Ex. 1001, 29:22–24). But,



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    Design of Pulse Oximeters (J.G. Webster ed., 1997).

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Dr. Madisetti does not explain why these issues would have been difficult to
overcome. See id. Indeed, Exhibit 2012 discusses power consumption and
heat generation of LED emitters in portable units as routine design
considerations, rather than difficult problems. See Ex. 2012, 59–60. The
’265 patent is to a similar effect. See Ex. 1001, Fig. 11A, 29:16–42.
      Thus, we conclude a POSITA would have been motivated to replace
Aizawa’s single near infrared LED 21, with an infrared LED and a green
LED, and would have had a reasonable expectation of success in doing so.

                    (2)       Cover Comprising Protrusion
                        (i)      Petitioner’s Contentions

      Petitioner asserts that, although Aizawa indicates its transparent
plate 6 helps to improve detection efficiency, “Aizawa does not provide
much other detail” regarding plate 6, “for instance regarding its shape.”6
Pet. 13, 28 (citing Ex. 1006 ¶ 30). Petitioner contends a POSITA
nonetheless would have known how to give plate 6 a shape to improve
detection efficiency. Id. (citing Ex. 1006 ¶¶ 13, 30, 32); Ex. 1003 ¶¶ 92–94.
      According to Petitioner: “A POSITA would have looked to Inokawa
to enhance light collection efficiency” in Aizawa’s plate 6, for example by
“includ[ing] a convex protrusion that acts as a lens” like Inokawa’s lens 27.
Pet. 14, 28–29 (citing Ex. 1008, Fig. 2); Ex. 1003 ¶¶ 95–97. Petitioner cites
Inokawa’s description of lens 27 as “mak[ing] it possible to increase the
light-gathering ability of the LED.” Pet. 14 (quoting Ex. 1008 ¶ 15);


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   Petitioner overstates the paucity of Aizawa’s disclosure here. Aizawa
illustrates plate 6 as having a flat surface, which Dr. Kenny notes in his
testimony. See Ex. 1006, Fig. 1(b); Ex. 1003 ¶¶ 93–94, 97.

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Ex. 1003 ¶ 96. In particular, Dr. Kenny testifies a POSITA would have
known that adding a convex protrusion to Aizawa’s plate 6 would “increase
light collection efficiency, in turn leading to an enhanced signal-to-noise
ratio and ultimately more reliable pulse wave detection . . . by refracting and
concentrating the light.” Ex. 1003 ¶¶ 96–97; Pet. 14.
      Dr. Kenny provides the following illustrations to portray the proposed
modification of Aizawa’s pulse rate detector 1. See Pet. 15; Ex. 1003 ¶ 97.




At the left, Dr. Kenny has excerpted and annotated Aizawa’s Figure 1(b), to
identify Aizawa’s pre-existing cover (colored blue) which covers the light
emitter (colored green) and the light detectors (colored red). See Ex. 1003
¶ 97. At the right, Dr. Kenny has illustrated the device resulting from the
proposed modification of the cover to have a convex protrusion (colored
blue). See id. Dr. Kenny testifies that this modification would increase the
light-gathering ability of Aizawa’s four detectors 22, because “the modified
cover will allow more light to be gathered and refracted toward the light
receiving cavities [23b] of Aizawa . . . beyond what is achieved through the
tapered cavities [23b].” Id. (citing Ex. 1008 ¶ 15); Pet. 14–15.
      Further according to Petitioner: “A POSITA would have understood
how to implement Inokawa’s lens-shaped cover in Aizawa’s device with a
reasonable expectation of success.” Pet. 15–16 (citing Ex. 1008, Figs. 16


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& 17, ¶¶ 15, 106); Ex. 1003 ¶ 98. Petitioner adds that Aizawa’s “transparent
acrylic material . . . can be readily formed into a lens-like shape as in
Inokawa.” Pet. 16 (citing Ex. 1023, Fig. 6, ¶¶ 22, 32, 35); Ex. 1003 ¶ 99.
The shape of the modified cover in Dr. Kenny’s illustration of the proposed
modification above is strikingly similar to the shape of an LED lens unit
illustrated in Exhibit 20237 (hereafter “Nishikawa”), cited by Petitioner in
connection with reasonable expectation of success. Compare Pet. 15
(illustrating proposed modification), with Ex. 2023, Fig. 6, ¶¶ 3, 22, 30, 32,
35 (illustrating lens unit 50 used with LED 22, and discussing how to make
the illustrated device).

                      (ii)    Patent Owner’s Contentions

       Patent Owner contends the evidence does not support Petitioner’s
argument that a POSITA would have been motivated to modify Aizawa’s
cover 6 to have a convex protrusion, in order to improve detection efficiency
by directing incoming light to Aizawa’s photodetectors 22, with a reasonable
expectation of success. See PO Resp. 1–4, 11–34; Ex. 2004 ¶¶ 39–78.
       According to Patent Owner, the evidence establishes Petitioner’s
proposed modification would direct light toward the center of Aizawa’s
detector 1 where emitter(s) 21 are located, rather than toward the periphery
where detectors 22 are located. PO Resp. 13–18; Ex. 2004 ¶¶ 42–58. Thus,
Patent Owner’s view is that “a POSITA would not have expected Inokawa’s
convex surface to accomplish” the objective of enhancing light collection
efficiency relied upon by Petitioner, because Petitioner’s proposed
modification instead “would direct light away from the periphery-located


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    US 2007/0145255 A1, published June 28, 2007.

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detectors” in Aizawa, the opposite result to Petitioner’s contention.
PO Resp. 18–19; Ex. 2004 ¶¶ 56–58.
      In support, Patent Owner points to Inokawa’s Figure 2, in which two
arrows illustrate light that passes through the convex protrusion of lens 27
toward the center of Inokawa’s pulse sensor 1 where detector 25 is located.
PO Resp. 13, 16 (citing Ex. 1008 ¶ 58); Ex. 2004 ¶¶ 42–43, 51–52. Patent
Owner also points to the ’265 patent’s Figure 14B, which illustrates several
light rays 1420, 1422 passing through a partially cylindrical protrusion 605
to be centrally focused on detector(s) 1410B. PO Resp. 17 (citing Ex. 1001,
36:11–14, 36:21–23); Ex. 2004 ¶¶ 53–54. Patent Owner cites portions of
Dr. Kenny’s deposition testimony that, in Patent Owner’s view, support
Patent Owner’s contentions in these regards. See PO Resp. 2, 16, 17, 22
(citing Ex. 2006, 83:15–84:2, 86:19–87:1, 202:11–204:20).
      Patent Owner also asserts “Dr. Kenny admitted that the impact of
Inokawa’s convex lens would not be ‘obvious’ in the context of [the]
different configuration of LEDs and detectors” presented by Aizawa.
PO Resp. 19 (citing Ex. 2006, 87:2–6). For example, Patent Owner points
out that “light reaching Aizawa’s detectors must travel in an opposite
direction from the light in Inokawa.” Id. at 19–20 (citing Ex. 1006,
Fig. 1(b); Ex. 1008, Fig. 2); Ex. 2004 ¶¶ 59–62. In addition, according to
Patent Owner, “Petitioner’s combination is particularly problematic
because” Aizawa uses “small detectors [22] with small openings [of
cavities 23c] surrounded by a large amount of opaque material.”
PO Resp. 20 (citing Ex. 1006, Fig. 1(a)); Ex. 2004 ¶ 63. Patent Owner cites
portions of Dr. Kenny’s deposition testimony that, in Patent Owner’s view,




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support Patent Owner’s contentions in these regards. See PO Resp. 20–21
(citing Ex. 2006, 257:11–18).
      Patent Owner asserts that Petitioner’s illustration of the light-focusing
properties of a convex protrusion lens, when discussing dependent claim 12,
(see Pet. 38–39) “drastically increases the size of the detectors compared to
Aizawa and eliminates surrounding barriers” that are present in Aizawa,
which when properly taken into account “confirms the light would not even
reach” Aizawa’s peripheral detectors 22 if a convex lens were applied. See
PO Resp. 21–22 (citing Ex. 1006, Fig. 1(b)); Ex. 2004 ¶¶ 64–65.
      Patent Owner argues further that Dr. Kenny, during his deposition,
attempted to evade the foregoing problems with his declaration testimony by
“disclaim[ing] Petitioner’s reasoning [for obviousness] and assert[ing] new
and improper opinions” that undermine the reasoning provided in the
Petition. PO Resp. 2, 22–23 (citing Ex. 1003 ¶¶ 97, 119, 200; Ex. 2006,
65:15–70:7, 108:21–109:14, 198:6–16; Ex. 2009, 310:1–20); Ex. 2004 ¶ 66.
For example, Patent Owner asserts Dr. Kenny’s attempt to distinguish
between the ’265 patent’s Figure 14B as illustrating a lens that condenses
collimated light toward the center, and Aizawa and Inokawa in which the
lens focuses diffuse light reflected by the user’s body, is not persuasive and
is not supported by any evidence. PO Resp. 23–24 (citing Ex. 2006,
170:9–171:5; Ex. 2007, 288:13–289:5, 294:17–298:10, 298:11–299:18,
423:7–424:18); Ex. 2004 ¶¶ 67–68. Patent Owner also objects to
Dr. Kenny’s testimony that, “while a convex lens would generally direct
more light to the center,” it “would also capture some light that otherwise
would not be captured” by Aizawa’s detectors 22, as lacking evidentiary
support other than in the ’265 patent itself which is impermissible hindsight.


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PO Resp. 24–25 (citing Ex. 2006, 204:21–206:5, 206:22–208:1; Ex. 2007,
294:17–298:10; Ex. 1001, 7:61–63); Ex. 2004 ¶¶ 69–70. Patent Owner
moreover asserts “Dr. Kenny repeatedly distanced himself from his own
combination” of Aizawa and Inokawa by refusing to talk about the specific
shape, size, material, and dimensional tolerances of the combination, so his
testimony falls short because it demonstrates at most only that the references
could have been combined. PO Resp. 2–3, 25–28 (citing Ex. 1003 ¶ 111;
Ex. 2006, 51:14–52:16, 75:20–77:2, 91:9–92:13, 96:20–21, 97:11–21,
100:17–101:18, 132:10–18, 154:4–7, 164:8–16, 189:11–190:3; Ex. 2007,
308:12–309:8, 310:18–311:9, 318:3–6, 324:21–325:19, 333:20–335:4);
Ex. 2004 ¶¶ 71–72.
      Indeed, according to Patent Owner, because ordinary skill does not
require specific education or experience with optics or optical physiological
monitors (see supra Section III.B): “It strains credibility that a POSITA . . .
could balance all of the factors Dr. Kenny identified” as affecting the
performance of a protruding convex lens in an optical physiological sensor
to reach the claimed invention. PO Resp. 28–29 (citing Ex. 2006,
51:21–52:16, 93:16–94:15, 100:17–101:18; Ex. 2009, 347:14–352:18);
Ex. 2004 ¶¶ 73–75. Patent Owner relies on Dr. Kenny’s testimony, as
establishing the complexity of designing optical physiological sensors. PO
Resp. 3–4, 29–30 (citing Ex. 2006, 86:19–87:6; Ex. 2007, 331:19–332:11,
336:11–337:15). Patent Owner concludes Petitioner has failed to establish a
reasonable expectation of success in reaching the invention of claim 1 based
on Aizawa and Inokawa, because Dr. Kenny’s testimony on this issue
“focuses almost entirely on manufacturing.” Id. at 30 (citing Ex. 1003 ¶ 99);
Ex. 2004 ¶ 75.


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      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1, because Nishikawa is “not
identified as part of” Ground 1A, which instead “includes only two
references,” Aizawa and Inokawa. PO Resp. 31 (citing Pet. 1–2, 28;
Ex. 1003 ¶¶ 94–99); id. at 32–33 (citing 35 U.S.C. § 312(a)(3); Intelligent
Bio-Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369
(Fed. Cir. 2016)). Patent Owner asserts Dr. Kenny “relies heavily on”
Nishikawa, particularly “to inform the specific shape of the cover in his
combination, which is found nowhere in Aizawa and Inokawa.” Id. at 31–32
(citing Pet. 28–29; Ex. 2006, 179:21–180:13; Ex. 2007, 364:2–13; Ex. 2008,
73:8–12); Ex. 2004 ¶¶ 76–77.
      Further, in Patent Owner’s view, Dr. Kenny’s reliance on Nishikawa
“make[s] no sense” because “Nishikawa’s device is not a physiological
sensor” but rather is “an encapsulated LED” that “directs outgoing light
through the encapsulation material and thus focuses on the emission of light,
not the detection of an optical signal.” PO Resp. 33 (citing Ex. 1023,
code (57), ¶¶ 3, 32, 35); Ex. 2004 ¶ 78. Patent Owner contrasts such
disclosure with Aizawa and Inokawa, both of which “detect[] incoming light
that passes through the cover and reaches the detectors,” and which have a
“drastically” smaller scale than Nishikawa’s LEDs. PO Resp. 33–34 (citing
Ex. 1008, Fig. 2); Ex. 2004 ¶ 78.

                          (iii)   Petitioner’s Reply

      In reply, Petitioner insists “Inokawa’s lens enhances the light-
gathering ability of Aizawa,” which would have motivated a POSITA “to
incorporate ‘an Inokawa-like lens [having a convex protrusion] into the



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cover of Aizawa to increase the light collection efficiency.’” Pet. Reply 2–3
(bolding omitted) (citing Pet. 14–15, 28; Ex. 1003 ¶¶ 94–99; Ex. 1008,
Fig. 2, ¶¶ 15, 58). Petitioner dismisses Patent Owner’s and Dr. Madisetti’s
opposition as being “misinformed” regarding Inokawa’s lens and lenses in
general, because “a POSITA would understand that Inokawa’s lens
improves ‘light concentration at pretty much all of the locations under the
curvature of the lens,’ as opposed to only at a single point at the center.” Id.
at 3 (quoting Ex. 2006, 164:8–16); id. at 1, 3 (citing PO Resp. 13; Ex. 1041,
89:12–19; Ex. 1042, 170:12–20); Ex. 1047 ¶¶ 3–5, 19–23.
      For example, Petitioner asserts Patent Owner and Dr. Madisetti
“ignore[] the well-known principle of reversibility” according to Snell’s
law.8 Pet. Reply 4–7 (underlining omitted) (citing Ex. 1040, 84, 87–92;
Ex. 1043, 80:20–82:20; Ex. 1049, 101, 106–111); Ex. 1047 ¶¶ 32–39.
Petitioner asserts Dr. Madisetti was evasive when he was asked to apply the
reversibility principle to the combination of Aizawa and Inokawa in this
case. Pet. Reply 6 (citing Ex. 1041, 89:12–19, 84:2–85:7).
      Petitioner also asserts Patent Owner and Dr. Madisetti overlook the
fact that light rays reflected by body tissue in the user’s wrist, to be received
by detectors in either Aizawa’s or Inokawa’s pulse sensor, will be
“scattered” and “diffuse” and therefore will approach the detectors “from
various random directions and angles.” Pet. Reply 7–8 (citing Ex. 1046,
803; Ex. 2012, 52, 86, 90); id. at 8–10 (annotating Inokawa’s Fig. 2 to
illustrate the cause and nature of the back-scattering); Ex. 1003 ¶ 128;


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  Snell’s law describes how a light ray will be refracted when passing
between two mediums having different indices of refraction. See Ex. 1047
¶ 10 (describing and illustrating Snell’s law).

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Ex. 1047 ¶¶ 6–9. This scattered and diffuse light, according to Petitioner,
means that Inokawa’s “lens cannot focus all incoming light at a single point”
at a central location as Patent Owner would have it. Pet. Reply 7, 8–10
(citing Ex. 2006, 163:12–164:2); Ex. 1047 ¶¶ 6, 8, 11–13. Petitioner asserts
this is due to Snell’s law, and provides several illustrations to illustrate why.
Pet. Reply 8–12 (citing Ex. 1040, 84; Ex. 1043, 80:20–82:20; Ex. 1049, 101;
Ex. 2012, 52, 86, 90); Ex. 1047 ¶¶ 9–10, 14–16.
      Due to the random nature of this scattered light, Petitioner asserts a
POSITA would have understood that “Inokawa’s lens provides at best a
slight refracting effect, such that light rays that otherwise would have missed
the detection area are instead directed toward that area as they pass through
the interface provided by the lens.” Pet. Reply 13; Ex. 1047 ¶ 18. Petitioner
applies this understanding to Aizawa, and asserts that using a lens with a
convex protrusion in Aizawa would “enable backscattered light to be
detected within a circular active detection area surrounding” a central light
source, thereby “allowing a larger fraction of the backscattered light to reach
the areas covered by the lens” including the circular detection area. Pet.
Reply 13–14 (citing Ex. 1046, 803; Ex. 2006, 164:8–16, 204:21–205:12;
Ex. 2012, 86, 90); Ex. 1047 ¶ 18–22. Dr. Kenny provides the following
illustration of this alleged effect. See Ex. 1047 ¶ 21; Pet. Reply 14.




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Here, Dr. Kenny has excerpted a portion of his illustration of using a lens
with a convex protrusion (in blue) on top of Aizawa’s pulse rate detector
(with a photodetector, in red) (see Ex. 1003 ¶ 97), and added several dotted
lines that are orthogonal to the lens surface. Pet. Reply 14; Ex. 1047
¶¶ 20–21. Dr. Kenny testifies that Snell’s law indicates “the incoming light
rays are refracted in a way that deflects incoming rays somewhat towards
these orthogonal lines,” and that because “these orthogonal lines vary in
orientation most rapidly near the edge, where the illustrated curvature of the
lens surface is the greatest,” using this lens in Aizawa “would lead to an
improvement in the light concentration at the location of the detectors.”
Ex. 1047 ¶¶ 21–22.
      Petitioner additionally asserts a POSITA, upon reading Inokawa’s
disclosure that its lens 27 “makes it possible to increase the light-gathering
ability of the LED” in an optically-based pulse sensor device (Ex. 1008
¶ 15), would have understood that this “general benefit” could also be
achieved within the context of Aizawa’s optically-based pulse sensor device,
and is not limited to “the exact” structure of Inokawa’s device. Pet.
Reply 15 (citing Ex. 1003 ¶¶ 61, 96–98; Ex. 2006, 88:21–89:1, 89:21–90:3);
Ex. 1047 ¶ 23.

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      Petitioner asserts Dr. Madisetti’s testimony in support of Patent
Owner’s position ignores the application of Snell’s law to the random nature
of backscattered light in the context of Aizawa’s and Inokawa’s pulse
sensors, which measure light reflected (i.e., backscattered) by the user’s
tissue. Pet. Reply 12–13 (citing Ex. 1042, 166:12–182:3); Ex. 1047 ¶ 17.
Petitioner similarly dismisses the applicability of Figure 14B of the
’265 patent as illustrating the operation of a transmittance-type of sensor
that measures the attenuation of collimated light transmitted through the
user’s body tissue, rather than the reflectance-type sensors of Aizawa and
Inokawa. Pet. Reply 15–17 (citing Ex. 1001, 36:19–21, Fig. 14I; Ex. 2007,
287:12–289:5); Ex. 1047 ¶¶ 24–28.
      Petitioner further disagrees with Patent Owner’s argument that
Petitioner’s illustrations of the light-focusing properties of a convex lens
when discussing dependent claim 12 (see Pet. 38–39) demonstrate “that a
convex lens directs all light to the center.” Pet. Reply 18–19 (citing PO
Resp. 15, 21, 22; Ex. 1041, 41:7–22, 60:7–61:6). Petitioner contends these
illustrations, instead, “are merely simplified diagrams included to
illustrate . . . one example scenario (based on just one ray and one corpuscle)
where a light permeable cover can ‘reduce a mean path length of light
traveling to the at least four detectors’” as recited in claim 12. Id. (citing
Pet. 39; Ex. 1003 ¶¶ 119–120); Ex. 1047 ¶¶ 30–31.

                        (iv)   Patent Owner’s Sur-reply

      Patent Owner asserts Petitioner’s Reply improperly presents several
new arguments, relying on new evidence, as compared with the Petition.
See, e.g., Sur-reply 3 n.3 (objecting to the illustration provided at Pet.



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Reply 14 as being “new”); id. at 4–6 (“After recognizing the fundamental
error in its proposed combination, Petitioner now attempts to rewrite its
petition” concerning how a lens with a convex protrusion would focus light
in Aizawa’s device); id. at 7 (“Petitioner’s new theory [concerning
reversibility of light rays] is improper, denying [Patent Owner] of the
opportunity to respond with expert testimony, and should be rejected.”); id.
at 10 (“Petitioner next asserts a number of other new theories found nowhere
in the petition.”).
       Patent Owner also asserts Petitioner mischaracterizes Patent Owner’s
position, which is not that Inokawa’s lens with a convex protrusion
“direct[s] ‘all’ light ‘only at a single point at the center’” of the sensor as
Petitioner characterizes it. Sur-reply 1–2 & n.1 (quoting Pet. Reply 3, and
citing PO Resp. 2, 14–18, 23, 24, 27 and Ex. 2027, 63:7–64:6, 94:20–96:1,
96:18–97:7). Patent Owner’s position, rather, is that Inokawa’s lens
condenses more light (not necessarily all light) “towards the center” (not
necessarily at a single, central point) relative to Aizawa’s flat cover. Id.
at 2–3 (quoting PO Resp. 18, and citing Ex. 2004 ¶¶ 34, 43, 49, 51, 52, 54,
55, 67).
       Patent Owner moreover asserts “[t]here can be no legitimate dispute
that a convex surface directs light centrally (and away from the periphery),”
so Petitioner errs in asserting that a POSITA would have used a convex lens
with Aizawa’s detector 1 to improve its light detection efficiency, because
Aizawa’s photodetectors 22 are disposed at the periphery of the device. Id.
at 4–6 (citing Pet. 13–15, 39; PO Resp. 15–18; Ex. 1003 ¶¶ 97, 119, 200;
Ex. 2006, 164:8–16, 166:10–17, 170:22–171:5; Ex. 2027, 181:9–182:5).
Patent Owner contends Petitioner’s argument “that Inokawa would improve


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light-gathering at all locations, regardless of the location of the LEDs and
detectors” is belied by Dr. Kenny’s testimony that “Inokawa’s benefit would
not be clear if Inokawa’s LEDs and detectors were moved” and “confirmed
that a convex surface would direct light toward the center of the underlying
sensor.” Sur-reply 6–7 (citing Pet. Reply 3–4; Ex. 2006, 86:19–87:6,
202:11–204:20).
      Patent Owner argues Petitioner’s discussion of the principle of
reversibility is “irrelevant” because it “assumes ideal conditions that are not
present when tissue scatters and absorbs light.” Sur-reply 7–9 (citing
Ex. 1040, 88, 92, 399 (citations to the exhibit’s page numbers modified to
refer to the document’s page numbers)); Ex. 2027, 17:12–19:2, 29:11–30:7,
31:8–32:3, 38:17–42:6, 207:9–209:21, 210:8–6). The random nature of
backscattered light, in Patent Owner’s view, “hardly supports Petitioner’s
argument that light will necessarily travel the same paths regardless of
whether the LEDs and detectors are reversed,” and is irrelevant to the central
issue presented here of “whether a convex surface—as compared with a flat
surface—would collect and focus additional light on Aizawa’s peripherally
located detectors.” Sur-reply 9–10 (citing Ex. 2006, 86:19–87:6; Ex. 2027,
212:3–14).
      In response to Petitioner’s argument that “due to its protruded shape,
Inokawa’s lens ‘provides an opportunity to capture some light that would
otherwise not be captured’” in Aizawa (Pet. Reply 14), Patent Owner asserts
“Dr. Kenny was unable to support this new theory with any evidence.”
Sur-reply 10–11 (citing Ex. 2007, 294:17–298:10). Patent Owner further
asserts Petitioner “fails to consider the greater decrease in light at the
detectors due to light redirection to a more central location.” Id. at 13


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(citing Pet. Reply 20; Ex. 2027, 19:16–21:8). Patent Owner explains that
“the circle of backscattered light’s intensity ‘decreases in direct proportion
to the square of the distance between the photodetector and the LEDs,’” so
“any purported signal obtained from light redirected from the sensor’s edge
would be relatively weak and fail to make up for the much greater loss of
signal strength when light is redirected away from the detectors and towards
a more central position.” Id. (citing Ex. 1015, 2; Ex. 2027, 49:17–50:13,
57:10–22).
      Patent Owner contends Petitioner’s position concerning the
’265 patent’s Figure 14B is not supported by evidence. Id. at 11 (citing
PO Resp. 15–17; Ex. 2007, 423:7–424:18).

                         (v)      Analysis and Conclusion
      Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that a POSITA would have been
motivated to modify Aizawa’s cover 6 to include a convex protrusion, in
light of Inokawa, in order to increase the amount of backscattered light that
will be received by Aizawa’s four peripheral detectors 22, versus Aizawa’s
existing flat cover 6.
      We find Aizawa’s and Inokawa’s pulse sensors both gather data by
emitting light into the user’s wrist tissue, and collecting light that reflects
back to the sensor from within the user’s tissue. See, e.g., Ex. 1006,
Figs. 1(b) & 2 (sensor 2 has emitter 21 and four detectors 22, all facing a
user’s wrist 10); Ex. 1008, Figs. 1 & 2 (sensor 1 has two emitters 21, 23 and
one detector 25, all facing the user’s wrist when held in place by
wristband 5). Dr. Kenny testifies, and Patent Owner agrees, that the



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reflection of this light by the user’s wrist tissue randomizes the propagation
direction of the reflected light rays. See Ex. 1003 ¶ 128; Ex. 1047 ¶¶ 6–7;
Sur-reply 7–8 (“Even Petitioner admits that tissue randomly scatters and
absorbs light rays . . . .”); Tr. 65:23–66:13. This is illustrated by
Dr. Kenny’s annotations to Inokawa’s Figure 2 (Ex. 1047 ¶¶ 6–7),
reproduced below:




Here, Dr. Kenny has modified Inokawa’s Figure 2 by removing two black
arrows, by coloring Inokawa’s light detector in red and Inokawa’s two light
emitters in green, and by adding several green arrows to illustrate the various
directions that light rays may be directed after impinging on and reflecting
off different tissues in the user’s wrist. Ex. 1047 ¶¶ 6–7.
        This randomized direction of reflected light rays results in
backscattered light that is diffuse, rather than collimated, in nature.
Exhibit 1040,9 Figure 4.12, illustrates the difference between diffuse and
collimated light, and is reproduced below:




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    Eugene Hecht, Optics (2nd ed. 1990).

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This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1040, 87–88. The smooth surface provides specular
reflection, in which the reflected light rays are collimated like the incoming
light rays. See id. The rough surface provides diffuse reflection, in which
the reflected light rays travel in random directions. See id.
      This diffuse nature of the light reflected from the user’s wrist tissue,
which both Aizawa and Inokawa aim to collect to generate pulse data,
suggests that a lens might be useful to increase the amount of collected light
and thereby increase the reliability of the pulse data generated using the
collected light. Indeed, this is taught by Inokawa. Inokawa describes using
its lens 27 to “increase the light-gathering ability” of Inokawa’s light
detector 25. Ex. 1008 ¶¶ 15, 58. Inokawa actually refers to the “LED” such
as emitters 21, 23 in this regard (id. ¶ 15), rather than detector 25, but it is
undisputed that detector 25 is the only component of Inokawa’s sensor 1 that
gathers light. Thus, in a general sense, Inokawa demonstrates that it was
known in the art prior to the ’265 patent to use a lens to focus diffuse light


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reflected from body tissue on to the light detecting elements of a wrist-worn
pulse sensor, to increase the light gathered by the sensor and thereby
improve the device’s calculation of the user’s pulse. Inokawa also discloses,
in its Figure 2, that a convexly protruding lens may advantageously be used
for this purpose.
      A preponderance of the evidence supports Petitioner’s contention that
a POSITA would have been motivated to apply Inokawa’s convex lens
technology to Aizawa’s wrist-worn pulse sensor, to improve its light
collection in a similar manner versus Aizawa’s existing flat cover. This is
illustrated by the following illustrations provided by Dr. Kenny:




The illustration at left modifies Aizawa’s Figure 1(b) to show how Aizawa’s
existing flat cover may be modified to incorporate a convex protrusion (in
blue) to act as a light-focusing lens, which covers Aizawa’s four peripheral
light detectors (two shown in red) and central light emitter (colored green).
See Ex. 1003 ¶ 97. The illustration at right zooms in on the portion of this
modification covering one of the detectors, and adds several dotted lines that
are orthogonal to the lens surface. See Ex. 1047 ¶¶ 20–21. We are
persuaded by Dr. Kenny’s testimony that Snell’s law indicates “the
incoming light rays are refracted in a way that deflects incoming rays
somewhat towards these orthogonal lines,” and that because “these
orthogonal lines vary in orientation most rapidly near the edge, where the
illustrated curvature of the lens surface is the greatest,” using the illustrated


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lens in Aizawa “would lead to an improvement in the light concentration at
the location of the detectors.” Ex. 1047 ¶¶ 18–22 (applying Snell’s law to
Aizawa); id. ¶¶ 8–17 (discussing Snell’s law in the abstract).
      Patent Owner correctly notes that Inokawa’s single detector 25 is
located in the central portion of Inokawa’s sensor 1, whereas Aizawa’s four
detectors 22 are located more towards the periphery of Aizawa’s sensor 2.
Compare Ex. 1008, Fig. 2, with Ex. 1006, Figs. 1(a)–1(b). However,
Petitioner’s proposed modification of Aizawa takes this into account, as can
be seen by the following comparison between Inokawa’s sensor and
Petitioner’s proposed modification of Aizawa’s sensor:




The illustration at left annotates Inokawa’s Figure 2 to identify the central
detector in red and the lens in light blue (see Ex. 1003 ¶ 95), and the
illustration at right annotates Petitioner’s proposed modification of Aizawa
to illustrate the peripheral detectors in red and the lens in light blue (see id.
¶ 97). As can be seen, the lenses both utilize a convex protrusion, but the
convex protrusions are not identical. In Inokawa the lens’s curvature is most
pronounced at the center of the lens near the central detector, and in the
proposed modification to Aizawa, the lens’s curvature is most pronounced at
the edges of the lens near the peripheral detectors. Thus, Dr. Kenny’s
proposed modification of Aizawa takes Inokawa’s general teaching of using


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a convex protrusion lens to increase the amount of incoming light directed to
a light detector, and applies it to the four light detectors of Aizawa. See,
e.g., Ex. 1003 ¶¶ 95–97; Ex. 1047 ¶¶ 8–22.
      Patent Owner also correctly observes that Dr. Kenny borrowed, from
Nishikawa, the specific shape of the convex lens in Petitioner’s proposed
modification of Aizawa. See, e.g., PO Resp. 31–32 (citing Ex. 1003 ¶ 99;
Ex. 2006, 179:21–180:13; Ex. 2007, 364:2–13; Ex. 2008, 73:8–12).
However, we disagree with Patent Owner’s assertion that this is improper on
the basis that Nishikawa is not listed as a reference in Petitioner’s
identification of Ground 1A. See Pet. 1–2, 6 (identifying Ground 1A as
obviousness over Aizawa and Inokawa). Rejecting Petitioner’s reliance on
Nishikawa on this basis would exalt form over substance, which we decline
to do. The nature of Petitioner’s reliance on Nishikawa in support of
Ground 1A is explained clearly in the Petition, even if Nishikawa is not
listed as a third reference in the identification of the ground. See id. at 16
(discussing Nishikawa (Ex. 1023) and Dr. Kenny’s testimony concerning
Nishikawa (Ex. 1003 ¶ 99) in connection with Ground 1A); see also supra
Section III.D.3(c)(2)(i) & (iii) (summarizing Petitioner’s contentions and
evidence). Thus, the Petition complies with 35 U.S.C. § 312(a)(3) (stating
an IPR petition must “identif[y], in writing and with particularity . . . the
grounds on which the challenge to each claim is based, and the evidence that
supports the grounds for the challenge . . . ”).
      On the merits, the Petition discusses how Nishikawa indicates “the
transparent acrylic material used to make Aizawa’s plate can be readily
formed into a lens-like shape as in Inokawa,” with a reasonable expectation
of success. Pet. 16 (citing Ex. 1023, Fig. 6, ¶¶ 22, 32, 35); Ex. 1003 ¶ 99.


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Nishikawa supports this contention, because it describes how its “lens
unit 50” can be a transparent resin formed in the shape illustrated in Figure 6
by injection molding. As to using Nishikawa’s specific lens shape in the
context of Aizawa’s device, Dr. Kenny explains that Nishikawa’s lens shape
design “is intended to provide curvature in the lens where it can do the most
good and otherwise try to avoid excess use of material in order to create
curvature in locations where it wouldn’t do any good.” Ex. 2006,
179:21–180:13 (emphasis added). This makes sense and, as discussed
above, a POSITA would have understood from Inokawa’s disclosure that a
lens’s curvature does the most good in a wrist-worn sensor when it aligns
with the light detectors behind the lens, to focus the incoming light on those
detectors. This is true regardless of the fact that, as Patent Owner points out,
Nishikawa’s lens unit 50 redirects light emitted from LED 22, rather than
redirecting light gathered by a detector such as Inokawa’s detector 25 or
Aizawa’s detectors 22. See Ex. 1023, Fig. 6, ¶¶ 3, 22. Patent Owner’s
additional objection concerning the smaller scale of Aizawa’s wrist-worn
pulse sensor versus Nishikawa’s lens unit 50 also is not persuasive of error
in Petitioner’s reliance on Nishikawa, given Inokawa’s clear disclosure of
using a lens in a wrist-worn pulse sensor like Aizawa’s.
      Figure 14B of the ’265 patent also is consistent with Petitioner’s
proposed modification of Aizawa. Figure 14B is reproduced here:




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Figure 14B illustrates several light rays 1420, 1422 passing through a
partially cylindrical protrusion 605 to be centrally focused on
detector(s) 1410B. Ex. 1001, 36:11–14, 36:21–23. This is consistent with
Dr. Kenny’s testimony, discussed above, that a POSITA would have known
how to align a lens’s curvature with the light detector(s) underneath the lens
to increase the amount of incoming light directed to the detector(s). In this
specific regard, the ’265 patent’s Figure 14B is very similar to Inokawa’s
Figure 2. As discussed above, it would have been obvious to adapt a
POSITA’s understanding of Inokawa’s teachings to the different detector
configuration of Aizawa, leading to the invention recited in claim 1 without
hindsight. See, e.g., Ex. 2006, 202:11–20 (Dr. Kenny testifying that
“because of its shape [a lens] is able to capture more light due to the convex
shape, and it’s able to increase the concentration of the light directed
towards the cavities [of Aizawa containing detectors 22] under the regions
where the curvature of the lens is present” (emphasis added)).

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      Patent Owner contends Petitioner’s modification of Aizawa “fails to
consider the greater decrease in light at the detectors due to light redirection
to a more central location.” Sur-reply 13 (citing Ex. 1015, 2; Ex. 2027,
19:16–21:8, 49:17–50:13, 57:10–22); Ex. 2004 ¶¶ 66–70. Dr. Kenny admits
that, when a convex protrusion is added to Aizawa’s flat cover in light of
Inokawa, “some . . . [light] rays that would have hit the detectors [using a
flat cover] are refracted away from the detectors” by the convex protrusion.
See Ex. 2027, 19:16–20:8 (emphasis added). Dr. Kenny also admits “there
is a decrease in the light as you move away from the location of the emitter
towards the perimeter of the sensor,” which is a “rapid” decrease, perhaps
“with the square of the distance” or “exponential[ly].” Id. at 49:1–50:13,
57:10–22.
      However, Dr. Kenny nonetheless maintains that a POSITA “would
understand how to take advantage of the detector locations and the shape of
this convex surface so as to obtain an improvement [in Aizawa] in the
amount of light arriving at the detectors,” despite the foregoing
considerations. Id. at 20:9–22:18 (emphasis added) (citing Ex. 1047 ¶ 44),
213:11–19, 214:6–215:6; see also Paper 33 (Citation 3). This testimony is
persuasive. In particular, the difference in the length traveled by the light
rays depending on whether Aizawa’s wrist-worn sensor 2 uses a flat plate 6
or a convex plate 6 is extremely small. See, e.g., Ex. 1006, Fig. 1(b), ¶ 26
(dotted line arrows show paths of light from emitter 21 to reflect off
artery 11 in wrist 10 and return to detectors 22); id. at Fig. 2 (showing
detector 1 mounted on a user’s wrist, suggesting the general scale of
detector 1); Ex. 1047 ¶¶ 8–22 (discussing typical light refractions by lenses
in wrist-worn pulse sensors). Based on this scale, it is reasonable to


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conclude, as Dr. Kenny does, that the central light lost by adding a
protrusion will be outweighed by the peripheral light gained by adding a
protrusion, despite the greater distance traveled by the peripheral light rays
and the concomitant loss of intensity acknowledged by Dr. Kenny.
      We also have reviewed Dr. Kenny’s deposition testimony, cited by
Patent Owner, concerning the complexity of using lenses in connection with
an optically-driven pulse sensor, which Patent Owner asserts detracts from
Dr. Kenny’s opinion of obviousness. See Ex. 2006, 51:14–52:16,
75:20–77:2, 86:19–87:6, 91:9–92:13, 93:16–94:15, 96:15–21, 97:11–21,
100:17–101:18, 132:10–18, 154:4–7, 164:8–16, 189:11–190:13, 257:11–18;
Ex. 2007, 308:12–309:8, 310:18–311:9, 318:3–6, 324:21–325:19,
331:19–332:11, 336:11–337:15, 333:20–335:4. This testimony reflects, at
best, that Dr. Kenny’s illustrations identifying the proposed modification of
Aizawa’s cover do not precisely reflect, at the scale required for
manufacturing or testing purposes, the exact size and shape the convex
protrusion would take when making and optimizing a real-world sensor.
Such detail is not required to establish the obviousness of claim 1, which
does not recite any such detail. Dr. Kenny’s testimony, as discussed above,
sufficiently establishes the obviousness of modifying Aizawa’s flat cover to
incorporate a convex protrusion to focus incoming diffuse light on Aizawa’s
peripheral detectors.
      Patent Owner additionally asserts, and Dr. Madisetti testifies, that
Dr. Kenny overlooks the “small” size of Aizawa’s detectors 22 and the
cavities 23c in which they are housed. See PO Resp. 20–21 (citing
Ex. 1006, Figs. 1(a)–1(b), and Ex. 2006, 257:11–18); Ex. 2004 ¶ 63. We
disagree. Even if Aizawa’s detectors 22 are as small as Patent Owner


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characterizes them, this provides more motivation for using a lens in
Aizawa, to increase the amount of light that can be gathered by the small
detectors.
      Patent Owner similarly argues, and Dr. Madisetti testifies, that
Dr. Kenny’s illustration of how his proposed lens would reduce a mean path
length of light traveling to Aizawa’s detectors 22 as recited in dependent
claim 12 (Pet. 38–39) “drastically increases the size of the detectors
compared to Aizawa and eliminates surrounding barriers” in Aizawa, which
when properly taken into account “confirms the light would not even reach”
Aizawa’s peripheral detectors 22 if a convex lens were applied. PO
Resp. 21–22; Ex. 2004 ¶¶ 64–65. We disagree. These illustrations are not
scaled representations of Petitioner’s proposed modification to Aizawa, as
Patent Owner would have it, but rather are abstract illustrations of how a
convex protrusion functions to reduce the mean path length of refracted light
versus a flat surface. See Pet. 38–39. We note also that the light receiving
detection face 22s of each detector 22 in Aizawa is disposed near the open
end of the corresponding cavity 23c, which is tapered to increase the light
that can be collected by the detector. See Ex. 1006, Figs. 1(a)–1(b), ¶ 24.
      We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition, to afford Patent Owner an adequate
opportunity to respond. The Petition proposed a specific modification of
Aizawa to include a convex protrusion in the cover, in light of Inokawa, for
the purpose of increasing the light gathering ability of Aizawa’s device. See
Pet. 13–16. The Patent Owner Response then challenged that contention,
with several arguments that Petitioner’s proposed convex protrusion would


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not operate in the way the Petition alleges it would operate. See PO
Resp. 11–34, supra Section III.D.3(c)(2)(ii). This opened the door for
Petitioner to provide, in the Reply, arguments and evidence attempting to
rebut the contentions in the Patent Owner Response. See PTAB
Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated Guide”)10, 73
(“A party also may submit rebuttal evidence in support of its reply.”). This
is what Petitioner did here. The Reply does not change Petitioner’s theory
for obviousness; rather, the Reply presents more argument and evidence in
support of the same theory for obviousness presented in the Petition.
Compare Pet. 13–16, with Reply 2–20.
        Patent Owner finally argues that our conclusion of obviousness
“strains credibility” because ordinary skill (see supra Section III.B) does not
require specific education or experience with optics or optical physiological
monitors. See, e.g., PO Resp. 28–29. We disagree. Concerning motivation,
a POSITA would have readily appreciated that: Aizawa’s detector 1 operates
by gathering light data with its photodetectors 22; an optical lens would be
useful to focus the light on to the photodetectors; and optical lenses often are
formed by providing a convex protrusion in the lens to focus light. Indeed,
Inokawa discloses this exact utility, function, and structure. See Ex. 1008
¶¶ 15, 58, Fig. 2.
        Concerning reasonable expectation of success in using a convex
protrusion lens to increase the amount of light directed to Aizawa’s
photodetectors, we have relied on Dr. Kenny’s testimony that a POSITA
would have understood a lens operates by increasing the light concentration


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most where the curvature of the lens is the greatest, which leads to
Dr. Kenny’s proposed lens for use in Aizawa. See, e.g., Ex. 1003 ¶¶ 95–97;
Ex. 1047 ¶¶ 8–10, 15–22; Ex. 2006, 179:21–180:13, 202:11–20. We
conclude a POSITA—that is, a person having a B.S. in an academic
discipline emphasizing electrical, computer, or software technologies, and
two years of related work experience with data collection—would have
understood this general concept of optics. Moreover, the invention of
claim 1 is recited at this same general level of utility and structure.
      Thus, we conclude a POSITA would have been motivated to replace
Aizawa’s flat cover 6 with a cover comprising a convex protrusion in view
of Inokawa, to improve light detection efficiency, and would have had a
reasonable expectation of success in doing so.

                        d)     Conclusion as to Claim 1
      Based on the foregoing arguments and evidence, we conclude
Petitioner has demonstrated by a preponderance of the evidence that claim 1
is unpatentable as having been obvious over Aizawa and Inokawa.

             4.     Claims 2–4, 6–14, 16, 17, 19–23, and 26–29

      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of contending claims 2–4, 6–14, 16, 17, 19–23, and
26–29 are unpatentable as having been obvious over Aizawa and Inokawa.
Pet. 29–48; Ex. 1003 ¶¶ 100–138. In defense of these claims, Patent Owner
relies solely on arguments relating to claim 1. See, e.g., PO Resp. 11–40.
For the reasons provided in Section III.D.3 above in relation to claim 1, we
conclude Patent Owner’s defense is unavailing.



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         Concerning independent claim 26, our analysis of claim 1 above
applies equally well to the bulk of claim 26. Claim 26 differs from claim 1
most significantly in specifying that the device’s housing is “circular” and
comprises “a surface with a raised edge,” and the device’s cover comprises
“a lens portion.” Compare Ex. 1001, 44:66–45:15 (claim 1), with id.
at 46:47–65 (claim 26). We find Aizawa’s housing is circular and comprises
a surface with a raised edge. See Pet. 45–46 (annotating Aizawa’s Figures to
identify the “Circular housing” in red, the “Surface” in brown, and the
“Raised edge” in purple). We also find the cover of Aizawa, as modified by
Inokawa to have a convex protrusion, comprises a lens portion. See supra
Section III.D.3.
         Concerning dependent claims 2–4, 6–14, 16, 17, 19–23, and 27–29,
we find a preponderance of the evidence supports Petitioner’s contentions
that Aizawa’s pulse rate detector 1 exhibits the limitations recited in these
claims, or that a POSITA would have been motivated to implement them in
Aizawa, based on the evidence cited and the reasons provided in the
Petition, which we adopt as our own here. See Pet. 29–45, 46–48.
         Thus, we conclude Petitioner has demonstrated by a preponderance of
the evidence that claims 2–4, 6–14, 16, 17, 19–23, and 26–29 are
unpatentable as having been obvious over Aizawa and Inokawa.

    E.      Ground 1B — Obviousness over Aizawa, Inokawa, and Ohsaki

         In Ground 1B, Petitioner argues claims 1–4, 6–14, 16, 17, 19–23,
and 26–29 of the ’265 patent would have been obvious over Aizawa,
Inokawa, and Ohsaki. Pet. 2, 48–51. Patent Owner opposes. PO Resp.
40–44. We conclude a preponderance of the evidence supports Petitioner’s



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assertions as to all challenged claims. We begin our analysis with a brief
summary of Ohsaki, then we address the parties’ contentions.

                             1.    Ohsaki Disclosure
       Ohsaki discloses a pulse wave sensor attached to the back side of the
user’s wrist. Ex. 1014, codes (54) & (57). Figures 1 and 2 are reproduced
below:




Figure 1 is a cross-sectional view of pulse wave sensor 1 attached on a
user’s wrist 4. Id. ¶¶ 12, 16, 18. Figure 2 is a schematic diagram of
detecting element 2 of sensor 1 on wrist 4, and associated electronics. Id.
¶¶ 13, 17.
       Figure 1 illustrates how detecting element 2 is attached to the back
side of the wrist. In this context, the wrist’s “back” side is the side opposite
to the user’s palm, and the wrist’s “front” side is the palm side of the hand.
See, e.g., id. ¶¶ 5–6, 16.
       Detecting element 2 comprises a light emitter (LED 6) and a light
detector (photodetector 7) for optically interrogating the user’s wrist 4 tissue
to detect a pulse wave of the user. See id. ¶¶ 3, 7–8, 16, 20, 22. Translucent
board 8 of element 2 has “a convex surface . . . in intimate contact with the

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surface of the user’s skin,” and “[t]hereby it is prevented that the detecting
element 2 slips off the detecting position of the user’s wrist 4.” Id. ¶¶ 9,
17–18, 25.
      Figures 3A–3B provide test data comparing the performance of a
pulse wave sensor depending on whether it is mounted to the back side or
the front side of the user’s wrist. See id. at Figs. 3A–3B, ¶¶ 14, 23–24.
Figures 4A–4B provide test data comparing the performance of a pulse wave
sensor depending on whether translucent board 8 is convex (as shown in
Figures 1 and 2) or flat. See id. at Figs. 4A–4B, ¶¶ 15, 25.

                                2.     Claim 1
      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of Petitioner’s contention that claim 1 is unpatentable
as having been obvious over Aizawa, Inokawa, and Ohsaki. Pet. 48–51;
Ex. 1003 ¶¶ 64–65, 139–143. Patent Owner provides arguments and
evidence in opposition, including testimony from Dr. Madisetti. PO
Resp. 40–44; Ex. 2004 ¶¶ 90–96.
      Ground 1B incorporates Ground 1A, then adds Ohsaki as providing a
further motivation for modifying Aizawa’s flat plate 6 to have a convex
protrusion. See Pet. 50–51; Ex. 1003 ¶¶ 139–143. Petitioner asserts
“Ohsaki teaches that adding a convex surface to the light permeable cover
(i.e., [Ohaski’s] translucent board 8) can help prevent the device from
slipping on the tissue when compared to a flat cover” such as Aizawa’s
plate 6. Pet. 50–51 (citing Ex. 1014 ¶ 25); Ex. 1003 ¶ 141. Petitioner
asserts that Aizawa, similarly to Ohsaki, “seeks to prevent slippage between
the device and the user’s wrist—and pursues this objective by pressing its



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[plate 6] and trying to improve ‘adhesion between the wrist 10 and the pulse
rate detector 11.’” Pet. 51 (citing Ex. 1006 ¶¶ 26, 30); Ex. 1003 ¶ 142.
Dr. Kenny testifies a POSITA “would have recognized that Ohsaki’s
addition of a convex protrusion to its light permeable cover could be
similarly implemented in Aizawa’s device to help achieve the two
references’ shared goal of minimizing slippage,” which “would have
allowed Aizawa’s sensor device to remain better adhered to the skin and
thereby increase its light-collecting efficiency.” Ex. 1003 ¶ 142 (citing
Ex. 1006 ¶¶ 26, 30; Ex. 1014 ¶ 25); Pet. 51.
      Patent Owner argues in opposition that the Petition is fatally deficient
because it is “unclear as to whether a POSITA would have incorporated
Inokawa’s lens or Ohsaki’s translucent board” in Aizawa. PO Resp. 40–41;
Ex. 2004 ¶ 90. We disagree. Ground 1A relies on Inokawa as providing a
first motivation for adding a protrusion to Aizawa’s flat cover: to direct
more light to Aizawa’s detectors 22. See supra Section III.D.3(c)(2).
Ground 1B relies additionally on Ohsaki as providing a second, and
independent, motivation for adding a protrusion to Aizawa’s flat cover: to
reduce slippage between Aizawa’s device and the user’s wrist. See Pet.
50–51. Neither ground seeks to bodily incorporate Inokawa’s lens or
Ohsaki’s translucent board into Aizawa’s device, and this is not required for
obviousness. See Keller, 642 F.2d at 425.
      Patent Owner next contends that Patent Owner’s various arguments
opposing Ground 1A also apply to Ground 1B. See PO Resp. 41; Ex. 2004
¶ 92. For the reasons provided in Section III.D.3 above, Patent Owner’s
arguments opposing Ground 1A are unavailing.




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      Patent Owner further asserts a POSITA would have understood
“Ohsaki would not prevent slippage with Aizawa’s device.” PO Resp. 42
(section heading modified). According to Patent Owner, Ohsaki indicates
“its convex surface must have longitudinal directionality” such that “one
must orient its longitudinal convex surface with the longitudinal direction of
the user’s arm.” PO Resp. 42 (citing Ex. 1014 ¶ 19); Ex. 2004 ¶ 93. Patent
Owner argues Aizawa’s detector 1, by contrast, uses a circular arrangement
of four detectors 22 around one emitter 21, and “Aizawa specifically
distinguishes its sensor from linear sensors such as Ohsaki’s.” PO Resp.
42–43 (citing Ex. 1006, code (57), ¶¶ 9, 27, 36; Ex. 1014 ¶ 19; Ex. 2008,
165:20–166:5); Ex. 2004 ¶ 94. Patent Owner concludes a “POSITA would
not have believed Ohsaki’s longitudinal convex surface would benefit
Aizawa’s device” due to this difference. PO Resp. 43; Ex. 2004 ¶ 95.
      Patent Owner moreover argues Ohsaki’s “convex surface only
prevents slipping on the backhand side (i.e., watch side) of the user’s wrist,”
and Ohsaki’s “sensor has ‘a tendency to slip off’ if it is on the palm side of
the user’s wrist.” PO Resp. 42–43 (citing Ex. 1014 ¶¶ 23–24, Figs. 3A–3B);
Ex. 2004 ¶¶ 93, 95. Patent Owner asserts Aizawa’s detector 1, by contrast,
is held against the front side of the user’s wrist to be close to the artery there,
and “Aizawa reports that on the palm side of the wrist, a flat surface
improves adhesion.” PO Resp. 42–43 (citing Ex. 1006, Figs. 2 and 3,
code (57), ¶¶ 2, 9, 13, 26–28, 30, 34, 36); Sur-reply 20 (further citing
Ex. 1006 ¶ 33); Ex. 2004 ¶¶ 94–95. Patent Owner cites evidence
demonstrating that these arteries are on the front side of the wrist. PO
Resp. 43 (citing Ex. 2010, Plates 427 and 429); Ex. 2004 ¶ 95. Patent
Owner concludes a POSITA would not have believed Ohsaki’s convex


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surface would benefit Aizawa’s device based on this difference in device
location on the user’s wrist. PO Resp. 43; Ex. 2004 ¶ 95.
      Petitioner replies that, despite the differences between Aizawa and
Ohsaki identified by Patent Owner, a POSITA would nonetheless have
understood from Ohsaki that “a convex surface . . . can help prevent the
device from slipping on the tissue of the wearer compared to using a flat
cover without such protrusion.” Pet. Reply 23–25 (quoting Ex. 1003 ¶ 141);
Ex. 1047 ¶¶ 50–52. According to Petitioner, Ohsaki contrasts between “flat”
and “convex” detecting surfaces, and explains the “detected pulse wave is
adversely affected by the movement of the user’s wrist” with a flat surface
but not a convex surface. Pet. Reply 24 (citing Ex. 1014, Figs. 1, 2, &
4A–4B, ¶¶ 15, 17, 25; Ex. 1003 ¶ 142); Ex. 1047 ¶ 52. Petitioner asserts
“Ohsaki was relied upon not for its exact cover configuration” as Patent
Owner suggests, but instead “for the rather obvious concept that a convex
surface protruding into a user’s skin will prevent slippage.” Pet. Reply 25;
Ex. 1047 ¶ 52 (“[A]dding a convex surface to Aizawa’s flat plate will serve
to improve its tendency to not slip off, not take away from it, since it is well
understood that physically extending into the tissue and displacing the tissue
with a protrusion provides an additional adhesive effect.”).
      Patent Owner replies “Ohsaki demonstrates that a convex surface
alone does not prevent slipping because Ohsaki’s shape is designed to fit
within the underlying bone structure of the wrist and forearm on the
backhand side.” Sur-reply 20 (citing Ex. 1014, Figs. 3A–3B, ¶¶ 6, 19,
23–24). Patent Owner asserts “Ohsaki explains that a convex surface on the
palm side has a tendency to slip, notwithstanding any alleged ‘physical[]
digging.’” Id. Ohsaki also teaches, according to Patent Owner, “that one


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should avoid too much pressure because otherwise the user ‘feels
uncomfortable,’ which results in movement and a tendency to slip.” Id.
(citing Ex. 1014 ¶¶ 6, 18, 24).
      Upon review of the foregoing arguments and evidence, we conclude a
preponderance of the evidence supports Petitioner’s contention that a
POSITA would have been motivated to modify Aizawa’s plate 6 to include a
convex protrusion, in order to help prevent slippage of Aizawa’s detector 1
on the user’s wrist, based on Ohsaki.
      We find a POSITA would have understood from Ohsaki that forming
a convex protrusion on the face of an optically-based pulse sensor where it is
pressed against the user’s wrist to gather optical data will beneficially
prevent slippage of the sensor during operation. Ohsaki states: “The
detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1014 ¶ 25 (emphases
added). A POSITA would understand from this disclosure that forming a
convex protrusion on the tissue-contacting face of a wrist-worn,
optically-based pulse sensor will resist movement of the sensor on the user’s
wrist during use. See Ex. 1003 ¶¶ 141–142; Ex. 1047 ¶ 52. A POSITA
would also understand this resistance to be a beneficial result, because it will
improve the pulse sensor’s ability to emit light into and detect light reflected
from the user’s wrist, to generate a pulse signal. See Ex. 1006 ¶¶ 26, 30, 34;
Ex. 1014 ¶¶ 23, 25, 27; Ex. 1003 ¶¶ 141–142; Ex. 1047 ¶ 52.
      Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or


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flat, and concludes the former results in improved performance over the
latter, especially when the user is moving. See id. at Figs. 4A–4B, ¶¶ 15, 25
(stating that with “a flat surface, the detected pulse wave is adversely
affected by the movement of the user’s wrist 4,” and with “a convex surface
like the present embodiment, the variation of the amount of the reflected
light” collected by the sensor “is suppressed”). Ohsaki also states that, with
a convex protrusion, it is “prevented that noise such as disturbance light
from the outside penetrates the translucent board 8.” Id. ¶ 25.
      Patent Owner and Dr. Madisetti attempt to limit the foregoing
disclosures of Ohsaki to its particular context—a sensor having one emitter 6
disposed next to one detector 7 to define a “longitudinal” sensing direction
between them, and being attached to the back side rather than the front side
of the user’s wrist. See Ex. 2004 ¶¶ 93–95. We are not persuaded. For
example, Ohsaki’s disclosure does not support Dr. Madisetti’s conclusion
that it is only in this particular context that a convex protrusion will help
prevent slippage. See Ex. 1014 ¶ 19 (discussing the longitudinal direction
orientation of Ohsaki’s sensor); id. at Figs. 3A–3B, ¶¶ 16, 23–24 (discussing
attaching Ohsaki’s sensor to the back side of the wrist). Figures 3A–3B
compare the performance of detecting element 2, including its translucent
board 8 having a convex protrusion, and show better performance when it is
attached to the back side of the wrist versus the front side of the wrist, when
the user is in motion. See Ex. 1014 ¶ 17 (Fig. 2), ¶¶ 23–24 (Figs. 3A–3B).
Because the tested device incorporates a convex protrusion in both instances,
Figures 3A–3B do not support Dr. Madisetti’s conclusion that “Ohsaki
teaches that a convex surface on the palm side of the wrist would not prevent




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slipping” — particularly in comparison to a flat surface such as Aizawa’s.
Ex. 2004 ¶ 95.
      We credit, instead, Dr. Kenny’s testimony that a POSITA would have
understood from Ohsaki that a convex protrusion will help prevent slippage,
even in the context of Aizawa’s arrangement of four detectors surrounding a
central emitter (or emitters, when modified per Inokawa) attached on the
front side of the user’s wrist. See Ex. 1047 ¶ 52. This is because, even in
Aizawa’s arrangement, the convex protrusion will “physically extend[] into
the tissue and displac[e] the tissue,” as is illustrated for example in Ohsaki’s
Figures 1 and 2, where translucent board 8 physically extends into and
displaces the tissue of wrist 4. Id.
      Dr. Madisetti also testifies that “Aizawa reports that on the palm side
of the wrist, a flat surface improves adhesion,” so “a POSITA would have
believed that adding Ohsaki’s convex surface would have disrupted the
improved adhesion properties reported for Aizawa’s flat plate.” Ex. 2004
¶ 95 (citing Ex. 1006, Figs. 3A–3B, ¶¶ 13, 26, 28, 30, 34; Ex. 1014,
Figs. 3A–3B, ¶¶ 23–24). We disagree with this reading of Aizawa. It is true
that Aizawa’s plate 6 is illustrated as having a flat surface (Ex. 1006,
Fig. 1(b)), and that Aizawa states the plate “improve[s] adhesion” (id. ¶ 13).
Aizawa also states: “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10,” and
“[t]hereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶ 26. These disclosures, however, indicate the improved
adhesion is provided by the acrylic material of plate 6, not the flat surface of
plate 6 as Dr. Madisetti would have it. See also id. ¶¶ 30, 34 (“Since the
acrylic transparent plate 6 is provided . . . adhesion between the pulse rate


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detector 1 and the wrist 10 can be improved . . . .”). Thus, there is no
teaching away from using a convex surface to improve the adhesion of
Aizawa’s detector to the user’s wrist. See, e.g., Ex. 1003 ¶ 142; Ex. 1047
¶ 52.
        Finally, we acknowledge that both Aizawa and Ohsaki express a
concern about exerting too much pressure against the front side of the user’s
wrist, because this would make the user uncomfortable. See, e.g., Ex. 1006
¶¶ 6, 26, 31; Ex. 1014 ¶¶ 6, 18, 24. Thus, a POSITA would understand that
there are operational limits on how large the protrusion can be made in
Aizawa. Nonetheless, claim 1 does not place any limitations on the size of
the protrusion, and as discussed above a protrusion would improve the
ability to avoid slippage of Aizawa’s detector 1 when worn on the front side
of a user’s wrist. Therefore, it would have been obvious to add a protrusion
to Aizawa’s detector 1 for that purpose, and optimize the size of the
protrusion to avoid user discomfort.
        Based on the foregoing arguments and evidence, we conclude
Petitioner has demonstrated by a preponderance of the evidence that claim 1
is unpatentable as having been obvious over Aizawa, Inokawa, and Ohsaki.

              3.    Claims 2–4, 6–14, 16, 17, 19–23, and 26–29

        Petitioner relies on its arguments from Ground 1A in contending that
claims 2–4, 6–14, 16, 17, 19–23, and 26–29 are unpatentable under
Ground 1B, which adds Ohsaki to Ground 1A. See Pet. 51; Ex. 1003 ¶ 143.
In defense of these claims, Patent Owner relies solely on arguments relating
to claim 1. See, e.g., PO Resp. 40–44; Ex. 2004 ¶ 96. Thus, for the reasons
provided above in relation to Ground 1A (all challenged claims) and



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Ground 1B (claim 1), we conclude Petitioner has demonstrated by a
preponderance of the evidence that claims 2–4, 6–14, 16, 17, 19–23, and
26–29 are unpatentable as having been obvious over Aizawa, Inokawa, and
Ohsaki.

       F.        Ground 1C — Obviousness over Aizawa, Inokawa, and
                              Mendelson-2006
      In Ground 1C, Petitioner argues claims 23 and 24 of the ’265 patent
would have been obvious over Aizawa, Inokawa, and Mendelson-2006.
Pet. 2, 51–57.
      Claim 23 depends from claim 1 to add “the noninvasive optical
physiological measurement device is comprised as part of a mobile
monitoring device,” and claim 24 depends from claim 23 to add “the mobile
monitoring device includes a touch-screen display.” Ex. 1001, 46:34–40
(emphases added).
      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of its obviousness contentions. Pet. 51–57; Ex. 1003
¶¶ 69–71, 144–150. Petitioner relies on Aizawa and Inokawa as in
Ground 1A for the parent claim 1, and cites Mendelson-2006 for the
obviousness of uploading pulse data recorded by Aizawa’s wrist-worn
detector 1 to a mobile computing device having a touchscreen display for
display to the user, thereby resulting in the device of claims 23 and 24.
Pet. 51–57; Ex. 1003 ¶¶ 69–71, 144–150. In a footnote, Petitioner adds:
“Alternatively, the combination of Aizawa, Inokawa, and Ohsaki, as
described in [Ground 1B], may be similarly modified in view of
Mendelson-2006.” Pet. 54 n.2.



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      Patent Owner’s opposition relies on arguments relating to claim 1 and
Grounds 1A and 1B. See PO Resp. 44; Ex. 2004 ¶ 97. Patent Owner
additionally objects to Petitioner’s footnote reference to Ohsaki, as
presenting a “conclusory alternative combination[] that add[s] another
reference without any analysis, and with no motivation to combine.”
PO Resp. 44. Patent Owner further asserts “arguments raised only in
footnotes are waived.” Id. (citing Kennametal, Inc. v. Ingersoll Cutting Tool
Co., 780 F.3d 1376, 1383 (Fed. Cir. 2015)).
      For reasons provided in Section III.D.3 above, we conclude Petitioner
has demonstrated by a preponderance of the evidence that claim 1 is
unpatentable over Aizawa and Inokawa pursuant to Ground 1A, over Patent
Owner’s objections. We further find Petitioner’s reliance on
Mendelson-2006 as disclosing the additional subject matter recited in
claims 23 and 24 is supported by a preponderance of the evidence. Figure 1
of Mendelson-2006 is reproduced below:




Figure 1 is a picture of “a body-worn pulse oximeter that receives and
processes PPG [photoplethysmographic] signals,” comprising a Sensor

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Module and a Receiver Module. Ex. 1016, 912–913. The Sensor Module
consists of an optical transducer, a stack of round printed circuit boards, and
a coin-cell battery, and is attached to the user’s skin to gather the PPG data.
Id. at 912 (abstract), 913. The Sensor Module transmits its data wirelessly to
the Receiver Module, which is also “body-worn.” Id. at 913. “The data
processed by the Receiver Module can be transmitted wirelessly to a PDA,”
which is not shown in Figure 1. Id.
      Figure 3 of Mendelson-2006 is reproduced below:




Figure 3 is a picture of a PDA that may be used with the body-worn Sensor
Module and Receiver Module, and this PDA “provides a low-cost touch
screen interface.” Id. at 913–914.
      Thus, Mendelson-2006 discloses a noninvasive optical physiological
measurement device comprised as part of a mobile monitoring device
(claim 23) wherein the mobile monitoring device includes a touch-screen
display (claim 24). We additionally conclude a person of ordinary skill in
the art would have been motivated to configure Aizawa’s body-worn
detector 1 to transmit its data to a touch screen PDA such as is disclosed in
Mendelson-2006, based on the evidence cited and the reasons provided in
the Petition, which we adopt as our own here. See Pet. 51–57; Ex. 1003


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¶¶ 144–150. Thus, we conclude Petitioner has demonstrated by a
preponderance of the evidence that claims 23 and 24 are unpatentable as
having been obvious over Aizawa, Inokawa, and Mendelson-2006.
      In addition, for reasons provided in Section III.E.2 above, we
conclude Petitioner has demonstrated by a preponderance of the evidence
that claim 1 is unpatentable over Aizawa, Inokawa, and Ohsaki, pursuant to
Ground 1B, over Patent Owner’s objections. Petitioner’s reliance on Ohsaki
as providing motivation for adding a protrusion to Aizawa’s flat cover to
reduce slippage (Ground 1B) is unrelated to, and is not inconsistent with,
Petitioner’s reliance on Mendelson-2006 for the obviousness of sending data
to a mobile monitoring device with a touch screen display (Ground 1C).
Thus, we conclude Petitioner has demonstrated by a preponderance of the
evidence that claims 23 and 24 are unpatentable as having been obvious over
Aizawa, Inokawa, Ohsaki, and Mendelson-2006.
      Concerning Petitioner’s reliance on Ohsaki in this Ground 1C, Patent
Owner cites a Federal Circuit decision that states “[a]rguments raised only in
footnotes . . . are waived.” Kennametal, 780 F.3d at 1383 (quoting Otsuka
Pharm. Co., Ltd. v. Sandoz, Inc., 678 F.3d 1280, 1294 (Fed. Cir. 2012)
(citing SmithKline Beecham Corp. v. Apotex Corp., 439 F.3d 1312, 1320
(Fed. Cir. 2006))). However, this appears to be a rule applied by the Federal
Circuit to briefs filed with that Court, as opposed to a precedential rule of
law the Board is compelled to follow. See Otsuka, 678 F.3d at 1294. In
addition, to the extent it is binding precedent on the Board, we are permitted
to “exercise our discretion to consider” arguments “improperly raised” only
in a footnote. Id. (citing Becton Dickinson & Co. v. C.R. Bard, Inc.,




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922 F.2d 792, 800 (Fed. Cir. 1990)). We do so here, to provide a complete
record for review by the Federal Circuit in the event of an appeal.

G.    Ground 1D — Obviousness over Aizawa, Inokawa, Goldsmith, and Lo
      In Ground 1D, Petitioner argues claims 23 and 24 of the ’265 patent
would have been obvious over Aizawa, Inokawa, Goldsmith, and Lo. Pet. 2,
57–62. We have already determined claim 23 is unpatentable based on
Grounds 1A, 1B, and 1C, and claim 24 is unpatentable based on Ground 1C.
Therefore, we need not, and to conserve the Board’s resources we do not,
reach Ground 1D. See Boston Sci. Scimed, Inc. v. Cook Grp. Inc., 809
F. App’x 984, 990 (Fed. Cir. 2020) (“[T]he Board need not address issues
that are not necessary to the resolution of the proceeding.”).

H.     Ground 1E — Obviousness over Aizawa, Inokawa, Mendelson-2006,
                             and Beyer

      In Ground 1E, Petitioner argues claim 25 of the ’265 patent would
have been obvious over Aizawa, Inokawa, Mendelson-2006, and Beyer.
Pet. 2, 62–65.
      Claim 25 recites:
      25. A physiological monitoring system comprising:
           the noninvasive optical physiological measurement device
           of claim 1; and
           a processor configured to receive the one or more signals
           and communicate physiological measurement information
           to a mobile phone.
Ex. 1001, 46:41–46.
      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of its obviousness contentions. Pet. 62–65; Ex. 1003



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¶¶ 158–164. Petitioner relies on Aizawa, Inokawa, and Mendelson-2006 as
in Ground 1C for the obviousness of “a monitoring system that includes,
among other things, a wrist-worn sensor (as in Aizawa) and a mobile PC (as
in Mendelson-2006)” to receive signals from the wrist-worn sensor.
Pet. 62–63; Ex. 1003 ¶¶ 158–160. Petitioner then addresses the “mobile
phone” limitation of claim 25, and contends it would have been obvious to
implement this additional subject matter in the combination of Aizawa,
Inokawa, and Mendelson-2006, based on Beyer. Pet. 62–65; Ex. 1003
¶¶ 72, 160–164. In a footnote, Petitioner adds: “Alternatively, the
combination of Aizawa, Inokawa, and Ohsaki, as described in [Ground 1B],
may be similarly modified in view of Mendelson-2006 and Beyer.” Pet. 62
n.4.
       Patent Owner’s opposition relies on arguments relating to claim 1 and
Grounds 1A and 1B. See PO Resp. 44; Ex. 2004 ¶ 97. Patent Owner
additionally objects to Petitioner’s footnote reference to Ohsaki, as
presenting a “conclusory alternative combination[] that add[s] another
reference without any analysis, and with no motivation to combine.”
PO Resp. 44. Patent Owner further asserts “arguments raised only in
footnotes are waived.” Id. (citing Kennametal, 780 F.3d at 1383).
       For reasons provided in Section III.D.3 above, we conclude Petitioner
has demonstrated by a preponderance of the evidence that claim 1 is
unpatentable over Aizawa and Inokawa pursuant to Ground 1A, over Patent
Owner’s objections. For reasons provided in Section III.F above, we also
conclude the combination of Aizawa, Inokawa, and Mendelson-2006 leads
to the invention of claim 25, except for the “mobile phone” limitation.




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      We further find Petitioner’s reliance on Beyer as disclosing the
“mobile phone” limitation of claim 25 is supported by a preponderance of
the evidence. Beyer discloses “a small handheld cellular phone / PDA
communications system” that is similar to the PDA of Mendelson-2006.
Ex. 1019, Fig. 1, 7:17–20. We also agree with Petitioner’s contention that a
person of ordinary skill in the art would have been motivated to modify the
PDA of Mendelson-2006, which “does not explicitly disclose the PDA to be
a mobile phone,” to incorporate cellular communication technology in order
to provide the additional communication capabilities of a mobile phone, as
disclosed by Beyer. Pet. 63–65 (citing Ex. 1016, 914; Ex. 1019, 1:6–15);
Ex. 1003 ¶¶ 161–164. A person of ordinary skill in the art also would have
been motivated to do this to enable review of the user’s data at a location
that is remote to the user. Pet. 64–65 (citing Ex. 1021, code (57), Fig. 3);
Ex. 1003 ¶ 162. Thus, we conclude Petitioner has demonstrated by a
preponderance of the evidence that claim 25 is unpatentable as having been
obvious over Aizawa, Inokawa, Mendelson-2006, and Beyer.
      In addition, for reasons provided in Section III.E.2 above, we
conclude Petitioner has demonstrated by a preponderance of the evidence
that claim 1 is unpatentable over Aizawa, Inokawa, and Ohsaki, pursuant to
Ground 1B, over Patent Owner’s objections. Petitioner’s reliance on Ohsaki
as providing motivation for adding a protrusion to Aizawa’s flat cover to
reduce slippage (Ground 1B) is unrelated to, and is not inconsistent with,
Petitioner’s reliance on Mendelson-2006 and Beyer for the obviousness of
sending data to a mobile device with a touch screen display and mobile
phone communication capability (Grounds 1C and 1E). Thus, we conclude
Petitioner has demonstrated by a preponderance of the evidence that


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claim 25 is unpatentable as having been obvious over Aizawa, Inokawa,
Ohsaki, Mendelson-2006, and Beyer. As discussed above, the fact that this
theory of obviousness is articulated in a footnote in the Petition does not
persuade us to overlook its merits.

   I.      Ground 2A — Obviousness over Mendelson-1988 and Inokawa

        In Ground 2A, Petitioner argues claims 1–4, 6–14, 16–22, and 26–30
of the ’265 patent would have been obvious over Mendelson-1988 and
Inokawa. Pet. 2, 66–95. Patent Owner opposes. PO Resp. 44–60. We
conclude a preponderance of the evidence supports Petitioner’s assertions as
to claims 1, 2, 4, 14, 17–22, and 26–30, but not claims 3, 6–13, and 16. We
begin our analysis with a brief summary of Mendelson-1988, then we
address the parties’ contentions.

                      1.    Mendelson-1988 Disclosure

        Mendelson-1988 discloses a pulse oximeter, with an optical
reflectance sensor suitable for noninvasive monitoring of a user’s arterial
hemoglobin oxygen saturation (SpO2), via the user’s forehead. See
Ex. 1015, 167 (title & abstract). Figure 2 is reproduced below:




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Figure 2 illustrates the sensor of Mendelson-1988, including: (A) a top view
diagram; (B) a side view diagram; and (C) a photograph. Id. at 169.
      The sensor includes two red LEDs and two infrared LEDs for emitting
light into the user’s tissue, and six photodiodes “arranged symmetrically in a
hexagonal configuration” surrounding the four emitters, to detect light
reflected back to the sensor from the user’s tissue. Id. at 168 (“SENSOR
DESIGN”). The user’s “SpO2 can be calculated from the ratio of the
reflected red and infrared photoplethysmograms.” Id. at 167 (col. 2). “To
minimize the amount of light transmission and reflection between the LEDs
and the photodiodes within the sensor, a ring-shaped, optically opaque shield
of black Delrin . . . was placed between the LEDs and the photodiode chips.”
Id. at 168 (col. 2). “The optical components were encapsulated inside the
package using optically clear adhesive.” Id. “The microelectronic package
was mounted inside a black Delrin housing.” Id.


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                                 2.    Claim 1

      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of contending claim 1 is unpatentable as having been
obvious over Mendelson-1988 and Inokawa. Pet. 66–78; Ex. 1003
¶¶ 66–68, 165–181. Patent Owner provides arguments and evidence in
opposition, including testimony from Dr. Madisetti. PO Resp. 44–53,
58–60; Ex. 2004 ¶¶ 34, 98–117, 126–129.

              a)     Comparing Claim 1 with Mendelson-1988
      Petitioner contends Mendelson-1988’s SpO2 sensor exhibits each and
every limitation of claim 1, except that its light permeable cover (i.e., the
“OPTICALLY CLEAR EPOXY” in Figure 2B) lacks the claimed
“protrusion.” See Pet. 66–78; Ex. 1003 ¶¶ 66–68, 165–181. We determine
this contention is supported by a preponderance of the evidence, over Patent
Owner’s objections, as follows.
      We find Mendelson-1988’s sensor exhibits several limitations of
claim 1, which are not challenged by Patent Owner. Thus, we find the
sensor is a noninvasive optical measurement device adapted to be worn on a
user’s forehead, to provide an indication of a physiological parameter of the
user (i.e., SpO2).11 See Ex. 1015, 167 (abstract); Pet. 71; Ex. 1003 ¶ 165.
We find the sensor has two infrared LED chips and two red LED chips. See
Ex. 1015, 168 (col. 2) (“The optical reflectance sensor used in this study
consists of two red (peak emission wavelength: 660 nm) and two infrared
(peak emission wavelength: 930 nm) LED chips[.]”), 169 (Fig. 2);


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   Whether the preamble is limiting need not be resolved, because the
recitation in the preamble is satisfied by the prior art.

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Pet. 71–72; Ex. 1003 ¶ 166. We find the sensor includes a housing having a
surface and a circular wall protruding from the surface. See Ex. 1015, 169
(Fig. 2); Ex. 1003 ¶ 167. In particular, Petitioner annotates
Mendelson-1988’s Figures 2A and 2B to identify the “Housing” in red, the
“Surface” in purple, and the “Circular wall” in green. See Pet. 72–73;
Ex. 1003 ¶ 167. We find the sensor further includes at least four detectors
(i.e., the six photodiodes) arranged on the housing’s surface and spaced apart
from each other, symmetrically on a circle centered on the four LEDs. See
Ex. 1015, 168 (col. 2) (stating the six photodiodes are “arranged
symmetrically in a hexagonal configuration”), 169 (Fig. 2); Pet. 75–76;
Ex. 1003 ¶ 171. We find the six detectors are configured to output signals
responsive to light emitted from the four emitters and attenuated by the
user’s body tissue, with the signals being indicative of the user’s SpO2. See
Ex. 1015, 167 (col. 2) (“SpO2 can be calculated from the ratio of the
reflected red and infrared photoplethysmograms”); Pet. 75–76; Ex. 1003
¶ 171.
         Petitioner contends Mendelson-1988’s sensor has a light permeable
cover (i.e., the “OPTICALLY CLEAR EPOXY” in Figure 2B) arranged
above a portion of the housing (i.e., the “AIRPAX PACKAGE” in
Figure 2B) to cover the six detectors. See Pet. 67; Ex. 1003 ¶ 172. Patent
Owner disagrees, relying on its claim construction of the term “cover” which
would exclude resins and epoxies. See PO Resp. 50–51. For reasons
provided in Section III.C.1 above, Patent Owner’s claim construction is not
persuasive, so Mendelson-1988 cannot be distinguished from claim 1 on this
basis.




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      We find a preponderance of the evidence establishes that the
Mendelson-1988 sensor’s optically clear epoxy is a light permeable cover
that covers the sensor’s six detectors. In particular, it is clear from
Figures 2A and 2B that the epoxy extends from the top of the sensor at the
dotted line in Figure 2B, down into the well of the AIRPAX package, to
cover all four LEDs and all six photodiodes disposed at the bottom of the
well. See also Ex. 1015, 168 (col. 2) (“The optical components were
encapsulated inside the package using optically clear adhesive[.]”).
      Thus, we find Mendelson-1988’s sensor exhibits each and every
limitation of claim 1, except that its light permeable cover is flat, and
therefore lacks the claimed “protrusion.”

                   b)     Comparing Claim 1 with Inokawa
      Petitioner contends Inokawa’s pulse sensor 1 is a noninvasive optical
measurement device having a light permeable cover (i.e., lens 27)
comprising a protrusion arranged to cover its light detector(s) (i.e.,
detector 25), as discussed in Section III.D.3(b) above. See Pet. 68; Ex. 1003
¶ 174. Patent Owner does not challenge Petitioner’s contentions in this
regard. We determine these contentions are supported by a preponderance
of the evidence, as discussed in Section III.D.3(b) above.

      c)     Obviousness of Combining Mendelson-1988 and Inokawa

      Petitioner contends a POSITA would have been motivated to modify
Mendelson-1988’s optical SpO2 sensor, in light of Inokawa’s optical pulse
sensor, by adding a protrusion to Mendelson-1988’s cover to improve the
sensor’s light detection efficiency. See Pet. 67–71, 76–78. Patent Owner
opposes this contention, and argues a person of ordinary skill in the art


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would not have had a reasonable expectation of success, among other things.
See PO Resp. 44–49, 51–53, 58–60.

                        (1)    Petitioner’s Contentions
      Petitioner asserts Mendelson-1988 describes its cover as an optically
clear epoxy, but it “does not provide additional details . . . regarding the
precise shape of this layer’s interface with the skin.”12 Pet. 67–68 (citing
Ex. 1015, 168, 173); Ex. 1003 ¶ 173. Petitioner asserts “a POSITA would
have sought to incorporate an Inokawa-like lens into the cover of
Mendelson-1988 to increase the light collection efficiency, which in turn
would lead to an improved signal-to-noise ratio (and thus more reliable pulse
[sic SpO2] detection).” Pet. 68–69; Ex. 1003 ¶ 175. Petitioner asserts: “A
POSITA would have been particularly interested in making such a
modification because Mendelson-1988 is expressly interested in maximizing
‘reflectance photoplethysmographic signals.’” Pet. 69 (citing Ex. 1015,
173); Ex. 1003 ¶ 175. Petitioner’s theory for obviousness is otherwise
substantially the same as discussed above in Ground 1A, with
Mendelson-1988 replacing Aizawa, including some reliance on Nishikawa.
Pet. 69–71, 76; Ex. 1003 ¶¶ 175–179. For example, Dr. Kenny provides the
following illustrations to portray the proposed modification of
Mendelson-1988’s sensor (Ex. 1003 ¶¶ 180–181):




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  Petitioner overstates the paucity of Mendelson-1988’s disclosure here.
Mendelson-1988 illustrates the epoxy as having a flat surface, which
Dr. Kenny notes in his testimony. See Ex. 1014, Fig. 2B; Ex. 1003 ¶ 176.

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At the left, Dr. Kenny has excerpted and annotated Mendelson-1988’s
Figure 2B, to identify the pre-existing cover (colored blue) which covers the
light emitters and detectors. See Ex. 1003 ¶ 176. At the right, Dr. Kenny
has illustrated the device resulting from the proposed modification of the
cover to have a convex protrusion (colored blue). See id.
      Petitioner further asserts “there are two alternative ways of mapping
the claimed ‘light permeable cover,’ or LPC, to the modified cover above.”
Pet. 77; Ex. 1003 ¶ 180. Dr. Kenny provides the following two illustrations,
annotating Mendelson-1988’s Figure 2B, to identify these alternative
mappings:




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Dr. Kenny’s first mapping (at the left) equates the cover to the entire depth
of the epoxy contained within the AIRPAX package as shown in red outline,
whereas Dr. Kenny’s second mapping (at the right) equates the cover to a
partial depth of the epoxy within the package as shown in red outline, which
Dr. Kenny identifies as “just the lens portion . . . that is formed over the
underlying sealing portion . . . as informed by Nishikawa.” Pet. 77–78
(citing Ex. 1001, Fig. 14D; Ex. 1023, Figs. 5–6, ¶¶ 34–38); Ex. 1003
¶¶ 180–181.
         Petitioner adds that “a POSITA would have realized that the epoxy
layer could have been given a shape that would help further advance
Mendelson-1988’s objective of improving detection efficiency,” “requir[ing]
only routine knowledge of sensor design and assembly.” Pet. 68, 70 (citing
Ex. 1015, 168, 173); Ex. 1003 ¶¶ 173, 177. For example, “as demonstrated
by Nishikawa, molding clear epoxy, as in Mendelson-1988, into a lens shape
was well understood.” Pet. 70–71 (citing Ex. 1023, Fig. 6, ¶¶ 22, 32, 35,
37); Ex. 1003 ¶¶ 178–179. Also according to Petitioner: “Nishikawa
expressly discloses that any gaps between the encapsulation and lens
portions [i.e., sealing portion 40 and lens unit 50 in Nishikawa’s Figure 6]
can be minimized by fusing the two portions at the interface to improve
optical performance.” Pet. 70–71 (citing Ex. 1023 ¶ 37, Fig. 6); Ex. 1003
¶ 179.

                       (2)    Patent Owner’s Contentions

         Patent Owner asserts Petitioner has not met its burden to demonstrate
the obviousness of modifying Mendelson-1988’s sensor in light of Inokawa
to have a convex protrusion, based on substantially the same analysis and



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testimony discussed above in the context of combining Aizawa and
Inokawa. See PO Resp. 44–49; Ex. 2004 ¶¶ 98–110; supra
Section III.D.3(c)(2). For example, Mendelson-1988 like Aizawa provides a
central emitter or emitters surrounded by several detectors. Compare
Ex. 1015, 169 (Fig. 2) (showing four central LEDs surrounded by six
photodiodes), with Ex. 1006, Figs. 1(a)–1(b) (showing one central LED 21
surrounded by four photodetectors 22).
      Patent Owner also objects to Petitioner’s alternative mapping,
providing for a cover with a protrusion to be found in two different ways.
See PO Resp. 51–53; Ex. 2004 ¶¶ 115–117. This alternative mapping, in
Patent Owner’s view, is “ambiguous[],” and the second mapping
“arbitrarily” draws a line defining the bottom of the cover in “an
undifferentiated mass of material.” PO Resp. 52–53. Patent Owner also
argues “Petitioner’s inability to consistently identify a ‘cover’ reveals the
hindsight-driven nature of its arguments,” especially as they relate to
dependent claim 3. Id. at 52–53.
      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1, because Nishikawa is not
identified as part of Ground 2A which instead “includes only two
references,” Mendelson-1988 and Inokawa. PO Resp. 58–59 (citing Pet. 2,
70, 77–78, 80; Ex. 2007, 364:2–13; Ex. 2008, 73:8–12); Ex. 2004 ¶ 126.
Patent Owner also asserts Petitioner’s reliance on Nishikawa “makes no
sense” based on substantially the same analysis and testimony discussed
above in the context of combining Aizawa and Inokawa. PO Resp. 59;
Ex. 2004 ¶ 127. Patent Owner argues Petitioner improperly relies on
Nishikawa “to fill missing gaps [in Mendelson-1988 and Inokawa], not as


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evidence of general knowledge in the art,” thereby attempting to “sidestep
the requirements to establish a motivation and expectation of success.”
PO Resp. 59–60 (citing Pet. 70; K/S HIMPP v. Hear-Wear Technologies,
LLC, 751 F.3d 1362, 1366 (Fed. Cir. 2014)); Ex. 2004 ¶ 129.

                              (3)      Petitioner’s Reply

      In reply, Petitioner provides substantially the same analysis and
testimony discussed above in the context of combining Aizawa and
Inokawa. See Pet. Reply 26; Ex. 1047 ¶ 54. Petitioner also maintains that
both of Dr. Kenny’s alternative mappings of the claimed “cover” to
Mendelson-1988 are justified. Pet. Reply 28–29; Ex. 1047 ¶¶ 59–60.
Petitioner further asserts its reliance on Nishikawa is not improper. Pet.
Reply 32; Ex. 1047 ¶ 64.

                        (4)     Patent Owner’s Sur-reply

      Patent Owner’s sur-reply reiterates Patent Owner’s arguments against
Petitioner’s contentions of the obviousness of modifying Mendelson-1988’s
sensor to include a convex protrusion. See Sur-reply 21, 23–24.

                        (5)         Analysis and Conclusion
      Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that a POSITA would have been
motivated to modify the top surface of Mendelson-1988’s cover to include a
convex protrusion, in light of Inokawa, in order to increase the amount of
backscattered light that will be received by the six peripheral detectors,
versus the existing flat cover surface. Our reasoning is substantially
identical to the analysis provided above in connection with Ground 1A, with


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Mendelson-1988 replacing Aizawa in the combination. See supra
Section III.D.3(c)(2). Patent Owner does not cite, and we do not discern,
any material difference between Mendelson-1988 and Aizawa that might
lead to a different result here, with two possible exceptions.
      The first difference is Petitioner’s alternative mapping of the claimed
“cover” to Petitioner’s proposed modification of Mendelson-1988’s sensor.
We rely on the first mapping, but not the second mapping, to decide in
Petitioner’s favor. Petitioner’s first mapping is reproduced here (Ex. 1003
¶ 180):




In this modified and annotated version of Figure 2B of Mendelson-1988,
Dr. Kenny identifies how Mendelson-1988’s light permeable cover (“LPC”)
may be modified to have a protrusion in light of Inokawa, wherein the cover
(which Dr. Kenny has colored blue) includes the entire depth of the optically
clear epoxy contained within the AIRPAX package (as Dr. Kenny has
shown in red outline). Ex. 1003 ¶ 180; Pet. 77. Patent Owner objects to this
mapping as ambiguous, but we determine Dr. Kenny’s annotations
reproduced above are sufficiently clear to establish obviousness by a
preponderance of the evidence.




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      The second difference between Grounds 1A and 2A relates to
claim 1’s requirement of “a housing having a surface and a circular wall
protruding from the surface.” Ex. 1001, 45:5–6. In Ground 2A, Petitioner
addresses this limitation in two, alternative, ways.
      First, as explained above in Section III.I.2(a), we find
Mendelson-1988’s sensor exhibits such a housing, as Petitioner contends in
the Petition at pages 72–73. Petitioner’s annotations to Mendelson-1988’s
Figure 2 illustrate the basis for this finding, and are reproduced below.




Here, Mendelson-1988’s Figures 2(A) and 2(B) have been annotated to
identify the “circular wall” in green and the “surface” of the housing in
purple. Patent Owner does not object to the Petition’s contentions in this



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regard, which we find are supported by a preponderance of the evidence.
See, e.g., PO Resp. 53–58; Ex. 2004 ¶ 100 (“Mendelson-1988 includes a
ring-shaped optical shield surrounding the LEDs . . . .”).
      Second and “[a]lternatively,” Petitioner contends “the outer wall of
the AIRPAX microelectronic package” in Mendelson-1988, which is square
as shown by the red annotations in Figure 2(B) above, “can be modified to
be a circular wall,” and thereby satisfy this limitation of claim 1 in a
different way. Pet. 73–75; Ex. 1003 ¶¶ 168–170. Patent Owner objects to
this alternative contention. See PO Resp. 56–58; Ex. 2004 ¶¶ 100, 122–125.
For reasons provided below in Section III.I.3 in relation to claim 26, this
alternative obviousness contention also is supported by a preponderance of
the evidence.

                        d)     Conclusion as to Claim 1
      Based on the foregoing arguments and evidence, we conclude
Petitioner has demonstrated by a preponderance of the evidence that claim 1
is unpatentable as having been obvious over Mendelson-1988 and Inokawa.

                                 3.    Claim 26

      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of contending claim 26 is unpatentable as having been
obvious over Mendelson-1988 and Inokawa. Pet. 89–92; Ex. 1003 ¶¶ 211–
219. Much of Petitioner’s analysis for claim 26 is substantially the same as
for claim 1, which as discussed above in Section III.I.2 is persuasive.
      Claim 26 differs from claim 1 in specifying “a circular housing
comprising a surface with a raised edge.” Compare Ex. 1001, 45:5–6
(claim 1), with id. at 46:52–53 (claim 26). Petitioner correspondingly asserts


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Mendelson-1998 includes a “housing” as the AIRPAX package. See Pet. 90
(annotating Mendelson-1988’s Figures 2A–2B to identify the “Housing” in
green); Ex. 1003 ¶¶ 213–214. This housing has “a square shape” rather than
the “circular” shape required by claim 26. Pet. 90–91; Ex. 1003 ¶ 215.
        Petitioner contends “a POSITA would have recognized that
microelectronic packaging as used in Mendelson-1988 comes in various
shapes and sizes,” including a circular shape as demonstrated by
Mendelson ’79913. Pet. 91 (citing Ex. 1025, Fig. 7, 9:34–36); Ex. 1003
¶ 215. Petitioner asserts “[a] POSITA would have considered using a
differently shaped housing, namely a circular one, to be obvious,” because
this “was common practice well before the [’265 patent], and there was
nothing new or inventive about changing one housing shape for another.”
Pet. 73–75, 91; Ex. 1003 ¶¶ 168–170, 216.
        Patent Owner objects that “just because something ‘can’ be modified
does not mean a POSITA would have been motivated to do so,” and
Petitioner “never identifies a motivation to pick a circular-shaped wall
instead of the existing square shape” in Mendelson-1988. PO Resp. 57
(citing InTouch Techs., Inc. v. VGo Commc’ns, Inc., 751 F.3d 1327, 1352
(Fed. Cir. 2014)); Ex. 2004 ¶ 124. According to Patent Owner,
“[a] POSITA would have no particular motivation to change the shape
unless a POSITA perceived some benefit in doing so.” PO Resp. 57;
Ex. 2004 ¶ 124.
        Patent Owner asserts Petitioner errs in relying on Mendelson ’799 as
supporting the unpatentability of claim 26, because Mendelson ’799 is not



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     Exhibit 1025, US 6,801,799 B2, issued Oct. 5, 2004.

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identified as part of Ground 2A which instead “includes only two
references,” Mendelson-1988 and Inokawa. PO Resp. 57–59 (citing
Pet. 1–2, 73–75). Patent Owner also asserts Petitioner improperly relies on
Mendelson ’799 “to fill missing gaps [in Mendelson-1988 and Inokawa], not
as evidence of general knowledge in the art,” thereby attempting to “sidestep
the requirements to establish a motivation and expectation of success.”
PO Resp. 59–60 (citing Pet. 75; K/S HIMPP, 751 F.3d at 1366); Ex. 2004
¶ 129.
         On the merits of Mendelson ’799, Patent Owner argues the reference
does not support Dr. Kenny’s testimony that “using a circular housing
having a circular wall . . . was common practice” (Ex. 1003 ¶¶ 168–170),
because it “never mentions or suggests a housing with a wall or raised
edge.” PO Resp. 57; Ex. 2004 ¶¶ 125, 128–129 (citing Ex. 1025, 9:22–40,
Fig. 7).
         Petitioner replies that “references like Mendelson [’]799 have a
circular wall/housing and confirm the notion that a POSITA would have
found it to be simply a matter of design choice to use different shapes.” Pet.
Reply 31 (citing Ex. 1025, Fig. 7, 9:34–36); Ex. 1047 ¶ 63. Petitioner also
asserts “neither the ’265 patent nor [Patent Owner] provides any explanation
of how the particular housing shape solves some problem or presents some
unexpected result.” Pet. Reply 31 (citing In re Kuhle, 526 F.2d 553, 555
(CCPA 1975)).
         Patent Owner responds that “Petitioner’s reply reiterates its
conclusory arguments that [the proposed] change would be routine, without
identifying any reason to modify the shape from square to circular.”
Sur-reply 24–25.


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      Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that it would have been obvious to
modify the shape of Mendelson-1988’s AIRPAX package from square to
circular. Figure 7 of Mendelson ’799 is reproduced below:




Figure 7 is a top view of optical sensor 10 comprising light source 12
composed of three LEDs 12A, 12B, and 12C emitting light of three different
wavelengths, and an array of six near detectors 18 and six far detectors 16
“arranged in two concentric ring-like arrangements” surrounding light
source 12. Ex. 1025, 9:23–34. “All these elements are accommodated in a
sensor housing 17,” which as can be seen in Figure 7, is circular. Id. at
9:34–35.
      A POSITA would recognize that the AIRPAX package of
Mendelson-1988 and the housing 17 of Mendelson ’799 are performing the
same function of enclosing a central collection of light emitters which are
surrounded by an array of light detectors in an optical sensor attached to a
user’s body. See, e.g., Ex. 1015, Figs. 2A–2B; Ex. 1025, Fig. 7. Also, the

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evidence of record does not suggest that the shape of such a housing has any
functional significance in the operation of the optical sensor. Thus, the
evidence suggests that a square shape and a circular shape of such as
housing were known in the art to be predictable substitutes for one another,
and therefore obvious variants. See, e.g., KSR, 550 U.S. at 416 (“[W]hen a
patent claims a structure already known in the prior art that is altered by the
mere substitution of one element for another known in the field, the
combination must do more than yield a predictable result.”); id. at 417
(“[W]hen a patent ‘simply arranges old elements with each performing the
same function it had been known to perform’ and yields no more than one
would expect from such an arrangement, the combination is obvious.”
(citation omitted)).
      We further conclude Petitioner’s reliance on Mendelson ’799 is not
improper simply because Mendelson ’799 is not listed as a reference in
Petitioner’s identification of Ground 2A with Mendelson-1988 and Inokawa.
See Pet. 2, 66. This would exalt form over substance, which we decline to
do. The nature of Petitioner’s reliance on Mendelson ’799 as evidence of
the understanding of a person of ordinary skill in the art, in support of
Ground 2A, is explained clearly in the Petition. See id. at 73–75, 91. Thus,
the Petition complies with 35 U.S.C. § 312(a)(3).
      We conclude Petitioner has demonstrated by a preponderance of the
evidence that claim 26 is unpatentable as having been obvious over
Mendelson-1988 and Inokawa.




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                        4.    Claims 3, 6–13, and 16

      Claim 3 depends indirectly from claim 1 to add “the circular wall
creates a gap between the surface and the light permeable cover.” Ex. 1001,
45:16–22 (claims 2 and 3); Ex. 1002, 351 (Certificate of Correction
changing “cove” to “cover” in claim 3). Claims 6–13 and 16 depend,
directly or indirectly, from claim 3. See id. at 45:30–61, 46:4–7.
      For claim 3, Petitioner relies solely on Dr. Kenny’s second mapping
of the claimed “cover” to Petitioner’s proposed modification of
Mendelson-1988’s sensor. See Pet. 79–80; Ex. 1003 ¶ 184. This is shown
by Dr. Kenny in the following illustration (Ex. 1003 ¶ 184):




In this modified and annotated version of Figure 2B of Mendelson-1988,
Dr. Kenny identifies how Mendelson-1988’s light permeable cover (“LPC”)
may be modified to have a protrusion, wherein the cover includes “only the
lens portion, which lies above the underlying sealing portion” in a “two-part
structure . . . as in Nishikawa.” Ex. 1003 ¶¶ 178–181 (citing Ex. 1023,
Figs. 5–6, ¶¶ 22, 32, 34–38) (addressing claim 1); id. ¶¶ 184–186
(addressing claim 3). Dr. Kenny’s annotations also identify how this second
mapping provides a “gap” between the “Surface” of the housing and the


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cover. In support, Dr. Kenny cites a dictionary definition of the term “gap”
as meaning “a separation in space.” Id. ¶ 185; Pet. 80; Ex. 1017
(Merriam-Webster’s Collegiate Dictionary, 11th ed. (©2005)), 515
(definition 4a). Dr. Kenny additionally finds “the size of the gap . . . would
be defined, in part, by” the AIRPAX package wall which he has annotated in
green, because that wall “surrounds the epoxy structure and serves as a mold
that define[s] its overall height and, by extension, the size of the gap.”
Ex. 1003 ¶ 186.
      Patent Owner objects that Petitioner’s second mapping “arbitrarily”
draws a line defining the bottom of the cover in “an undifferentiated mass
of material.” PO Resp. 52–54 (citing Ex. 2007, 355:12–359:5); Ex. 2004
¶¶ 115–120. In Patent Owner’s view, this “does not create a ‘gap’” between
the surface of the housing and the cover. PO Resp. 53–54; Ex. 2004 ¶¶ 117,
120. Patent Owner asserts “the ‘gap’ of claim 3 requires a ‘break’ . . .
between the cover and the surface,” and “[t]here is no such ‘break’ in
Petitioner’s combination.” PO Resp. 54 (citing Ex. 1001, 36:45–49,
Fig. 14D; Ex. 1017, 515 (definition 1a) (“a break in a barrier”)); Ex. 2004
¶¶ 118, 120. Patent Owner additionally asserts Petitioner’s second mapping
does not establish that the AIRPAX package wall “creates a gap between the
surface and the light permeable cover,” as recited in claim 3, because the
AIRPAX package wall “does not correspond to the size of any gap” and
“extends beyond Petitioner’s alleged ‘gap.’” PO Resp. 55; Ex. 2004 ¶ 121.
      Petitioner replies that “the ‘line’ between the LPC/cover and the
epoxy encapsulation layer underneath is not arbitrary, instead being formed,
for instance, by a common manufacturing technique” disclosed by
Nishikawa. Pet. Reply 30; Ex. 1047 ¶ 62. Petitioner also argues “the height


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of [the AIRPAX package wall] necessarily impacts the position of the cover,
in turn impacting the size of the ‘gap’ between the cover and the surface.”
Pet. Reply 30; Ex. 1047 ¶ 62.
      Patent Owner’s sur-reply reiterates the arguments on this issue. See
Sur-reply 24.
      Upon review of the foregoing, we conclude Petitioner’s case for the
obviousness of claim 3 falls short. Petitioner’s identification of the bottom
border of the “cover” in Petitioner’s second mapping is arbitrary, and is not
supported by a preponderance of the evidence. In particular, this is not “how
a POSITA would have understood a ‘cover’ structure” to be found in
Mendelson-1988. Ex. 2004 ¶ 117. Dr. Kenny does not provide any
persuasive reasoning in support of his definition of the “cover” as ending at
the bottom border he has identified. See Ex. 1003 ¶¶ 178–181, 184–186;
Ex. 1047 ¶¶ 61–62; Ex. 2007, 355:12–359:5. We perceive no such
reasoning, apart from an impermissible hindsight desire to shoehorn
Mendelson-1988’s disclosure into the confines of claim 3.
      Dr. Kenny relies on Nishikawa in this regard. Figure 6 of Nishikawa
is reproduced below:




Figure 6 is a sectional view of a lens-equipped light-emitting diode device,
including sealing portion 40 that “seals a light-emitting diode 22 and a


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bonding wire 23,” and lens unit 50. Ex. 1023 ¶¶ 22, 30. Sealing portion 40
and lens unit 50 may both comprise “[a] thermosetting resin or a UV curing
resin, such as a transparent epoxy resin and transparent silicone.” Id. ¶ 32.
Dr. Kenny relies on Nishikawa’s disclosure that sealing portion 40 and lens
unit 50 may be formed in separate injection molding steps, leading to a
defined border between them which is shown as a horizontal line in
Figure 6. Id. ¶¶ 34–35. Thus, Nishikawa does establish, as Dr. Kenny
testifies, that Mendelson-1988’s epoxy layer could have been formed in a
two-step injection molding process, leading to a border between two layers
of epoxy. See Ex. 1003 ¶¶ 178–179, 181, 186; Ex. 1047 ¶ 62.
      However, Dr. Kenny errs in “focus[ing] on what a skilled artisan
would have been able to do, rather than what a skilled artisan would have
been motivated to do.” Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d
1056, 1068–69 (Fed. Cir. 2018) (citing InTouch, 751 F.3d at 1352).
Dr. Kenny does not provide any persuasive motivation for using
Nishikawa’s two-step molding process within the context of
Mendelson-1988’s sensor. Thus, we conclude Dr. Kenny “succumbed to
hindsight bias in [his] obviousness analysis.” InTouch, 751 F.3d at 1352.
      Further, even if we were to accept Dr. Kenny’s testimony of a “gap”
being present in Mendelson-1988 by Nishikawa’s two-step injection
molding process, we are not persuaded that the AIRPAX package wall
“creates” this gap as is further recited in claim 3. See Ex. 1003 ¶ 186;
Ex. 1047 ¶ 62. Dr. Kenny testifies in support that “the size of the gap . . .
would be defined, in part, by” the wall, which “serves as a mold that
define[s] [the gap’s] overall height and, by extension, the size of the gap.”
Ex. 1003 ¶ 186. This testimony is belied by Dr. Kenny’s own illustration, in


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which the bottom border of the “cover” is located underneath the top edge of
the AIRPAX package wall. See id. ¶ 184. In no way does the AIRPAX
package wall create the gap. Instead, the gap is created by the height of the
lower layer of epoxy laid down in Nishikawa’s first injection molding step.
See Ex. 1047 ¶ 62.
      For the foregoing reasons, we conclude Petitioner has not
demonstrated by a preponderance of the evidence that claim 3, and its
dependent claims 6–13 and 16, are unpatentable as having been obvious
over Mendelson-1988 and Inokawa.

                  5.     Claims 2, 4, 14, 17–22, and 27–30
      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of contending claims 2, 4, 14, 17–22, and 27–30 are
unpatentable as having been obvious over Mendelson-1988 and Inokawa.
Pet. 78–79, 80–81, 86, 87–89, 92–95; Ex. 1003 ¶¶ 182–183, 188, 203,
205–210, 218–226. In defense of these claims, Patent Owner relies solely
on arguments relating to independent claims 1 and 26. See, e.g., PO
Resp. 60. For the reasons provided in Sections III.I.2 and III.I.3 above in
relation to claims 1 and 26, we conclude Patent Owner’s defense is
unavailing.
      Concerning dependent claims 2, 4, 14, 17–22, and 27–30, we find a
preponderance of the evidence supports Petitioner’s contentions that
Mendelson-1988’s sensor exhibits the limitations recited in these claims,
applying Dr. Kenny’s first mapping of the claimed “cover,” or that such
limitations would have been obvious to implement in Mendelson-1988,




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based on the evidence cited and the reasons provided in the Petition, which
we adopt as our own here. See Pet. 78–79, 80–81, 86, 87–89, 92–95.
        Thus, we conclude Petitioner has demonstrated by a preponderance of
the evidence that claims 2, 4, 14, 17–22, and 27–30 are unpatentable as
having been obvious over Mendelson-1988 and Inokawa.

  J.         Ground 2B — Obviousness over Mendelson-1988, Inokawa, and
                              Mendelson-2006

        In Ground 2B, Petitioner argues claims 23 and 24 of the ’265 patent
would have been obvious over Mendelson-1988, Inokawa, and
Mendelson-2006. Pet. 2, 95–98. This ground is essentially a combination of
Grounds 1C and 2A discussed above, with Aizawa being replaced by
Mendelson-1988. Patent Owner’s opposition to this Ground 2B relies solely
on arguments presented against Grounds 1C and 2A, which are discussed
above. See PO Resp. 60. For reasons provided above in connection with
those grounds, we conclude Petitioner has demonstrated by a preponderance
of the evidence that claims 23 and 24 are unpatentable as having been
obvious over Mendelson-1988, Inokawa, and Mendelson-2006.

       K.      Ground 2C — Obviousness over Mendelson-1988, Inokawa,
                         Mendelson-2006, and Beyer

        In Ground 2C, Petitioner argues claim 25 of the ’265 patent would
have been obvious over Mendelson-1988, Inokawa, Mendelson-2006, and
Beyer. Pet. 2, 98–99. This ground is essentially a combination of
Grounds 1E and 2A discussed above, with Aizawa being replaced by
Mendelson-1988. Patent Owner’s opposition to this Ground 2C relies solely
on arguments presented against Grounds 1E and 2A, which are discussed
above. See PO Resp. 60. For reasons provided above in connection with

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  those grounds, we conclude Petitioner has demonstrated by a preponderance
  of the evidence that claim 25 is unpatentable as having been obvious over
  Mendelson-1988, Inokawa, Mendelson-2006, and Beyer.

                    IV.   SUMMARY OF CONCLUSIONS

         In summary, we determine a preponderance of the evidence
  establishes claims 1–4, 6–14, and 16–30 of the ’265 patent are unpatentable,
  as shown in the following table:14

                                                    Claims       Claims
                 35 U.S.C.
  Claim(s)                        References        Shown       Not Shown
                     §
                                                  Unpatentable Unpatentable
1–4, 6–14, 16,                                    1–4, 6–14, 16,
17, 19–23,       103          Aizawa, Inokawa     17, 19–23,
26–29                                             26–29
1–4, 6–14, 16,                                    1–4, 6–14, 16,
                              Aizawa, Inokawa,
17, 19–23,       103                              17, 19–23,
                              Ohsaki
26–29                                             26–29
                              Aizawa, Inokawa,
23, 24           103                              23, 24
                              Mendelson-2006




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     Should Patent Owner wish to pursue amendment of the challenged claims
  in a reissue or reexamination proceeding subsequent to the issuance of this
  decision, we draw Patent Owner’s attention to the April 2019 Notice
  Regarding Options for Amendments by Patent Owner Through Reissue or
  Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
  16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
  or a request for reexamination of the challenged patent, we remind Patent
  Owner of its continuing obligation to notify the Board of any such related
  matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).



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                                Aizawa, Inokawa,
23, 24             103
                                Goldsmith, Lo15
                                Aizawa, Inokawa,
25                 103          Mendelson-2006,       25
                                Beyer
1–4, 6–14,                      Mendelson-1988,       1, 2, 4, 14,
                   103                                                    3, 6–13, 16
16–22, 26–30                    Inokawa               17–22, 26–30
                                Mendelson-1988,
23, 24             103          Inokawa,              23, 24
                                Mendelson-2006
                                Mendelson-1988,
                                Inokawa,
25                 103                                25
                                Mendelson-2006,
                                Beyer
Overall                                               1–4, 6–14,
Outcome                                               16–30


                                    V.      ORDER

           In consideration of the foregoing, it is hereby:
           ORDERED that claims 1–4, 6–14, and 16–30 of the ’265 patent have
     been proven by a preponderance of the evidence to be unpatentable; and
           FURTHER ORDERED that, because this is a final written decision,
     parties to this proceeding seeking judicial review of our Decision must
     comply with the notice and service requirements of 37 C.F.R. § 90.2.




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        As explained above in Section III.G, we do not reach this ground, to
     conserve the Board’s resources in considering multiple challenges to
     claims 23 and 24.

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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01521
                       United States Patent No.: 10,292,628 B1
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
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      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01521
   DATE                                         DESCRIPTION
09/02/2020   Petition for Inter Partes Review
09/02/2020   Petitioner’s Power of Attorney
09/21/2020   Patent Owner’s Mandatory Notices
10/19/2020   Notice of Filing Date Accorded
01/08/2021   Petitioner’s Updated Exhibit List
01/19/2021   Patent Owner’s Notice of Waiver of Preliminary Response
04/14/2021   Decision - Institution of Inter Partes Review Proceeding
04/14/2021   Scheduling Order
04/28/2021   Patent Owner’s Objection to Evidence
05/20/2021   Petitioner’s Motion to Submit Supplemental Information
05/26/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
06/01/2021   Petitioner’s Submission of Supplemental Information
06/15/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
06/28/2021   Patent Owner’s Amended Notice of Deposition - Thomas W. Kenny
07/09/2021   Patent Owner’s Response
07/16/2021   Petitioner’s Objections to Evidence
10/01/2021   Petitioner’s Reply to Patent Owner’s Response
10/08/2021   Patent Owner’s Objection to Evidence
10/20/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
11/12/2021   Patent Owner’s Sur Reply
11/19/2021   Petitioner’s Objections to Evidence
12/02/2021   Petitioner’s Oral Hearing Request
12/03/2021   Patent Owner’s Request for Oral Argument
12/14/2021   Petitioner’s Updated Mandatory Notices
12/17/2021   Order Setting Oral Argument
12/21/2021   Patent Owner’s Updated Mandatory Notice
01/07/2022   Patent Owner’s Updated Mandatory Notice
01/10/2022   Petitioner’s Updated Mandatory Notices
01/14/2022   Patent Owner’s Demonstratives for Trial Hearing
01/14/2022   Petitioner’s Updated Exhibit List
02/16/2022   Oral Hearing Transcript
04/11/2022   Final Written Decision
04/12/2022   Notice of Appeal
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Trials@uspto.gov                                                    Paper 33
571-272-7822                                            Date: April 11, 2022




       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE INC.,
                             Petitioner,

                                    v.
                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01521
                         Patent 10,292,628 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
COCKS, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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                              I.   INTRODUCTION

                                   A. Background

      Apple Inc. (“Petitioner”) filed a Petition (Paper 2, “Pet.”) pursuant to
35 U.S.C. §§ 311–319 to institute an inter partes review of claims 1–30
(“challenged claims”) of U.S. Patent No. 10,292,628 B1 (Ex. 1001, “the
’628 patent”). We instituted the petitioned review (Paper 7, “Institution
Decision” or “Inst. Dec.”).
      Masimo Corporation (“Patent Owner”) filed a Patent Owner Response
(Paper 15, “PO Resp.”) to oppose the Petition. Petitioner filed a Reply
(Paper 17, “Pet. Reply”) to the Patent Owner Response. Patent Owner filed
a Sur-reply (Paper 20, “Sur-reply”) to the Reply. We conducted an oral
hearing on January 19, 2022. A transcript has been entered into the record
(Paper 32, “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b)(4) and § 318(a). This
Decision is a final written decision under 35 U.S.C. § 318(a) and 37 C.F.R.
§ 42.73 as to the patentability of claims 1–30 of the ’628 patent. We
determine Petitioner has shown by a preponderance of the evidence that
those claims are unpatentable.

                               B. Related Matters

      The parties identify the following matters related to the ’628 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,258,265 B1);




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      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB
Sept. 9, 2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug.
31, 2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB
Sept. 2, 2020) (challenging claims of U.S. Patent No. 10,588,554 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB
Sept. 2, 2020) (challenging claims of U.S. Patent No. 10,588,554 B2).
Pet. 98, Paper 3, 1.
      Patent Owner further identifies numerous issued and abandoned
applications that are said to claim priority to, or share a priority claim with,
the ’628 patent. Paper 3, 3.

                               C. The ’628 Patent

      The ’628 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on May 21,
2019, from U.S. Patent Application No. 16/261,326, filed January 29, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’628 patent discloses a two-part
data collection system including a noninvasive sensor that communicates
with a patient monitor. Id. at 2:31–33. The sensor includes a sensor
housing, an optical source, and several photodetectors, and is used to


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measure a blood constituent or analyte, e.g., oxygen or glucose. Id. at 2:55–
3:5. The patient monitor includes a display and a network interface for
communicating with a handheld computing device. Id. at 2:38–40.
      Figure 1 of the ’628 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 5:26–29, 11:36–37. Sensor 101 includes
optical emitter 104 and detectors 106. Id. at 11:48–50. Emitters 104 emit
light that is attenuated or reflected by the patient’s tissue at measurement site
102. Id. at 13:60–64. Detectors 106 capture and measure the light
attenuated or reflected from the tissue. Id. In response to the measured
light, detectors 106 output detector signals 107 to monitor 109 through front-
end interface 108. Id. at 13:64–67, 14:16–22. Sensor 101 also may include
tissue shaper 105, which may be in the form of a convex surface that:




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(1) reduces the thickness of the patient’s measurement site; and (2) provides
more surface area from which light can be detected. Id. at 10:51–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines
measurements for desired analytes . . . based on the signals received from
the detectors 106.” Id. at 15:10–14. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id.
at 15:38–42. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:52–16:3.
      The ’628 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:34–37. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 36:15–35. Figure 14F
illustrates a detector shell 306f including detectors 1410c on substrate 1400c.

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Id. at 36:62–37:3. Substrate 1400c is enclosed by shielding enclosure 1490
and noise shield 1403, which include window 1492a and window 1492b,
respectively, placed above detectors 1410c. Id. Alternatively, cylindrical
housing 1430 may be disposed under noise shield 1403 and may enclose
detectors 1410c. Id. at 37:34–36.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A (left) and 4B (right) illustrate arrangements of protrusion 405
including measurement contact area 470. Id. at 23:8–14. “[M]easurement
site contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, the measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:31–33. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:39–53.

                            D. Illustrative Claim

      Of the challenged claims, claims 1, 7, and 20 are independent.
Claim 1 is illustrative and is reproduced below.
      1. A noninvasive optical physiological sensor comprising:

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                [a] a plurality of emitters configured to emit light into
         tissue of a user;
                [b] a plurality of detectors configured to detect light that
         has been attenuated by tissue of the user, wherein the plurality of
         detectors comprises at least four detectors;
                [c] a housing configured to house at least the plurality of
         detectors; and
                [d] a light permeable cover configured to be located
         between tissue of the user and the plurality of detectors when the
         noninvasive optical physiological sensor is worn by the user,
         wherein the cover comprises an outwardly protruding convex
         surface configured to cause tissue of the user to conform to at
         least a portion of the outwardly protruding convex surface when
         the noninvasive optical physiological sensor is worn by the user
         and during operation of the noninvasive optical physiological
         sensor, and wherein the plurality of detectors are configured to
         receive light passed through the outwardly protruding convex
         surface after attenuation by tissue of the user.
Ex. 1001, 44:36–56 (bracketed identifiers [a]–[d] added). Independent
claims 7 and 20 include similar limitations. Id. at 45:9–22; 46:12–34.

                            E. Evidence Relied Upon
         Petitioner relies on the following references:
Reference                     Publication/Patent Number                   Exhibit
Aizawa              U.S. Patent Application Publication No.               1006
                    2002/0188210 A1, filed May 23, 2002,
                    published December 12, 2002.
Inokawa             Japanese Patent Application Publication               1007,
                    No. 2006-296564 A, filed April 18, 2005,              1008 1
                    published November 2, 2006.
Ohsaki              U.S. Patent Application Publication No.               1014
                    2001/0056243 A1, filed May 11, 2001,
                    published December 27, 2001.


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    Exhibit 1008 is an English translation of Exhibit 1007.

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Reference                  Publication/Patent Number                  Exhibit
Mendelson-       “A Wearable Reflectance Pulse Oximeter for           1016
2006             Remote Physiological Monitoring,” Proceedings
                 of the 28th IEEE EMBS Annual International
                 Conference, 912–915 (2006).
Beyer            U.S. Patent No. 7,031,728 B2 issued April 18,        1019
                 2006.
Goldsmith        U.S. Patent Application Publication No.              1027
                 2007/0093786 A1, filed July 31, 2006,
                 published April 26, 2007.
Lo               U.S. Patent Application Publication No.              1028
                 2004/0138568 A1, filed June 15, 2003,
                 published July 15, 2004.
Mendelson-       “Design and Evaluation of a New Reflectance          1015
1988             Pulse Oximeter Sensor,” Worcester Polytechnic
                 Institution, Biomedical Engineering Program,
                 Worcester, MA 01609; Association for the
                 Advancement of Medical Instrumentation, Vol.
                 22, No. 4, 1988, 167–173.

Pet. 1–2.
      Petitioner also relies on the declaration testimony of Thomas W.
Kenny, Ph.D. (Exhibits 1003 and 1047). Patent Owner relies on the
declaration testimony of Vijay K. Madisetti, Ph.D. (Exhibit 2004).




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                              F. Asserted Grounds
         We instituted an inter partes review based on the following grounds:
    Claim(s) Challenged      35 U.S.C. §             References/Basis
    1–15, 17, 20–26, 28         103            Aizawa, Inokawa
    1–15, 17, 20–26, 28           103          Aizawa, Inokawa, Ohsaki

    18, 19, 29, 30                103          Aizawa, Inokawa, Mendelson-
                                               2006, Beyer
    18, 19, 29, 30                103          Aizawa, Inokawa, Goldsmith,
                                               Lo
    1–17, 20–28                   103          Mendelson-1988, Inokawa

    18, 19, 29, 30                103          Mendelson-1988, Inokawa,
                                               Mendelson-2006, Beyer

                                 II. ANALYSIS
                              A. Principles of Law
         A claim is unpatentable under 35 U.S.C. § 103 if the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious before the
effective filing date of the claimed invention to a person having ordinary
skill in the art to which said subject matter pertains. See KSR Int’l Co. v.
Teleflex Inc., 550 U.S. 398, 406 (2007). The question of obviousness is
resolved on the basis of underlying factual determinations, including (1) the
scope and content of the prior art; (2) any differences between the claimed
subject matter and the prior art; (3) the level of skill in the art; and (4)
objective evidence of non-obviousness. 2 Graham v. John Deere Co., 383
U.S. 1, 17–18 (1966). When evaluating a combination of teachings, we
must also “determine whether there was an apparent reason to combine the


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    Patent Owner does not present objective evidence of non-obviousness.

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known elements in the fashion claimed by the patent at issue.” KSR, 550
U.S. at 418 (citing In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)).
Whether a combination of prior art elements would have produced a
predictable result weighs in the ultimate determination of obviousness. Id. at
416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                    B. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 3–4 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have
also had a Master of Science degree in a relevant academic discipline with
less than a year of related work experience in the same discipline.” Id. at 4.
      Patent Owner “applies Petitioner’s level of skill.” PO Resp. 10;
Ex. 2004 ¶¶ 36–39. Patent Owner emphasizes that this level of skill requires
no specific education or experience “with optics or optical physiological
monitors” or “in physiology,” and instead “focuses on data processing and
not sensor design.” PO Resp. 10; Ex. 2004 ¶ 37.


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      The level of ordinary skill in the art offered by Petitioner is reasonable
based on the record and is agreed to by the parties. We also determine it is
consistent with the ’628 patent claims and the prior art of record. We adopt
Petitioner’s expressed level of ordinary skill in the art in this Decision.

                            C. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Although both parties contend that no claim term
requires express construction (Pet. 3; PO Resp. 10), we discern from the
substance of the parties’ briefing that there is a dispute that emerges for the
claim term “cover.”

      1. “cover”
      Each of independent claims 1, 7, and 20 requires “a light permeable
cover.” Ex. 1001, 44:44, 45:18, 46: 22.
      Patent Owner argues that the claimed “cover” must be construed to
exclude “an optically clear adhesive/epoxy” and a “resin on a surface.” PO
Resp. 51–52. According to Patent Owner, “the ’628 Patent distinguishes a
resin on a surface from a cover, explaining: ‘the cylindrical housing 1430
(and transparent cover 1432) . . . can protect the detectors 1410c and
conductors 1412c more effectively than currently-available resin epoxies.’”
Id. at 51 (quoting Ex. 1001, 36:35–45).
      Patent Owner alleges that Dr. Kenny also “distinguished a sealing
resin from a cover, acknowledging a ‘layer of sealing resin’ is ‘one way to
protect the components without using a cover.’” Id. at 51–52 (quoting


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Ex. 2009, 395:22–396:17). Patent Owner argues that its construction is
consistent with how a person of ordinary skill in the art would have
understood the term based upon the state of the art at the time of filing.
Id. at 52 (citing Ex. 1008 ¶ 103, Fig. 17; Ex. 1023 ¶ 35; Ex. 1027 ¶ 85,
Fig. 9B; Ex. 2004 ¶ 114).
      Petitioner replies that “there is nothing in the specification or the
prosecution history [of the ’628 patent] that would lead a [person of ordinary
skill in the art] to conclude that ‘cover’ should be interpreted based on
anything other than its plain meaning.” Pet. Reply 28 (citing Thorner v.
Sony Computer Entertainment America LLC, 669 F.3d 1362, 1368 (Fed. Cir.
2012)). That plain meaning, according to Petitioner, is that “a cover is
merely ‘something that protects, shelters, or guards.’” Id. (quoting
Ex. 1050; citing Pet. 70–73; Ex. 1047 ¶ 56). Petitioner argues that Patent
Owner’s reliance on the ’628 patent Specification takes certain text out of
context, and when this context is considered, it is clear that “the epoxy resin
to which the ’628 patent compares its cover is not [an] epoxy cover . . . but
rather epoxy that is applied to solder joints.” Id. at 28 (citing Ex. 1001,
36:41–45; Ex. 1047 ¶ 58).
      Petitioner also contends that Patent Owner “mischaracterizes
Dr. Kenny’s deposition testimony to say he agreed that ‘sealing resin’ is
somehow distinguished from a cover.” Pet. Reply 28. Rather, Petitioner
contends that Dr. Kenny simply “clarified that using a sealing resin is ‘a
pretty common way to protect electronic components.’” Id. at 28–29 (citing
Ex. 2009, 395:22–396:17; Ex. 1047 ¶ 57). Further according to Petitioner,
“such extrinsic evidence would not justify departure from plain meaning
under Thorner.” Id. at 29.



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      Patent Owner maintains in response that the ’628 patent Specification
disclosure at issue “specifically distinguishes a ‘resin’ on a surface from a
‘cover,’” and Petitioner’s reading of this disclosure is not persuasive.
Sur-reply 21–24.
      Upon review of the foregoing, we disagree with Patent Owner’s
limiting construction of the term “cover” to exclude epoxy and resin. The
plain and ordinary meaning of the term does not support Patent Owner’s
construction. A “cover” ordinarily connotes “something that protects,
shelters, or guards.” Ex. 1050 (Merriam-Webster’s Collegiate Dictionary,
11th ed. (©2005)), 288. That plain and ordinary meaning is consistent with
the ’628 patent’s description of “flex circuit cover 360, which can be made
of plastic or another suitable material . . . [and] can cover and thereby protect
a flex circuit (not shown).” Ex. 1001, 22:63–23:4. It also is consistent with
the ’628 patent’s description and illustration of “transparent cover 1432” in
Figure 14D, which covers and protects detectors 1410c and
conductors 1412c, and which “can be fabricated from glass or plastic, among
other materials.” See id. at 36:27–45 (emphasis added), Figs. 14D–14E.
      This is not the situation in which a special definition for a claim term
has been set forth in the specification with reasonable clarity, deliberateness,
and precision, so as to give notice of the inventor’s own lexicography. See
Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir.
2005); In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994). Nor do we
discern that Patent Owner “demonstrate[d] an intent to deviate from the
ordinary and accustomed meaning of a claim term by including in the
specification expressions of manifest exclusion or restriction, representing a




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clear disavowal of claim scope.” Teleflex, Inc. v. Ficosa North America
Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).
      Here, based upon our review of the intrinsic evidence, no such special
definition or express disavowal of the term “cover” to exclude epoxy and
resin exists. Patent Owner relies on the following description of Figure 14D
in that regard:
      In certain embodiments, the cylindrical housing 1430 (and
      transparent cover 1432) forms an airtight or substantially airtight
      or hermetic seal with the submount 1400c. As a result, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c from fluids and vapors that can cause
      corrosion.    Advantageously, in certain embodiments, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c more effectively than currently-available resin
      epoxies, which are sometimes applied to solder joints between
      conductors and detectors.
Ex. 1001, 36:36–45 (emphases added). First, the sentence cited by Patent
Owner begins with the phrase “in certain embodiments,” which indicates the
claimed invention is open to other embodiments, so there is no lexicography
or disavowal here. Second, we agree with Petitioner’s reading of this
sentence as distinguishing the prior art from the claimed invention based on
the location of the material (being applied only to solder joints between
conductors and detectors in the prior art, as opposed to covering the
conductors and detectors in the invention) and not the type of material.
Third, at best, the ’628 patent expresses a preference for a cover to be made
of glass or plastic, because such materials provide “more effective[]”
protection than resin epoxies that were known to the inventors of the
’628 patent when it was filed. See id. at 36:41–45. But even this reading
recognizes that resin epoxies provide some amount of protection, albeit



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perhaps a lesser amount than glass or plastic, and is not excluded from
forming the material of a cover.
         Dr. Kenny’s deposition testimony cited by Patent Owner also does not
persuade us that, in the context of the ’628 patent, an epoxy or resin is
excluded from the material of a cover. Dr. Kenny testifies that “a layer of
sealing resin” “[c]ould” be used to protect the electronic components in a
sensor (Ex. 2009, 395:22–396:8). He was then asked “So that would be one
way to protect the components without using a cover, correct?” to which he
answered “[t]here are many ways to protect the elements other than using a
cover” and maintained his proposed combination of prior art has a “cover”
to achieve purposes other than protecting electronic components. Id.
at 396:9–17. He did not squarely testify that sealing resin could never be a
cover.
         Accordingly, in the context of the ’628 patent, we do not construe the
claimed “cover” to exclude epoxy and resin.

         2. Other Claim Terms

         Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is
needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.,
868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need to be
construed “only to the extent necessary to resolve the controversy” (quoting
Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir.
1999))).




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                 D. Obviousness over Aizawa and Inokawa

      Petitioner contends that claims 1–15, 17, 20–26, and 28 of the ’628
patent would have been obvious over the combined teachings of Aizawa and
Inokawa. Pet. 6–43.

      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor worn on
a user’s wrist that detects light output from a light emitting diode and
reflected from a patient’s artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.


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      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of holder
23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Acrylic transparent plate 6 is disposed between holder 23 and the

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user’s wrist 10. Id. ¶¶ 23, 26, 30. Furthermore, “belt 7 is fastened such that
the acrylic transparent plate 6 becomes close to the artery 11 of the wrist 10.
“Since the acrylic transparent plate 6 is provided on the detection face 23a of
the holder 23, adhesion between the pulse rate detector 1 and the wrist 10
can be improved, thereby further improving the detection efficiency of a
pulse wave.” Id. ¶ 30.

      2. Overview of Inokawa (Ex. 1008)

      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device that
may be worn on a user’s wrist. Ex. 1008, code (54), ¶ 56.3
      Figure 1 of Inokawa is reproduced below.




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 Exhibit 1008 is an English translation of Exhibit 1007. In this Decision, all
citations are to the English translation.

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Figure 1 illustrates a perspective view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
        Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 4 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.


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    We understand “LED” to be an acronym for “light emitting diode.”

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        Pulse sensor 1 includes lens 27, which “makes it possible to increase
the light-gathering ability of the LED as well as to protect the LED or
PD[5].” Id. ¶¶ 15, 58. Pulse sensor 1 also uses LEDs 21 and 23 to download
data to a base station, as shown in Figure 3, reproduced below.




Figure 3 illustrates a pulse sensor mounted on base station 17. Id. ¶¶ 60, 66.
Pulse sensor 1 is depicted as mounted to base device 17, which “is a charger
with communication functionality.” Id. ¶ 60. When so mounted, sensor
optical device component 11 and base optical device component 41 face
each other in close proximity. Id. ¶ 66. In this position, pulse sensor 1 can
output information to the base device through the coupled optical device
components. Id. ¶ 67. Specifically, the pulse sensor CPU performs the
controls necessary to transmit pulse information using infrared LED 23 to
photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76.


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    We understand “PD” to be an acronym for “photodiode.”

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      In an alternative embodiment, additional sensor LEDs and base
photodetectors can be used to efficiently transmit data and improve
accuracy. Id. ¶ 111.

      3. Claim 1

            i. “A noninvasive optical physiological sensor comprising”
      The record supports Petitioner’s undisputed contention that Aizawa
discloses a noninvasive optical sensor. 6 Pet. 23; see, e.g., Ex. 1006 ¶ 2
(disclosing “pulse wave sensor for detecting the pulse wave of a subject
from light reflected from a red corpuscle in the artery of a wrist of the
subject by irradiating the artery of the wrist”).

           ii. [1a] “a plurality of emitters configured to emit light into
               tissue of a user;”
               [1b] “a plurality of detectors configured to detect light that
               has been attenuated by tissue of the user, wherein the
               plurality of detectors comprises at least four detectors;”

                    (1) Petitioner’s Undisputed Contentions

      Petitioner contends that Aizawa discloses an emitter—LED 21—and
also states that, in certain embodiments, multiple LEDs may be employed.
Pet. 7, 18. Patent Owner does not dispute this contention, and we agree with
Petitioner. See Ex. 1006 ¶¶ 23 (“LED 21”), 32 (“The arrangement of the
light emitting diode 21 and the photodetectors 22 is not limited to this.”).
For example, Aizawa explains that “[t]he same effect can be obtained when



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 Whether the preamble is limiting need not be resolved, because Petitioner
shows sufficiently that the recitation in the preamble is satisfied by the prior
art.

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the number of photodetectors 22 is 1 and a plurality of light emitting diodes
21 are disposed around the photodetector.” Id. ¶ 33.
      Petitioner also contends that Inokawa teaches a sensor with two
LEDs–a green LED to sense pulse and an infrared LED to sense body
motion. Pet. 10–11, 18. Petitioner further contends that when Inokawa’s
sensor is mounted on a base device, the infrared LED also is used to
wirelessly transmit vital information to the base device. Id. at 21. Patent
Owner does not dispute these contentions, and we agree with them.
Inokawa teaches a pair of LEDs 21, 23, where “the basic function of the S-
side green LED 21 is to sense the pulse from the light reflected off of the
body . . . , while the S-side infrared LED 23 serves to sense body motion
from the change in this reflected light.” Ex. 1008 ¶¶ 58–59. Inokawa also
explains that “vital sign information stored in the memory 63 [of the sensor],
such as pulse and body motion, is transmitted to the base device 17 using the
S-side infrared LED 23 of the pulse sensor 1 and the B-side PD 45 of the
base device 17,” such that “there is no need to use a special wireless
communication circuit or a communication cable.” Id. ¶¶ 76–77.
      The record further supports Petitioner’s undisputed contentions as to
the disclosure of multiple photodetectors in Aizawa. See Pet. 25–26.
Petitioner relies on Aizawa’s disclosure of “four photodetectors 22” that
operate to “detect light ‘reflected by a red corpuscle running through the
artery 11 of the wrist 10 . . . so as to detect a pulse wave.’” Id. (citing
Ex. 1006 ¶¶ 24, 27, 29, 32, Fig. 1(a)).

                    (2) Petitioner’s Disputed Contentions
      Petitioner points to Aizawa’s disclosure of “a centrally located
LED/emitter,” but notes that “Aizawa never specifically identifies the use of


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multiple emitters operating at different wavelengths in conjunction with
multiple detectors.” Pet. 18 (citing Ex. 1006 ¶¶ 23, 33). Petitioner,
however, relies on Inokawa as disclosing “two different types of emitters
‘such as an infrared LED or a green LED’ and that ‘work can be divided
between the various means, with an infrared LED used to detect vital signs
and transmit vital sign information, and a green LED used to detect pulse.’”
Id. (citing Ex. 1008 ¶¶ 14, 44, 58, 59). Petitioner reasons that a person of
ordinary skill in the art “would have found it obvious to incorporate the two
LEDs of Inokawa into Aizawa.” Id. at 24. Petitioner also explains that “[i]t
would have been obvious to split the single LED/emitter of Aizawa into two
LEDs/emitters having different wavelengths to (i) acquire body motion
information for improved pulse detection and/or (ii) more reliably transmit
information from the sensor to a base device with less error.” Id. at 25
(citing Ex. 1008 ¶¶ 7, 14, 44, 48, 58, 59, 60, 62, 77). Furthermore, Petitioner
expresses the following:
        The added ability to measure body movement can allow for a
        more reliable pulse measurement that takes into account and
        corrects for inaccurate readings stemming from body
        movement. Thus, a [person of ordinary skill in the art] would
        have been motivated and found it obvious to divide the single
        emitter of Aizawa, as shown below into two emitters operating
        at two difference wavelengths.




Id. at 19 (citing Ex. 1003 ¶¶ 75, 76).

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      Petitioner additionally contends that applying an additional emitter to
Aizawa’s device “merely entails the use of known solutions to improve
similar systems and methods in the same way” and that Inokawa’s teachings
of multiple emitters “would have led to predictable results without
significantly altering or hindering the functions performed by Aizawa’s
sensor.” Id. at 20 (citing KSR, 550 U.S. at 417; Ex. 1003 ¶¶ 77–78).
      As an additional and independent motivation for incorporating a
second emitter in Aizawa, Petitioner contends that, although Aizawa
“contemplates uploading data to a base device,” it “is silent about how such
transmission would be implemented.” Id. at 20–21. According to Petitioner,
however, a skilled artisan would have “recognized that incorporating
Inokawa’s base device and LED-based data transmissions would allow
Aizawa to upload data from its sensor in a way that is wireless (thus
avoiding the problems of a physical cable) and that does not require a
separate RF circuit.” Id. at 22 (citing Ex. 1003 ¶ 81). According to
Dr. Kenny, one of ordinary skill in the art would have “incorporate[d]
Inokawa’s base device and LED-based data transmission into Aizawa’s
sensor to, for instance, ‘make[] it possible to transmit vital sign information
to the base device 17 accurately, easily, and without malfunction’” and
“without having to incorporate a separate RF circuit into Aizawa’s wrist
sensor.” Ex. 1003 ¶ 81 (citing Ex. 1008 ¶ 7). Petitioner further reasons that
Inokawa’s data transmission disclosure that incorporates two emitters or
LEDs provides for increased accuracy of data transmission. Id. at 21–22
(citing Ex. 1003 ¶¶ 82, 83).




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                    (3) Patent Owner’s Contentions

      Patent Owner disputes Petitioner’s contentions regarding the
obviousness of modifying Aizawa to include two emitters. See, e.g., PO
Resp. 35–41; Sur-reply 14–17. According to Patent Owner, “[n]either
Aizawa nor Inokawa discloses both a plurality of emitters and at least four
detectors.” PO Resp. 35 (citing Ex. 2004 ¶ 79). Patent Owner, thus, is of
the view that the teachings of the noted references would not have suggested
associating multiple emitters with the multiple detectors of Aizawa’s sensing
device.
      In particular, Patent Owner first argues that neither Aizawa nor
Inokawa discloses a device with both multiple detectors and multiple
emitters in the same sensor, because Aizawa’s embodiments have either a
single emitter and multiple detectors (e.g., Ex. 1006, Fig. 1(a)) or multiple
emitters and a single detector (e.g., id. ¶ 33), and Inokawa discloses multiple
emitters and a single detector (e.g., Ex. 1008, Fig. 2). See PO Resp. 35–36
(citing, e.g., Ex. 1006 ¶ 33, Figs. 1, 2, 4, 5; Ex. 1008 ¶ 58, Fig. 2; Ex. 2004
¶¶ 79–80). Patent Owner concludes, therefore, that there would have been
no reason for a person of ordinary skill in the art to have added a second
emitter to Aizawa, when Aizawa already discloses an embodiment with
multiple LEDs, i.e., an embodiment with only a single detector. Id. at 36–37
(citing, e.g., Ex. 2004 ¶ 81–83).
      Patent Owner also argues that the evidence does not support either of
Petitioner’s two proffered motivations for modifying Aizawa to include two
emitters. As to the first motivation (to measure body movement using a
second emitter), Patent Owner asserts that Dr. Kenny erroneously testifies
that Aizawa cannot perform such measurement with its single emitter. Id.


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at 37 (citing, e.g., Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10; Ex. 2004 ¶ 84).
Patent Owner argues that “Dr. Kenny incorrectly believed that Aizawa’s
sensor attempts to prevent motion rather than account for it” but that
“Aizawa expressly states that it provides a ‘device for computing the
amount of motion load from the pulse rate.’” Id. (citing Ex. 1006 ¶ 15; Ex.
2004 ¶ 84).
      As to Petitioner’s second motivation (to enable transmission of data to
a base device using an optical communication link), Patent Owner argues
that “Aizawa already includes a wireless transmitter . . . so Aizawa does not
need to incorporate Inokawa’s base-device [optical] data transmission
arrangement.” PO Resp. 38 (citing, e.g., Ex. 1006 ¶¶ 23, 28, 35; Ex. 2004
¶¶ 85–86). Indeed, Patent Owner argues that “Dr. Kenny acknowledged
Aizawa does not indicate there are any problems with Aizawa’s form of data
transmission.” Id. (citing Ex. 2007, 409:13–410:2). Patent Owner further
argues that “Aizawa’s goal is ‘real-time measuring’ with the transmitter
‘transmitting the measured pulse rate data to a display’” but that “Inokawa’s
base device, however, only transmits pulse rate data ‘when the pulse sensor
. . . is mounted onto the base device.’” Id. at 38–39 (citing, e.g., Ex. 1008,
Abstract). Patent Owner also contends that “[r]eplacing Aizawa’s wireless
transmission with a base-device-transmitter eliminates the ability to take and
display real-time measurements, one of Aizawa’s stated goals, while
increasing power consumption and cost.” Id. at 39 (citing Ex. 2009, 381:18–
382:8, 383:22–385:9, 390:5–392:3; Ex. 2004 ¶ 86). Patent Owner insists
that Inokawa does not aid Petitioner’s case, because Inokawa discloses the
benefits of using a second emitter in only two situations, i.e., first, to
improve over a “mechanically-connected system,” e.g., with a cable for



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communication, and, second, to avoid use of a “dedicated wireless
communication circuit,” whereas “Aizawa already uses wireless
transmission to provide real-time measurements.” Id. at 39–40 (citing, e.g.,
Ex. 1008 ¶ 4; Ex. 2004 ¶ 87).
      Patent Owner further contends that Petitioner and Dr. Kenny
overlooked further complications that would ensue from modifying Aizawa
to have two emitters. Patent Owner argues that Dr. Kenny did not address
issues of thermal interference with sensor performance in adding a second
LED to a physiological sensor, which would require “structural changes.”
PO Resp. 40–41 (citing, e.g., Ex. 1003 ¶ 76; Ex. 2004 ¶ 88; Ex. 2012, 59–
60; Ex. 2007, 379:17–21, 384:16–388:16, 389:17–390:20). Patent Owner
also argues that Dr. Kenny “acknowledged that changing the size of the
emitter cavity could affect the optical performance of the device,” but that
necessary “redesign” requirements are absent from his testimony and the
Petition. Id. at 56–57 (citing, e.g., Ex. 2007, 394:11–395:17).

                   (4) Petitioner’s Reply
      As to Petitioner’s first motivation, Petitioner contends that adding an
additional LED enables the sensor to distinguish between blood flow and
body movement, which provides a “more reliable” pulse measurement, and
constitutes Petitioner’s proposed improvement to Aizawa. Pet. Reply 22
(citing, e.g., Ex. 1003 ¶¶ 76; Ex. 2007, 401:11–402:4; Ex. 1047 ¶ 46).
Moreover, Petitioner expresses that by using multiple LEDs at different
wavelengths, “two separate signals” can be collected, which “allows noise
arising from body motion to be better isolated and accounted for.” Id. at 22–
23 (citing Ex. 1047 ¶ 46–47).



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      As to Petitioner’s second motivation, Petitioner maintains that
Inokawa’s use of two emitters having different wavelengths to upload data
to a base device using optical communication advantageously improves the
accuracy of the transmission by providing “checksum” information. Id.
at 23 (citing, e.g., Ex. 1003 ¶ 82; Ex. 1008 ¶¶ 44, 48, 111; Ex. 2007, 407:7–
408:20, 416:5–15; Ex. 1047 ¶ 48).
      In connection with the “other complications” that Patent Owner
alleges would result from the proposed modification, Petitioner urges that
“such minor issues are ‘part of what [a person of ordinary skill in the art]
would bring . . . to the problem and would know how to make the changes
needed.’” Id. at 24 (quoting Ex. 2007, 384:8–388:12; Ex. 1047 ¶ 49).

                    (5) Patent Owner’s Sur-reply
      With respect Petitioner’s first proposed motivation, Patent Owner
argues that Inokawa’s disclosure is as sparse as Aizawa’s disclosure
regarding how to use optical data to measure body movement. Sur-reply 15
(citing Ex. 1008 ¶ 59). Patent Owner also asserts that “Petitioner cites
nothing in Inokawa that suggests” that Inokawa’s two emitter data gathering
is more reliable or otherwise superior to Aizawa’s single emitter data
gathering. Id.
      Concerning Petitioner’s second motivation, Patent Owner argues that
the proposed modification eliminates Aizawa’s ability to conduct “real-time
collection and display of physiological measurements—a key goal of
Aizawa’s system.” Id. at 15–16.
      Patent Owner also notes that Petitioner does not dispute that the
proposed modification would cause problems such as “additional cost,



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energy use, and thermal problems” that would ensue from using two emitters
in the Aizawa device. Id. at 17.

                   (6) Discussion
      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s views that it, in light of Inokawa’s
teachings, it would have been obvious to replace Aizawa’s single near
infrared LED 21 with an infrared LED and a green LED.
      First, a person of ordinary skill in the art would have had reason to
make this replacement to improve the pulse measurements recorded by
Aizawa’s detector 1. Inokawa teaches that the infrared LED’s signal can be
used “to detect vital signs” such as “body motion,” and the green LED’s
signal can be “used to detect pulse.” Ex. 1008, Fig. 2, ¶¶ 14, 58–59;
Ex. 1003 ¶¶ 68, 80, 83–85; Ex. 1047 ¶¶ 46–47.
      Patent Owner correctly points out that Aizawa describes its
single-emitter detector 1 as transmitting pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only disclosure in Aizawa cited by Patent
Owner as relating to computing a motion characteristic of the user. Further,
we are unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear precisely what Aizawa proposes to do with the
computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 46
(“Aizawa does not even say whether it uses the computed motion load to
improve the detection signal.”). Aizawa, however, does describe the motion



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load as being computed “from the pulse rate,” rather than being an input to
the pulse rate calculation. Ex. 1006 ¶¶ 15, 35.
      In a deposition for other proceedings related to this inter partes
review (see supra § I.B), Dr. Kenny was asked whether it was his
understanding that “Aizawa’s sensor could not account for motion load?”;
Dr. Kenny answered that “Aizawa’s sensor attempts to prevent motion load
rather than account for it.” Ex. 2007, 400:7–11 (deposition for IPR2020-
01520, IPR2020-01537, and IPR2020-01539). He explained that, because
Aizawa uses only a single emitter with a single wavelength, “what [Aizawa]
sees as a signal would be some mixture of pulse rate and motion load if there
was no effort to prevent motion load,” so Aizawa seeks to solve the problem
of “prevent[ing] motion load from corrupting the pulse rate signal.” Id.
at 400:12–401:10. Dr. Kenny did not further explain this distinction
between preventing and accounting for motion load in his deposition
testimony cited by the parties as relating to this issue. Id. at 400:7–402:4.
We do not rely on this distinction as a basis for our present decision, because
we find no express support for it in Aizawa’s disclosure (see Ex. 1006 ¶¶ 15,
28, 35), and it is not explained in persuasive detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a person
of ordinary skill in the art, upon reviewing Inokawa’s disclosure of using
two emitters of different wavelengths to calculate a user’s pulse and motion
separately, would understand that these two separate measurements would
enable the device to calculate a “more reliable” pulse rate because it “allows
noise arising from body motion to be better isolated and accounted for.”
Ex. 1047 ¶ 47; see Ex. 1003 ¶¶ 76–78. Aizawa does not disclose using the
computed motion load in this fashion, so it appears that this would improve



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upon the accuracy of Aizawa’s pulse measurements, by using the computed
motion load to isolate and account for noise. See Ex. 1006 ¶¶ 15, 28, 35.
      Dr. Madisetti also offers no meaningful opposing testimony in this
regard. See, e.g., Ex. 2004 ¶ 84. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of
adding the bare ability to measure body movement to Aizawa. See id. Yet,
Dr. Kenny further testified that it would have been beneficial to use the
measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶¶ 76–78; Ex. 1047 ¶ 47. Dr. Madisetti does not address that
testimony. See Ex. 2004 ¶ 84.
      Thus, because Dr. Madisetti’s testimony does not directly address the
entirety of Dr. Kenny’s testimony in this regard, Dr. Kenny’s testimony
stands unrebutted on this point in the record before us. Dr. Kenny’s
testimony also makes intuitive sense. Measuring the user’s motion
separately from the user’s pulse, for example by using two interrogating
emitters of two different wavelengths, would provide a reliable means of
correcting the pulse data for motion artifacts by using the separately
measured motion data, rather than by trying to segregate these two
components in the single data stream provided by Aizawa’s single emitter
device. See, e.g., Ex. 1047 ¶ 47. We, therefore, are persuaded by
Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.
      Independently, we are also persuaded that a person of ordinary skill in
the art would have been motivated to replace Aizawa’s single near infrared
LED 21 with an infrared LED and a green LED, to provide a reliable method
of uploading pulse data stored by Aizawa’s wrist-worn pulse rate detector 1



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to another device for display to the user. Inokawa expressly touts such
optically-based uploading of data from Inokawa’s wrist-worn sensor 1 to
Inokawa’s base device 17 as a benefit of incorporating two emitters in
sensor 1. See Ex. 1008, Figs. 3, 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa
identifies two specific benefits of this optically-based data communication
means. First, the infrared LED can transmit the pulse data, and the green
LED can separately transmit “checksum” information to increase the
accuracy of data transmission. Id. at Fig. 19, ¶¶ 14, 109–111. Second, using
light emitters in this fashion to perform two functions (data collection by
emitting light into the user’s wrist, and data transmission by emitting light to
photodetectors in a base device) obviates the need for providing “a special
wireless communication circuit [in the wrist-worn sensor 1] or a
communication cable.” Id. ¶¶ 3–7, 76–77.
      Patent Owner correctly points out that Aizawa already has
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. Nevertheless, Aizawa’s
Figure 1(b) illustrates transmitter 4 only as an empty box contained within
outer casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to the other
device. See id.
      Patent Owner contends, and Dr. Madisetti and Dr. Kenny both testify,
that Aizawa’s transmitter 4 is a “wireless” transmitter. See, e.g.,
PO Resp. 38; Ex. 2004 ¶¶ 85–87; Ex. 2007, 403:17–22, 414:19–21. They all
appear to equate “wireless” communication to radio frequency



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communication, and not to include optical communication, even though both
radio frequency and optical communication do not use a wire. Based on the
foregoing testimony, we assume, for this decision, that Aizawa contemplates
radio frequency communication as one embodiment by which transmitter 4
may transmit data to devices other than detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert that Aizawa’s “goal” is to
measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., Ex. 2004 ¶¶ 86–87. We find that Aizawa
does not support this assertion. Instead, Aizawa discusses prior art devices
that “estimat[e] a burden on the heart of a person who takes exercise by
real-time measuring his/her heart rate at the time of exercise” (Ex. 1006 ¶ 4
(emphasis added)), and then describes Aizawa’s detector 1 as having a
transmitter for transmitting the measured pulse rate data to another device
for display (id. ¶ 15). Aizawa does not indicate when this transmission
occurs. Aizawa also refers to “noise caused by the shaking of the body of
the subject” as a problem to be addressed (id. ¶ 6), but this problem occurs
regardless of whether the shaking results from exercise or the normal
movement of the user’s wrist over the course of the day. Thus, Aizawa does
not tout, as an important feature of Aizawa’s invention, the real time display
of pulse rate data during exercise, regardless of whether the data gathered by
Aizawa’s wrist-worn detector 1 is transmitted wirelessly or otherwise. Id.
¶¶ 4, 6, 15.
      No doubt, a person of ordinary skill in the art would have viewed the
capability of a wrist-worn pulse detector to transmit its pulse data to another
device for display in real time while the user is exercising to be a desirable



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feature in some cases, even if this is not one of Aizawa’s specifically stated
goals. See, e.g., Ex. 1003 ¶ 68 (Dr. Kenny stating: “By wirelessly
transmitting the collected data wirelessly, Mendelson-2006’s system
provides ‘numerous advantages,” including the ability to determine the
condition of a subject ‘remotely’”); Ex. 2009, 393:6–14 (in a deposition for
other related proceedings, Dr. Kenny agreeing that a person of ordinary skill
in the art “would have seen the ability to wirelessly transmit collected data
as an advantage”). Nonetheless, Inokawa expressly discloses that, in other
cases, the benefits achieved by wireless transmission can be outweighed by
obviating the need for the wrist-worn sensor to include a special wireless
communication circuit. See Ex. 1008 ¶¶ 3–7 (discussing problems
associated with wireless transmission, such as the need for a dedicated
circuit, which is avoided by Inokawa’s system that risks “few malfunctions”
and has a “simple structure”), 76–77 (“As a result, there is no need to use a
special wireless communication circuit . . . , which makes it possible to
transmit vital sign information to the base device 17 accurately, easily, and
without malfunction.”). We therefore conclude that Petitioner’s case for
obviousness in this regard is supported by a preponderance of the evidence.
See, e.g., In re Urbanski, 809 F.3d 1237, 1243–44 (Fed. Cir. 2016) (persons
of ordinary skill in the art may be motivated to pursue desirable properties of
one prior art reference, even at the expense of foregoing a benefit taught by
another prior art reference).
      We disagree with Patent Owner’s argument that Petitioner’s case for
obviousness is deficient on the basis that neither Aizawa nor Inokawa
expressly discloses a wrist-worn sensor device that has both a plurality of
emitters and at least four detectors, as claim 1 recites. Obviousness does not



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require “‘some motivation or suggestion to combine the prior art teachings’
[to] be found in the prior art.” KSR, 550 U.S. at 407, 415–418. Nor does it
require the bodily incorporation of Inokawa’s device into Aizawa’s device.
See, e.g., In re Keller, 642 F.2d 413, 425 (CCPA 1981) (test for obviousness
is not whether the features of one reference may be bodily incorporated into
the structure of the other reference, but rather is “what the combined
teachings of the references would have suggested to those of ordinary skill
in the art”); see also In re Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir.
1986) (nonobviousness is not established by attacking references
individually when unpatentability is predicated upon a combination of prior
art disclosures). Instead, “[a] person of ordinary skill is also a person of
ordinary creativity, not an automaton,” and “in many cases a person of
ordinary skill will be able to fit the teachings of multiple patents together
like pieces of a puzzle.” KSR, 550 U.S. at 420–421.
      In this case, we are persuaded that a person of ordinary skill in the art
would have been motivated to modify Aizawa’s wrist-worn detector 1 to
replace its single near infrared LED 21 with an infrared LED and a green
LED, based on Inokawa, for all the reasons provided above. A person of
ordinary skill in the art would additionally have known to keep all four
detectors 22 that are already present in Aizawa’s detector 1, so that “[e]ven
when the attachment position of the sensor is dislocated, a pulse wave can be
detected accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9, 27. In short,
the combination of Aizawa and Inokawa teaches that having multiple
emitters is beneficial, and having multiple detectors is beneficial, for
different and not inconsistent reasons.




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      Finally, we agree with Petitioner’s position that any thermal
interference and power consumption issues that may arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of a person of ordinary skill in the art to solve.
We credit Dr. Kenny’s testimony in this regard. See, e.g., Ex. 1003 ¶¶ 77–
78; Ex. 1047 ¶ 49. Indeed, Dr. Kenny recognizes that Aizawa already
discloses adding additional emitters. Ex. 1003 ¶ 77 (citing Ex. 1006 ¶ 32).
Dr. Kenny further testifies that this modification “amount[s] to nothing more
than the use of a known technique [i.e., Inokawa’s use of two emitters in a
wrist-worn pulse detector] to improve similar devices [i.e., Aizawa’s
wrist-worn pulse detector] in the same way, and combining prior art
elements according to known methods to yield predictable results.” Id. ¶ 78.
      Patent Owner cites portions of Dr. Kenny’s deposition testimony that,
in Patent Owner’s view, indicate Dr. Kenny fails to appreciate the
significance of optical interference complications posed by adding a second
emitter to Aizawa’s device, and fails to explain how this would have been
overcome. See PO Resp. 40–41 (citing Ex. 2007, 394:11–395:17). We have
reviewed this deposition testimony, and we conclude that Patent Owner
overstates its significance. It establishes, at most, that Dr. Kenny did not
expressly address this issue in his declaration (Exhibit 1003), but
Dr. Kenny’s opinion is that this would have been within the capability of a
person of ordinary skill in the art to resolve. Based on the evidentiary record
presented to us, we agree with Dr. Kenny. For example, Inokawa discloses a
wrist-worn pulse sensor 1 having two emitters 21 and 23 in close proximity
to each other. See Ex. 1008, Figs. 1–2. An artisan must be presumed to
know something about the art apart from what the relied-upon references



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disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962). Consistent
with Dr. Kenny’s testimony, it follows readily from the teachings of the
prior art that an ordinarily skilled artisan would have reasonably understood
how to implement two emitters as a part of Aizawa’s sensor device,
including addressing routine design considerations as a part of such
implementation. See, e.g., Ex. 1003 ¶¶ 77–78; Ex. 1047 ¶¶ 48–49.
      Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how issues that
arise from adding a second emitter to Aizawa would have been solved.
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult for a person of ordinary skill in the art to solve, in
the context of Aizawa’s device or wrist-worn pulse sensing devices in
general. See, e.g., Ex. 2004 ¶ 88.
      On the record at hand, we conclude that a person of ordinary skill in
the art would have had adequate reason to replace Aizawa’s single near
infrared LED 21 with an infrared LED and a green LED, and would have
had a reasonable expectation of success in doing so.

          iii. “[1c] a housing configured to house at least the plurality of
               detectors, and”
      The record supports Petitioner’s undisputed contentions as to the
disclosure of the above-noted housing feature in Aizawa. See Pet. 26.
Petitioner points to Aizawa’s disclosure of “a holder 23 for storing the above
light emitting diode 21 and the photodetectors 22.” Id. (quoting Ex. 1006
¶¶ 23, 24). We are satisfied that Petitioner sufficiently accounts for the
housing feature of claim 1.




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             iv. “[1d] a light permeable cover configured to be located
                 between tissue of the user and the plurality of detectors when
                 the noninvasive optical physiological sensor is worn by the
                 user, wherein the cover comprises an outwardly protruding
                 convex surface configured to cause tissue of the user to
                 conform to at least a portion of the outwardly protruding
                 convex surface when the noninvasive optical physiological
                 sensor is worn by the user and during operation of the
                 noninvasive optical physiological sensor, and wherein the
                 plurality of detectors are configured to receive light passed
                 through the outwardly protruding convex surface after
                 attenuation by tissue of the user.”

                     (1) Petitioner’s Contentions
         The record supports Petitioner’s undisputed contentions as to the
above-noted feature. See Pet. 14–17, 27–30. With reference to an annotated
version of Aizawa’s Figure 1(b) (reproduced below), Petitioner contends
that “Aizawa teaches a light permeable cover in the form of an acrylic
transparent plate 6 (blue) that is mounted at the detection face 23a over at
least a portion of the housing to cover the at least four detectors (red).” Id.
at 27.




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The figure above shows Petitioner’s annotated and colorized version of
Aizawa’s Figure 1(b). Petitioner contends that beyond disclosure that the
light permeable cover is an “acrylic transparent plate that helps to improve
‘detection efficiency,’ Aizawa does not provide much other detail, for
instance regarding its shape.” Id. at 14 (citing Ex. 1006 ¶ 30).
       Petitioner, however, reasons that one of ordinary skill in the art would
have “looked to Inokawa to enhance light collection efficiency, specifically
by modifying the light permeable cover of Aizawa to include a convex lens.”
Id. In that regard, Petitioner points to Inokawa’s Figure 2. Petitioner’s
annotated and colorized version of that figure is reproduced below.




Id. at 15. Figure 2 above shows a version of Inokawa’s Figure 2 that
emphasizes the shape of lens 27. Petitioner expresses that “Inokawa teaches
that its cover may be either flat . . . such that ‘the surface is less prone to
scratches’” or may be in the form of the shape shown above to “increase the
light gathering ability of the LED.” Id. at 15 (quoting Ex. 1008 ¶ 15); see



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Ex. 1003 ¶¶ 92–93. Petitioner contends that a person of ordinary skill in the
art “wanting to achieve improved light collection efficiency over reduced
scratch-suseptibility could have modified Aizawa’s cover to have a lens
shape as per Inokawa.” Pet. 17 (citing Ex. 1003 ¶ 96). Petitioner also
contends that a skilled artisan would have had a reasonable expectation of
success in combining those teachings. Id. (citing Ex. 1003 ¶ 96). Petitioner
adds that Aizawa’s “transparent acrylic material . . . can be readily formed
into a lens-like shape as in Inokawa.” Id. (citing Ex. 1003 ¶ 96; Ex. 1023,
Fig. 6, ¶¶ 22, 32, 35).
      Petitioner colorized and annotated version of Aizawa’s Fig. 1(b)
(reproduced below) and contends the device resulting from the obvious
combination of Aizawa and Onokawa would have replaced the flat cover
(left) with a curved one as per Inokawa (right) to “increase the light-
gathering ability.” Id. at 15 (citing Ex. 1008 ¶ 15).




Id. at 16; see Ex. 1003 ¶ 94.
      Further according to Petitioner: “[a person of ordinary skill in the art]
would have understood how to implement Inokawa’s lens-shaped cover in
Aizawa’s device with a reasonable expectation of success.” Pet. 15–17
(citing Ex. 1008, Figs. 16, 17, ¶¶ 15, 106); Ex. 1003 ¶ 98. The shape of the

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modified cover in Dr. Kenny’s illustration of the proposed modification
above is similar to the shape of an LED lens unit illustrated in Exhibit 10237
(hereafter “Nishikawa”), referenced by Petitioner and Dr. Kenny in in
connection with the proposed unpatentability of claims of the ’628 patent
based on Aizawa and Inokawa. Compare Pet. 16–17 (illustrating proposed
modification), with Ex. 1023, Fig. 6, ¶¶ 3, 22, 30, 32, 35 (illustrating lens
unit 50 used with LED 22, and discussing how to make the illustrated
device).
       Limitation [1d] additionally reqiures that the outwardly protruding
convex surface be “configured to cause tissue of the user to conform to at
least a portion of the outwardly protruding convex surface.” With respect to
that tissue conforming aspect, Petitioner additionally reasons that Aizawa’s
light permeable cover “is designed to be pressed on to the skin of the user
with pressure” (Pet. 29 (citing Ex. 1001 ¶¶ 6, 26; Ex. 1003 ¶¶ 97–98)) and
that implementing the convex shape of Inokawa’s lens in Aizawa’s light
permeable cover “will cause the tissue of the user to further conform around
the convex surface of the lens/protrusion when the device is pressed against
the tissue” (id. at 29–30 (citing Ex. 1003 ¶¶ 97–98)).

                    (2) Patent Owner’s Contentions

       Patent Owner contends that the evidence does not support Petitioner’s
argument that it would have been obvious to modify Aizawa’s cover to have
a convex protrusion, in order to improve detection efficiency by directing
incoming light to Aizawa’s photodetectors 22, with a reasonable expectation
of success. PO Resp. 16–35; Sur-reply 1–14; Ex. 1004 ¶¶ 48–78.


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    US 2007/0145255 A1, published June 28, 2007.

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      According to Patent Owner, the evidence establishes that Petitioner’s
proposed modification would direct light toward the center of Aizawa’s
detector 1 where emitter(s) 21 are located, rather than toward the periphery
where detectors 22 are located. PO Resp. 16–19; Ex. 2004 ¶¶ 50–57. Thus,
Patent Owner’s view is that “a [person of ordinary skill in the art] would not
have expected Inokawa’s convex surface to accomplish” the objective of
enhancing light collection efficiency relied upon by Petitioner, because
Petitioner’s proposed modification instead “would direct light away from the
periphery-located detectors” in Aizawa, the opposite result to Petitioner’s
contention. PO Resp. 19–22; Ex. 2004 ¶¶ 60–65.
      In support, Patent Owner points to Inokawa’s Figure 2, in which two
arrows illustrate light that passes through the convex protrusion of lens 27
toward the center of Inokawa’s pulse sensor 1 where detector 25 is located.
PO Resp. 14 (citing Ex. 1008 ¶ 58); Ex. 2004 ¶¶ 43–44. Patent Owner also
points to the ’628 patent’s Figure 14B, which illustrates several light
rays 1420, 1422 passing through a partially cylindrical protrusion 605 to be
centrally focused on detector(s) 1410B. PO Resp. 18–19 (citing Ex. 1001,
36:56–57, 35:64–66; Ex. 2004 ¶¶ 55–57). Patent Owner cites portions of
Dr. Kenny’s deposition testimony that, in Patent Owner’s view, support
Patent Owner’s contentions in these regards. See PO Resp. 2, 18, 19, 23
(citing Ex. 2006, 83:15–84:2, 86:19–87:1, 202:11–204:20).
      Patent Owner also asserts that “Dr. Kenny admitted that the impact of
Inokawa’s convex lens would not be ‘obvious’ in the context of [the]
different configuration of LEDs and detectors” presented by Aizawa.
PO Resp. 20 (citing Ex. 2006, 87:2–6). For example, Patent Owner points
out that “light reaching Aizawa’s detectors must travel in an opposite



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direction from the light in Inokawa.” Id. at 20–22 (citing Ex. 1006,
Fig. 1(b); Ex. 1008, Fig. 2); Ex. 2004 ¶¶ 61–64. In addition, according to
Patent Owner, “Petitioner’s combination is particularly problematic
because” Aizawa uses “small detectors [22] with small openings [of
cavities 23c] surrounded by a large amount of opaque material.”
PO Resp. 22 (citing Ex. 1006, Fig. 1(a)); Ex. 2004 ¶ 65. In support of its
view, Patent Owner cites portions of Dr. Kenny’s deposition testimony. See
PO Resp. 22 (citing Ex. 2006, 257:11–18).
      Patent Owner further argues that Dr. Kenny, during his deposition,
attempted to evade the foregoing problems with his declaration testimony by
“disclaim[ing] Petitioner’s reasoning [for obviousness] and assert[ing] new
and improper opinions” that undermine the reasoning provided in the
Petition. PO Resp. 2, 23–24 (citing Ex. 1003 ¶ 94; Ex. 2004 ¶ 66; Ex. 2006,
65:15–70:7, 108:21–109:14, 198:6–16, 202:11–204:20; Ex. 2009, 310:1–
20). For example, Patent Owner asserts that Dr. Kenny’s attempt to
distinguish between the ’628 patent’s Figure 14B as illustrating a lens that
condenses collimated light toward the center, and Aizawa and Inokawa in
which the lens focuses diffuse light reflected by the user’s body, is not
persuasive and is not supported by record evidence. PO Resp. 24–25 (citing
Ex. 2006, 170:9–171:5; Ex. 2007, 288:13–289:5, 294:17–298:10, 298:11–
299:18, 423:7–424:18); Ex. 2004 ¶¶ 67–68. Patent Owner also objects to
Dr. Kenny’s testimony that, “while a convex lens would generally direct
more light to the center,” it “would also capture some light that otherwise
would not be captured” by Aizawa’s detectors 22, as lacking evidentiary
support other than in the ’628 patent itself which is impermissible hindsight.
PO Resp. 25–26 (citing Ex. 1001, 7:61–63; Ex. 2004 ¶¶ 69–70; Ex. 2006,



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204:21–206:5, 206:22–208:1; Ex. 2007, 294:17–298:10). Patent Owner
moreover asserts that “Dr. Kenny repeatedly distanced himself from his own
combination” of Aizawa and Inokawa by refusing to talk about the specific
shape, size, material, and dimensional tolerances of the combination, so, in
Patent Owner’s view, his testimony falls short because it demonstrates at
most only that the references could have been combined. Id. at 2–3, 26–30
(citing Ex. 1003 ¶¶ 94, 103; Ex. 2004 ¶¶ 71–72; Ex. 2006, 51:14–52:16,
75:20–77:2, 91:9–92:13, 96:20–21, 97:11–21, 100:17–101:18, 132:10–18,
154:4–7, 164:8–16, 189:11–190:3; Ex. 2007, 308:12–309:8, 310:18–311:9,
318:3–6, 324:21–325:19, 333:20–335:4).
      Indeed, according to Patent Owner, because ordinary skill does not
require specific education or experience with optics or optical physiological
monitors (see supra Section II.B): “It strains credibility that a [person of
ordinary skill in the art] . . . could balance all of the factors Dr. Kenny
identified” as affecting the performance of a protruding convex lens in an
optical physiological sensor to reach the claimed invention. PO Resp. 30–31
(citing Ex. 2004 ¶¶ 73–75; Ex. 2006, 51:21–52:16, 93:16–94:15, 100:17–
101:18; Ex. 2009, 347:14–352:18). Patent Owner relies on Dr. Kenny’s
testimony as establishing the complexity of designing optical physiological
sensors. Id. at 3–4, 31 (citing Ex. 2006, 86:19–87:6; Ex. 2007, 331:19–
332:11, 336:11–337:15). Patent Owner concludes Petitioner has failed to
establish a reasonable expectation of success in reaching the invention of
claim 1 based on Aizawa and Inokawa, because Dr. Kenny’s testimony on
this issue “focuses almost entirely on manufacturing.” Id. at 31–32 (citing
Ex. 1003 ¶ 96; Ex. 2004 ¶ 75).




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      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1, because Nishikawa is “not
identified as part of” Ground 1A, which instead “includes only two
references,” Aizawa and Inokawa. PO Resp. 32 (citing Pet. 1–2, 14;
Ex. 1003 ¶¶ 91–96); id. at 34 (citing 35 U.S.C. § 312(a)(3); Intelligent Bio-
Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369 (Fed. Cir.
2016)). Patent Owner asserts Dr. Kenny “relies heavily” on Nishikawa,
particularly “to inform the specific shape of the cover in his combination,
which is found nowhere in Aizawa and Inokawa.” Id. at 32 (citing Pet. 28;
Ex. 2004 ¶¶ 76–77; Ex. 2006, 179:21–180:13; Ex. 2007, 364:2–13;
Ex. 2008, 73:8–12).
      Furthermore, in Patent Owner’s view, Dr. Kenny’s reliance on
Nishikawa “make[s] no sense” because “Nishikawa’s device is not a
physiological sensor” but rather is “an encapsulated LED” that “directs
outgoing light through the encapsulation material and thus focuses on the
emission of light, not the detection of an optical signal.” PO Resp. 34 (citing
Ex. 1023, code (57), ¶¶ 3, 32, 35; Ex. 2004 ¶ 78). Patent Owner contrasts
such disclosure with Aizawa and Inokawa, both of which “detect[] incoming
light that passes through the cover and reaches the detectors,” and which
have a “drastically” smaller scale than Nishikawa’s LEDs. Id. at 34–35
(citing Ex. 1008, Fig. 2; Ex. 2004 ¶ 78).

                   (3) Petitioner’s Reply

      In reply, Petitioner insists “Inokawa’s lens enhances the light-
gathering ability of Aizawa,” which would have motivated an ordinarily
skilled artisan “to incorporate ‘an Inokawa-like lens [having a convex
protrusion] into the cover of Aizawa to increase the light collection


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efficiency.’” Pet. Reply 2–3 (bolding omitted) (citing Pet. 14–16, 28;
Ex. 1003 ¶¶ 91–96; Ex. 1008, Fig. 2, ¶¶ 15, 58). Petitioner dismisses Patent
Owner’s and Dr. Madisetti’s opposition as being “misinformed” regarding
Inokawa’s lens and lenses in general, because “a [person of ordinary skill in
the art] would understand that Inokawa’s lens improves ‘light concentration
at pretty much all of the locations under the curvature of the lens,’ as
opposed to only at a single point at the center.” Id. at 3–4 (quoting
Ex. 2006, 164:8–16); id. at 1, 3–4 (citing PO Resp. 13; Ex. 1041, 89:12–19;
Ex. 1042, 170:12–20); Ex. 1047 ¶¶ 3–5, 19–23.
         For example, Petitioner contends that Patent Owner and Dr. Madisetti
“ignore[] the well-known principle of reversibility” according to Snell’s
law.8 Pet. Reply 4–7 (underlining omitted) (citing Ex. 1043, 80:20–82:20;
Ex. 1049, 101, 106–111; Ex. 1052,9,10 84, 87–92); Ex. 1047 ¶¶ 31–39.
Petitioner contends that Dr. Madisetti was evasive when he was asked to
apply the reversibility principle to the combination of Aizawa and Inokawa
in this case. Pet. Reply 6 (citing Ex. 1041, 89:12–19, 84:2–85:7).
         Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue in the user’s wrist, to be
received by detectors in either Aizawa’s or Inokawa’s pulse sensor, will be


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  Snell’s law describes how a light ray will be refracted when passing
between two mediums having different indices of refraction. See Ex. 1047
¶ 10 (describing and illustrating Snell’s law).
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     Eugene Hecht, Optics (2nd ed. 1990).
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  It is apparent that the page numbering identified by Petitioner for Exhibit
1052 refers to the documents native page numbering and not the page
numbering of the exhibit appearing at the bottom, middle of each page. For
clarity and consistency, in this Decision, we also use the same page
numbering as Petitioner for Exhibit 1052.

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“scattered” and “diffuse” and, therefore, will approach the detectors “from
various random directions and angles.” Pet. Reply 7–8 (citing Ex. 1046,
803; Ex. 2012, 52, 86, 90); id. at 8–10 (annotating Inokawa’s Fig. 2 to
illustrate the cause and nature of the back-scattering); Ex. 2020 ¶ 128;
Ex. 1047 ¶¶ 6–9. This scattered and diffuse light, according to Petitioner,
means that Inokawa’s “lens cannot focus all incoming light at a single point”
at a central location as Patent Owner would have it. Pet. Reply 8 (citing
Ex. 1047 ¶ 6; Ex. 2006, 163:12–164:2). Petitioner asserts this is due to
Snell’s law, and provides several illustrations to illustrate why. Id. at 8–13
(citing Ex. 1043, 80:20–82:20; Ex. 1049, 101; Ex. 1052, 84; Ex. 1047 ¶¶ 6–
18; Ex. 2012, 52, 86, 90; Ex. 2020 ¶ 128).
      Due to the random nature of this scattered light, Petitioner explains
that one of ordinary skill in the art would have understood that “Inokawa’s
lens provides at best a slight refracting effect, such that light rays that
otherwise would have missed the detection area are instead directed toward
that area as they pass through the interface provided by the lens.” Pet.
Reply 14 (citing Ex. 1047 ¶ 18). Petitioner applies this understanding to
Aizawa, and contends that using a lens with a convex protrusion in Aizawa
would “enable backscattered light to be detected within a circular active
detection area surrounding” a central light source, thereby “allowing a larger
fraction of the backscattered light to reach the areas covered by the lens”
including the circular detection area. Id. (citing Ex. 1047 ¶ 18–22; Ex. 1046,
803; Ex. 2006, 164:8–16, 204:21–205:12; Ex. 2012, 86, 90). Dr. Kenny
provides the following illustration of this alleged effect. See Ex. 1047 ¶ 21;
Pet. Reply 14.




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Here, Dr. Kenny has excerpted a portion of his illustration of using a lens
with a convex protrusion (in blue) on top of Aizawa’s pulse rate detector
(with a photodetector, in red) (see Ex. 1003 ¶ 94), and added several dotted
lines that are orthogonal to the lens surface. Pet. Reply 15–16; Ex. 1047
¶¶ 20–22. Dr. Kenny testifies that Snell’s law indicates “the incoming light
rays are refracted in a way that deflects incoming rays somewhat towards
these orthogonal lines,” and that because “these orthogonal lines vary in
orientation most rapidly near the edge, where the illustrated curvature of the
lens surface is the greatest,” using this lens in Aizawa “would lead to an
improvement in the light concentration at the location of the detectors.”
Ex. 1047 ¶¶ 21–22.
      Petitioner further contends that one of ordinary skill in the art, upon
reading Inokawa’s disclosure that its lens 27 “makes it possible to increase
the light-gathering ability of the LED” in an optically-based pulse sensor
device (Ex. 1008 ¶ 15), would have understood that this “general benefit”
could also be achieved within the context of Aizawa’s optically-based pulse
sensor device, and is not limited to “the exact” structure of Inokawa’s
device. Pet. Reply 16 (citing Ex. 1003 ¶¶ 60, 93–95; Ex. 1047 ¶ 23;
Ex. 2006, 88:21–89:1, 89:21–90:3).


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      Petitioner additionally argues that Dr. Madisetti’s testimony in
support of Patent Owner’s position ignores the application of Snell’s law to
the random nature of backscattered light in the context of Aizawa’s and
Inokawa’s pulse sensors, which measure light reflected (i.e., backscattered)
by the user’s tissue. Pet. Reply 14 (citing Ex. 1042, 166:12–182:3);
Ex. 1047 ¶ 17. Petitioner similarly dismisses the applicability of Figure 14B
of the ’628 patent as illustrating the operation of a transmittance-type of
sensor that measures the attenuation of collimated light transmitted through
the user’s body tissue, rather than the reflectance-type sensors of Aizawa
and Inokawa. Id. at 18–19 (citing Ex. 1001, 35:62–64, Fig. 14I; Ex. 1047
¶¶ 24–28; Ex. 2007, 287:12–289:5).
      Petitioner further maintains that Patent Owner’s argument that
Petitioner’s illustrations of the light-focusing properties of a convex lens
discussed in the Petition filed in IPR2020-01520 (Ex. 2019, 39) and relied
upon by Dr. Kenny (Ex. 2020, 119–120) does not demonstrate “that a
convex lens directs all light to the center.” Pet. Reply 18–19 (citing PO
Resp. 16–17, 23; Ex. 1041, 41:7–22, 60:7–61:6). Petitioner contends these
illustrations, instead, “are merely simplified diagrams included to
illustrate . . . one example scenario (based on just one ray and one corpuscle)
where a light permeable cover can ‘reduce a mean path length of light
traveling to the at least four detectors’” as recited in claim 12. Id. (citing
Pet. 39; Ex. 2020 ¶¶ 119–120; Ex. 1047 ¶¶ 29–30).

                    (4) Patent Owner’s Sur-reply

      Patent Owner submits that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. See, e.g., Sur-reply 3 n.3 (objecting to the illustration provided at


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Pet. Reply 14 as being “new”); id. at 5 (“After recognizing the fundamental
error in its proposed combination, Petitioner now attempts to rewrite its
petition” concerning how a lens with a convex protrusion would focus light
in Aizawa’s device); id. at 7 (“Petitioner’s new theory [concerning
reversibility of light rays] is improper, denying [Patent Owner] of the
opportunity to respond with expert testimony, and should be rejected.”); id.
at 10 (“Petitioner next asserts a number of other new theories found nowhere
in the petition.”).
       Patent Owner also contends that Petitioner mischaracterizes Patent
Owner’s position, which is not that Inokawa’s lens with a convex protrusion
“direct[s] ‘all’ light ‘only at a single point at the center’” of the sensor as
Petitioner characterizes it. Sur-reply 1–2 & n.2 (quoting Pet. Reply 3–4, and
citing PO Resp. 2, 14–17, 23–25, 27 and Ex. 2027, 63:7–64:6, 94:20–96:1,
96:18–97:7). Patent Owner’s position, rather, is that Inokawa’s lens
condenses more light (not necessarily all light) “towards a more central
location” (not necessarily at a single, central point) relative to Aizawa’s flat
cover. Id. at 2–3 (quoting PO Resp. 18, and citing Ex. 2004 ¶¶ 34, 44, 51,
53, 54, 57, 67).
       Patent Owner moreover asserts “[t]here can be no legitimate dispute
that a convex surface directs light centrally (and away from the periphery),”
so Petitioner errs in its view that a [person of ordinary skill in the art] would
have used a convex lens with Aizawa’s detector 1 to improve its light
detection efficiency, because Aizawa’s photodetectors 22 are disposed at the
periphery of the device. Sur-reply 3–6 (citing PO Resp. 15–18; Ex. 2006,
164:8–16, 166:10–17, 170:22–171:5; Ex. 2020 ¶¶ 119, 200; Ex. 2027,
181:9–182:5). Patent Owner contends that Petitioner’s argument “that



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Inokawa would improve light-gathering at all locations, regardless of the
location of the LEDs and detectors” is belied by Dr. Kenny’s testimony that
“Inokawa’s benefit would not be clear if Inokawa’s LEDs and detectors
were moved” and “confirmed that a convex surface would direct light
toward the center of the underlying sensor.” Id. at 6 (citing Pet. Reply 3–4;
Ex. 2006, 86:19–87:6, 202:11–204:20).
      Patent Owner argues that Petitioner’s discussion of the principle of
reversibility is “irrelevant” because it “assumes ideal conditions that are not
present when tissue scatters and absorbs light.” Sur-reply 7–8 (citing
Ex. 2027, 17:12–19:2, 29:11–30:7, 31:8–32:3, 38:17–42:6, 207:9–209:21,
210:8–6). The random nature of backscattered light, in Patent Owner’s
view, “hardly supports Petitioner’s argument that light will necessarily travel
the same paths regardless of whether the LEDs and detectors are reversed,”
and is irrelevant to the central issue presented here of “whether a convex
surface—as compared with a flat surface—would collect and focus
additional light on Aizawa’s peripherally located detectors.” Id. at 8–9
(citing Ex. 2006, 86:19–87:6; Ex. 2027, 212:3–14).
      In response to Petitioner’s argument that “due to its protruded shape,
Inokawa’s lens ‘provides an opportunity to capture some light that would
otherwise not be captured’” in Aizawa (Pet. Reply 15), Patent Owner asserts
that “Dr. Kenny was unable to support this new theory with any evidence.”
Sur-reply 11 (citing Ex. 2007, 294:17–298:10). Patent Owner further
contends that Petitioner “fails to consider the greater decrease in light at the
detectors due to light redirection to a more central location.” Id. at 13
(citing Pet. Reply 20; Ex. 2027, 19:16–21:8). Patent Owner expresses that
“the circle of backscattered light’s intensity ‘decreases in direct proportion



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to the square of the distance between the photodetector and the LEDs,’” so
“any purported signal obtained from light redirected from the sensor’s edge
would be relatively weak and fail to make up for the much greater loss of
signal strength when light is redirected away from the detectors and towards
a more central position.” Id. (citing Ex. 1015, 168; Ex. 2027, 49:17–50:13,
57:10–22).

                     (5) Discussion

       Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s view that it would have been obvious to
modify Aizawa’s cover 6 to include a convex lens or protrusion like that
taught in Inokawa, in order to increase the amount of backscattered light that
will be received by Aizawa’s four peripheral detectors 22, as compared with
Aizawa’s existing flat cover.
       It is clear that Aizawa’s and Inokawa’s pulse sensors both gather data
by emitting light into the user’s wrist tissue, and collecting light that reflects
back to the sensor from within the user’s tissue. See, e.g., Ex. 1006,
Figs. 1(b), 2 (sensor 2 has emitter 21 and four detectors 22, all facing a
user’s wrist 10); Ex. 1008, Figs. 1, 2 (sensor 1 has two emitters 21, 23 and
one detector (photodiode 25), all facing the user’s wrist when held in place
by wristband 5). Dr. Kenny testifies, and Patent Owner agrees, that the
reflection of this light by the user’s wrist tissue randomizes the propagation
direction of the reflected light rays. See Ex. 1003 ¶ 128; Ex. 1047 ¶¶ 6–7;
Ex. 2020 ¶ 128; Sur-reply 7–8 (“Even Petitioner admits that tissue randomly
scatters and absorbs light rays . . . .”). This reflection principle is illustrated
by Dr. Kenny’s annotations to Inokawa’s Figure 2 reproduced below:



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Here, Dr. Kenny has modified Inokawa’s Figure 2 (1) by removing two
black arrows, (2) by coloring Inokawa’s light detector in red and Inokawa’s
two light emitters in green, and (3) by adding several green arrows to
illustrate the various directions that light rays may be directed after
impinging on and reflecting off different tissues in the user’s wrist.
Ex. 1047 ¶¶ 6–7.
      This randomized direction of reflected light rays results in
backscattered light that is diffuse, rather than collimated, in nature.
Figure 4.12 of Exhibit 1052 illustrates the difference between diffuse and
collimated light, and is reproduced below:




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This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1052, 87–88. The smooth surface provides specular
reflection, in which the reflected light rays are collimated like the incoming
light rays. See id. The rough surface provides diffuse reflection, in which
the reflected light rays travel in random directions. See id.
      This diffuse nature of the light reflected from the user’s wrist tissue,
which both Aizawa and Inokawa aim to collect to generate pulse data,
suggests that a lens might be useful to increase the amount of collected light
and thereby increase the reliability of the pulse data generated using the
collected light. Indeed, that is taught by Inokawa. Inokawa describes using
its lens 27 to “increase the light-gathering ability” of Inokawa’s light
photodiode or detector 25. Ex. 1008 ¶¶ 15, 58. Although Inokawa refers to
the “LED” such as emitters 21, 23 in that regard (id. ¶ 15), rather than
photodiode 25, it is undisputed that photodiode 25 is the only component of
Inokawa’s sensor 1 that gathers light. Furthermore, there is also no dispute
that Inokawa’s lens 27 is understood to be shaped as a convex protrusion.
See, e.g., Ex. 1003 ¶¶ 92–93 (characterizing Inokawa as teachings a “convex
protrusion that acts as a lens”); PO Resp. 1 (describing Inokawa as teaching
a “convex lens”). Thus, Inokawa demonstrates that it was known in the art
prior to the ’628 patent to use a lens comprising a convex protrusion to focus
diffuse light reflected from body tissue on to the light detecting elements of
a wrist-worn pulse sensor, and to increase the light gathered by the sensor
thereby improving the device’s calculation of the user’s pulse.




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      A preponderance of the evidence supports Petitioner’s view that it
would have been obvious for a person of ordinary skill in the art to apply
Inokawa’s lens technology to Aizawa’s wrist-worn pulse sensor, so as to
improve its light collection in a similar manner versus Aizawa’s existing flat
cover. That is illustrated by the following illustrations provided by
Dr. Kenny:




The illustration at left modifies Aizawa’s Figure 1(b) to show how Aizawa’s
existing flat cover may be modified to incorporate a convex protrusion (in
blue) to act as a light-focusing lens, which covers Aizawa’s four peripheral
light detectors (two shown in red) and central light emitter (colored green).
See Ex. 1003 ¶ 94. The illustration at right zooms in on the portion of this
modification covering one of the detectors, and adds several dotted lines that
are orthogonal to the lens surface. See Ex. 1047 ¶¶ 20–21. We are
persuaded by Dr. Kenny’s testimony that Snell’s law indicates “the
incoming light rays are refracted in a way that deflects incoming rays
somewhat towards these orthogonal lines,” and that because “these
orthogonal lines vary in orientation most rapidly near the edge, where the
illustrated curvature of the lens surface is the greatest,” using the illustrated
lens taught by Aizawa and Inokawa “would lead to an improvement in the
light concentration at the location of the detectors.” Id. ¶¶ 18–22 (applying
Snell’s law to the prior art); id. ¶¶ 8–17 (discussing Snell’s law in the
abstract).



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      Patent Owner correctly notes that Inokawa’s single detector 25 is
located in the central portion of Inokawa’s sensor 1, whereas Aizawa’s four
detectors 22 are located more towards the periphery of Aizawa’s sensor 2.
Compare Ex. 1008, Fig. 2, with Ex. 1006, Figs. 1(a)–1(b). Nevertheless,
Petitioner’s proposed modification of Aizawa takes that circumstance into
account, as can be seen by the following comparison between Inokawa’s
sensor and Petitioner’s proposed modification of Aizawa’s sensor:




The illustration at left annotates Inokawa’s Figure 2 to identify the central
detector in red and the lens in light blue (see Ex. 1003 ¶ 95), and the
illustration at right annotates Petitioner’s proposed modification of Aizawa
to illustrate the peripheral detectors in red and the lens in light blue (see id.
¶ 97). As can be seen, the lenses are not identical. In Inokawa the lens’s
curvature is most pronounced at the center of the lens near the central
detector, and in the proposed modification to Aizawa, the lens’s curvature is
most pronounced at the edges of the lens near the peripheral detectors.
Thus, Dr. Kenny’s proposed modification of Aizawa takes Inokawa’s
general teaching of using a convex protrusion lens to increase the amount of
incoming light directed to a light detector, and applies it to the four light
detectors of Aizawa. See, e.g., id. ¶¶ 95–97; Ex. 1047 ¶¶ 8–22.
      We are cognizant of Patent Owner’s contention that Petitioner’s
ground “improperly” relies upon a reference, Nishikawa, that was not

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identified as a part of the ground of unpatentability styled as being based on
Aizawa and Inokawa. PO Resp. 32. As Patent Owner observes, Dr. Kenny
characterizes his testimony as being “inspired by” or “motivated” in part
based on Nishikawa’s disclosure when it comes to the shape of a convex
lens. See, e.g., PO Resp. 33–34 (citing Ex. 2006, 179:21–180:13; Ex. 2007,
364:2–13; Ex. 2008, 73:8–12). We, however, disagree with Patent Owner
that any impropriety arises from Dr. Kenny’s contemplation of the teachings
of Nishikawa in connection with a convex shape of a lens for a physiological
sensor. The nature of Petitioner’s and Dr. Kenny’s consideration of
Nishikawa is explained in the Petition, even if Nishikawa is not listed as a
third reference in the identification of the ground. See Pet. 16–17
(discussing Nishikawa (Ex. 1023) and Dr. Kenny’s testimony concerning
Nishikawa (Ex. 1003 ¶¶ 95, 96) in proposing the unpatentability of claims of
the ’628 patent.) Indeed, it follows readily from the Petition that a skilled
artisan would have appreciated that Nishikawa’s teachings provide insight as
to how “the transparent acrylic material used to make Aizawa’s plate can be
readily formed into a lens-like shape as in Inokawa.” Pet. 17. Nishikawa
describes how its “lens unit 50” can be a transparent resin formed in the
shape illustrated in Figure 6 by injection molding. Ex. 1023 ¶¶ 22, 32, 35.
Dr. Kenny also explains that Nishikawa’s lens shape design “is intended to
provide curvature in the lens where it can do the most good and otherwise
try to avoid excess use of material in order to create curvature in locations
where it wouldn’t do any good.” Ex. 2006, 179:21–180:13 (emphasis
added).
      Moreover, we observe that a rejection based on obviousness
“require[s] an analysis that reads the prior art in context, taking account of



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‘demands known to the design community,’ ‘the background knowledge
possessed by a person having ordinary skill in the art,’ and ‘the inferences
and creative steps that a person of ordinary skill in the art would employ.’”
Randall Mfg. v. Rea, 733 F.3d 1355, 1362 (Fed. Cir. 2013) (quoting KSR,
550 U.S. at 418). Furthermore, record evidence can be useful to
“demonstrate the knowledge and perspective one of ordinary skill in the art.”
Id.; see also Ariosa Diagnostics v. Verinata Health Inc., 805 F.3d 1359,
1365 (Fed. Cir. 2015) (“Art can legitimately serve to document the
knowledge that skill artisan would bring to bear in reading the prior art
identified as producing obviousness.”)
        As noted above, Dr. Kenny makes clear that his view as to
obviousness of the claims of the ’628 patent was “inspired by” or
“motivated” in part by Nishikawa’s teachings as to shapes generally known
to those in the art in considering manufacturing a lens. See, e.g., Ex. 2007,
364:2–13; Ex. 2008, 73:12–21. We conclude that the record establishes that
Nishikawa’s teachings are representative of background knowledge of one
of ordinary skill in the art and provide context and perspective of a skilled
artisan as to the type of shapes available for the convex protruding surface
disclosed in Inokawa. That Dr. Kenny considered record evidence cited in
the Petition as informing his view of what a skilled artisan would understand
as to known types of lens shapes as a part of the Aizawa and Inokawa
ground does not establish, in our view, any impropriety as part of that
ground.
      Patent Owner also contends that Petitioner’s modification of Aizawa
“fails to consider the greater decrease in light at the detectors due to light
redirection to a more central location.” Sur-reply 12–13 (citing Ex. 1015,



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168; Ex. 2027, 19:16–21:8, 49:17–50:13, 57:10–22). Dr. Kenny
acknowledges that, when a convex protrusion is added to Aizawa’s flat
cover, “some . . . [light] rays that would have hit the detectors [using a flat
cover] are refracted away from the detectors” by the convex protrusion. See
Ex. 2027, 19:16–21:8 (emphasis added). Dr. Kenny also acknowledges
“there is a decrease in the light as you move away from the location of the
emitter towards the perimeter of the sensor,” which is a “rapid” decrease,
perhaps “with the square of the distance” or “exponential[ly].” Id. at 49:1–
50:13, 57:10–22.
      Dr. Kenny, nonetheless, maintains that a person of ordinary skill in
the art “would understand how to take advantage of the detector locations
and the shape of this convex surface so as to obtain an improvement [in
Aizawa] in the amount of light arriving at the detectors,” despite the
foregoing considerations. Id. at 20:9–22:18 (emphasis added) (citing
Ex. 1047 ¶ 44), 213:12–19, 214:6–215:6. That testimony is persuasive. In
particular, the difference in the length traveled by the light rays depending
on whether Aizawa’s wrist-worn sensor 2 uses a flat plate 6 or a convex
plate 6 is extremely small. See, e.g., Ex. 1006, Fig. 1(b), ¶ 26 (dotted line
arrows show paths of light from emitter 21 to reflect off artery 11 in wrist 10
and return to detectors 22); id. at Fig. 2 (showing detector 1 mounted on a
user’s wrist, suggesting the general scale of detector 1); Ex. 1047 ¶¶ 8–22
(discussing typical light refractions by lenses in wrist-worn pulse sensors).
Based on this scale, it is reasonable to conclude, as Dr. Kenny does, that the
central light lost by adding a protrusion will be outweighed by the peripheral
light gained by adding a protrusion, despite the greater distance traveled by




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the peripheral light rays and the concomitant loss of intensity acknowledged
by Dr. Kenny.
        Patent Owner additionally asserts, and Dr. Madisetti testifies, that
Petitioner’s combination of Aizawa and Inokawa is “problematic” because it
overlooks the “small” size of Aizawa’s detectors 22 and the openings or
cavities 23c in which they are housed. See PO Resp. 22 (citing Ex. 1006,
Figs. 1(a)–1(b), Ex. 2004 ¶ 65; Ex. 2006, 257:11–18). Patent Owner,
however, does not meaningfully articulate what significance the size of
Aizawa’s detector components have in the obviousness evaluation based on
the teachings of the prior art.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition. See, e.g., Sur-reply 2–14. The Petition
proposed a specific modification of Aizawa to include a convex protrusion
in the cover, for the purpose of increasing the light gathering ability of
Aizawa’s device. See, e.g., Pet. 13–17. Patent Owner, in its Response, then
challenged that contention with several arguments that Petitioner’s proposed
convex protrusion would not operate in the way the Petition alleges it would
operate. See, e.g., PO Resp. 12–41. In its Reply, Petitioner proceeded to
provide arguments and evidence attempting to rebut the contentions in the
Patent Owner Response. See PTAB Consolidated Trial Practice Guide
(Nov. 2019) 11, 73 (“A party also may submit rebuttal evidence in support of
its reply.”). The Reply does not change Petitioner’s theory for obviousness;
rather, the Reply presents more argument and evidence in support of the



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same theory for obviousness presented in the Petition. Compare Pet. 13–16,
with Reply 2–20.
      Patent Owner finally argues that a conclusion of obviousness “strains
credibility” because the level of ordinary skill in the art (see supra
Section II.B) does not require specific education or experience with optics or
optical physiological monitors. See, e.g., PO Resp. 30–31. We disagree.
Concerning motivation, an ordinarily skilled artisan would have readily
appreciated from the record at hand that: (1) Aizawa’s detector 1 operates
by gathering light data with its photodetectors 22; (2) an optical lens would
be useful to focus the light on to the photodetectors; and (3) optical lenses
often are formed by providing a convex protrusion in the lens to focus light.
Indeed, Inokawa discloses such utility, function, and structure as a part of its
convex lens. See, e.g., Ex. 1008 ¶¶ 15, 58, Fig. 2.
      Concerning reasonable expectation of success in using a convex
protrusion lens to increase the amount of light directed to Aizawa’s
photodetectors, we rely on Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood that a lens operates by increasing the
light concentration most where the curvature of the lens is the greatest,
which leads to Dr. Kenny’s proposed lens for use in Aizawa. See, e.g.,
Ex. 1003 ¶¶ 92–95; Ex. 1047 ¶¶ 8–10, 15–22; Ex. 2006, 179:21–180:13,
202:11–20. We are persuaded that a person of ordinary skill in the art would
have understood this general concept of optics.
      Thus, we conclude that one of ordinary skill in the art would have had
adequate reason to replace Aizawa’s flat cover 6 with a cover comprising a
convex protrusion, to improve light detection efficiency, and would have
had a reasonable expectation of success in doing so.



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           v. Summary

      Based on the foregoing arguments and evidence, we conclude that
Petitioner has demonstrated by a preponderance of the evidence that claim 1
would have been obvious over Aizawa and Inokawa.

      4. Claims 2–15, 17, 20–26, and 28
      As with claim 1, Petitioner provides argument and evidence, including
testimony from Dr. Kenny, in support of its position that claims 2–15, 17,
20–26, and 28 are unpatentable over Aizawa and Inokawa. Pet. 30–43.
Claims 2–6 ultimately depend from claim 1. Claims 7 and 20 are
independent claims that are similar in scope to claim 1. Claims 8–15, 21–
26, and 28 ultimately depend from either claim 7 or claim 20. Patent Owner
does not advance any arguments for claims 2–15, 17, 20–26, and 28 that are
distinct from those provided for claim 1. For the same reasons set forth in
section II.D.3 above, we find Patent Owner’s arguments unavailing as to
claims 2–15, 17, 20–26, and 28. We conclude that Petitioner has established
by a preponderance of the evidence that claims 2–15, 17, 20–26, and 28 are
also unpatentable based on Aizawa and Inokawa.

            E. Obviousness over Aizawa, Inokawa, and Ohsaki

      Petitioner also contends that claims 1–15, 17, 20–26, and 28 of the
’628 patent would have been obvious over the combined teachings of
Aizawa, Inokawa, and Ohsaki. Pet. 43–46.

      1. Overview of Ohsaki (Ex. 1014)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and


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discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting

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element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id.

      2. Discussion
      As noted above, we conclude that Petitioner has established that
claims 1–15, 17, 20–26, and 28 would have been obvious over the combined
teachings of Aizawa, and Inokawa. Petitioner points to Ohsaki as providing
“additional motivation and rationale for a [person of ordinary skill in the art]
to modify Aizawa to include a ‘light permeable cover comprising a
protrusion’ as per element [1d].” Pet. 45 (citing Ex. 1003 ¶¶ 142–146). In
that regard, Petitioner contends that “Ohsaki teaches that adding a convex
surface to the light permeable cover (i.e., translucent board 8) can help
prevent the device from slipping on the tissue when compared to a flat
cover.” Id. at 45–46 (citing Ex. 1014 ¶ 25; Ex. 1003 ¶ 144). Petitioner also
contends that a person of ordinary skill in the art “reviewing Aizawa and
Ohsaki would have recognized Ohsaki’s use of a convex protrusion in its



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light permeable cover as a desirable configuration that would help to further
prevent slippage of Aizawa’s device.” Id. at 46.
      Patent Owner first contends that Ohsaki does not remedy the proposed
deficiencies that it had argued with respect to the teachings of Aizawa and
Inokawa, e.g., a sensor having multiple emitters and at least four detectors.
PO Resp. 42–43. As discussed above, however, we do not agree that the
teachings of the prior art are deficient as to such features.
      Patent Owner also challenges Petitioner’s position that a skilled
artisan would have viewed Ohsaki’s teachings as providing reason to
implement a convex surface as a part of Aizawa’s sensor device. In that
regard, Patent Owner discounts Ohsaki’s teachings of a convex cover as
providing any slippage alleviating benefit if such a cover is implemented in
Aizawa’s sensor device. PO Resp. 43–45; Sur-reply 17–20.
      We do not agree with Patent Owner. Patent Owner maintains that any
benefits that Ohsaki attributes to a convex protrusion are realized only when
a sensor and convex surface are placed on the back of the user’s wrist, which
is alleged to be opposite side of the wrist taught by Aizawa. Yet, we note
that Petitioner does not propose bodily incorporating the references;
Petitioner simply proposes adding a convex cover to Aizawa’s sensor,
without discussing where Aizawa’s sensor is used. See, e.g., Pet. 45–46. In
other words, Petitioner’s proposed modification does not dictate any
particular placement, whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance for a user in motion when the
element is attached to the back side of the wrist versus the front side of the



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wrist. See Ex. 1014 ¶¶ 23–24, Figs. 3A–3B. We, however, do not agree that
these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. See, e.g., Ex. 2004 ¶¶ 93.
Instead, Ohsaki acknowledges that, even when the detecting element is
located “on the front [palm] side of the user’s wrist 4, the pulse wave can be
detected well if the user is at rest.” Ex. 1014 ¶ 23 (emphasis added). Thus,
Ohsaki discloses that, in at least some circumstances, a convex surface
located on the front of the user’s wrist achieves benefits. Id. Notably also,
the claims of the ’628 patent are not limited to detection during movement or
exercise.
      Dr. Kenny testifies that a person of ordinary skill in the art would
have understood from Ohsaki that a convex protrusion will help prevent
slippage, even in the context of Aizawa’s sensor. See Ex. 1003 ¶¶ 144–145;
Ex. 1047 ¶¶ 50–52. In our view, Dr. Kenny’s testimony is consistent with
the plain disclosure of Ohsaki. We are cognizant of Dr. Madisetti’s
opposing testimony. See, e.g., Ex. 2004 ¶¶ 93–95. For instance,
Dr. Madisetti testifies that: (1) Ohsaki’s disclosure on this point is
“exceptionally limited” (id. ¶ 93); (2) “a [person of ordinary skill in the art]
would have believed that adding Ohsaki’s protruding surface would have
disrupted the improved adhesion properties reported for Aizawa’s flat plate”
(id. ¶ 95); and (3) Ohsaki’s teachings are “incompatible with Aizawa’s
sensor” (id.).




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      We do not disagree with Dr. Madisetti’s views as to what a skilled
artisan would have gleaned from the teachings of the prior art. It is true that
Aizawa’s plate 6 is illustrated as having a flat surface (Ex. 1006, Fig. 1(b)),
and that Aizawa states the plate “improve[s] adhesion” (id. ¶ 13). Aizawa
further states: “the above belt 7 is fastened such that the acrylic transparent
plate 6 becomes close to the artery 11 of the wrist 10,” and “[t]hereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶ 26. Those disclosures, however, indicate that the improved adhesion is
provided by the acrylic material of plate 6, not the shape of the surface of the
plate, which is never specifically addressed. See also id. ¶¶ 30, 34 (“Since
the acrylic transparent plate 6 is provided . . . adhesion between the pulse
rate detector 1 and the wrist 10 can be improved . . . .”). Aizawa does not
associate this benefit of improved adhesion with the surface shape of the
plate, but rather, with the existence of an acrylic plate to begin with.
      Furthermore, Ohsaki clearly teaches that the convex surface of its
translucent board 8 “is in intimate contact with the surface of the user’s
skin” such that “it is prevented that the detecting element 2 slips off the
detecting positions of the user’s wrist 4.” Ex. 1014 ¶ 25; see also id. ¶ 27
(“The detecting element 2 is stably fixed to the user’s wrist 4.”). We credit
Dr. Kenny’s testimony, over that of Dr. Madisetti, that a skilled artisan
would have been motivated by such teachings to apply a cover with a
convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
user’s wrist. See, e.g., See Ex. 1003 ¶¶ 144 (“[a]mong other thing, Ohsaki
teaches that adding a convex surface to its translucent board 8 (i.e., light
permeable cover) can help prevent the device from slipping on the tissue of



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the wearer compared to using a flat cover without such a protrusion” (citing
Ex. 1014 ¶ 25)), 145 (“a [person of ordinary skill in the art] in possession of
both Aizawa and Ohsaki would have recognized that Ohsaki’s addition of a
convex protrusion to its light permeable cover could be similarly
implemented in Aizawa’s device to help achieve the two references’ shared
goal of minimizing slippage” (citing Ex. 1006 ¶¶ 26, 30)); Ex. 1047 ¶¶ 50–
52. We, thus, are persuaded that a person of ordinary skill in the art would
have been motivated to modify Aizawa as proposed, and would have had a
reasonable expectation of success in doing so. The evidence of record
adequately demonstrates that a skilled artisan would have appreciated that
adding a convex cover, such as that taught by Ohsaki, would have improved
adhesion between a sensor, such as that of Aizawa, and a user’s skin, thus
aiding in the prevention of slippage of the sensor device on the user’s skin.
      Accordingly, we conclude that the record adequately supports
Petitioner’s contentions by a preponderance of the evidence that claims 1–
15, 17, 20–26, and 28 would have been obvious in view of Aizawa,
Inokawa, and Ohsaki.

    F. Obviousness over Aizawa, Inokawa, Mendelson-2006, and Beyer

      Petitioner contends that claims 18, 19, 29, and 30 are unpatentable
based on Aizawa, Inokawa, Mendelson-2006, and Beyer. Pet. 46–55.
Claim 18 depends from claim 7 and includes features directed to a processor
that is configured to receive signals indicative of a physiological parameter
of a wearer and output information of those parameters to a mobile phone.
Ex. 1001, 46:1–10. Claim 19 depends from claim 18 and adds the
requirement of a “touch-screen display.” Id. at 46:10–11. Claim 29 depends
from claim 20 and adds a processor features similar to that set forth in


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claim 18. Id. at 47:1–5. Claim 30 depends from claim 29 and adds the
feature of a touch-screen display. Id. at 47:6–7.

      1. Overview of Mendelson-2006 (Ex. 1016)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1016, 912.
      Figure 1 of Mendelson-2006 is reproduced below.




Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 913.




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      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 912–913. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 915. The receiver module includes an
embedded microcontroller, an RF transceiver for communicating with the
sensor module, and a wireless module for communicating with the PDA. Id.
at 913.
      As a PDA for use with the system, Mendelson-2006 discloses
choosing “the HP iPAQ h4150 PDA because it can support both 802.11b



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and Bluetooth™ wireless communication” and “has sufficient computational
resources.” Id. at 914. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by




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the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

      2. Overview of Beyer (Ex. 1019)

      Beyer is titled “Cellular Phone/PDA Communication System” and
discloses a “cellular PDA communication system for allowing a plurality of
cellular phone users to monitor each others’ location and status.” Ex. 1019,
codes (54), (57). Beyer’s Figure 1 is reproduced below:




Figure 1 shows a plan view of “handheld cellular phone/PDA
communications system” 10. Id. at 7:17–19. System 10 includes touch
display screen 16. Id. at 7:27.

      3. Discussion
      With support from the testimony of Dr. Kenny, Petitioner contends
that each of claims 18, 19, 29, and 30 is unpatentable based on Aizawa,
Inokawa, Mendelson-2006, and Beyer. Pet. 53–55 (citing Ex. 1003 ¶¶ 68–
71, 147–154; Ex. 1006, ¶¶ 215, 23, 35; Ex. 1008 ¶ 56; Ex. 1016, 912–914,


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Fig. 1; Ex. 1019, 1:6–15, 3:29–33; Ex. 1003 ¶¶ 68–70, 147–154). For
instance, Petitioner applies the teachings of Mendelson-2006 and Beyer to
account for the processor features required by each of claims 18 and 29 and
the touch-screen display recited in claims 19 and 30. Id.
      Patent Owner does not separately address this ground urging only that
the ground “does not fix the deficiencies” that were alleged in connection
with the ground based on Aizawa and Inokawa. PO Resp. 45. As discussed
above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D. We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claims 18, 19, 29, and 30 are unpatentable based on Aizawa, Inokawa,
Mendelson-2006, and Beyer.

        G. Obviousness over Aizawa, Inokawa, Goldsmith, and Lo
      Petitioner argues that claims 18, 19, 29, and 30 of the ’628 patent
would have been obvious over Aizawa, Inokawa, Goldsmith, and Lo. Pet. 2,
57–62. Because we have already determined that those claims are
unpatentable based on Aizawa, Inokawa, Mendelson-2006, and Beyer, we
need not reach this additional ground applied to those claims. See Boston
Sci. Scimed, Inc. v. Cook Grp. Inc., 809 F. App’x 984, 990 (Fed. Cir. 2020)
(“[T]he Board need not address issues that are not necessary to the
resolution of the proceeding.”).

            H. Obviousness over Mendelson-1988 and Inokawa

      Petitioner contends that claims 1–17 and 20–28 are unpatentable over
Mendelson-1988 and Inokawa. Pet. 62–87. Patent Owner disagrees. PO
Resp. 45–59. We conclude that a preponderance of the evidence supports


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Petitioner’s assertions that claims 1–17 and 20–28 are unpatentable based on
Mendelson-1988 and Inokawa.

      1. Overview of Mendelson-1988 (Ex. 1015)
      Mendelson-1988 discloses a pulse oximeter, with an optical
reflectance sensor suitable for noninvasive monitoring of a user’s arterial
hemoglobin oxygen saturation (SpO2), via the user’s forehead. See
Ex. 1015, 167 (title & abstract). Figure 2 is reproduced below:




Figure 2 illustrates the sensor of Mendelson-1988, including: (A) a top view
diagram; (B) a side view diagram; and (C) a photograph. Id. at 169.
      The sensor includes two red LEDs and two infrared LEDs for emitting
light into the user’s tissue, and six photodiodes “arranged symmetrically in a
hexagonal configuration” surrounding the four emitters, to detect light
reflected back to the sensor from the user’s tissue. Id. at 168 (“SENSOR
DESIGN”). The user’s “SpO2 can be calculated from the ratio of the

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reflected red and infrared photoplethysmograms.” Id. at 167. “To minimize
the amount of light transmission and reflection between the LEDs and the
photodiodes within the sensor, a ring-shaped, optically opaque shield of
black Delrin . . . was placed between the LEDs and the photodiode chips.”
Id. at 168 (col. 2). “The optical components were encapsulated inside the
package using optically clear adhesive.” Id. “The microelectronic package
was mounted inside a black Delrin housing.” Id.

       2. Claim 1

       Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of its view that claim 1 would have been obvious over
Mendelson-1988 and Inokawa. Pet. 62–72; Ex. 1003 ¶¶ 174–183. In
opposition, Patent Owner provides arguments and evidence, including
testimony from Dr. Madisetti. PO Resp. 45–59; Ex. 2004 ¶¶ 118–125, 201–
202.

            i. Petitioner’s Contentions
       Petitioner contends that Mendelson-1988’s SpO2 sensor discloses
each and every limitation of claim 1, except that its light permeable cover
(i.e., the “OPTICALLY CLEAR EPOXY” in Figure 2B) lacks the claimed
“protruding convex surface.” See Pet. 67–73; Ex. 1003 ¶¶ 171–186.
Petitioner also contends Inokawa’s pulse sensor 1 is a noninvasive optical
measurement device having a light permeable cover (i.e., lens 27)
comprising a convex protrusion arranged to cover its light detector(s) (i.e.,
detector 25). Pet. 70. Petitioner reasons that an ordinarily skilled artisan
would have been motivated, with a reasonable expectation of success, to
modify Mendelson-1988’s optical SpO2 sensor, in light of Inokawa’s optical


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pulse sensor, by adding a convex protrusion to Mendelson-1988’s cover to
improve the sensor’s light detection efficiency. Id. at 65–67.
      Dr. Kenny provides the following illustrations to portray the proposed
modification of Mendelson-1988’s sensor (Ex. 1003 ¶¶ 179–180):




At the left, Dr. Kenny has excerpted and annotated Mendelson-1988’s
Figure 2B, to identify the pre-existing cover (colored blue) which covers the
light emitters and detectors. See id. At the right, Dr. Kenny has illustrated
the device resulting from the proposed modification of the cover to have a
convex protrusion (colored blue). See id.
      Petitioner further asserts “there are two alternative ways of mapping
the claimed ‘light permeable cover,’ or LPC, to the modified cover above.”
Pet. 70; Ex. 1003 ¶¶ 184–185. Dr. Kenny provides the following two
illustrations, annotating Mendelson-1988’s Figure 2B, to identify these
alternative mappings:




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Dr. Kenny’s first mapping (top figure) equates the cover to the entire depth
of the epoxy contained within the AIRPAX package as shown in red outline.
Ex. 1003 ¶ 184. Dr. Kenny’s second mapping (bottom figure) equates the
cover to a partial depth of the epoxy within the package as shown in red
outline. Id. ¶ 185 (“a [person of ordinary skill in the art] would have been
able to use the top portion of the housing, as in Nishikawa, to help form the
LPC portion on top of the sealing portion.”)
      Petitioner adds that “a [person of ordinary skill in the art] would have
realized that the epoxy layer could have been given a shape that would help
further advance Mendelson-1988’s objective of improving detection
efficiency,” “requir[ing] only routine knowledge of sensor design and


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assembly.” Pet. 64, 66 (citing Ex. 1015, 168, 173); Ex. 1003 ¶¶ 176, 181–
182. For example, “as demonstrated by Nishikawa, molding clear epoxy, as
in Mendelson-1988, into a lens shape was well understood.” Pet. 66 (citing
Ex. 1023, Fig. 6, ¶¶ 22, 32, 35, 37).

           ii. Patent Owner’s Contentions

      Patent Owner is of the view that Petitioner has not met its burden to
demonstrate the obviousness of modifying Mendelson-1988’s sensor in light
of Inokawa to have a convex protrusion, based on substantially the same
analysis and testimony discussed above in the context of combining Aizawa
and Inokawa. See PO Resp. 47–50; Ex. 2004 ¶¶ 104–110; supra
Section II.D.3. For example, Mendelson-1988, like Aizawa, provides a
central emitter or emitters surrounded by several detectors. Compare
Ex. 1015, 169 (Fig. 2) (showing four central LEDs surrounded by six
photodiodes), with Ex. 1006, Figs. 1(a)–1(b) (showing one central LED 21
surrounded by four photodetectors 22).
      Patent Owner also objects to Petitioner’s alternative mapping,
providing for a cover with a protrusion to be found in two different ways.
See PO Resp. 50–54; Ex. 2004 ¶¶ 113–117. This alternative mapping, in
according to Patent Owner, is “ambiguous[],” and the second mapping
incorporates an “arbitrary” drawn line defining the bottom of the cover in
“an undifferentiated mass of material.” PO Resp. 53–54. Patent Owner
also argues that “Petitioner’s inability to consistently identify a ‘cover’
reveals the hindsight-driven nature of its arguments.” Id. at 53.
      As with the ground based on Aizawa and Inokawa, Patent Owner here
additionally is of the view that Petitioner errs in referencing Nishikawa as
supporting the unpatentability of claim 1, because Nishikawa is not


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identified as part of Ground 2A which instead “includes only two
references” Mendelson-1988 and Inokawa. PO Resp. 56–57 (citing Pet. 2,
66, 71–72, 80; Ex. 2007, 364:2–13; Ex. 2008, 73:8–12; Ex. 2004 ¶¶ 122–
123). Patent Owner further asserts that Petitioner’s reliance on Nishikawa
“makes no sense” based on substantially the same analysis and testimony
discussed above in the context of combining Aizawa and Inokawa. Id. at 57.
Patent Owner similarly takes issue with another prior art reference that is
addressed to some extent by Petitioner and Dr. Kenny, namely Mendelson
’799.12 Id. at 57–58. Patent Owner argues that Petitioner improperly relies
on both Nishikawa and Mendelson ’799 “to fill missing gaps [in
Mendelson-1988 and Inokawa], not as evidence of general knowledge in the
art,” thereby attempting to “sidestep the requirements to establish a
motivation and expectation of success.” Id. at 58 (citing Pet. 70; K/S
HIMPP v. Hear-Wear Technologies, LLC, 751 F.3d 1362, 1366 (Fed. Cir.
2014)); Ex. 2004 ¶ 125.
      With respect to claim 7, Patent Owner also contends that “Mendelson-
1988 and Inokawa also fail to include a circular housing with a light
permeable cover[.]” PO Resp. 54. Patent Owner characterizes the optical
components of each of Mendelon-1988 and Inokawa as being square in
shape, and discounts Petitioner’s reasoning that one of ordinary skill in the
art “would have recognized that microelectronic packaging as used in
Mendelon-1988 comes in various shapes and sizes.” Id. at 55 (quoting
Pet. 80). Patent Owner further characterizes Petitioner’s and Dr. Kenny’s




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  U.S. Patent No. 6,801,799 B2 issued October 5, 2004 (Ex. 1025)
(“Mendelson ’799”).

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testimony that “using a circular housing having a circular wall . . . was
common practice” as conclusory. Id. at 56 (quoting Pet. 80).

          iii. Petitioner’s Reply
      In its Reply, Petitioner provides similar analysis and testimony as that
discussed above in the context of combining Aizawa and Inokawa. See Pet.
Reply 27 (citing Pet. 63–65; Ex. 1047 ¶ 54). Specifically, Petitioner
contends that an ordinarily skilled artisan would have been motivated, with a
reasonable expectation of success, to modify Mendelson-1988 based on
Inokawa’s teachings to add a lens. Id. Petitioner also maintains that the
Petition and Dr. Kenny’s supporting testimony adequately account for the
“cover” required by the claims of the ’628 patent, including the “alternative
mapping” configuration. Id. at 28–30 (citing Pet. 71–72; Ex. 1003 ¶ 185;
Ex. 1047 ¶¶ 57–60; Ex. 1009, 395:22–396:8, 396:9–17). Petitioner
additionally argues that the Petition accounts for claim 7’s requirement of a
circular housing based on the teachings of Mendelson-1988 and Inokawa.
Pet. Reply 30–31. Petitioner further submits that Dr. Kenny’s reference to
other prior art references as a part of his testimony, and specifically
Nishikawa, is not improper as such reference “provides further support for
the actual combination (i.e., Mendelson-1988 in view of Inokawa) by
demonstrating how the lens of Inokawa may be incorporated in a
manufacturing context.” Pet. Reply 31–32 (citing Ex. 1003 ¶¶ 96, 182;
Ex. 1047 ¶ 62; Ex. 2007, 364:2–13).

          iv. Patent Owner’s Sur-reply

      Patent Owner’s Sur-reply generally reiterates its arguments
challenging Petitioner’s contentions as to the obviousness of modifying


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Mendelon-1988’s sensor to include a convex protrusion. See Sur-reply 21–
25.

           v. Discussion
      Petitioner contentions that Mendelson-1988’s sensor meets several
limitations of claim 1 are not challenged by Patent Owner. We agree. For
instance, we are persuaded by Petitioner as to the following. The sensor is a
noninvasive optical measurement device adapted to be worn on a user’s
forehead, to provide an indication of a physiological parameter of the user
(i.e., SpO2).13 See Ex. 1015, 167 (abstract); Pet. 67; Ex. 1003 ¶ 171. The
sensor has two infrared LED chips and two red LED chips, i.e., a plurality of
emitters. See Ex. 1015, 168 (col. 2) (“The optical reflectance sensor used in
this study consists of two red (peak emission wavelength: 660 nm) and two
infrared (peak emission wavelength: 930 nm) LED chips”), 169 (Fig. 2A);
Pet. 67–68; Ex. 1003 ¶ 172. The sensor further includes at least four
detectors (i.e., the six photodiodes) arranged on a housing’s surface and
spaced apart from each other, symmetrically on a circle centered on the four
LEDs. See Ex. 1015, 168 (col. 2) (stating the six photodiodes are “arranged
symmetrically in a hexagonal configuration”), 169 (Fig. 2); Pet. 75–76;
Ex. 1003 ¶ 173. The six photodiodes are configured to output signals
responsive to light emitted from the four emitters and attenuated by the
user’s body tissue, with the signals being indicative of the user’s SpO2. See
Ex. 1015, 167 (col. 2) (“SpO2 can be calculated from the ratio of the




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   Whether the preamble is limiting need not be resolved, because the
recitation in the preamble is satisfied by the prior art.

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reflected red and infrared photoplethysmograms.”); Pet. 75–76; Ex. 1003
¶ 171.
         We also find that a preponderance of the evidence establishes that the
Mendelson-1988 sensor’s optically clear epoxy is a light permeable cover
that covers the sensor’s six detectors. In particular, it is clear from
Figures 2A and 2B that the epoxy extends from the top of the sensor at the
dotted line in the figure, down into the well of the AIRPAX package, to
cover all four LEDs and all six photodiodes disposed at the bottom of the
well. See also Ex. 1015, 168 (col. 2) (“The optical components were
encapsulated inside the package using optically clear adhesive”). Although
Patent Owner disagrees, that disagreement is premised on its proposed claim
construction of the term “cover” as excluding resins and epoxies. See PO
Resp. 50–51. For reasons provided in Section III.C.1 above, we do not find
that claim construction persuasive, and Patent Owner does not distinguish
Mendelson-1988 from claim 1 on this basis.
         We determine that Petitioner has established persuasively that
Mendelson-1988’s sensor teaches every limitation of claim 1, with the
exception that its light permeable cover has a flat surface and, thus, does not
include an “outwardly protruding convex surface.” We, however, conclude
that a preponderance of the evidence supports Petitioner’s contention that it
would have been obvious to modify the top surface of Mendelson-1988’s
cover to include a convex protrusion, in order to increase the amount of
backscattered light that will be received by the six peripheral detectors. Our
reasoning is substantially identical to the analysis provided above in
connection with the ground based on Aizawa and Inokawa, with
Mendelson-1988 replacing Aizawa in the combination. See supra



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Section III.D.3. Patent Owner does not cite, and we do not discern, any
material difference between Mendelson-1988 and Aizawa that might lead to
a different result here, with one possible exception.
      That difference is Petitioner’s alternative mapping of the claimed
“cover” to Petitioner’s proposed modification of Mendelson-1988’s sensor.
We rely on the first mapping, but not Petitioner’s second mapping, to decide
in Petitioner’s favor. Petitioner’s first mapping is again reproduced here
(Ex. 1003 ¶ 184):




In this modified and annotated version of Figure 2B of Mendelson-1988,
Dr. Kenny identifies how Mendelson-1988’s light permeable cover (“LPC”)
may be modified to have a protrusion, wherein the cover (which Dr. Kenny
has colored blue) includes the entire depth of the optically clear epoxy
contained within the AIRPAX package (as Dr. Kenny has shown in red
outline). Id. ¶ 140; Pet. 71. Patent Owner objects to this mapping as
ambiguous, but we determine Dr. Kenny’s annotations reproduced above are
sufficiently clear to establish obviousness by a preponderance of the
evidence.
      As with the ground based on Aizawa and Inokawa, Patent Owner
argues that the ground based on Mendelson-1988 and Inokawa is flawed


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because of the Petition’s and Dr. Kenny’s reference to Nishikawa. For the
same reasons discussed above (see supra § II.D.3.iv.(5)) we find that
argument unavailing.

          vi. Summary

      For the foregoing reasons, we conclude that Petitioner has
demonstrated by a preponderance of the evidence that claim 1 is
unpatentable as having been obvious over Mendelson-1988 and Inokawa.

      3. Claim 7
      Claim 7 is similar to claim 1 but includes an additional requirement
that the light permeable cover has a “circular housing including a planar
surface.” Ex. 1001, 45:13. Petitioner provides arguments and evidence,
including testimony from Dr. Kenny, in support of the contention that
independent claim 7 would have been obvious over Mendelson-1988 and
Inokawa. Pet. 79–82; Ex. 1003 ¶¶ 198–205. Much of Petitioner’s analysis
for claim 7 applies for claim 1, which as discussed above in Section II.H.2
we find persuasive.
      With respect to the “circular housing having a planar surface”
requirement, Petitioner points to Mendelson’s Figures 2(A) and 2(B) and
contends that “Mendelson-1988 discloses that its LEDs and photodiode
chips (i.e., emitters and detectors) are mounted on a ceramic substrate
(planar surface) and housed within an AIRPAX microelectronic package
(housing).” Pet. 79. Petitioner, however, characterizes the housing shown
in those figures, specifically Figure 2(A) as “appear[ing] to have a square
shape, not a circular one.” Id. at 80. Petitioner reasons that “[a person of
ordinary skill in the art] would have recognized that microelectronic


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packaging as used in Mendelson-1988 comes in various shapes and sizes”
and “[a person of ordinary skill in the art] would have considered using a
differently shaped housing, namely a circular one, to be obvious.” Id. (citing
Ex. 1003 ¶ 202). Petitioner also contends that employing a circular housing
was “common practice” prior to the ’628 patent, and that “there was nothing
new or inventive about changing one housing shape for another. Id. (citing
Ex. 1003 ¶ 202). Petitioner explains that its contentions are evidenced by
another reference of record, Mendelson ’799. Id.
      Patent Owner characterizes Petitioner’s proposed ground for claim 7
as “facially deficient” for several reasons: (1) “Petitioner never identifies a
motivation to pick a circular-shaped housing instead of the existing square
shape”; (2) “[a person of ordinary skill in the art] would have no particular
motivation to change the shape unless a [person of ordinary skill in the art]
perceived some benefit in doing so”; (3) “Mendelson ’799 does not disclose
a cover (or even epoxy encapsulation) and thus cannot disclose a circular
housing and a cover of the circular housing, as claim 7 requires”; and (4)
“Petitioner did not include Mendelson ’799 in any ground.” PO Resp. 55–
56 (citing Ex. 2004 ¶¶ 120–121).
      In response to Patent Owner’s arguments, Petitioner replies that
“references like Mendelson [’]799 have a circular wall/housing and confirm
the notion that a [person of ordinary skill in the art] would have found it to
be simply a matter of design choice to use different shapes.” Pet. Reply 30–
31 (citing Ex. 1003 ¶ 201; Ex. 1025, Fig. 7, 9:34–36; Ex. 1047 ¶ 61).
Petitioner also contends “neither the ’628 patent nor [Patent Owner]
provides any explanation of how the particular housing shape solves some




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problem or presents some unexpected result.” Id. at 31 (citing In re Kuhle,
526 F.2d 553, 555 (CCPA 1975)).
      Patent Owner responds that “Petitioner’s reply reiterates its
conclusory arguments that [the proposed] change would be routine, without
identifying any reason to modify the shape from square to circular.”
Sur-reply 24.
      On the record before us, we conclude that a preponderance of the
evidence supports Petitioner’s contention that it would have been obvious to
modify the shape of Mendelson-1988’s AIRPAX package from square to
circular. Petitioner’s and Dr. Kenny’s general assessment that a person of
ordinary skill in the art would have been aware that a circular housing shape
was a known option for housing of components of a physiological sensor
finds support in the record. Pet. 79–80; Ex. 1003 ¶ 201. In that respect,
although Mendelson ’799 was not listed in the styling of the proposed
grounds of unpatentability based on Mendelson-1988 and Inokawa, its
teachings plainly were offered in the Petition as evidence of the background
knowledge that an ordinarily skilled artisan would have brought to bear in an
evaluation of the teachings Mendelson-1988 and Inokawa. Pet. 79–80.
Moreover, it is clear that Patent Owner understood that the proposed ground
offered in the Petition took into account the disclosure of Mendelson ’799,
and Patent Owner had opportunity to address that disclosure. Indeed, Patent
Owner availed itself of that opportunity during trial (see, e.g., PO Resp. 54–
56; Sur-reply 24).
      We further find unavailing Patent Owner’s argument that “Mendelson
’799 does not disclose a cover (or even epoxy encapsulation) and thus
cannot disclose a circular housing and a cover of the circular housing, as



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claim 7 requires.” PO Resp. 56. Figure 7 of Mendelson ’799 is reproduced
below:




Figure 7 is a top view of optical sensor 10 comprising light source 12
composed of three LEDs 12A, 12B, and 12C emitting light of three different
wavelengths, and an array of six near detectors 18 and six far detectors 16
“arranged in two concentric ring-like arrangements” surrounding light
source 12. Ex. 1025, 9:23–34. “All these elements are accommodated in a
sensor housing 17” which, as can be seen in Figure 7, is clearly circular. Id.
at 9:34–35. Patent Owner does not articulate why the presence or absence of
a cover in Mendelson ’799 somehow serves to discount Mendelson ’799’s
unambiguous presentation of a sensor housing having a shape recognizable
as circular.
       Furthermore, one of ordinary skill in the art would have understood
that the AIRPAX package of Mendelson-1988 and the housing 17 of
Mendelson ’799 are performing the same function of enclosing a central
collection of light emitters which are surrounded by an array of light


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detectors in an optical sensor attached to a user’s body. See, e.g., Ex. 1015,
Figs. 2A–2B; Ex. 1025, Fig. 7. The evidence of record also does not suggest
that the shape of such a housing has any functional significance in the
operation of the optical sensor, or that any particular known shape was
preferred or restricted. Thus, the evidence suggests that a square shape and a
circular shape of such as housing were known in the art to be predictable
substitutes for one another, and therefore obvious variants. See, e.g., KSR,
550 U.S. at 416 (“[W]hen a patent claims a structure already known in the
prior art that is altered by the mere substitution of one element for another
known in the field, the combination must do more than yield a predictable
result.”); id. at 417 (“[W]hen a patent ‘simply arranges old elements with
each performing the same function it had been known to perform’ and yields
no more than one would expect from such an arrangement, the combination
is obvious.” (citation omitted)).
      We conclude Petitioner has demonstrated by a preponderance of the
evidence that Petitioner’s ground based on Mendelson-1988 and Inokawa
conveys the unpatentability of claim 7.

      4. Claims 2–6, 8–17, and 20–28

      Petitioner provides argument and evidence, including testimony from
Dr. Kenny, in support of its position that claims 2–6, 8–17, and 20–28 are
unpatentable over Mendelson-1988 and Inokawa. Pet. 73–79, 82–87. Patent
Owner does not advance any arguments for claims 2–6, 8–17, and 20–28,
that are distinct from those provided for claims 1 and 7. See PO Resp. 59.
For the same reasons set forth in Sections II.H.2 & 3 above, we find Patent
Owner’s arguments unavailing as to claims 2–6, 8–17, and 20–28. Having
evaluated the Petition and its underlying supporting evidence, we conclude


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that Petitioner has established by a preponderance of the evidence that
claims 2–6, 8–17, and 20–28 are also unpatentable based on Mendelson-
1988 and Inokawa.

     I.   Obviousness over Mendelson-1988, Inokawa, Mendelson-2006, and
                                      Beyer

          Petitioner contends that claims 18, 19, 29, and 30 are unpatentable
based on Mendelson-1988, Inokawa, Mendelson-2006, and Beyer.
Petitioner relies on Mendelson-2006 and Beyer to satisfy the processor and
touch-screen display requirements set forth in those claims. Pet. 87–93.
Patent Owner does not dispute Petitioner’s reliance on the teachings of
Mendelson-2006 and Beyer. Rather, Patent Owner challenges this ground
for the same reasons that were advanced for the ground based on
Mendelson-1988 and Inokawa. PO Resp. 59. As discussed above (see
supra § II.H), we find those arguments unavailing. Having reviewed the
Petition and its underlying supporting evidence, we conclude that Petitioner
has established by a preponderance of the evidence that claims 18, 19, 29,
and 30 are unpatentable for obviousness based on Mendelson-1988,
Inokawa, Mendelson-2006, and Beyer.

                                III. CONCLUSION

          In summary, we determine that a preponderance of the evidence
establishes claims 1–30 of the ’628 patent are unpatentable, as shown in the
following table: 14


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   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or

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                                                                   Claims
                                                        Claims        Not
     Claim(s)    35 U.S.C. §     References             Shown       Shown
                                                      Unpatentable Unpaten
                                                                     table
1–15, 17, 20–                                         1–15, 17, 20–
              103              Aizawa, Inokawa
26, 28                                                26, 28
1–15, 17, 20–                  Aizawa, Inokawa, 1–15, 17, 20–
              103
26, 28                         Ohsaki           26, 28
                               Aizawa, Inokawa,
18, 19, 29, 30 103             Mendelson-2006, 18, 19, 29, 30
                               Beyer
                               Aizawa, Inokawa,
18, 19, 29, 30 103
                               Goldsmith, Lo 15
                               Mendelson-1988,
1–17, 20–28      103                           1–17, 20–28
                               Inokawa
                               Mendelson-1988,
                               Inokawa,
18, 19, 29, 30 103                             18, 19, 29, 30
                               Mendelson-2006,
                               Beyer
Overall
                                                      1–30
Outcome




Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3), (b)(2).
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   As explained above in Section II.G, because we conclude that
claims 18, 19, 29, and 30 are unpatentable on other grounds, we do not
reach the merits of this ground.

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                                IV. ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–30 of the ’628 patent have been shown to be
unpatentable; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01536
                       United States Patent No.: 10,588,553 B2
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
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      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01536
   DATE                                        DESCRIPTION
08/31/2020   Petition for Inter Partes Review
08/31/2020   Petitioner’s Power of Attorney
08/31/2020   Petitioner’s Notice Ranking Petitions and Explaining Material Differences
09/17/2020   Notice of Filing Date Accorded
09/21/2020   Patent Owner’s Mandatory Notices
11/04/2020   Petitioner’s Updated Exhibit List
12/17/2020   Patent Owner’s Notice of Waiver of Preliminary Response
03/02/2021   Decision - Institution of Inter Partes Review Proceeding
03/02/2021   Scheduling Order
03/16/2021   Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted
             Before Trial Institution
04/08/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
04/14/2021   Stipulation Modifying Due Dates
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – Jeremiah Helm
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – William Zimmerman
04/16/2021   Patent Owner’s Updated Exhibit List
04/20/2021   Decision Granting Patent Owner’s Motions for Pro Hac Vice Admission
04/20/2021   Patent Owner’s Amended Notice of Deposition - Thomas W. Kenny
04/21/2021   Patent Owner’s Updated Mandatory Notice
04/21/2021   Patent Owner’s Supplemental Power of Attorney – W. Zimmerman and J. Helm
04/22/2021   Petitioner’s Motion to Submit Supplemental Information
05/06/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
05/14/2021   Petitioner’s Submission of Supplemental Information
06/01/2021   Patent Owner’s Response
06/08/2021   Petitioner’s Objections to Evidence
07/19/2021   Petitioner’s Notice of Deposition - Vijay K. Madisetti
08/24/2021   Petitioner’s Reply to Patent Owner’s Response
08/31/2021   Patent Owner’s Objections to Evidence
09/09/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
09/13/2021   Petitioner’s Updated Mandatory Notice
09/14/2021   Patent Owner’s Updated Notice of Deposition - Thomas W. Kenny
10/05/2021   Patent Owner’s Sur-Reply
10/13/2021   Petitioner’s Objections to Evidence
10/22/2021   Petitioner’s Request for Oral Hearing
10/22/2021   Patent Owner’s Oral Argument Request
10/28/2021   Patent Owner’s Supplemental Mandatory Notices
11/01/2021   Order Setting Oral Argument
11/22/2021   Petitioner’s Identification of Testimony
12/03/2021   Patent Owner’s Demonstratives for Trial Hearing

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   DATE                                          DESCRIPTION
12/03/2021   Petitioner’s Updated Exhibit List
01/06/2022   Oral Hearing Transcript
02/23/2022   Final Written Decision
04/12/2022   Notice of Appeal




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Trials@uspto.gov                                                    Paper 43
571-272-7822                                         Date: February 23, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01536
                         Patent 10,588,553 B2



Before GEORGE R. HOSKINS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.




                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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Patent 10,588,553 B2

                           I.       INTRODUCTION

                                    A.    Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–29 (“challenged claims”) of U.S. Patent No. 10,588,553
B2 (Ex. 1001, “the ’553 patent”). Paper 3 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a Preliminary Response. Paper 8.
      On March 2, 2021, we instituted trial. Paper 9 (“Inst. Dec.” or
“Decision to Institute”). Patent Owner filed a Response. Paper 24 (“PO
Resp.”). Petitioner filed a Reply. Paper 27 (“Pet. Reply”). Patent Owner
filed a Sur-reply. Paper 32 (“Sur-reply”). An oral argument was held on
December 7, 2021, and a transcript was entered into the record. Paper 42
(“Tr.”).
      We have jurisdiction to conduct this inter partes review under
35 U.S.C. § 6. This Final Written Decision is issued pursuant to 35 U.S.C.
§ 318(a) and 37 C.F.R. § 42.73. For the reasons discussed herein, we
determine that Petitioner has shown, by a preponderance of the evidence,
that all challenged claims (claims 1–29) of the ’553 patent are unpatentable.

                                B.       Related Matters

      The parties identify the following matters related to the ’553 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (also challenging claims 1–29 of the ’553 patent);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);



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      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2).
Pet. 3–4; Paper 5, 3.
      Patent Owner further identifies certain pending patent applications, as
well as other issued and abandoned applications, that claim priority to, or
share a priority claim with, the ’553 patent. Paper 5, 1–2.

                                 C.   The ’553 Patent
      The ’553 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on March 17,
2020, from U.S. Patent Application No. 16/534,949, filed August 7, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’553 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’553 patent relates to noninvasive methods and devices for
measuring various blood constituents or analytes. Id. at code (57). The ’553


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patent discloses a two-part data collection system including a noninvasive
sensor that communicates with a patient monitor. Id. at 2:38–40. The
sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–35, 64–65. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:45–48.
      Figure 1 of the ’553 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:47–58. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:59–63. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 14:3–7. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,


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detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108 and detectors 106 can be implemented using photodiodes. Id.
at 14:7–10, 26–32. Sensor 101 also may include tissue shaper 105, which
may be in the form of a convex surface that: (1) reduces the thickness of the
patient’s measurement site; and (2) provides more surface area from which
light can be detected. Id. at 11:2–14.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:21–24. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:46–56. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:60–16:11.
      The ’553 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D (left) illustrates portions of a detector submount and Figure 14F
(right) illustrates portions of a detector shell. Id. at 6:44–47. As shown in

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Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–39, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–25. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–48.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:39–43. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:49–63.



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                              D.     Illustrative Claim

      Of the challenged claims, claims 1, 10, and 20 are independent.
Claim 1 is illustrative and is reproduced below.
      1. A noninvasive optical physiological sensor comprising:
         [a] a plurality of emitters configured to emit light into tissue
                of a user;
         [b] at least four detectors, wherein at least one of the at least
                four detectors is configured to detect light that has been
                attenuated by tissue of the user, and wherein the at least
                four detectors are arranged on a substrate;
         [c] a wall configured to circumscribe at least the at least four
                detectors; and
         [d] a cover configured to be located between tissue of the user
                and the at least four detectors when the noninvasive
                optical physiological sensor is worn by the user,
                wherein the cover comprises a single protruding
                convex surface operable to conform tissue of the user
                to at least a portion of the single protruding convex
                surface when the noninvasive optical physiological
                sensor is worn by the user, and wherein the wall
                operably connects to the substrate and the cover.
Ex. 1001, 44:50–67 (bracketed identifiers a–d added). Independent
claims 10 and 20 include limitations substantially similar to limitations [a]–
[d] of claim 1. Id. at 45:35–47, 46:22–46.

                             E.     Applied References

      Petitioner relies upon the following references:
            Mendelson, U.S. Patent No. 6,801,799 B2, filed February 6,
      2003, issued October 5, 2004 (Ex. 1012, “Mendelson-799”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);


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                Schulz et al., U.S. Patent Application Publication No.
          2004/0054291 A1, filed July 31, 2003, published March 18, 2004
          (Ex. 1013, “Schulz”);
                Griffin et al., U.S. Patent No. 7,658,613 B1, filed January 16,
          2007, issued February 9, 2010 (Ex. 1014, “Griffin”); and
                Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
          for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
          EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
          “Mendelson-2006”).
Pet. 9.
          Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), as well as a Second Declaration of Dr. Kenny
(Ex. 1047). Patent Owner relies, inter alia, on the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties rely on numerous other exhibits
and cross examination testimony as discussed below.

                                 F.     Asserted Grounds
          Petitioner asserts that claims 1–29 are unpatentable based upon the
following grounds:
                                  35 U.S.C.
   Claim(s) Challenged                                      References/Basis
                                      §
 1–3, 5, 6, 9–18, 20–24, 29          103          Mendelson-799, Ohsaki
 4, 18, 24                           103          Mendelson-799, Ohsaki, Schulz
 25                                  103          Mendelson-799, Ohsaki, Griffin
                                                  Mendelson-799, Ohsaki,
 7, 19                                103
                                                  Mendelson-2006
                                                  Mendelson-799, Ohsaki,
 8, 26–28                             103
                                                  Mendelson-2006, Griffin




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                             II.    DISCUSSION

                              A.     Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 7–8. Patent Owner submits that claim terms should be
given their ordinary and customary meaning, consistent with the
Specification. PO Resp. 7.
      Based on our analysis of the issues in dispute, we agree that no claim
terms require express construction. Nidec Motor Corp. v. Zhongshan Broad
Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017).

                               B.     Principles of Law

      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 1 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When


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  Based on the final record, neither party introduced objective evidence of
non-obviousness.

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evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                        C.     Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person “hav[ing] a Bachelor of Science degree in an
academic discipline emphasizing the design of electrical, computer, or
software technologies, in combination with training or at least one to two
years of related work experience with capture and processing of data or
information.” Pet. 7 (citing Ex. 1003 ¶¶ 1–18, 20–21). “Alternatively, the
person could have also had a Master of Science degree in a relevant
academic discipline with less than a year of related work experience in the
same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 8.


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      We adopt Petitioner’s assessment as set forth above, which is
consistent with the level of skill reflected in the Specification and prior art.

                D.      Obviousness over the Combined Teachings of
                             Mendelson-799 and Ohsaki

      Petitioner contends that claims 1–3, 5, 6, 9–18, 20–24, and 29 of the
’553 patent would have been obvious over the combined teachings of
Mendelson-799 and Ohsaki. Pet. 10–62. Patent Owner disagrees and
presents several arguments, including that the combination of Ohsaki and
Mendelson-799 discloses “two different physiological monitor designs, with
distinct shapes, features, and detector and emitter configurations.” PO Resp.
9, 9–42; see also generally Sur-reply.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 1–3, 5, 6, 9–18, 20–24, and 29 are
unpatentable.

                        1.     Overview of Mendelson-799 (Ex. 1012)
      Mendelson-799 is titled “Pulse Oximeter and Method of Operation,”
and discloses a sensor for non-invasive measurement of a blood parameter,
which includes a sensor housing, a radiation source, and a detector.
Ex. 1012, codes (54), (57).




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      Figure 7 of Mendelson-799 is reproduced below.




Figure 7 illustrates optical sensor 10 with light source 12, which includes
three closely spaced light emitting elements 12a, 12b, 12c. Id. at 9:22–28.
Optical sensor 10 includes an array of discrete detectors, i.e., “far”
detectors 16 and “near” detectors 18, “arranged in two concentric ring-like
arrangements . . . surrounding the light emitting elements.” Id. at 9:29–34.
“[L]ight shield 14 is positioned between the photodiodes and the light
emitting elements, and prevents direct optical coupling between them,
thereby maximizing the fraction of backscattered light passing through the
arterially perfused vascular tissue in the detected light.” Id. at 9:35–40.
Sensor housing 17 accommodates the light source, light shield, and
detectors. Id. at 9:34–35.




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      Figure 8 of Mendelson-799 is reproduced below.




Figure 8 illustrates a block diagram of pulse oximeter 20 using sensor 10.
Id. at 10:16–17. Pulse oximeter 20 includes control unit 21, with electronic
block 22 connectable to sensor 10, microprocessor 24, and display 26, which
presents measurement results. Id. at 10:17–22. “The measured data (i.e.,
electrical output of the sensor 10 indicative of the detected light) is directly
processed in the block 22, and the converted signal is further processed by
the microprocessor 24.” Id. at 10:22–25.

                           2.     Overview of Ohsaki (Ex. 1009)

      Ohsaki is titled “Wristwatch-type Human Pulse Wave Sensor
Attached on Back Side of User’s Wrist,” and discloses an optical sensor for
detecting a pulse wave of a human body. Ex. 1009, code (54), ¶ 3.




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      Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light


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receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                                3.      Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Mendelson-799 and Ohsaki. Pet. 10–42. Patent
Owner presents several arguments, as examined below, as to why all claims
in this ground would not have been obvious. See PO Resp. 9–43. Below,


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we set forth how the limitations not disputed by Patent Owner are taught by
the combination of references as argued by Petitioner. For those limitations
and reasons for combining the references that are disputed, we first examine
each of the parties’ contentions and then provide our analysis.

                  i. “A noninvasive optical physiological sensor
                    comprising”
      Based on the final record, the cited evidence supports Petitioner’s
undisputed contention that the combination of Mendelson-799 and Ohsaki
satisfies the subject matter of the preamble. 2 Pet. 30–31; see, e.g., Ex. 1012,
code (57) (“A sensor for use in an optical measurement device and a method
for non-invasive measurement of a blood parameter.”), 4:13–22, 7:25–8:41,
9:22–10:30, Fig. 7 (sensor device), Fig. 8; Ex. 1009, code (57), ¶¶ 3, 8, 15–
17, 20, 25, Figs. 1, 2, 4A, 4B; Ex. 1003 ¶¶ 55–69, 78–98, 99–103.

                  ii.“[a] a plurality of emitters configured to emit light into
                     tissue of a user”

      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-799 discloses light emitting elements 12a, 12b, and 12c that emit
light into a user’s tissue. Pet. 31–33; see, e.g., Ex. 1012, 9:22–40 (“The
sensor 10 comprises . . . light source 12 composed of three closely spaced
light emitting elements (e.g., LEDs or laser sources) 12a, 12b and 12c
generating light of three different wavelengths.”), Fig. 7 (LEDs or laser
sources 12a, 12b and 12c); see also id. at 9:42–10:15 (noting that “[t]he
actual numbers of wavelengths used as a light source and the number of


2
 Whether the preamble is limiting need not be resolved, because Petitioner
shows persuasively on the final record that the recitation in the preamble is
satisfied by the prior art.

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photodetectors in each ring are not limited and depend only on the electronic
circuitry inside the oximeter”). Further, Dr. Kenny persuasively testifies that
“[f]rom this and related description, one of ordinary skill would have
understood that Mendelson ’799 discloses a plurality of emitters configured
to emit light into tissue of a user.” Ex. 1003 ¶ 106; see also id. ¶¶ 55–69,
78–98, 104–107.

                 iii.“[b] at least four detectors, wherein at least one of the at
                     least four detectors is configured to detect light that has
                     been attenuated by tissue of the user, and wherein the at
                     least four detectors are arranged on a substrate;”

      Based on the final record, the cited evidence supports Petitioner’s
undisputed contentions regarding this limitation. Pet. 33–36. Specifically,
Petitioner contends that Mendelson-799 discloses twelve photodetectors
located within a sensor housing. Pet. 33; see, e.g., Ex. 1012, 9:22–48 (“The
sensor 10 comprises . . . an array of discrete detectors (e.g., photodiodes).”),
Fig. 7 (depicting rings of six far detectors 16 and six near detectors 18).
Petitioner further contends that “each of the twelve discrete photodiodes
included in the detector assembly illustrated in Mendelson ’799’s FIG. 7
(reproduced below) are ‘adapted to detect reflected radiation . . . and to
generate respective signals’ that ‘are used to determine the parameter of the
blood.’” Pet. 33 (quoting Ex. 1012, code (57), 9:22–48). Petitioner provides
an annotated and modified view of Mendelson-799’s Figure 7, as well as an
added sectional view, both of which are reproduced below. Pet. 34; see also
id. at 38 (similar figures with slightly different annotations).




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Petitioner’s modified and added figures depict the sensor of Mendelson-799
with “Far Detector 16” (illustrated in light blue) and “Near Detector 18”
(illustrated in dark blue).3 Id. at 34.
      Petitioner next relies on Figure 3 of Mendelson-799, reproduced
below, which depicts traditional reflection-mode or backscatter type pulse
oximetry sensors.




3
 Petitioner’s annotated figures also include an added opaque wall and an
added top cover as discussed infra.

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Figure 3 of Mendelson-799 depicts the relative disposition of light source
and detector in reflection-mode or backscatter type pulse oximetry.
Ex. 1012, 8:26–28. According to Petitioner, the sensor shown in Figure 3
features LEDs and a photodetector that are mounted side-by-side next to
each other on the same planar substrate, which allows for measuring SaO2
from multiple convenient locations on the body. Pet. 34–35 (citing Ex. 1012
2:14–28, Fig. 3; Ex. 1003 ¶¶ 110–111 (“[A]lthough the sensor depicted in
Mendelson ’799’s FIG. 7 features two concentric rings of discrete
photodetectors that are arranged in a radially-symmetric manner about
central light emitting elements, the photodetectors and the light emitting
elements are arranged on the same planar substrate.”).




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      We find Petitioner’s contentions for these limitations are persuasive,
including by the testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 108–113.

                 iv.“[c] a wall configured to circumscribe at least the at
                    least four detectors; and”

                   “[d] a cover configured to be located between tissue of
                   the user and the at least four detectors when the
                   noninvasive optical physiological sensor is worn by the
                   user, wherein the cover comprises a single protruding
                   convex surface operable to conform tissue of the user to
                   at least a portion of the single protruding convex surface
                   when the noninvasive optical physiological sensor is
                   worn by the user, and wherein the wall operably
                   connects to the substrate and the cover.”

Petitioner’s Undisputed Contentions

      Petitioner explains that Mendelson-799 does not disclose a cover
located between the user’s tissue and the at least four detectors, as claimed.
Pet. 21–22. Patent Owner does not dispute this contention, and we agree
that Mendelson-799 is not shown to include a cover. See generally
Ex. 1012.
      Petitioner contends that although Mendelson-799 does not disclose a
cover as claimed, Ohsaki teaches a wrist-worn sensor “that includes a light
permeable convex cover—‘translucent board 8’— . . . where the cover
comprises a single protruding convex surface operable to conform [to] tissue
of the user.” Pet. 22; see, e.g., Ex. 1009 ¶¶ 16 (“worn on the back side of the
user’s wrist”), 17 (“convex surface”), Figs. 1–2 (depicting translucent board
8 between tissue and detector); Ex. 1003 ¶ 83. Petitioner also contends that
Ohsaki’s Figure 2 depicts the user’s tissue conforming to the shape of the




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convex surface of the cover. Pet. 23–26, 39–41; see, e.g., Ex. 1003 ¶¶ 55–
69, 78–98, 127–136.
      Patent Owner does not dispute this contention, and we agree with
Petitioner. Ohsaki discloses that sensor 1 is “worn on the back side of the
user’s wrist” and includes translucent board 8, with a single convex surface
formed on the top of the board, to be placed against a user’s tissue. Ex. 1009
¶¶ 16, 17, Figs. 1–2 (depicting translucent board 8 between tissue and
detector). As shown in Ohsaki’s Figure 2, the convex surface of board 8 is
operably connected to the walls of sensor package 5 that houses the sensor
components, including circuit board 9, light emitting element 6 (e.g., LED),
and light receiving element 7. Id. ¶ 17 (“The translucent board 8 is . . .
attached to the opening of the package 5.”), Fig. 2. As depicted in Ohsaki’s
Figure 2, the user’s tissue 4 is shown to conform to the shape of the
protruding convex surface when the sensor is worn by the user. Ex. 1009
¶ 17 (“The translucent board 8 is a glass board.”), Fig. 2.
Petitioner’s Disputed Contentions
      Petitioner contends that Mendelson-799 discloses sensor housing 17
that encircles detectors 16 and 18. Pet. 36–37; see, e.g., Ex. 1012, 9:23–40
(“All these elements are accommodated in a sensor housing 17.”), Fig. 7
(housing 17). Petitioner further contends that a person of ordinary skill in
the art would have found it obvious “to connect, to the illustrated portion of
sensor housing 17, an opaque wall configured to circumscribe the array of
discrete detectors included in detector rings 16 and 18” to shield the
detectors from ambient light and to protect from external forces. Pet. 37–38;
see, e.g., Ex. 1003 ¶¶ 55–69, 78–98, 114–126.




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       As shown below, Petitioner alleges that it would have been obvious to
connect, to the illustrated portion of sensor housing 17, an opaque wall
configured to circumscribe the array of discrete detectors included in
detector rings 16 and 18. Pet. 37–38. Petitioner relies on Ohsaki’s
disclosure of a sensor including package 5 having a wall that surrounds light
emitting element 6 and light receiving element 7. Id.; see, e.g., Ex. 1009
¶ 17, Fig. 2 (detector 7 surrounded by wall of package 5); Ex. 1003 ¶¶ 115–
125.




Above, Petitioner depicts Mendelson-799’s Figure 7 and its modified
sectional view with several annotations and modifications. Pet. 38;
Ex. 1019, Fig. 7. Petitioner’s modified and added figures depict the sensor
of Mendelson-799 with an added opaque wall (illustrated in green)
connected to the planar substrate (also illustrated in green) of housing 17 and



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encircling the sensor components, as Petitioner contends would have been
obvious to a person of ordinary skill in the art. Pet. 37–39, 26.
      Petitioner further contends that a person of ordinary skill in the art
“would have recognized that a light permeable cover with a protruding
convex surface,” such as that taught by Ohsaki, “would improve adhesion
between the sensor and the user’s tissue, improve detection efficiency, and
protect the elements within sensor housing 17.” Pet. 21–22 (citing, e.g.,
Ex. 1003 ¶ 81; Ex. 1009 ¶¶ 15, 17, 25), 29–30. Petitioner contends that
Ohsaki’s convex surface is in intimate contact with the user’s tissue, which
prevents slippage of the sensor and increases signal strength because
“variation of the amount of the reflected light . . . that reaches the light
receiving element 7 is suppressed” and “disturbance light from the outside”
is prevented from penetrating board 8, as compared to a sensor with a flat
surface. Id. at 23–24 (quoting Ex. 1009 ¶ 25). Dr. Kenny likewise testifies
that a person of ordinary skill in the art “would have recognized that a light
permeable cover with a protruding convex surface would improve adhesion
between the sensor and the user’s tissue, improve detection efficiency, and
protect the elements within sensor housing 17.” Ex. 1003 ¶ 81 (citing
Ex. 1009 ¶¶ 15, 17, 25, Figs. 1, 2, 4A, 4B); Pet. 21–22.
      Accordingly, Petitioner contends that, to achieve these benefits, a
person of ordinary skill in the art “would have added a transparent convex
cover to [Mendelson-799’s] sensor 10, the cover being located between
tissue of the user and the array of detectors 16 and 18 when worn,” and
would have “configured Mendelson-799’s circumscribing wall to operably
connect” to the convex and rigid cover. Pet. 25–26, 40–41; see, e.g.,
Ex. 1003 ¶¶ 55–69, 78–98, 127–136.



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      Petitioner contends these modifications would have been “nothing
more than the use of a known technique to improve similar devices in the
same way, and combining prior art elements according to known methods to
yield predictable results—improved adhesion of the sensor to the user’s skin,
and improved signal strength,” where “the elements of the resulting sensor
would each perform functions they had been known to perform prior to the
combination.” Pet. 29 (citing, e.g., Ex. 1003 ¶¶ 91–98).
      To illustrate its proposed modification, the Petition includes an
annotated and modified view of Mendelson-799’s Figure 7, as well as an
added sectional view, both of which are reproduced below. Pet. 30; see also
id. at 41 (same).




Petitioner’s modified and added figures depict the sensor of Mendelson-799
with an added convex cover (illustrated in red) connected to the opaque wall




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(illustrated in green) that Petitioner contends would have been obvious to a
person of ordinary skill in the art. Pet. 41.
Patent Owner’s Contentions
      Patent Owner contends that the proposed combination adds features
not found in the cited references, with no motivation or explanations for why
a person of ordinary skill in the art would have added these features. PO
Resp. 12. Patent Owner contends that the depiction of a cover spanning the
entire space above the substrate lacks support. Patent Owner notes that
Ohsaki places its translucent board in an opening within the top of the
package. Id. at 13 (citing Ex. 1009, Fig. 2). Patent Owner further contends
that the proposed combination includes a wall with notches for the cover, as
depicted below in Patent Owner’s annotated figure, yet neither Mendelson-
799 nor Ohsaki include a notched wall feature. Id. (citing Ex. 2004 ¶¶ 46–
47; Ex. 2008, 205:21–208:19). Patent Owner provides an annotated figure,
reproduced below.




Patent Owner’s annotated figure adds purple circles around “Notches” to
Petitioner’s already annotated figure depicting the proposed combination of
a cover, as suggested by Ohsaki, with Mendelson-799’s sensor. PO
Resp. 13 (original figure at Pet. 38). Patent Owner alleges that the addition
of a notch is significant and would impact performance because “the notch
insets the cover into the wall, which changes the cover’s height relative to



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the underlying optical components,” and “[t]he notch also uses a light shield
shorter than the surrounding wall.” Id. at 13–14 (Ex. 2004 ¶¶ 46–47).
      Patent Owner makes several arguments as to how modifying Ohsaki’s
rectangular board would eliminate the advantages Ohsaki teaches. PO
Resp. 17. First, Patent Owner argues that the proposed modification
“changes Ohsaki’s structure and eliminates the longitudinal shape that gives
Ohsaki’s translucent board the ability to fit within the user’s anatomy and
prevent slipping.” Id. This argument is premised on Patent Owner’s
contention that Ohsaki’s convex cover must be rectangular, with the cover’s
long direction aligned with the length of the user’s forearm, to avoid
interacting with bones in the wrist and forearm. Id. at 17–19 (citing, e.g.,
Ex. 2004 ¶¶ 51–54; Ex. 1009 ¶¶ 6, 19, 23, 24); see also Sur-reply 3–8.
According to Patent Owner, Ohsaki teaches that “aligning the sensor’s
longitudinal direction with the circumferential direction of the user’s arm
undesirably results in ‘a tendency [for Ohsaki’s sensor] to slip off.’” Id. at
19–20 (citing Ex. 1009 ¶ 19), 20–22; see also Sur-reply 4 (“Petitioner never
explained how or why a POSITA would change Ohsaki’s longitudinal board
into a circular cover. That change would eliminate the longitudinal shape
that Ohsaki indicates prevents slipping.”).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus cannot coincide with the
longitudinal direction of the user’s wrist.” PO Resp. 20 (citing Ex. 2004
¶¶ 50–57). Patent Owner presents annotated Figures depicting what it




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contends is Ohsaki’s disclosed sensor placement as compared to that of the
proposed modification, reproduced below.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. PO Resp. 21. Based on these annotations, Patent Owner argues that
the proposed “circular shape would press on the user’s arm in all directions
and thus cannot avoid the undesirable interaction with the user’s bone
structure,” such that a skilled artisan “would have understood such a change
would eliminate Ohsaki’s benefit of preventing slipping.” Id. at 21–22
(citing, e.g., Ex. 2004 ¶¶ 54–57). Similarly, Patent Owner contends that
“adding Ohsaki’s rectangular board to Mendelson ’799’s oxygen saturation
sensor would eliminate the radially symmetric environment and undermine
the reason for Mendelson ’799’s use of multiple detectors arrayed in a ring
pattern.” Id. at 25 (citing Ex. 1012, 7:25–37).
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Mendelson-799’s sensor, and would


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result in weak sensor signals. PO Resp. 26. Relying on other publications
by the named inventor on Mendelon-799, Patent Owner alleges that sensor
signals were difficult or impossible to discern from the wrist, even with
considerable pressure. Id. (citing Ex. 2003, 3–4); see also id. at 26–27
(citing Ex. 2015, 3, 4; Ex. 2014, 1, 99; Ex. 2004 ¶ 65). Patent Owner
contends that Dr. Kenny admitted during cross examination that signals from
the wrist are weaker and noisier than signals from other locations. Id. at 27
(citing Ex. 2008, 249:10–16, 255:12–21); see also id. at 27–30 (citing
Ex. 2017, 2; Ex. 2018, 4 (“reflected red and infrared pulses can only be used
for specific areas, such as a radial artery; thus, most areas of the wrist are not
available for monitoring”); Ex. 2010, 44, 71; Ex. 2016, 2, 3).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Mendelson-799’s
peripheral detectors because the convex cover would condense light toward
the center and away from the detectors, which would decrease signal
strength. PO Resp. 31–34 (citing, e.g., Ex. 2004 ¶¶ 71–75). Patent Owner
relies on Figure 14B of the ’553 patent, which Patent Owner contends
supports its position. Id. at 32–33 (citing Ex. 1001, 36:3–6, 36:13–15).




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Patent Owner’s annotated Figure 14B of the ’553 patent adds highlighting to
show direction of the light. PO Resp. 33. According to Patent Owner, the
convex shape directs light from the periphery toward the center. Id. at 32;
see also Sur-reply 16 (“Petitioner and Dr. Kenny both admitted a convex
cover condenses light towards the sensor’s center and away from the
sensor’s periphery.”).
      Patent Owner also contends that Dr. Kenny admits as much, fails to
account for the impact of the proposed modification on light collection, and
fails to propose a specific three-dimensional structure to embody the
proposed modification. PO Resp. 32–37 (citing, e.g., Ex. 2004, 71–72;
Ex. 2006, 204:14–20; Ex. 2008, 36:19–37:1, 57:19–58:16, 63:5–64:8,
170:12–171:1, 173:8–15). Patent Owner argues that “[d]espite testifying
that all the design details would be critical in assessing the impact on optics,
neither Petitioner nor Dr. Kenny provide any analysis of the impact of
Petitioner’s modifications on light collection by the detectors,” and
“Petitioner’s failure to address optics is particularly glaring because the

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invention is a noninvasive optical physiological sensor (claim 1) or
measuring device (claim 20).” PO Resp. 35.
      Fourth, Patent Owner argues that Ohsaki’s rectangular cover creates
air gaps at its peripheral edges, as shown in Ohsaki’s Figure 1, which
Mendelson-799 cautions against as potentially causing “specular reflection.”
PO Resp. 36–37 (citing, e.g., Ex. 1012, 2:58–64; Ex. 2004 ¶ 76). Patent
Owner, relying on the testimony of Dr. Madisetti, contends that a person of
ordinary skill in the art “would have understood that air gaps near the
detectors on the peripheral edge of Mendelson ’799’s more complicated
oximeter sensor would create significant noise.” Id. at 38 (citing Ex. 2004
¶ 79 (“peripheral air gaps would be positioned near or over Mendelson
’799’s peripheral detectors leading to inconsistent measurements”)).
Accordingly, Patent Owner argues that a person of ordinary skill in the art
would not have modified Mendelson-799’s structure to add Ohsaki’s air
gaps. Id. at 37–38 (citing Ex. 2004 ¶¶ 77–79).
      Fifth, Patent Owner argues that “a convex cover is just one of many
different alternatives for protecting the components of a sensor” including,
e.g., resin or encapsulation. PO Resp. 38–40. Concerning possible
alternatives, Patent Owner contends that a person of ordinary skill in the art
“would have understood that a flat cover would provide better protection
than a convex surface because, as Petitioner’s cited art teaches, it would be
less prone to scratches.” Id. at 39–40 (citing Ex. 1008 ¶ 106).
      Patent Owner further argues that “Petitioner fails to provide evidence
that its combination, with its many flaws, would reasonably be expected to
successfully result in an effective noninvasive optical physiological sensor
or measurement device.” PO Resp. 40. Patent Owner relies on testimony



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that the design analysis required to create a functional optical physiological
sensor would be complex and involve trial and error. Id. Yet, even with
such a design, “Dr. Kenny admitted he did no analysis to see what impact
his proposed changes would have on the operability of his proposed
combination, nor could he explain what effect any changes to the sensors
would ultimately have on the operability of his proposed combination.” Id.

Petitioner’s Reply

       In its Reply, Petitioner reiterates that “Ohsaki would have motivated
one of ordinary skill to add a light permeable protruding convex cover to
Mendelson ’799’s sensor, to [1] improve adhesion between the sensor and
the user’s tissue, to [2] improve detection efficiency, and to [3] provide
additional protection to the elements accommodated within sensor housing
17.” Pet. Reply 1 (quoting Ex. 1003 ¶ 87). Examining Patent Owner’s
arguments related to shape, structure, and location of sensors, Petitioner
notes that Ohsaki does not limit its benefits to a rectangular pulse rate sensor
applied to a particular body location. Id. at 2. Instead, Petitioner argues that
Ohsaki attributes the reduction of slippage afforded by use of a translucent
board, and related improvements in signal quality, to the convex surface of
the translucent board being in intimate contact with the surface of a user’s
skin. Id. (citing Ex. 1003 ¶ 84; Ex. 1009 ¶¶ 15, 17–18, 25, Figs. 1, 2, 4A,
4B).
       Concerning Patent Owner’s first and second arguments (longitudinal
shape and sensor placed on the back of the user’s wrist), Petitioner responds
that Ohsaki does not disclose the shape of its protrusion, other than its
convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve


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the disclosed benefits. Pet. Reply 6–12 (citing, e.g., Ex. 1047 ¶¶ 21–30).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
somehow understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of attaching a
light permeable protruding convex cover to Me[nd]elson-799’s housing to
obtain the benefits attributed to such a cover by Ohsaki.” Id. at 10 (citing,
e.g., Ex. 1047 ¶ 26). Similarly, regarding the location of the sensor,
Petitioner asserts,
      [E]ven if a [person of ordinary skill in the art] would have
      somehow misunderstood Ohsaki’s sensor as limited to placement
      on the backside of the wrist, and even if the difficulty that [Patent
      Owner] alleges with respect to obtaining pulse oximetry
      measurements from that location were true, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Mendelson-799’s
      sensor, to improve detection efficiency.
Id. at 11 (citing, e.g., Ex. 1047 ¶ 28).
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Mendelson-799’s sensor would not decrease signal
strength but, instead, “would improve Mendelson-799’s signal-to-noise ratio
by causing more light backscattered from tissue to strike Mendelson-799’s
detectors than would have absent the cover” because such a cover improves
light concentration across the entire lens and does not direct it only towards
the center. Id. at 13–17 (citing, e.g., Ex. 1047 ¶¶ 31–47).
      Petitioner dismisses Patent Owner’s reliance on Figure 14B of the
’553 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. For example, the light rays
(1420) shown in FIG. 14B are collimated (i.e., travelling paths parallel to


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one another), and each light ray’s path is perpendicular to the detecting
surface.” Pet. Reply 14–15 (citing, e.g., Ex. 1047 ¶¶ 32–34). Moreover,
Petitioner argues that, even when collimated, light will focus at the center
only if the light beam happens to be perfectly aligned with the axis of
symmetry of the lens and, when entering at any other angle, will focus at a
different point. Id. at 15 (citing, e.g., Ex. 1047 ¶ 34).
      According to Petitioner, Patent Owner’s and Dr. Madisetti’s position
regarding convergence toward the center does not apply to diffuse light,
which reaches the detectors from various random angles and directions after
having been reflected by tissue. Id. at 15–16 (citing, e.g., Ex. 1047 ¶¶ 36–
37). As a result, Petitioner contends Ohsaki’s cover would have provided a
refracting effect such that light rays that would have missed the detectors
absent a cover are instead directed to that area as they pass through the
cover. Id. at 16–17 (citing Ex. 1047 ¶¶ 37–39). Dr. Kenny testifies how the
light that backscatters from the measurement site after diffusing through
tissue reaches the circular active detection area of Mendelson-799’s
detectors and further applies principles of Snell’s law to explain the effects
of the convex board on the propagation of light rays from a diffuse source.
Ex. 1047 ¶ 37, 39–43. Petitioner thus contends that “overall, more of the
partially reflected, transmitted, absorbed, and ultimately back scattered light
strikes the detectors than otherwise would have absent the cover.” Pet.
Reply 17–18 (citing Ex. 1047 ¶¶ 45–47).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
a skilled artisan would have known to avoid air gaps in the proposed
combination. Id. at 18 (citing, e.g., Ex. 1047 ¶¶ 48–49). Further, Petitioner




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contends that “some minor air gaps” would not obviate the motivation to
combine even if they remained. Id. at 19.
      Concerning Patent Owner’s fifth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “multiple advantages of
a convex cover,” and would not negate a motivation to combine. Id. at 19–
20 (citing, e.g., Ex. 1047 ¶ 52).

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in sensor orientation or measurement location
result in slippage.” Sur-reply 3–14, 8.
      Concerning Patent Owner’s third argument, Patent Owner argues that
Dr. Kenny and Petitioner have not overcome their admissions that a convex
lens directs light toward the center. Id. at 15–16 (citing, e.g., Ex. 2004
¶¶ 71–72).
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that a convex cover focuses “all light” to a
single point at the center of the sensor. Id. at 17. Patent Owner instead
states that, “[l]ight entering the convex surface from all angles would, on
average, result in more light directed towards the center and less light at
the periphery—as compared to a flat surface—and therefore less light at the
peripherally located detectors.” Id. (citing Ex. 2004 ¶¶ 70–75).
      Finally, Patent Owner argues that Petitioner’s Reply arguments are
overly complex and instead a person of ordinary skill in the art “would have


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understood and applied the straightforward understanding that a convex
surface condenses light toward the center.” Id. at 19–20.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that “Petitioner does not dispute that . . . air gaps would dissuade a
[person of ordinary skill in the art] from modifying Mendelson[-]799.” Id.
at 20–21.
      Concerning Patent Owner’s fifth argument, Patent Owner argues that
Petitioner does not dispute Patent Owner’s position that a flat cover would
be less prone to scratches and offers “no plausible advantages for its asserted
combination.” Id. at 22–23. Moreover, Patent Owner argues that “the risk
of scratches is not merely a disadvantage—it directly undermines
Petitioner’s motivation to add a convex cover to provide ‘additional
protection.’” Id. at 23.
Analysis
      We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As shown in Petitioner’s
modified figures below, the wall of the combined sensor surrounds the
sensor components and is operably connected to the convex cover on the top
and is operably connected to the planar substrate on the bottom, as claimed.




Petitioner’s annotated Figure 7 from Mendelson-799 shows the proposed
combination with a convex cover (red), and opaque wall and planar substrate
(green). Pet. Reply 5; see also Ex. 1003 ¶ 88 (“[O]ne of ordinary skill
would have configured Mendelson 799’s circumscribing wall to operably


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connect, on one side, to the planar substrate on which detectors 16 and 18
are arranged and, on an opposite side, to the convex cover.”). We credit Dr.
Kenny’s testimony that a person of ordinary skill in the art would have been
motivated to configure the wall, substrate and convex cover such that the
circumscribing wall operably connects, on one side, to the planar substrate
on which detectors 16 and 18 are arranged and, on an opposite side, to the
convex cover. See id.
      Moreover, as discussed more below, Petitioner’s proposed
modifications to Mendelson-799 are not premised upon bodily incorporating
Ohsaki’s cover directly with Mendelson-799’s sensor. See In re Nievelt, 482
F.2d 965, 968 (CCPA 1973) (“Combining the teachings of references does
not involve an ability to combine their specific structures.”). To the
contrary, Petitioner proposes incorporating Ohsaki’s teaching of a cover
with a convex surface, not the precise cover and structure disclosed by
Ohsaki. In re Keller, 642 F.2d 413, 425 (CCPA 1981) (“[T]he test is what
the combined teachings of those references would have suggested to those of
ordinary skill in the art.”). If Ohsaki’s teaching is implemented in a manner
that varies from the precise implementation of such a cover in Ohsaki, e.g.,
with a larger span or with notches, this is not a material deviation from
Ohsaki’s express teachings of using a cover with a convex surface to achieve
specific benefits, e.g., improved adhesion and signal strength. Ex. 1009
¶ 25; see supra § II.D.5.vi; see Lear Siegler, Inc. v. Aeroquip Corp., 733
F.2d 881, 889 (Fed. Cir. 1984) (explaining that a person of ordinary skill is
not “compelled to adopt every single aspect of [a reference] without the
exercise of independent judgment”). As explained by Dr. Kenny, a person
of ordinary skill in the art “would have found it obvious to add notches to



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improve the reliability of the connection between the convex cover and
housing.” Ex. 1047 ¶ 55 (citing Ex. 2008, 208:1–5, 206:20–207:4). Based
on the final record, Petitioner’s stated reasoning for the proposed
modifications are sufficiently supported, including by the testimony of Dr.
Kenny. See, e.g., Ex. 1003 ¶¶ 55–69, 78–98, 127–136.
      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Mendelson-799’s sensor: (1) to “improve adhesion between
the sensor and the user’s tissue,” (2) to “improve detection efficiency,” and
(3) to “protect the elements within sensor housing 17.” Pet. 25 (citing, e.g.,
Ex. 1003 ¶ 87; Ex. 1009 ¶¶ 15, 17, 25). As further examined below, we
determine all three rationales are supported by the evidence, and further that
any single rationale standing alone would have been sufficient to establish a
basis for the person of ordinary skill in the art to combine the references as
proposed.
      Rationales 1 and 2
      The evidence of record persuades us that adding a convex cover, such
as that taught by Ohsaki, would have improved adhesion between the sensor
and the user’s skin, which would have increased the signal strength of the
sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the


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      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25 (emphases added); see also id. ¶ 27 (“stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Mendelson-799 to improve that similar device in the same
way and to yield predictable results, i.e., to resist movement of the sensor on
the user’s wrist. See, e.g., Ex. 1003 ¶ 84 (“[T]his contact between the
convex surface and the user’s skin is said to prevent slippage, which
increases the strength of the signals obtainable by Ohsaki’s sensor.”). We
also credit Dr. Kenny’s testimony that, in light of these teachings, a person
of ordinary skill in the art would have made such a modification to improve
the pulse sensor’s ability to emit light into, and detect light reflected from,
the user’s wrist, to generate an improved pulse signal. Ex. 1003 ¶¶ 83–87;
Ex. 1047 ¶ 17.
      Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also



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states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the level of ordinary skill in the art. For example,
Dr. Kenny testifies:
               The above-described modification would require only
        routine knowledge of sensor design and assembly. . . . Indeed,
        the modification would have amounted to nothing more than the
        use of a known technique to improve similar devices in the same
        way, and combining prior art elements according to known
        methods to yield predictable results—improved adhesion of the
        sensor to the user’s skin, and improved signal strength.
               Furthermore, the elements of the resulting sensor would
        each perform functions they had been known to perform prior to
        the combination—Ohsaki’s translucent board 8 would simply be
        placed over the components accommodated within Mendelson
        ’799’s sensor housing 17, and would perform the same function
        as taught by Ohsaki.
Ex. 1003 ¶¶ 97–98; see also id. ¶¶ 88–90. In light of Ohsaki’s express
disclosure of the benefits of a convex cover, we credit Dr. Kenny’s
testimony that a person of ordinary skill in the art would have been
motivated to modify Mendelson-799 as proposed, and would have had a
reasonable expectation of success in doing so.
        We next address Patent Owner’s first through fourth arguments, each
of which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
        Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the


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user’s forearm. PO Resp. 17–25. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1009 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex surface.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 17–21. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); see also Pet.
Reply 9; Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d 951, 956
(Fed. Cir. 2000) (“[I]t is well established that patent drawings do not define
the precise proportions of the elements and may not be relied on to show
particular sizes if the specification is completely silent on the issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element 6 from the right side to
the left side in FIG. 2 is longer than the length from the upper side to the
lower side.” Ex. 1009 ¶ 19. Ohsaki also describes that detecting element 2
is aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).



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      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply 7–8 (noting also that Ohsaki’s
board 8 “is not coextensive with the entire tissue-facing side of detecting
element 2”). We have considered the cited testimony of both Dr. Kenny and
Dr. Madisetti on this point. Ex. 1047 ¶¶ 21–24; Ex. 2004 ¶¶ 38–42 (relying
on Ohsaki’s Figures 1–2 to support his opinion that the convex surface is
rectangular). Dr. Madisetti’s reliance on the dimensions of Ohsaki’s figures
is unpersuasive. Hockerson-Halberstadt, 222 F.3d at 956. We credit
Dr. Kenny, who testifies that Ohsaki does not describe its convex surface as
rectangular, because this testimony is most consistent with Ohsaki’s
disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
Sur-reply 6 (“intended placement take advantage of the forearm/wrist area’s
particular bone structure to prevent slipping”), 9 (“[A] POSITA would have
understood Ohsaki’s convex board must also have a longitudinal shape
oriented up-and-down the watch-side of the user’s wrist/forearm.”).
Although Ohsaki recognizes that interaction with these bones can cause
slippage problems, see Ex. 1009 ¶¶ 6, 19, we do not agree that the only way
to avoid these bones is by aligning a rectangular cover with the longitudinal
direction of the user’s forearm. For example, in the annotated Figures
provided by Patent Owner, see PO Resp. 20–21, we discern that the circular
sensor that purports to depict the proposed modification would also avoid



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the bones in the forearm if it were slightly smaller. Patent Owner provides
no persuasive explanation to justify the dimensions it provides in this
annotated figure, or to demonstrate that such a large circular sensor would
have been required. Indeed, we discern that it would have been within the
level of skill of an ordinary artisan to appropriately size a modified sensor to
avoid these well-known anatomical obstacles. “A person of ordinary skill is
also a person of ordinary creativity, not an automaton.” KSR Int’l Co., 550
U.S. at 421. After all, an artisan must be presumed to know something
about the art apart from what the references disclose. See In re Jacoby, 309
F.2d 513, 516 (CCPA 1962).
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1047 ¶ 15
(“Ohsaki nowhere describes its benefits as being limited to a rectangular
pulse rate sensor applied to a particular body location. . . . Instead . . .
Ohsaki attributes the reduction of slippage afforded by use of translucent
board 8” to the convex surface being in intimate contact with the skin.).
Thus, we agree with Petitioner that Ohsaki’s teaching of a convex surface
would have motivated a person of ordinary skill in the art to add such a



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surface to Mendelson-799’s circular-shaped sensor, to improve adhesion as
taught by Ohsaki. See, e.g., Pet. 21–25. Nothing in Ohsaki’s disclosure
limits such a benefit to a specific shape of the convex surface. Ex. 1047
¶¶ 11–12.
      Moreover, Ohsaki contrasts its convex surface with a flat surface and
notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25; Ex. 1047 ¶ 17. Thus, we agree with Petitioner that Ohsaki’s
teaching of a convex surface would have motivated a person of ordinary
skill in the art to add such a surface to Mendelson-799’s sensor, to improve
signal strength, as taught by Ohsaki. See, e.g., Pet. 23–27. Again, nothing
in Ohsaki’s disclosure limits such a benefit to the shape of the convex
surface. Ex. 1047 ¶¶ 15–17.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Mendelson-799 and Ohsaki. 4



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  Patent Owner also argues that, to the extent contended by Petitioner, it
would not have been obvious to place a rectangular cover on top of
Mendelson-799’s sensor. PO Resp. 29–31. We do not understand Petitioner
to have made any such contention and, accordingly, do not address this
argument. See, e.g., Pet. 31 (depicting circular convex surface over circular
sensor).

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        We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is an unsuitable location for Mendelson-
799’s sensor. PO Resp. 26–30. We do not agree. As an initial matter,
Petitioner does not propose bodily incorporating the references; Petitioner
simply proposes adding a convex cover to Mendelson-799’s sensor, without
discussing where Mendelson-799’s sensor is used. See, e.g., Pet. 25–26. In
other words, Petitioner’s proposed modification does not dictate any
particular placement. Moreover, Mendelson-799 states that its sensor
“allows for measuring SaO2 from multiple convenient locations on the body
(e.g. the head, torso, or upper limbs).” Ex. 1012, 2:17–19; see also
Ex. 1019, 1045 (“The idea of using skin reflectance spectrophotometry
marked a significant advancement in the noninvasive monitoring of SaO2
from virtually any point on the skin surface.”). Thus, we do not agree that
Mendelson-799 discourages or disparages use on the back of the wrist, or
suggests that an unacceptably weak signal would be obtained from another
location.
        Notwithstanding the foregoing, and assuming for sake of argument
that a person of ordinary skill in the art would have expected a weaker signal
if Mendelson-799’s sensor was used on the back of the wrist, that alone does
not nullify the proposed combination. “[A] given course of action often has
simultaneous advantages and disadvantages, and this does not necessarily
obviate motivation to combine.” Medichem, S.A. v. Rolabo, S.L., 437 F.3d
1157, 1165 (Fed. Cir. 2006) (citation omitted). Indeed, we discern that, in
such a location that results in decreased signal quality, a person of ordinary


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    Citation to Petitioner’s added page numbering.

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skill in the art would have been further motivated to improve signal quality,
e.g., by employing Ohsaki’s convex surface. See, e.g., Ex. 1047 ¶¶ 27–30;
Ex. 1009 ¶ 25 (“[I]n the case that the translucent board 8 has a convex
surface like the present embodiment, the variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin is suppressed. It is also prevented that noise such as disturbance
light from the outside penetrates the translucent board 8.”).
      We have considered Patent Owner’s third argument that a convex
cover would condense light away from Mendelson-799’s peripheral
detectors, which Patent Owner alleges would decrease signal strength. PO
Resp. 31–36. We disagree. There appears to be no dispute that when
emitted light that passes through user tissue, the light is diffused and
scattered as it travels. See, e.g., Pet. Reply 13–18; Tr. 27:18–28:3
(Petitioner’s counsel agreeing that “the incoming light from a detection
standpoint is going to be coming from all sorts of different directions
because of the randomness caused by the back scattering”), 65:23–66:13
(Patent Owner’s counsel agreeing that light does not simply enter tissue and
come back out “like it came out on a mirror”); Ex. 1041, 35:19–37:18
(Patent Owner’s declarant describing light scattering as it travels through
tissue, e.g., reflecting off blood, tissue, or other material); Ex. 1043, 28:2–10
(Patent Owner’s declarant agreeing that reflecting light can be a signal for
the ’553 patent’s sensor), 61:20–62:4 (explaining that “a light in this context,
light emitted from the LEDs is diffused through the skin in that particular
context, whatever that is.”). The light thus travels at random angles and
directions, and no longer travels in a collimated and perpendicular manner.



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      Dr. Kenny testifies that Mendelson-799 and Ohsaki detect light that
has been partially reflected, transmitted, absorbed, and scattered by the skin
and other tissues and the blood before it reaches the detector. Ex. 1047 ¶ 36.
Dr. Kenny further opines that, “the POSITA would have understood that
Mendelson-799’s sensor, which includes multiple photodiodes placed
symmetrically with respect to a central light source, offers the advantage of
enabling a large fraction of light randomly backscattered from tissue to be
detected within the circular active detection area surrounding that source,”
thus increasing the light-gathering ability of Mendelson-799’s sensor. Id.
¶ 43 (emphasis added); see also id. ¶ 44 (“Ohsaki’s cover provides a
refracting effect, such that light rays that otherwise would have missed the
detection area are instead directed toward that area as they pass through the
interface provided by the cover.”).
      By contrast Dr. Madisetti testifies that “a convex surface condenses
light away from the periphery and towards the sensor’s center.” Ex. 2004
¶ 73. We have considered this testimony; however, Dr. Madisetti’s opinions
largely are premised upon the behavior of collimated and perpendicular light
as depicted in Figure 14B of the challenged patent. See id. Dr. Madisetti
does not persuasively explain how light would behave when approaching the
sensor from various angles, as it would after being reflected by tissue. Id.
¶¶ 71–75. In other words, even if Patent Owner is correct that the ’553
patent’s Figure 14B depicts light condensing toward the center, this is not
dispositive to the proposed modification, because light passing through a
user’s tissue is scattered and random, and is not collimated and
perpendicular as shown in Figure 14B. Ex. 1001, Fig. 14B.




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      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both previously admitted that a convex cover condenses light towards the
center of the sensor and away from the periphery in a different petition filed
against a related patent,” i.e., in IPR2020-01520. PO Resp. 31–32; Ex. 2004
¶¶ 71–72 (citing Ex. 2019, 45; Ex. 2020 ¶¶ 69–70). The cited portions of the
Petition and Dr. Kenny’s declaration from IPR2020-01520 discuss a
decrease in the “mean path length” of a ray of light when it travels through a
convex lens rather than through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–
120. We do not agree that this discussion is inconsistent with Dr. Kenny’s
testimony here that, where light is reflected to the detectors at various
random angles and directions, more light will reach Mendelson-799’s
symmetrically disposed detectors when travelling through the convex
surface than would be reached without such a surface, because light that
might have otherwise missed the detectors now will be captured. Ex. 1047
¶¶ 43–45. We do not discern that the convergence of a single ray of light
toward the center, as discussed in IPR2020-01520, speaks to the aggregate
effect on all light that travels through the convex surface. Patent Owner
suggests that this prior discussion means that all light is always directed
toward the center regardless of where or how the light approaches the
convex surface (PO Resp. 31–33), however, we do not understand
Dr. Kenny’s testimony to support such a position.
      In its Sur-reply, Patent Owner argues that it “never argued that all
incoming light condenses to a single point,” or “that all light would be
focused at the center.” Sur-reply 16–17. Be that as it may, neither Patent
Owner nor Dr. Madisetti sufficiently addresses the diffuse nature of the light
at issue here, which reflects from user tissue and scatters. Patent Owner



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attempts to do so in its Sur-reply, stating that “light entering the convex
surface from all angles would, on average, result in more light directed
towards the center and less light at the periphery—as compared to a flat
surface—and therefore less light at the peripherally located detectors.” Id. at
17 (emphases omitted). However, as support, Patent Owner identifies only
the same portions of Dr. Madisetti’s declaration discussed above, which fail
to address diffuse or scattered light. Ex. 2004 ¶¶ 70–75. Accordingly,
considering all evidence of record, we credit the testimony of Dr. Kenny. 6
      With respect to Patent Owner’s fourth argument, we do not agree that
a person of ordinary skill in the art would have been discouraged from
modifying Mendelson-799 as proposed, due to the potential for air gaps to
form at the peripheral edges of the convex surface. PO Resp. 36–38. Patent
Owner misstates the proposed modification. Petitioner does not propose
“modif[ying] Mendelson[-]799’s structure to add Ohsaki’s air gaps.” See
PO Resp. 37. Petitioner proposes modifying Mendelson-799 only to include
a cover with a convex surface; Petitioner does not propose including any air
gaps that may be present in Ohsaki. See, e.g., Pet. 41. Moreover, even if
Ohsaki’s Figure 1 depicts small air gaps adjacent the convex surface, Ohsaki
nonetheless discloses that the convex surface is in “intimate contact” with
the user’s skin. Ex. 1009 ¶ 25; see also Hockerson-Halberstadt, 222 F.3d at
956. In view of such a teaching, we agree with Petitioner that it would have



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  Moreover, we disagree with Patent Owner’s argument that Petitioner’s
Reply arguments are overly complex and instead a person of ordinary skill
in the art “would have understood and applied the straightforward
understanding that a convex surface condenses light toward the center.”
Sur-reply 19–20. As noted above, this “straightforward understanding”
lacks sufficient support, in the context of diffuse light.

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been within the skill of a person of ordinary skill in the art, who “is also a
person of ordinary creativity, not an automaton,” to minimize any such air
gap that may be present when including a cover with a convex surface in
Mendelson-799’s sensor. Indeed, a purpose of Petitioner’s proposed
modification is to increase signal strength. See, e.g., Pet. 24–25. We discern
that it would have been within the capability of an ordinarily skilled artisan
to eliminate any air gap that would have decreased signal strength or quality.
Ex. 1047 ¶ 48.
      Rationale 3
      Petitioner further contends that a person of ordinary skill in the art
“would have recognized that a light permeable cover with a protruding
convex surface,” such as that taught by Ohsaki, would “protect the elements
within sensor housing 17” of Mendelson-799. Pet. 21–22. We are
persuaded that adding a convex cover, such as that taught by Ohsaki, would
protect the sensor’s internal components. Mendelson-799 is not shown to
include a cover over its emitters 12a–c or detectors 16, 18. See, e.g.,
Ex. 1012, Fig. 7. By contrast, Ohsaki discloses that translucent board 8 with
its convex surface covers its emitter and detector. As such, we credit
Dr. Kenny’s testimony that a person of ordinary skill in the art would have
been motivated to add a transparent convex cover to Mendelson-799 to
“provide additional protection to the elements accommodated within sensor
housing 17.” Ex. 1003 ¶ 87.
      We disagree with Patent Owner’s fifth argument that a person of
ordinary skill in the art would not have modified Mendelson-799 as
proposed because a convex cover would be prone to scratches and because
other alternatives existed. PO Resp. 38–49. Patent Owner’s counsel did not



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dispute, during the oral hearing, that a convex cover would indeed serve to
protect the internal sensor components in Mendelson-799, as Petitioner
proposes. Tr. 64:6–65:5 (but noting that a flat cover would also protect, and
would be less prone to scratches). Even if a convex cover seated against the
skin may be more prone to scratches than a flat cover, this is just one of
numerous tradeoffs that a person of ordinary skill in the art would consider,
in determining whether the benefits of increased adhesion, signal strength,
and protection outweigh the potential for a scratched cover. Medichem, 437
F.3d at 1165. We do not agree that the possibility of scratches alone would
have dissuaded a person of ordinary skill in the art from the proposed
modification, to achieve the benefits identified by Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

                                            v. Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                           4.     Independent claims 10 and 20

      Independent claims 10 and 20 consist of limitations that are
substantially similar to elements [a]–[d] of claim 1. Compare Ex. 1001,
44:50–67, with id. at 45:35–47 and id. at 46:22–46. In asserting that
claims 10 and 20 also would have been obvious over the combined teachings
of Mendelson-799 and Ohsaki, Petitioner refers to the same arguments
presented as to claim 1. See Pet. 45–50, 55–60.




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      Patent Owner does not separately address independent claims 10 and
20. See generally PO Resp.
      We have examined the scope of claims 10 and 20 as well as
Petitioner’s unrebutted contentions concerning these two claims. Claim 10
is generally broader in scope than claim 1, but otherwise claims the same
elements in the same configurations as examined above. See Pet. 45–50.
One distinction is that “at least four detectors” must be “operably arranged
on the planar surface of the substrate in a pattern.” Ex. 1001, 45:35–47.
Petitioner establishes how “the Mendelson-Ohsaki combination would have
included twelve discrete detectors that are operably arranged on the planar
surface of the sensor’s substrate in a radially symmetric pattern around
central light source 12.” Pet. 49.
      Claim 20 is also very similar to claim 1. See id. at 55–60. Claim 20
additionally requires “positioning the at least four detectors within one or
more spaces formed by at least the substrate.” Ex. 1001, 46:44–46.
Petitioner also establishes how “the discrete detectors included within
detectors 16 and 18 would have been positioned within spaces formed by the
substrate, wall, and cover.” Pet. 60 (citing Ex. 1003 ¶¶ 199–200).
      Based on Petitioner’s analysis and supporting testimony of Dr. Kenny,
and for the same reasons discussed above, we are persuaded that Petitioner’s
cited evidence and reasoning demonstrates by a preponderance of the
evidence that claims 10 and 20 would have been obvious over Mendelson-
799 and Ohsaki. See supra.

                                 5.     Dependent claim 2
      Dependent claim 2 depends from independent claim 1 and further
recites: “The noninvasive optical physiological sensor of claim 1, wherein


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the wall operably connects to the substrate on one side and operably
connects to the cover on an opposite side.” Ex. 1001, 45:1–3.
      Petitioner primarily relies on its analysis of claim 1, citing to
argument and evidence demonstrating how a person of ordinary skill in the
art would understand that “the wall operably connects to the substrate on one
side and operably connects to the cover on an opposite side,” as claimed.
Pet. 42 (citing Ex. 1003 ¶¶ 55–69, 78–138; Ex. 1012, code (57), 4:13–22,
7:25–8:13, 8:37–41, 9:22–10:30, Figs. 7, 8; Ex. 1009 ¶¶ 15, 17, 25, Figs. 1,
2, 4A, 4B).
      Patent Owner argues that “Petitioner provides no independent analysis
for this claim and instead refers back to analyses of claim 1.” PO Resp. 41.
Patent Owner also argues that, in the annotated figures, Petitioner relies on
“a combination with cover and wall features that are unsupported and
unexplained,” and that Petitioner does not have support for placing a cover
spanning the entire space above the substrate and for providing notches. Id.
at 41–43.
      We have addressed Patent Owner’s concerns in our analysis above.
As shown in the Petitioner’s modified figures (see Pet. 41), the wall of the
combined sensor surrounds the sensor components and is operably
connected to the convex cover on the top and is operably connected to the
planar substrate on the bottom, as claimed. Moreover, as discussed above
regarding claim 1, Petitioner’s proposed modifications to Mendelson-799 is
not premised upon bodily incorporating Ohsaki’s cover directly with
Mendelson-799’s sensor. See In re Nievelt, 482 F.2d 965, 968 (CCPA 1973)
(“Combining the teachings of references does not involve an ability to
combine their specific structures.”).



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      To the contrary, Petitioner proposes incorporating Ohsaki’s teaching
of a cover with a convex surface, not the precise cover and structure
disclosed by Ohsaki. Ex. 1003 ¶ 88 (“And, consistent with Ohsaki’s
configuration, one of ordinary skill would have configured Mendelson
’799’s circumscribing wall to operably connect, on one side, to the planar
substrate on which detectors 16 and 18 are arranged and, on an opposite
side, to the convex cover.”);see also Ex. 1012, code (57), 9:22–10:30, Fig. 7;
Ex. 1009 ¶ 17, Fig. 2; see also Ex. 1047 ¶ 11 (“one of ordinary skill in the
art would arrange for a convex cover based on the teaching of Ohsaki that
was the right size to fit with the housing of Mendelson ’799”). If Ohsaki’s
teaching is implemented in a manner that varies from the precise
implementation of such a cover in Ohsaki, e.g., with a larger span or with
notches, this is not a material deviation from Ohsaki’s express teachings of
using a cover with a convex surface to achieve specific benefits, e.g.,
improved adhesion and signal strength. Ex. 1009 ¶ 25; see supra; see Lear
Siegler, Inc. v. Aeroquip Corp., 733 F.2d 881, 889 (Fed. Cir. 1984)
(explaining that a person of ordinary skill is not “compelled to adopt every
single aspect of [a reference] without the exercise of independent
judgment”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 2 would have been obvious over the cited combination of references.

                   6.    Dependent claims 3, 5, 6, 9, 11–18, 21–24, 29

      Petitioner also contends that claims 3, 5, 6, 9, 11–18, 21–24, and 29
would have been obvious based on the same combination of prior art
addressed above. These challenged claims all depend directly or indirectly


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from independent claim 1, 10, or 20. Petitioner identifies teachings in the
prior art references that teach or suggest the limitations of these claims, and
provides persuasive reasoning as to why the claimed subject matter would
have been obvious to one of ordinary skill in the art. Pet. 29–62. Petitioner
also supports its contentions for these claims with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 139–211.
         Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 41 (“The Petition fails to establish that independent claims 1, 10,
and 20 are obvious over the cited references of Ground 1 and therefore fails
to establish obviousness of any of the challenged dependent claims.”); see
supra.
         We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 3, 5, 6, 9, 11–18, 21–24, and 29 would have been
obvious over the combined teachings of Mendelson-799 and Ohsaki, for the
reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny.

                                      7.       Conclusion

         For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
3, 5, 6, 9–18, 20–24, and 29 would have been obvious over the cited
combination of references.




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               E.      Obviousness over the Combined Teachings of
                        Mendelson-799, Ohsaki, and Schulz

      Petitioner contends that claims 4, 18, and 24 of the ’553 patent would
have been obvious over the combined teachings of Mendelson-799, Ohsaki,
and Schulz. Pet. 62–74. Patent Owner disagrees and presents several
arguments, including that “a POSITA would not have been motivated to
combine Schulz with Mendelson ’799 and Ohsaki.” PO Resp. 43, 43–45;
see also generally Sur-reply.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of evidence that claims 4, 18, and 24 are unpatentable.

                           1.   Overview of Schulz (Ex. 1013)
      Schulz is a U.S. patent application publication titled “Pulse Oximetry
Ear Sensor,” and discloses an ear sensor assembly including an emitter pad
and a detector pad. Ex. 1013, codes (54), (57).
      Figure 19C of Schulz is reproduced below.




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Figure 19C illustrates an exploded top perspective view of an ear sensor clip.
Id. ¶ 31. Each sensor clip 1900 includes “opposingly positioned
housings 1902 and 1903 that house one or more sensor optical components.”
Id. ¶ 65. Each housing includes respective inward facing shells 1905 and
1906. 7 Id. ¶ 65. “[I]nward facing shells 1905 and 1906 further include
windows 1919 and 1924 that provide an aperture for transmission of optical
energy to or from a tissue site. Translucent silicone material covers
windows 1919 and 1924 providing lenses 1920 and 1921.” Id. ¶ 67.
      A “thin sheet of opaque material is located beneath window 1919 or
1924, and a window in the opaque material provides an aperture for
transmission of optical energy to or from the tissue site.” Id. ¶ 73. “The
opaque material blocks light, and the window in the opaque material can be


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 Figure 19C appears to label inward facing shell 1906 as 1916. See id. at
Fig. 19B.

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sized as needed to block the proper amount of light from entering the
aperture to, for example, avoid saturation of the light detector.” Id.

                          2.     Dependent Claims 4, 18, and 24
      Claim 4 requires “an opaque layer blocking light other than at one or
more openings that allow light to pass through to at least one of the at least
four detectors.” Ex. 1001, 45:7–11. Claims 18 and 24 similarly require
“one or more openings that allow light to pass through to the at least four
detectors.” Id. at 46:7–10, 60–63.
Petitioner’s Disputed Contentions
      Petitioner identifies teachings in the prior art references that teach the
limitations of each of dependent claims 4, 18, and 24, and provides
persuasive reasoning as to why the claimed subject matter would have been
obvious to one of ordinary skill in the art. Pet. 65–74. More specifically,
Petitioner contends that a person of ordinary skill in the art would have
combined Mendelson-’799 and Ohsaki with Schulz to obtain additional
benefits. Id. at 65. Petitioner contends “a POSITA would have recognized
that the Mendelson-Ohsaki opaque wall would partially shield the detectors
from ambient light, but would have understood from Schulz that additional
measures could be taken to guard against saturation.” Id. (citing Ex. 1019,
79, 86, 94). Petitioner relies on Schulz’s sensor featuring a thin sheet of
opaque material placed inside the sensor’s housing beneath a lens with “a
window in the opaque material provid[ing] an aperture for transmission of
optical energy to or from the tissue site,” as well as the sizeable opaque
material blocking light from entering the aperture to avoid saturation of the
light detector. Id. at 66 (quoting Ex. 1013 ¶ 73, Figs. 19A–19C).



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      Petitioner contends that a person of ordinary skill in the art would
have been motivated to add a layer of opaque material to the Mendelson-
Ohsaki sensor, and to size windows in the opaque material as appropriate, to
avoid saturation of each of the sensor’s detectors. Id. (citing Ex. 1003
¶¶ 215–216; Ex. 1013 ¶ 73, Figs. 19A–19C). Petitioner argues that based
upon the knowledge a person of skill in the art would possess, and based on
Schulz’s description, “Schulz’s opaque layer limits errors by decreasing the
angle of incidence to the photodiode to that enabled by the window included
within the layer, and by otherwise preventing ambient light from reaching
the photodiode.” Id. at 67. Petitioner similarly argues that a person of
ordinary skill in the art would have applied Schulz’s teachings to pulse
oximetry sensors featuring multiple photodiodes so that errors could be
limited using an opaque layer with multiple windows, the windows being
configured to decrease the angles of incidence to the photodiodes. Id.
Relying on the annotated Figure 7 of Mendelson-’799 below, Petitioner
argues that “Schulz would have motivated a POSITA to modify the
Mendelson-Ohsaki combination to include an opaque layer that would have
blocked light other than at windows corresponding to the sensor’s
photodiodes.” Id. at 69.




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Petitioner’s annotated Figure 7 of Mendelson-799 and added sectional view
depicting an additional “Opaque Layer” (illustrated in green) having
windows. Pet. 70. According to Petitioner, “the Mendelson-Ohsaki-Schulz
combination improves upon the Mendelson-Ohsaki combination by adding a
well-known component, an opaque layer that blocks light other than at
windows corresponding to the detectors, in order to ‘avoid saturation’ of the
detectors.” Pet. 70–71 (citing Ex. 1003 ¶ 222; Ex. 1013 ¶ 73). Thus,
Petitioner concludes that “the Mendelson-Ohsaki-Schulz combination would
have included an opaque layer blocking light other than at one or more
openings that allow light to pass through to the twelve detectors.” Pet. 71
(citing Ex. 1003 ¶¶ 55–72, 78–136, 213–222).
Patent Owner’s Arguments
      Patent Owner, relying on the testimony of Dr. Madisetti, argues that
“a POSITA would not have been motivated to combine Schulz with
Mendelson ’799 and Ohsaki.” PO Resp. 44 (citing Ex. 2004 ¶¶ 89–93).
Patent Owner first argues aspects of Schulz individually. For example,
Patent Owner argues that Schulz is directed to an ear sensor, but the


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Mendelson-Ohsaki combination is not, and Mendelson-799 contrasts its
reflectance sensor with transmission sensors attached on an earlobe. PO
Resp. 44 (citing, e.g., Ex. 2004 ¶ 90). Patent Owner next contends that
“there is no evidence over-saturation was a problem for the detectors in
either Mendelson ’799 or Ohsaki.” Id.
      Patent Owner further argues that a person of ordinary skill in the art
would not have been motivated to modify Mendelson-799 as proposed
because adding an opaque layer would decrease signal strength, especially
for a reflectance pulse oximeter like Mendelson-799, which Patent Owner
alleges has a weak signal already. PO Resp. 44–45 (citing, e.g., Ex. 2004
¶¶ 91–93); Sur-reply 25–26. According to Patent Owner, a person of
ordinary skill in the art would not have been motivated to add features that
make an already weak signal even weaker, especially at “Petitioner’s
proposed wrist-worn sensor—a location where a POSITA would expect
weak and noisy signals.” Sur-reply 25–26. Further, “[n]othing in Schulz
would have motivated a POSITA to add windows to Mendelson ’799’s
sensor to block ambient light,” whereas “other cited Mendelson references
similarly place the sensor inside an opaque cover that would likewise
suppress ambient light,” according to Patent Owner. Id. at 26. Finally,
Patent Owner asserts that a person of ordinary skill in the art would have
expected the windows in Petitioner’s proposed combination to prevent the
necessary angular reflected light from reaching Mendelson-799’s detectors,
thereby making an already weak signal even weaker. PO Resp. 44–45
(citing Ex. 2004 ¶¶ 91–92).




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Analysis
      We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As discussed above, Schulz
explicitly teaches that its opaque material and window “blocks light” and
“avoid[s] saturation of the light detector.” Ex. 1013 ¶ 73. Petitioner cites
persuasive and well-supported evidence, including the testimony of its
declarant, that a person of ordinary skill in the art would have been
motivated to add such an arrangement to the sensor of Mendelson-799 to
achieve this same disclosed benefit, i.e., to avoid saturation of Mendelson’s
detectors. See, e.g., Ex. 1003 ¶¶ 215–216. For example, Dr. Kenny’s
testimony regarding the ability of an opaque material with windows to avoid
saturation is supported by Schulz and by the Webster textbook, which
discusses the importance of minimizing “light other than the optical signals
of interest.” Id. ¶ 217 (citing Ex. 1019, 76). We are persuaded by
Petitioner’s contentions and Dr. Kenny’s testimony.
      We do not agree with Patent Owner’s argument that this modification
would decrease signal strength. PO Resp. 44–45. We discern that
Petitioner’s proposed modification would not alter the signal of interest, i.e.,
the optical signal that passes from the emitter, through the user’s tissue, and
to the photodetectors. Rather, the cited evidence of record supports
Petitioner’s contention that the proposed modification would have blocked
light other than that from the signal of interest, i.e., the emitter. See, e.g.,
Ex. 1003 ¶ 221 (“Schulz would have motivated one of ordinary skill to
modify the Mendelson-Ohsaki combination to include an opaque layer that
would have blocked light other than at windows corresponding to the
sensor’s photodiodes.”); Ex. 1013 ¶ 73 (“The opaque material blocks light,



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and the window in the opaque material can be sized as needed to block the
proper amount of light from entering the aperture to, for example, avoid
saturation of the light detector.”); see also Pet. Reply 24–26. Thus, we do
not agree that the proposed modification would have decreased signal
strength.
      We have considered Patent Owner’s similar argument that the
proposed windows would have prevented certain angular reflected light from
reaching Mendelson-799’s detectors, thereby making an already weak signal
even weaker. Sur-reply 27 (citing, e.g., Ex. 2004 ¶¶ 91–92). We do not find
any support for this argument in Schulz. To the contrary, Schulz explains
that “the window in the opaque material can be sized as needed to block the
proper amount of light from entering the aperture to, for example, avoid
saturation of the light detector.” Ex. 1013 ¶ 73. Contrary to Patent Owner’s
argument, Schulz simply states that its window is sized to control the
amount of light that enters the aperture; Schulz does not state where that
light comes from, or that it only controls against light from the emitter.
      We also do not agree with Patent Owner’s argument that Petitioner
has not shown that saturation was a problem for Mendelson-799’s sensor.
PO Resp. 44. Mendelson-799 need not identify a problem with saturation in
order to be improved by the proposed modification. Indeed, Petitioner “does
not need to show that there was a known problem with the prior art system.”
Unwired Planet, LLC v. Google Inc., 841 F.3d 995, 1002–03 (Fed. Cir.
2016); see also Sci. Plastic Prods., Inc. v. Biotage AB, 766 F.3d 1355, 1359–
61 (Fed. Cir. 2014); Hologic, Inc. v. Minerva Surgical, Inc., 764 F. App’x
873, 880 (Fed. Cir. 2019). As expressly recognized in KSR, any art-
recognized need or problem can provide a reason for combining claim



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elements. KSR, 550 U.S. at 416. Here, Petitioner provides sufficient
evidence to demonstrate that saturation was a known problem (see, e.g., Ex.
1003 ¶¶ 216–220; Ex. 1019, 79; Ex. 1023, 11–12; 8 Ex. 1047 ¶¶ 63, 64) and
that Schulz provided a readily-applicable technique to solve it (Ex. 1013
¶ 73).
         We also do not agree with Patent Owner’s argument that Schulz and
Mendelson-799 are incompatible because they obtain measurements at
different locations. Mendelson-799 explains that its sensor type can be used
in “multiple convenient locations on the body,” and does not exclude use on
a patient’s ear or elsewhere. Ex. 1012, 2:15–21; see also Ex. 1019, 104
(“The idea of using skin reflectance spectrophotometry marked a significant
advancement in the noninvasive monitoring of Sa02 from virtually any point
on the skin surface.”). Moreover, the proposed modification does not seek
to bodily incorporate the references, one with the other. Rather, Petitioner
clearly proposes modifying Mendelson-799 to include an opaque material
with windows, as taught by Schulz, but plainly does not propose
incorporating any other aspect of Schulz, such as its measurement location.
See Pet. 47–49; see also In re Nievelt, 482 F.2d 965, 968 (CCPA 1973)
(“Combining the teachings of references does not involve an ability to
combine their specific structures.”).




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  It is of no moment that this evidence is not identified as part of the asserted
ground. PO Resp. 45. This evidence is cited by Dr. Kenny as support for
his testimony, consistent with our rules. 37 C.F.R. § 42.65(a) (“Expert
testimony that does not disclose the underlying facts or data on which the
opinion is based is entitled to little or no weight.”).

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               F.      Obviousness over the Combined Teachings of
                        Mendelson-799, Ohsaki, and Griffin

      Petitioner contends that claim 25 of the ’553 patent would have been
obvious over the combined teachings of Mendelson-799, Ohsaki, and
Griffin. Pet. 74–79. Patent Owner disagrees and offers several reasons why
a person of ordinary skill in the art would not have been motivated to
combine Mendelson-799 and Ohsaki with Griffin. PO Resp. 46–47.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of evidence that claim 25 is unpatentable.

                          1.     Overview of Griffin (Ex. 1014)
      Griffin is titled “Magnetic Connector” and it relates to a connector
that “uses complimentary magnetic arrays and mating surfaces on its plug
and receptacle,” as shown in Figures 1(a) and 1(b) reproduced below.
Ex. 1014, codes (54), (57).




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Figures 1(a) and 1(b) of Griffin show complimentary magnetic arrays and
mating surfaces. Figures 1(a) and 1(b) also depict an electrical magnetic
connector featuring “a plug having a plug magnet and plug face and a
receptacle having a receptacle magnet and receptacle face.” Id. at 1:54–
2:18, 3:26–61, Figs. 1(a)–1(c).
      Griffin’s connection mechanism addresses problems that arise when,
for example, “connectors are sometimes inadvertently decoupled,” which
can “result in a broken connector or even damage to the connected electronic
device.” Id. at 1:29–42. Griffins’ plug and receptacle magnets allow for a
quick and safe decouple when a sudden force is applied without resulting in
any damage to the connector or the associated electronic device. Id. at 3:48–
53, 5:26–38.

                         2.       Dependent claim 25
      Dependent claim 25 further requires: “a magnet configured to be used
as a connecting mechanism.” Ex. 1001, 4:64–67.
Undisputed Contentions
      Griffin’s teaching of a magnet configured to be used as a connecting
mechanism is not disputed by Patent Owner. See PO Resp. 46 (“Griffin is a
plug that ‘uses complementary magnetic arrays and mating surfaces . . . to
facilitate connection and disconnection of the connector.’” (citing Ex. 1014,
code (57)); Ex. 1003 ¶¶ 73–74.
Petitioner’s Disputed Contentions
      Petitioner proposes that a person of ordinary skill in the art would
have been motivated to combine Mendelson-799 and Ohsaki with Griffin to
obtain certain benefits. Pet. 77 (citing Ex. 1003 ¶¶ 246–247). Mendelson-
799 identifies pulse oximeter 20 including “a control unit 21, which is


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composed of an electronic block 22 including A/D and D/A converters
connectable to the sensor 10.” Pet. 76 (quoting Ex. 1012, 10:16–22).
Petitioner contends that “Mendelson-799 does not explicitly describe the
mechanism for connecting sensor 10 and electronic block 22 as a magnet
but, in view of Griffin’s disclosure, a POSITA would have found it obvious
to implement that connection with a magnet configured to be used as a
connecting mechanism.” Pet. 77 (citing Ex. 1003 ¶ 248).
      Petitioner contends that it was well known by the critical date that
electrical connectors relying on a mechanical or friction fit to couple a plug
to a receptacle were sometimes subject to inadvertent decoupling, and that
such decoupling could result in broken connectors and devices. Id. (citing
Ex. 1003 ¶ 249; Ex. 1014, 1:29–50). As such, Petitioner argues that a
person of ordinary skill in the art would have understood that this problem
could be solved with Griffin’s magnetic connector, and integrating it into the
Mendelson-799 and Ohsaki combination would have avoided problems that
might arise from a sudden or forceful decoupling of the connection between
sensor 10 and electronic block 22. Pet. 77–78 (citing Ex. 1003 ¶ 249;
Ex. 1014, 1:54–2:18, 3:26–61, 5:26–38, Figs. 1(a)–1(c)).
Patent Owner’s Arguments
      Patent Owner contends that “[c]laim 25 is not obvious because a
POSITA would not have been motivated to combine Griffin with Mendelson
’799 and Ohsaki.” PO Resp. 46 (citing Ex. 2004 ¶¶ 94–95). Patent Owner
argues that Griffin uses magnetic arrays for connection to address the
problem of inadvertently decoupled connectors, yet Petitioner’s proposed
combination of Mendelson-799 and Ohsaki would be a self-contained device
attached to the user’s wrist with a belt. Id. Thus, according to Patent



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Owner, the person of ordinary skill in the art would not have been motivated
to make the combination because “[t]he device has no attached cables that
could be inadvertently decoupled,” and “Petitioner never explains why a
POSITA would have looked to Griffin to address decoupling issues when
the combination of Mendelson ’799 and Ohsaki has no cables to decouple.”
Id. (citing Ex. 2004 ¶ 95). Patent Owner contends that “Petitioner’s
combination has neither the need nor the opportunity for Griffin’s magnetic
connections to attached cables.” Sur-reply 28.
Analysis
      Petitioner has persuasively established why a person of ordinary skill
in the art would have been motivated to modify the Mendelson-Ohsaki
sensor such that the mechanism for connecting sensor 10 and electronic
block 22 is implemented using a magnet, as taught by Griffin. See Pet. 76–
78. Patent Owner’s argument is premised on the proposed device always
being “self-contained,” and such a device never having the need to integrate
a magnetic connector to avoid problems that might arise from a forceful
decoupling. We disagree.
      Patent Owner bases its argument on Ohsaki’s device allegedly
including “a display and electrical connections within the sensor body
itself.” PO Resp. 46. Petitioner’s description of the proposed combination,
however, explains that Mendelson-799’s pulse oximeter 20 includes “control
unit 21, which is composed of an electronic block 22 including A/D and D/A
converters connectable to the sensor 10.” Pet. 76 (quoting Ex. 1012, 10:16–
22). We agree with Petitioner that control unit 21 and sensor 10 would have
been connected such that a person of ordinary skill in the art would have




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been motivated to integrate Griffin’s magnetic connection to avoid forceful
decoupling. Pet. Reply 28 (citing e.g., Ex. 1003, 246–251).
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of evidence that claim 25 is unpatentable.

               G.     Obviousness over the Combined Teachings of
                    Mendelson-799, Ohsaki, and Mendelson-2006

      Petitioner contends that claims 7 and 19 of the ’553 patent would have
been obvious over the combined teachings of Mendelson-799, Ohsaki, and
Mendelson-2006. Pet. 79–96. Patent Owner disagrees and presents several
arguments against the proposed combination. PO Resp. 47–50.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of evidence that claims 7 and 19 are unpatentable.

                      1.     Overview of Mendelson-2006 (Ex. 1010)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1010, 1. 9




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 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. We follow Petitioner’s
numbering scheme.

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      Figure 1 of Mendelson-2006 is reproduced below.




Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode


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(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded
microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and

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output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                             2.    Dependent claims 7 and 19
      Dependent claims 7 and 19 further require “a touch screen display,” as
well as “one or more processors” configured to receive data or signals from
the four detectors, among other limitations. Ex. 1001, 45:18–28, 46:11–21.
Petitioner’s Contentions
      Petitioner first notes that the Mendelson-799 and Ohsaki combination
would have included an optical sensor 10 for use in the proposed optical
measurement device to measure a blood parameter. Pet. 81. Petitioner relies
on the control unit of Mendelson-799 with electronic block 22 connectable
to sensor 10, microprocessor 24 for analyzing measured data, and display 26
for presenting measurement results. Pet. 83. Petitioner contends that
Mendelson-799 “describes a physiological monitoring device that includes
both noninvasive optical physiological sensor 10 and pulse oximeter 20 with
display 26 that is configured to utilize sensor 10.” Pet. 83–84.
      Petitioner observes that Mendelson-799 does not explicitly describe
pulse oximeter 20’s display 26 as a touch-screen display, but Petitioner
contends that a person of ordinary skill in the art would have found it
obvious to implement display 26 as a touch-screen display in light of the
teachings of Mendelson-2006. Petitioner relies on the advantages of
integrating a touch screen display described in Mendelson-2006, such as
providing a low-cost touch screen interface and a simple GUI that presents


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input and output information to the user to allow easy activation of various
functions. Pet. 85. “To enable easy activation of various functions through a
user-friendly interface similar to that described by Mendelson 2006, a
POSITA would have found it obvious to implement pulse oximeter 20’s
display 26 as a touch-screen display.” Pet. 86 (citing Ex. 1003 ¶¶ 265–268).
      Petitioner next argues that a person of ordinary skill in the art would
have found it obvious to enable Mendelson-799 and Ohsaki’s sensor and
pulse oximeter to communicate wirelessly with a PDA featuring a touch-
screen display or mobile phone functionality in view of the teachings of the
Mendelson-2006 disclosure. Pet. 86 (citing Ex. 1003 ¶ 269). Petitioner
notes that at the time of invention, physiological sensor devices commonly
communicated wirelessly with handheld computing devices. Id. Petitioner
notes that Mendelson-2006’s sensor module includes an “optical reflectance
transducer” for measuring photoplethysmographic (PPG) signals, and the
receiver module includes “an embedded microcontroller.” Pet. 87 (quoting
Ex. 1010, 1–2). Next, Petitioner shows how signals acquired by the Sensor
Module of Mendelson-2006 are received by the embedded microcontroller
which synchronously converts the corresponding output to various signals
that are filtered by software to compute arterial oxygen saturation (SpO2)
and heart rate (HR) based on the relative amplitude and frequency content of
the reflected PPG signals. Id. Petitioner relies on Mendelson-2006’s
disclosure of transmitting information acquired by the Sensor Module
wirelessly via an RF link over a short range to a body-worn Receiver
Module and data processed by the receiver module is transmitted wirelessly
to a PDA. Pet. 88 (citing Ex. 1010, 2, Fig. 2). Petitioner contends that
Mendelson-2006’s PDA is a simple low-cost GUI that presents input and



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output information to the user, which allows “easy activation of various
functions” and a person of ordinary skill in the art would have recognized
the benefit of adding these features into the Mendelson-799 and Ohsaki
system. Pet. 88–89, 90 (“POSITA would have been motivated to wirelessly
transmit information or data acquired or processed by sensor 10 and pulse
oximeter 20 to a PDA featuring a touch-screen display and/or mobile phone
functionality”).
Patent Owner Contentions
      Patent Owner, relying on the testimony of Dr. Madisetti, contends that
a person of ordinary skill in the art “would have been led away from
Petitioner’s proposed combination as a whole” after reviewing the complete
disclosure of Mendelson-2006. PO Resp. 48 (citing Ex. 2004 ¶¶ 96–102).
      First, Patent Owner argues that Mendelson-2006’s sensor uses a single
detector ring and not multiple detectors as claimed. Id. (citing Ex. 1010, 1,
4). Further, the single photodetector ring increases the amount of
backscattered light captured and also reduces power consumption, according
to Patent Owner, such that a person of ordinary skill in the art “would have
recognized that a single photodetector ring reduces power consumption
because it maximizes the amount of light detected by eliminating the space
between the individual detectors of Mendelson ’799.” Id.
      Second, Mendelson-2006’s device positions the sensor on the user’s
forehead and Patent Owner contends that this sensor would not be used on
the back of the wrist due to signal strength and power concerns. Id.
According to Patent Owner, “the resulting wrist-worn device would have
low signal strength, would experience power management issues and




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accordingly would be unsuitable for the wireless device discussed in
Mendelson 2006.” Id. at 49 (citing Ex. 2004 ¶ 100).
      Third, and lastly, Patent Owner contends that “Mendelson 2006
further undermines a POSITA’s motivation to add a protrusion based on
Ohsaki,” because “Ohsaki’s board only prevents slipping due to movement
if the sensor is positioned on the backside of the wrist,” and “the sensor
should be placed on the forehead, as Mendelson 2006 teaches.” Id.
Analysis
      We are persuaded that Petitioner’s stated reasoning for the proposed
modification is sufficiently supported, including by the testimony of
Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 261–307. Petitioner relies on Mendelson-
2006 for teachings regarding wireless communications with a handheld
device and a touch screen display. Pet. 79–96. Patent Owner’s arguments
do not pertain to the modifications proposed and, as such, are misplaced.
See Pet. Reply 28 (“Mendelson-Ohsaki sensor is modified based on the
teachings of Mendelson-2006 to (1) include a ‘touch-screen display,’ and (2)
‘wirelessly transmit information . . . acquired or processed by sensor 10 and
pulse oximeter 20 to a PDA’”) (quoting Pet. 81–90); Ex. 1047 ¶ 72. The
number of detectors in the sensor of Mendelson-2006 and where it is
positioned on the user’s body are not persuasive to whether a person of
ordinary skill in the art would have been motivated to “implement display
26” of Mendelson-799 “as a touch-screen display,” and to enable wireless
transmission to a PDA. See Ex. 1047 ¶¶ 72–73.
      Petitioner has persuasively established “why, in view of Mendelson-
2006’s disclosure, a POSITA would have found it obvious (1) ‘to implement
display 26 as a touch-screen display’ (see Petition, 84–86), and (2) ‘to



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enable Mendelson-Ohsaki’s sensor 10 and pulse oximeter 20 to
communicate wirelessly with a PDA’ (see Petition, 86–91).” Pet. Reply 29.
We find Petitioner’s reasons for the proposed combination persuasive,
including the motivations to perform the modifications described in the
Petition. See Pet. 84–86 (discussion of touch-screen display), 86–91
(discussion of wireless communication).

                H.   Obviousness over the Combined Teachings of
               Mendelson-799, Ohsaki, Mendelson-2006, and Griffin
      Petitioner contends that claims 8 and 26–28 of the ’553 patent would
have been obvious over the combined teachings of Mendelson-799, Ohsaki,
Mendelson-2006, and Griffin. Pet. 97–100. Petitioner challenges claims 8
and 26–28, which include the magnetic connection limitation (discussed
above) or the touch-screen display or mobile phone limitation (separately
discussed above). We are persuaded by Dr. Kenny’s testimony as to each
limitation of these claims and the basis for combining the references as
proposed. Ex. 1003 ¶¶ 310–323.
      Patent Owner contends that this ground “fails for the same reasons as”
as the prior two grounds discussed above. PO Resp. 50 (“a POSITA would
not have been motivated to add Griffin to Mendelson ’799 and Ohsaki
because there are no external connections in the resulting combination” and
“a POSITA reviewing Mendelson 2006 would not have been motivated to
arrive at the claimed combination”). Thus, Patent Owner does not present
any arguments for these claims other than those we have already considered
above.




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      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of evidence that claims 8 and 26–28 are unpatentable.

                           III.   CONCLUSION

      In summary: 10
                 35                        Claims    Claims Not
   Claim(s)
               U.S.C. References/Basis     Shown       Shown
 Challenged
                  §                    Unpatentable Unpatentable
 1–3, 5, 6, 9–                         1–3, 5, 6, 9–
                      Mendelson-799,
 18, 20–24,     103                    18, 20–24, 29
                      Ohsaki
 29
                      Mendelson-799,   4, 18, 24
 4, 18, 24      103
                      Ohsaki, Schulz
                      Mendelson-799,   25
 25             103
                      Ohsaki, Griffin
                      Mendelson-799,   7, 19
 7, 19          103 Ohsaki,
                      Mendelson-2006
                      Mendelson-799,   8, 26–28
                      Ohsaki,
 8, 26–28       103
                      Mendelson-2006,
                      Griffin
 Overall                               1–29
 Outcome


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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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                               IV.     ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–29 of the ’553 patent have been shown to be
unpatentable;
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01537
                       United States Patent No.: 10,588,553 B2
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
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      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01537
   DATE                                        DESCRIPTION
08/31/2020   Petition for Inter Partes Review
08/31/2020   Petitioner’s Power of Attorney
08/31/2020   Petitioner’s Notice Ranking Petitions and Explaining Material Differences
09/17/2020   Notice of Filing Date Accorded
09/21/2020   Patent Owner’s Mandatory Notices
11/04/2020   Petitioner’s Updated Exhibit List
12/17/2020   Patent Owner’s Notice of Waiver of Preliminary Response
03/02/2021   Decision - Institution of Inter Partes Review Proceeding
03/02/2021   Scheduling Order
03/16/2021   Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted
             Before Trial Institution
04/08/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
04/14/2021   Stipulation Modifying Due Dates
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – Jeremiah Helm
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – William Zimmerman
04/16/2021   Patent Owner’s Updated Exhibit List
04/20/2021   Decision Granting Patent Owner’s Motions for Pro Hac Vice Admission
04/20/2021   Patent Owner’s Amended Notice of Deposition - Thomas W. Kenny
04/21/2021   Patent Owner’s Updated Mandatory Notice
04/21/2021   Patent Owner’s Supplemental Power of Attorney – W. Zimmerman and J. Helm
04/22/2021   Petitioner’s Motion to Submit Supplemental Information
05/06/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
05/14/2021   Petitioner’s Submission of Supplemental Information
06/04/2021   Patent Owner’s Response
06/11/2021   Petitioner's Objections to Evidence
07/19/2021   Petitioner’s Notice of Deposition - Vijay K. Madisetti
08/27/2021   Petitioner’s Reply to Patent Owner’s Response
09/03/2021   Patent Owner’s Objections to Evidence
09/09/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
09/13/2021   Petitioner’s Updated Mandatory Notice
10/08/2021   Patent Owner’s Sur-Reply
10/18/2021   Petitioner’s Objections to Evidence
10/22/2021   Petitioner’s Request for Oral Hearing
10/22/2021   Patent Owner’s Oral Argument Request
10/28/2021   Patent Owner’s Supplemental Mandatory Notices
11/01/2021   Order Setting Oral Argument
11/22/2021   Petitioner’s Identification of Testimony
12/03/2021   Patent Owner’s Demonstratives for Trial Hearing
12/03/2021   Petitioner’s Updated Exhibit List

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   DATE                                      DESCRIPTION
01/06/2022 Oral Hearing Transcript
02/23/2022 Final Written Decision
04/12/2022 Notice of Appeal




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Trials@uspto.gov                                                   Paper 43
571-272-7822                                         Date: February 23, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE
                           ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01537
                        Patent 10,588,553 B2



Before GEORGE R. HOSKINS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.



                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)
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                           I.   INTRODUCTION

                                A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–29 (“challenged claims”) of U.S. Patent No. 10,588,553
B2 (Ex. 1001, “the ’553 patent”). Paper 3 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a Preliminary Response. Paper 8. We
instituted an inter partes review of all challenged claims 1–29 on all asserted
grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 9 (“Inst.
Dec.”).
      After institution, Patent Owner filed a Response (Paper 24, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 27, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 31, “Sur-reply”).1 An oral hearing
was held on December 7, 2021, and a transcript of the hearing is included in
the record. Paper 41 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–29 of the ’553 patent are unpatentable.

                       B. Related Proceedings
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims 1–29 of the ’553 patent);


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 After the Sur-reply was filed, we authorized Petitioner to file an
Identification of Testimony. Paper 37.
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      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2).
Pet. 3; Paper 5, 3.
      Patent Owner further identifies certain pending patent applications, as
well as other issued and abandoned applications, that claim priority to, or
share a priority claim with, the ’553 patent. Paper 5, 1–2.

                              C. The ’553 Patent
      The ’553 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on March 17,
2020, from U.S. Patent Application No. 16/534,949, filed August 7, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’553 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).

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      The ’553 patent relates to noninvasive methods and devices for
measuring various blood constituents or analytes. Id. at code (57). The ’553
patent discloses a two-part data collection system including a noninvasive
sensor that communicates with a patient monitor. Id. at 2:38–40. The
sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–35, 2:64–65. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:45–48.
      Figure 1 of the ’553 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:47–58. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:59–63. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.

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at 14:3–7. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108 and detectors 106 can be implemented using photodiodes. Id.
at 14:7–10, 14:26–32. Sensor 101 also may include tissue shaper 105, which
may be in the form of a convex surface that: (1) reduces the thickness of the
patient’s measurement site; and (2) provides more surface area from which
light can be detected. Id. at 11:2–14.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:21–24. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:46–56. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:60–16:11.
      The ’553 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




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Figure 14D (left) illustrates portions of a detector submount and Figure 14F
(right) illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–39, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–25. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–49.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:39–43. The measurement site contact area may include

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windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:49–63.

                           D. Illustrative Claim
      Of the challenged claims, claims 1, 10, and 20 are independent.
Claim 1 is illustrative and is reproduced below.
      1. A noninvasive optical physiological sensor comprising:
         [a] a plurality of emitters configured to emit light into tissue
                of a user;
         [b] at least four detectors, wherein at least one of the at least
                 four detectors is configured to detect light that has been
                 attenuated by tissue of the user, and wherein the at least
                 four detectors are arranged on a substrate;
         [c] a wall configured to circumscribe at least the at least four
                detectors; and
         [d] a cover configured to be located between tissue of the user
                and the at least four detectors when the noninvasive
                optical physiological sensor is worn by the user,
                wherein the cover comprises a single protruding
                convex surface operable to conform tissue of the user
                to at least a portion of the single protruding convex
                surface when the noninvasive optical physiological
                sensor is worn by the user, and wherein the wall
                operably connects to the substrate and the cover.
Ex. 1001, 44:50–67 (bracketed identifiers a–d added). Independent
claims 10 and 20 include limitations substantially similar to limitations [a]–
[d] of claim 1. Id. at 45:35–47, 46:22–46.




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                           E. Applied References
      Petitioner relies upon the following references:
             Aizawa, U.S. Patent Application Publication No. 2002/0188210
      A1, filed May 23, 2002, published December 12, 2002 (Ex. 1006,
      “Aizawa”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);2
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”); and
            Sherman, U.S. Patent No. 4,941,236, filed July 6, 1989, issued
      July 17, 1990 (Ex. 1011, “Sherman”).
Pet. 9.
      Petitioner also submits, inter alia, a Declaration of Dr. Thomas W.
Kenny, Ph.D. (Ex. 1003) and a Second Declaration of Dr. Kenny (Ex. 1047).
Patent Owner submits, inter alia, the Declaration of Dr. Vijay K. Madisetti
(Ex. 2004). The parties also provide deposition testimony from Dr. Kenny
and Dr. Madisetti, including from this proceeding and others. Exs. 1041–
1043, 2006–2009, 2027.




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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
Ex. 1008, 24. In this Decision, we also refer to the translation.
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                     F. Asserted Grounds of Unpatentability
         We instituted an inter partes review based on the following grounds.
Inst. Dec. 9, 27.
  Claims Challenged          35 U.S.C. §              References/Basis
 1–6, 9–18, 20–24, 29            103            Aizawa, Inokawa, Ohsaki
                                                Aizawa, Inokawa, Ohsaki,
 7, 19                             103          Mendelson-2006
                                                Aizawa, Inokawa, Ohsaki,
 8, 25–28                          103
                                                Mendelson-2006, Sherman


                             II.   DISCUSSION

                              A. Claim Construction
         For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 7. Patent Owner submits that claim terms should be given
their ordinary and customary meaning, consistent with the Specification. PO
Resp. 8.
         We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017
(Fed. Cir. 2017).

                             B. Principles of Law
         A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said

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subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness.3 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine
whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                      C. Level of Ordinary Skill in the Art
        Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic


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    The parties have not presented objective evidence of non-obviousness.
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discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 7 (citing Ex. 1003 ¶¶ 1–18, 20–21). “Additional education in a relevant
field or industry experience may compensate for one of the other aspects of
the . . . characteristics stated above.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 8–9.
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

                D. Obviousness over the Combined Teachings of
                         Aizawa, Inokawa, and Ohsaki
      Petitioner contends that claims 1–6, 9–18, 20–24, and 29 of the ’553
patent would have been obvious over the combined teachings of Aizawa,
Inokawa, and Ohsaki. Pet. 9–74; see also Pet. Reply 1–29. Patent Owner
disagrees. PO Resp. 10–54; see also Sur-reply 1–24.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 1–6, 9–18, 20–24, and 29 are
unpatentable.

                       1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).

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      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




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Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of holder
23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.

                   2. Overview of Inokawa (Exs. 1007, 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.

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      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
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light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21 is
used to sense “the pulse from the light reflected off of the body (i.e.[,]
change in the amount of hemoglobin in the capillary artery),” and infrared
LED 23 is used to sense body motion from the change in reflected light. Id.
¶ 59. The pulse sensor stores this information in memory. Id. ¶ 68. To read
and store information, the pulse sensor includes a CPU that “performs the
processing to sense pulse, body motion, etc. from the signal . . . and
temporarily stores the analysis data in the memory.” Id. ¶ 69.
      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
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component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.

                        3. Overview of Ohsaki (Ex. 1009)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1009, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




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      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.

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      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                             4. Independent Claim 1
      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa, Inokawa, and Ohsaki. Pet. 16–45. Below,
we set forth how the combination of prior art references teaches or suggests
the claim limitations that are not disputed by the parties. For those
limitations and reasons for combining the references that are disputed, we
examine each of the parties’ contentions and then provide our analysis.

      i. “A noninvasive optical physiological sensor comprising:”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa satisfies the subject matter of the preamble.4 Pet. 32; see, e.g.,
Ex. 1006 ¶ 2, code (57) (“pulse wave sensor for detecting a pulse wave by
detecting light output from a light emitting diode and reflected from the
artery of a wrist of a subject”), Fig. 2 (depicting structure of optical pulse
wave sensor); see also Ex. 1003 ¶¶ 95–99.




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 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the art.
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ii. “[a] a plurality of emitters configured to emit light into tissue of a user”
  Petitioner’s Undisputed Contentions

        Petitioner contends that Aizawa discloses an emitter—LED 21—and
 also states that, in certain embodiments, multiple LEDs may be employed.
 Pet. 16, 33. Patent Owner does not dispute this contention, and we agree.
 See Ex. 1006 ¶¶ 23 (“LED 21”), 32 (“The arrangement of the light emitting
 diode 21 and the photodetectors 22 is not limited to this.”). For example,
 Aizawa explains that “[t]he same effect can be obtained when the number of
 photodetectors 22 is 1 and a plurality of light emitting diodes 21 are
 disposed around the photodetector.” Id. ¶ 33.
        Petitioner also contends that Inokawa teaches a sensor with two
 LEDs–a green LED to sense pulse and an infrared LED to sense body
 motion. Pet. 18, 34. Petitioner also contends that when Inokawa’s sensor is
 mounted on a base device, the infrared LED also is used to wirelessly
 transmit vital sign information to the base device. Id. at 18, 21, 34. Patent
 Owner does not dispute these contentions, and we agree with Petitioner.
 Inokawa teaches a pair of LEDs 21, 23, where “the basic function of the S-
 side green LED 21 is to sense the pulse from the light reflected off of the
 body . . ., while the S-side infrared LED 23 serves to sense body motion
 from the change in this reflected light.” Ex. 1008 ¶¶ 58–59. Inokawa also
 explains that “vital sign information stored in the memory 63 [of the sensor],
 such as pulse and body motion, is transmitted to the base device 17 using the
 S-side infrared LED 23 of the pulse sensor 1 and the B-side PD 45 of the
 base device 17,” such that “there is no need to use a special wireless
 communication circuit or a communication cable.” Id. ¶¶ 76–77.


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Petitioner’s Disputed Contentions

      Moreover, Petitioner contends that a person of ordinary skill in the art
would have been motivated to modify Aizawa to “include an additional LED
as taught by Inokawa to improve the detected pulse wave by distinguishing
between blood flow detection and body movement.” Pet. 17, 18–24, 33–34;
Ex. 1003 ¶¶ 69, 108. Petitioner contends that “Aizawa-Inokawa would have
utilized two LEDs that emit two different wavelengths,” such that “Aizawa’s
sensor would have been improved through the implementation of a separate
LED to account for motion load.” Pet. 20. According to Dr. Kenny, “one of
ordinary skill would have recognized that this would improve Aizawa’s
sensor by enabling it to account for motion load through use of the second
LED, by detecting and recording body motion in addition to blood flow.”
Ex. 1003 ¶¶ 76, 110.
      As a second and independent motivation, Petitioner contends that such
a modification also would have provided “additional functionality, including
that of [a] wireless communication [method],” which would have
“eliminat[ed] problems associated with a physical cable, and that does not
require a separate RF circuit, as taught by Inokawa.” Pet. 21–24. Petitioner
contends that although Aizawa discloses data transmission, Aizawa “is silent
about how such transmission would be implemented.” Pet. 23. According
to Petitioner, a skilled artisan would have recognized that Aizawa’s LED
could have been used for wireless data communication with a personal
computer to eliminate problems associated with a physical cable, and, as
taught by Inokawa, without requiring a separate RF circuit, which “would
result in enhanced accuracy of the transmitted information.” Pet. 23–24
(citing Ex. 1003 ¶¶ 68–83). According to Dr. Kenny, “as one of ordinary

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skill would have recognized, the LEDs provided on the sensor can be used
not only to detect pulse rate, but also to ‘accurately, easily, and without
malfunction’ transmit sensed data to a base station.” Ex. 1003 ¶¶ 112, 78.
      To illustrate its proposed modification, Petitioner includes annotated
and modified views of Aizawa’s Figures 1(a) and 1(b), reproduced below.
Pet. 19–20; see also id. at 33–34 (similar figures); Ex. 1003 ¶ 75.




Petitioner’s annotated and modified figures depict the sensor of Aizawa with
an added “LED B” (illustrated in light purple), as Petitioner contends would
have been rendered obvious by Inokawa. Pet. 19–20, 23–24, 33–35; see
also Ex. 1003 ¶¶ 72–83, 109–119.

Patent Owner’s Arguments

      Patent Owner disputes Petitioner’s contentions regarding the
obviousness of modifying Aizawa to include two emitters. See PO
Resp. 48–54; Sur-reply 24–26.

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      First, Patent Owner argues that neither Aizawa nor Inokawa discloses
a device with both multiple detectors and multiple emitters in the same
sensor, because Aizawa’s embodiments have either a single emitter and
multiple detectors (e.g., Ex. 1006, Fig. 1(a)) or multiple emitters and a single
detector (e.g., id. ¶ 33), and Inokawa discloses multiple emitters and a single
detector (e.g., Ex. 1008, Fig. 2). See PO Resp. 48–49 (citing, e.g., Ex. 1006
¶ 33, Figs. 1, 2, 4, 5; Ex. 1008 ¶ 58, Fig. 2; Ex. 2004 ¶¶ 100–102). Patent
Owner concludes, therefore, that a person of ordinary skill in the art would
not have added a second emitter to Aizawa, when Aizawa already discloses
an embodiment with multiple LEDs, i.e., an embodiment with only a single
detector. PO Resp. 49 (citing, e.g., Ex. 2004 ¶ 103).
      Second, Patent Owner argues that the evidence does not support either
of Petitioner’s two proffered motivations for modifying Aizawa to include
two emitters. Id. As to the first motivation (to measure body movement
using a second emitter), Patent Owner asserts that Dr. Kenny erroneously
testifies that Aizawa cannot do this with its single emitter. Id. at 49–50
(citing, e.g., Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10; Ex. 2004 ¶ 104).
Patent Owner argues that “Dr. Kenny incorrectly believed Aizawa’s sensor
attempts to prevent motion rather than account for it,” yet, “Aizawa
expressly states that it already provides a ‘device for computing the amount
of motion load from the pulse rate’ based on its measured data.” Id. at 50
(quoting Ex. 1006 ¶ 15) (emphasis omitted). Thus, Patent Owner contends
that the proposed motivation would not realize an improvement over Aizawa
alone. Id.; Ex. 2004 ¶ 84.
      As to Petitioner’s second motivation (to enable transmission of data to
a base device using an optical communication link), Patent Owner argues

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that “Aizawa already includes a wireless transmitter . . . so Aizawa does not
need to incorporate Inokawa’s base-device [optical] data transmission
arrangement.” PO Resp. 51 (citing, e.g., Ex. 1006 ¶¶ 23, 28, 35; Ex. 2004
¶¶ 105–106). Indeed, Patent Owner argues “Dr. Kenny acknowledged
Aizawa does not indicate there are any problems with Aizawa’s form of data
transmission.” Id. (citing Ex. 2007, 409:13–410:2). Patent Owner further
argues that “Aizawa’s goal is ‘real-time measuring’ with the transmitter
‘transmitting the measured pulse rate data to a display’” but that “Inokawa’s
data transfer approach does not allow real-time display of measurements.”
Id. (citing, e.g., Ex. 1006 ¶¶ 4, 15; Ex. 1008 ¶¶ 70, 74; Ex. 2004 ¶ 107).
Patent Owner contends that “[t]ransforming Aizawa’s sensor to employ a
base-device transmitter eliminates the ability to take and display real-time
measurements, one of Aizawa’s stated goals, while increasing power
consumption and cost.” Id. at 51–52.
       Patent Owner insists Inokawa does not aid Petitioner’s case, because
Inokawa discloses the benefits of using a second emitter in only two
situations, i.e., first, to avoid the risk of contact failure in a “cable”
communication and, second, to avoid use of a “dedicated wireless
communication circuit,” whereas “Aizawa already incorporates a transmitter
into its design.” Id. at 52 (citing, e.g., Ex. 1008 ¶ 4; Ex. 1006 ¶¶ 16, 23, 28;
Ex. 2004 ¶ 108).
       Third, Patent Owner accuses Petitioner and Dr. Kenny of overlooking
further complications that would ensue from modifying Aizawa to have two
emitters. Id. at 53. Patent Owner argues that Dr. Kenny overlooked how
placing “two LEDs in close proximity may cause thermal interference that
could create significant issues for sensor performance,” and would require

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“structural changes” to Aizawa’s configuration. Id. (citing, e.g., Ex. 2004
¶¶ 109–110; Ex. 1019, 59–60; Ex. 2007, 379:17–21, 384:16–388:16). Patent
Owner also argues that “Petitioner widened Aizawa’s emitter cavity to
accommodate the extra LED with no [] explanation or recognition of this
change,” which could impact optical performance of the device. Id. at 53–
54 (citing, e.g., Ex. 2004 ¶¶ 109–111).

Petitioner’s Reply

      Petitioner reiterates that a person of ordinary skill in the art would
have “added a second emitter to Aizawa operating at a different wavelength
from the first, ‘to improve the detected pulse wave by distinguishing
between blood flow detection and body movement.’” Pet. Reply 29.
Petitioner asserts that Aizawa “is silent on whether it uses the computed
motion load to improve the detection signal” and thereby provide a “more
reliable” pulse reading, which is Petitioner’s asserted improvement to
Aizawa. Id. at 29–30 (citing, e.g., Ex. 1003 ¶¶ 80, 113; Ex. 2007, 401:11–
402:4; Ex. 1047 ¶ 60). Moreover, Petitioner contends that “[b]ecause
different wavelengths have different sensitivities to pulse and body motion,
collecting two separate signals allows noise arising from body motion to be
better isolated and accounted for.” Id. at 30 (citing Ex. 1047 ¶ 60).
      Concerning Petitioner’s second motivation (improving data
transmission accuracy), Petitioner maintains that Inokawa’s use of two
emitters having different wavelengths to upload data to a base station using
optical communication advantageously improves the accuracy of the
transmission by providing checksum information. Id. (citing, e.g., Ex. 1003
¶ 80; Ex. 2007, 407:7–408:20, 416:5–15; Ex. 1047 ¶¶ 61–62).


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      As to the “other complications” that Patent Owner alleges would
result from the proposed modification, Petitioner asserts “such minor issues
are ‘part of what [a person of ordinary skill in the art] would bring . . . to the
problem and would know how to make the changes needed.’” Pet.
Reply 30–31 (quoting Ex. 2007, 384:8–388:12) (citing Ex. 1047 ¶ 63).

Patent Owner’s Sur-reply

      Concerning Petitioner’s first motivation, Patent Owner argues that
Inokawa’s disclosure is just as sparse as Aizawa’s disclosure regarding how
to use optical data to measure body movement. Sur-reply 24 (citing
Ex. 1008 ¶ 59). Patent Owner also asserts that “Petitioner cites nothing in
Inokawa that suggests” that Inokawa’s two emitter data gathering is more
reliable or otherwise superior to Aizawa’s single emitter data gathering. Id.
at 24–25.
      Concerning Petitioner’s second motivation, Patent Owner argues that
the proposed modification eliminates Aizawa’s ability to conduct “real-time
collection and display of physiological measurements—a key goal of
Aizawa’s system.” Id. at 25.
      Patent Owner also faults Petitioner for not specifying how a person of
ordinary skill in the art would have solved the alleged “additional costs,
energy use, and thermal problems” that would ensue from using two emitters
in the Aizawa device. Id.

Analysis

      Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that a person of ordinary skill in



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the art would have been motivated to replace Aizawa’s single near infrared
LED 21 with an infrared LED and a green LED, in light of Inokawa.
      First, a person of ordinary skill in the art would have been motivated
to make this replacement to improve the pulse measurements recorded by
Aizawa’s detector 1. Inokawa teaches that the infrared LED’s signal can be
used “to detect vital signs” such as “body motion,” and the green LED’s
signal can be “used to detect pulse.” Ex. 1008, Fig. 2, ¶¶ 14, 58–59;
Ex. 1003 ¶¶ 72–83, 109–119; Ex. 1047 ¶¶ 60–63.
      Patent Owner correctly points out that Aizawa describes its
single-emitter detector 1 as transmitting its pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only disclosure in Aizawa cited by Patent
Owner as relating to computing a motion characteristic of the user. Further,
we are unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear exactly what Aizawa proposes to do with the
computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 60
(“Aizawa is silent on whether it uses the computed motion load to improve
the detection signal.”). Aizawa does, however, describe the motion load as
being computed “from the pulse rate,” rather than being an input to the pulse
rate calculation. Ex. 1006 ¶¶ 15, 35.
      Dr. Kenny, when asked whether it was his understanding that
“Aizawa’s sensor could not account for motion load?”, answered that
“Aizawa’s sensor attempts to prevent motion load rather than account for it.”
Ex. 2007, 400:7–11. He explained that, because Aizawa uses only a single

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emitter with a single wavelength, “what [Aizawa] sees as a signal would be
some mixture of pulse rate and motion load if there was no effort to prevent
motion load,” so Aizawa seeks to solve the problem of “prevent[ing] motion
load from corrupting the pulse rate signal.” Id. at 400:12–401:10.
Dr. Kenny did not further explain this distinction between preventing and
accounting for motion load in his deposition testimony cited by the parties as
relating to this issue. Id. at 400:7–402:4. We do not rely on this distinction
as a basis for our present decision, because we find no express support for it
in Aizawa’s disclosure (see Ex. 1006 ¶¶ 15, 28, 35), and it is not explained
in persuasive detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a person
of ordinary skill in the art, upon reviewing Inokawa’s disclosure of using
two emitters of different wavelengths to calculate a user’s pulse and motion
separately, would understand that these two separate measurements would
enable the device to calculate a “more reliable” pulse rate because it “will
allow noise arising from body motion to be better isolated and accounted
for.” Ex. 1047 ¶ 60; Ex. 1003 ¶¶ 110, 111. Aizawa does not disclose using
the computed motion load in this fashion, so it appears that this would
improve upon the accuracy of Aizawa’s pulse measurements, by using the
computed motion load to isolate and account for noise. See Ex. 1006 ¶¶ 15,
28, 35.
      Dr. Madisetti also offers no meaningful opposing testimony in this
regard. See, e.g., Ex. 2004 ¶ 104. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of
adding the bare ability to measure body movement to Aizawa. See id. In
fact, Dr. Kenny further testified that it would have been beneficial to use the

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measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶¶ 69, 74; Ex. 1047 ¶ 60. Dr. Madisetti does not persuasively
address the testimony supporting the Petition. See Ex. 2004 ¶ 104.
      Thus, because Dr. Madisetti’s testimony sets up a straw man to attack,
rather than directly addressing the entirety of Dr. Kenny’s testimony in this
regard, Dr. Kenny’s testimony stands unrebutted in the record before us.
Dr. Kenny’s testimony also makes intuitive sense that measuring the user’s
motion separately from the user’s pulse, for example by using two
interrogating emitters of two different wavelengths, would provide a reliable
means of correcting the pulse data for motion artifacts by using the
separately measured motion data, rather than by trying to segregate these
two components in the single data stream provided by Aizawa’s single
emitter device. See, e.g., Ex. 1047 ¶ 60. We, therefore, are persuaded by
Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.
      Further, and independently, a person of ordinary skill in the art would
have been motivated to replace Aizawa’s single near infrared LED 21 with
an infrared LED and a green LED, to provide a reliable method of uploading
pulse data stored by Aizawa’s wrist-worn pulse rate detector 1 to another
device for display to the user. See Ex. 1003 ¶ 78. Inokawa expressly touts
such optically-based uploading of data from Inokawa’s wrist-worn sensor 1
to Inokawa’s base device 17 as a benefit of incorporating two emitters in
sensor 1. See Ex. 1008, Figs. 3, 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa
identifies two specific benefits of this optically-based data communication
means. First, the infrared LED can transmit the pulse data, and the green
LED can separately transmit “checksum” information to increase the

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accuracy of data transmission. Id. at Fig. 19, ¶¶ 14, 109–111. Second, using
light emitters in this fashion to perform two functions (data collection by
emitting light into the user’s wrist, and data transmission by emitting light to
photodetectors in a base device) obviates the need for providing “a special
wireless communication circuit [in the wrist-worn sensor 1] or a
communication cable.” Id. ¶¶ 3–7, 76–77; Ex. 1003 ¶ 78.
      Patent Owner correctly points out that Aizawa already has a
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. However, Aizawa’s Figure 1(b)
illustrates transmitter 4 only as an empty box contained within outer
casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to the other
device. See id.
      Patent Owner contends, and Dr. Madisetti and Dr. Kenny both testify,
that Aizawa’s transmitter 4 is a “wireless” transmitter. See, e.g.,
PO Resp. 51; Ex. 2004 ¶¶ 105–106, 112; Ex. 2007, 403:17–22, 414:19–21.
They all appear to equate “wireless” communication to radio frequency
communication, and not to include optical communication, even though both
radio frequency and optical communication do not use a wire. Petitioner
disagrees that Aizawa discloses any specific form of data transmission,
including wireless transmission. See Tr. 71:5–72:3 (“[T]he transmitter
disclosure in Aizawa, they don’t say its’s a wireless transmitter. That was a
conjuration by [Patent Owner]. They don’t specify whether it’s a wired or
wireless.”). We assume, for this decision, that Aizawa expressly

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contemplates radio frequency communication as one embodiment by which
transmitter 4 may transmit data to devices other than detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert Aizawa’s “goal” is to
measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., Ex. 2004 ¶¶ 106–108, 111. We find that
Aizawa does not support this assertion. Instead, Aizawa discusses prior art
devices that “estimat[e] a burden on the heart of a person who takes exercise
by real-time measuring his/her heart rate at the time of exercise” (Ex. 1006
¶ 4 (emphasis added)), and then describes Aizawa’s detector 1 as having a
transmitter for transmitting the measured pulse rate data to another device
for display (id. ¶ 15). Aizawa does not indicate when this transmission
occurs. Aizawa also refers to “noise caused by the shaking of the body of
the subject” as a problem to be addressed (id. ¶ 6), but this problem occurs
regardless of whether the shaking results from exercise or the normal
movement of the user’s wrist over the course of the day. Thus, Aizawa does
not tout, as an important feature of Aizawa’s invention, the real time display
of pulse rate data during exercise, regardless of whether the data gathered by
Aizawa’s wrist-worn detector 1 is transmitted wirelessly or otherwise. Id.
¶¶ 4, 6, 15.
      No doubt, a person of ordinary skill in the art would have viewed the
capability of a wrist-worn pulse detector to transmit its pulse data to another
device for display in real time while the user is exercising to be a desirable
feature in some cases, even if this is not one of Aizawa’s specifically stated
goals. See, e.g., Ex. 1003 ¶ 64 (Dr. Kenny stating: “By wirelessly
transmitting the collected data wirelessly, Mendelson 2006’s system

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provides ‘numerous advantages,’ . . . .”); Ex. 2009, 393:6–14 (Dr. Kenny
agreeing that a person of ordinary skill in the art “would have seen the
ability to wirelessly transmit collected data as an advantage”). Nonetheless,
Inokawa expressly discloses that, in other cases, the benefits achieved by
wireless transmission can be outweighed by obviating the need for the
wrist-worn sensor to include a special wireless communication circuit. See
Ex. 1008 ¶¶ 3–7 (discussing problems associated with wireless transmission,
such as the need for a dedicated circuit, which is avoided by Inokawa’s
system that risks “few malfunctions” and has a “simple structure”), 76–77
(“As a result, there is no need to use a special wireless communication
circuit . . ., which makes it possible to transmit vital sign information to the
base device 17 accurately, easily, and without malfunction.”). We therefore
conclude that Petitioner’s case for obviousness in this regard is supported by
a preponderance of the evidence. See, e.g., In re Urbanski, 809 F.3d 1237,
1243–44 (Fed. Cir. 2016) (persons of ordinary skill in the art may be
motivated to pursue desirable properties of one prior art reference, even at
the expense of foregoing a benefit taught by another prior art reference).
      We are not persuaded by Patent Owner’s argument that Petitioner’s
case for obviousness is deficient on the basis that neither Aizawa nor
Inokawa expressly discloses a wrist-worn sensor device that has both a
plurality of emitters and at least four detectors, as claim 1 recites.
Obviousness does not require “‘some motivation or suggestion to combine
the prior art teachings’ [to] be found in the prior art.” KSR, 550 U.S. at 407,
415–418. Nor does it require the bodily incorporation of Inokawa’s device
into Aizawa’s device. See, e.g., In re Keller, 642 F.2d 413, 425
(CCPA 1981) (test for obviousness is not whether the features of one

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reference may be bodily incorporated into the structure of the other
reference, but rather is “what the combined teachings of the references
would have suggested to those of ordinary skill in the art”); see also In re
Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir. 1986) (nonobviousness is not
established by attacking references individually when unpatentability is
predicated upon a combination of prior art disclosures). Instead, “[a] person
of ordinary skill is also a person of ordinary creativity, not an automaton,”
and “in many cases a person of ordinary skill will be able to fit the teachings
of multiple patents together like pieces of a puzzle.” KSR, 550 U.S. at 420–
421.
       In this case, a person of ordinary skill in the art would have been
motivated to modify Aizawa’s wrist-worn detector 1 to replace its single
near infrared LED 21 with an infrared LED and a green LED, based on
Inokawa, for all the reasons provided above. A person of ordinary skill in
the art would additionally have known to keep all four detectors 22 that are
already present in Aizawa’s detector 1, so that “[e]ven when the attachment
position of the sensor is dislocated, a pulse wave can be detected
accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9, 27. In short, the
combination of Aizawa and Inokawa teaches that having multiple emitters is
beneficial, and having multiple detectors is beneficial, for different and not
inconsistent reasons.
       Finally, we agree with Petitioner’s position that any thermal
interference and power consumption issues that may arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of a POSITA to solve. We credit Dr. Kenny’s
testimony in this regard. See Ex. 1047 ¶ 63; Ex. 2007, 384:8–388:12. For

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example, Dr. Kenny acknowledges that Aizawa already discloses adding
additional emitters. Ex. 1003 ¶ 79 (citing Ex. 1006 ¶ 33). Dr. Kenny further
testifies that this modification “amount[s] to nothing more than the use of a
known technique [(i.e., Inokawa’s use of two emitters in a wrist-worn pulse
detector)] to improve similar devices [(i.e., Aizawa’s wrist-worn pulse
detector)] in the same way and combining prior art elements according to
known methods to yield predictable results.” Id. ¶¶ 77 (“Furthermore, one
of ordinary skill would have readily understood how to select different
photodiodes with different sensitivities to detect the different wavelengths of
light emitted by the two LEDs.”), 111.
      Patent Owner cites several portions of Dr. Kenny’s deposition
testimony that, in Patent Owner’s view, indicate Dr. Kenny fails to
appreciate the significance of the thermal effects, optical interference
complications, and power consumption needs, that are posed by adding a
second emitter to Aizawa’s device, and fails to explain how these issues
would have been overcome. See PO Resp. 51–54 (citing Ex. 2007, 379:17–
21, 384:8–388:16, 394:11–395:22, 405:2–7, 409:13–410:2; Ex. 2009,
381:18–382:8, 383:22–385:9, 390:5–392:3). We have reviewed this
deposition testimony, and we conclude Patent Owner overstates its
significance. It establishes, at most, that Dr. Kenny did not expressly
address these issues in his declaration (Exhibit 1003), but Dr. Kenny’s
opinion is that these issues would have been within the capability of a person
of ordinary skill in the art to resolve. Based on the evidentiary record
presented to us, we agree with Dr. Kenny. For example, Inokawa discloses a
wrist-worn pulse sensor 1 having two emitters 21 and 23 in close proximity
to each other. See Ex. 1008, Figs. 1–2. An artisan must be presumed to

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know something about the art apart from what the relied-upon references
disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
         Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how the issues that
arise from adding a second emitter to Aizawa would have been solved;
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult for a person of ordinary skill in the art to solve, in
the context of Aizawa’s device or wrist-worn pulse sensing devices in
general. See Ex. 2004 ¶¶ 109, 110.
         Thus, we conclude a person of ordinary skill in the art would have
been motivated to replace Aizawa’s single near infrared LED 21 with an
infrared LED and a green LED, and would have had a reasonable
expectation of success in doing so.

iii.     “[b] at least four detectors, wherein at least one of the at least four
       detectors is configured to detect light that has been attenuated by tissue
        of the user, and wherein the at least four detectors are arranged on a
                                      substrate;”
         The cited evidence supports Petitioner’s contention that Aizawa
discloses at least four detectors, each stored in a separate cavity 23c, and
configured to detect light output from a light emitting diode and reflected
from the artery of a wrist. Pet. 19, 34–40; see, e.g., Ex. 1006 ¶¶ 9, 23 (“four
phototransistors 22”), 24 (“stored in cavities” and “set back from . . .
detection face 23a”), Figs. 1(a)–1(b); Ex. 1003 ¶¶ 55–63, 68–94. Petitioner
demonstrates how the claim requirement of detectors configured to detect
light that has been attenuated by tissue is met by Aizawa’s teaching of near
infrared radiation output toward the wrist from the light emitting diode being
reflected by a red corpuscle running through the artery of the wrist resulting

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in reflected light being detected by the plurality of photodetectors so as to
detect a pulse wave. Pet. 35 (quoting Ex. 1006 ¶ 27). As depicted below in
annotated Figure 1(a) of Aizawa, “at least four photodetectors are ‘disposed
symmetrically’ within holder 23 and used ‘to detect the pulse wave of the
wrist,’ although the ‘arrangement of the light emitting diode 21 and the
photodetectors 22 is not limited to this.’” Pet. 36 (quoting Ex. 1006 ¶ 32).




Annotated Figure 1(a) of Aizawa depicts four photodetectors 22, identified
by blue arrows.
      Relying on the testimony of Dr. Kenny, Petitioner contends that a
person of ordinary skill in the art “would have found it obvious that
Aizawa’s photodetectors are arranged on a substrate because
photodetectors 22 are disposed on a surface of holder 23 and are further
connected, through the surface of holder 23, to drive detection circuit 24.”
Pet. 38 (citing Ex. 1003 ¶ 125). According to Dr. Kenny, the person of
ordinary skill in the art would have understood that the surface of holder 23
acts as a substrate through which at least four photodetectors 22 and drive
detection circuit 24 are connected and on which they are arranged because it

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reduces the manufacturing complexity and footprint of the device as
compared to using wires. Ex. 1003 ¶¶ 125–126.
           To the extent Patent Owner’s contentions related to the combinability
of the references touch on this particular limitation, we address those
arguments in full below.

     iv.    “[1c] a wall configured to circumscribe at least the at least four
                                      detectors”
           The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which is a wall that surrounds detectors 22, as
well as other elements. Pet. 40–43; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for
storing . . . light emitting diode 21 and the photodetectors 22”), Figs. 1(a),
1(b); Ex. 1003 ¶¶ 130–139. Thus, Petitioner has demonstrated how the
asserted prior art discloses a wall configured to circumscribe at least the at
least four detectors.

v.     “[d] a cover configured to be located between tissue of the user and the
      at least four detectors when the noninvasive optical physiological sensor
        is worn by the user, wherein the cover comprises a single protruding
      convex surface operable to conform tissue of the user to at least a portion
        of the single protruding convex surface when the noninvasive optical
       physiological sensor is worn by the user, and wherein the wall operably
                       connects to the substrate and the cover.”
Petitioner’s Undisputed Contentions

           Petitioner contends that Aizawa discloses a cover, i.e., an “acrylic
transparent plate positioned between the photodetectors and the wrist,” to
improve adhesion between the sensor and the subject’s wrist. Pet. 12 (citing
Ex. 1006 ¶ 34). Patent Owner does not dispute this contention, and we agree
with Petitioner. Aizawa discloses that “acrylic transparent plate 6 is
provided on the detection face 23a of the holder 23 to improve adhesion to

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the wrist 10.” Ex. 1006 ¶ 34, Fig. 1(b) (depicting transparent plate 6
between sensor 2 and wrist 10).
      Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a convex surface that contacts the
user’s skin. Pet. 15, 24. Patent Owner does not dispute this contention, and
we agree with Petitioner. Ohsaki discloses that sensor 1 includes detecting
element 2 and sensor body 3, and is “worn on the back side of the user’s
wrist.” Ex. 1009 ¶ 16. Ohsaki discloses that detecting element 2 includes
package 5 and “translucent board 8[,which] is a glass board which is
transparent to light, and [is] attached to the opening of the package 5. A
convex surface is formed on the top of the translucent board 8.” Id. ¶ 17.
As seen in Ohsaki’s Figure 2, translucent board 8 has a single protruding
convex surface, which is placed between a user’s tissue and a light receiving
element (e.g., photodetector) 7 when the sensor is worn. Id. at Fig. 2. As
also seen in Figure 2, the board 8 is operably connected to the walls of
sensor package 5. Id. ¶ 17 (“The translucent board 8 is . . . attached to the
opening of the package 5.”), Fig. 2.
      Petitioner also contends that Ohsaki’s Figure 2 depicts the user’s
tissue conforming to the shape of the convex surface of the cover. Pet. 13
(“The lens is sufficiently rigid to make the tissue conform to the convex
surface of the lens.”), 44–45. Patent Owner does not dispute this contention,
and we agree with Petitioner. Ohsaki’s Figure 2 depicts the user’s tissue 4
conforming to the shape of the protruding convex surface when the sensor is
worn by the user. Ex. 1009 ¶ 17 (“The translucent board 8 is a glass
board.”), Fig. 2.



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Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
“would have found it obvious to modify the sensor’s flat cover [in Aizawa]
. . . to include a lens/protrusion . . . similar to Ohsaki’s translucent board 8,
so as to [1] improve adhesion between the user’s wrist and the sensor’s
surface, [2] improve detection efficiency, and [3] protect the elements within
sensor housing.” Pet. 27–28 (citing, e.g., Ex. 1003 ¶¶ 86–88; Ex. 1009
¶ 25). Petitioner contends that Ohsaki’s convex surface is in “intimate
contact” with the user’s tissue, which prevents slippage of the sensor and
increases signal strength because “variation of the amount of the reflected
light . . . that reaches the light receiving element 7 is suppressed” and
because “disturbance light from the outside” is prevented from penetrating
board 8, as compared to a sensor with a flat surface. Id. at 25–26 (citing,
e.g., Ex. 1003 ¶ 85; quoting Ex. 1009 ¶¶ 15, 17, 25, Figs. 1, 2, 4A, 4B).
Accordingly, Petitioner contends that a person of ordinary skill in the art
would have modified Aizawa’s sensor to include a cover with a single
convex protrusion, as taught by Ohsaki, that “is located between the user
tissue and the detectors 22 when the sensor is worn by the user.” Pet. 44–45
(citing, e.g., Ex. 1003 ¶¶ 55–63, 144).
      Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., “simply improving Aizawa-Inokawa’s transparent plate 6 that has
a flat surface to improve adhesion to a subject’s skin and reduce variation in
the signals detected by the sensor.” Pet. 28 (citing Ex. 1003 ¶¶ 84–91).
Further according to Petitioner, “the elements of the combined system would
each perform similar functions they had been known to perform prior to the

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combination—Aizawa-Inokawa’s transparent plate 6 would remain in the
same position, performing the same function, but with a convex surface as
taught by Ohsaki.” Id. (citing Ex. 1003 ¶¶ 84–91).
      To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 27–28 (citing Ex. 1003 ¶¶ 84–91).




Petitioner’s annotated figure on the left depicts Aizawa’s sensor, modified to
include LED B and with a flat “light permeable cover” (illustrated with blue
outline); Petitioner’s annotated figure on the right depicts Aizawa’s sensor,
again modified to include LED B and with a convex “light permeable cover”
(illustrated with blue outline).

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 17–48; Sur-reply 3–23.
      First, Patent Owner argues “Ohsaki’s rectangular board would be
incompatible with Aizawa’s circular sensor arrangement” and that the
proposed modification “changes Ohsaki’s structure and eliminates the
longitudinal shape that gives Ohsaki’s translucent board the ability to
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prevent slipping.” PO Resp. 18–19 (emphases omitted). This argument is
premised on Patent Owner’s contention that Ohsaki’s convex cover must be
rectangular, with the cover’s long direction aligned with the length of the
user’s forearm, to avoid interacting with bones in the wrist and forearm. Id.
at 20–23 (citing, e.g., Ex. 2004 ¶¶ 52–55; Ex. 1009 ¶¶ 6, 19, 23, 24); see
also Sur-reply 3–10. According to Patent Owner, Ohsaki teaches that
“aligning the sensor’s longitudinal direction with the circumferential
direction of the user’s wrist undesirably results in ‘a tendency [for Ohsaki’s
sensor] to slip off.’” PO Resp. 21 (emphasis omitted) (alteration in original)
(citing Ex. 1009 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus could not coincide with the
longitudinal direction of the user’s wrist.” Id. at 21–22 (emphases omitted)
(citing Ex. 2004 ¶¶ 55–57). Patent Owner presents annotated Figures
depicting what it contends is Ohsaki’s disclosed sensor placement as
compared to that of the proposed modification, reproduced below.




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Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
would not avoid the undesirable interaction with the user’s bone structure,”
such that a skilled artisan “would have understood that any such change
would eliminate Ohsaki’s benefit of preventing slipping.” PO Resp. 23–25
(citing, e.g., Ex. 2004 ¶¶ 56–57, 59–61).
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 27–28.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side
opposite from where Ohsaki’s sensor is worn. Id. at 28–29 (citing, e.g.,
Ex. 1006 ¶¶ 2, 7, 9, 26, 27, 36; Ex. 2004 ¶¶ 66–70). According to Patent
Owner, Ohsaki teaches that the sensor’s convex surface has a tendency to
slip when placed on the palm side of the wrist, i.e., in the location taught by
Aizawa. Id. at 33–36 (citing, e.g., Ex. 1009 ¶¶ 19, 23, 24; Ex. 2004 ¶¶ 74–
80). Thus, Patent Owner argues that a person of ordinary skill in the art
“would not have been motivated to use Ohsaki’s longitudinal board—
designed to be worn on the back side of a user’s wrist—with Aizawa’s palm-
side sensor.” Id. at 36 (emphases omitted). Similarly, Patent Owner argues
that Aizawa teaches away from the proposed modification because Aizawa
teaches that its flat acrylic plate improves adhesion on the palm side of the



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wrist, while Ohsaki teaches that its convex board “has a tendency to slip” on
the palm side of the wrist. Id. at 37–39 (citing, e.g., Ex. 2004 ¶¶ 82–84).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease optical signal
strength. PO Resp. 39–46 (citing, e.g., Ex. 2004 ¶¶ 85–97). Patent Owner
also contends that Petitioner and Dr. Kenny admitted as much in a related
proceeding. Id. at 40–41 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’553 patent to support its
position. Id. at 44–45 (citing Ex. 1001, 36:3–6, 36:13–15). Additionally,
Patent Owner argues that its position is also supported by Inokawa, which
also uses a convex lens to direct light toward the center but, in Inokawa’s
structure, the light is directed from peripheral emitters toward a central
detector. Id. at 45–46 (citing, e.g., Ex. 1008 ¶¶ 15, 58). In light of the
foregoing, Patent Owner argues that a person of ordinary skill in the art
would have understood that the proposed modification would have
decreased signal strength by directing light away from Aizawa’s peripheral
detectors. Id.
      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 47–48 (citing Ex. 1008 ¶ 106; Ex. 2004 ¶ 98).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
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its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 8–9, 13–20 (citing, e.g., Ex. 1047 ¶¶ 16–
28). Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8
were somehow understood to be rectangular, obviousness does not require
‘bodily incorporation’ of features from one reference into another”; rather, a
person of ordinary skill in the art “would have been fully capable of
modifying Aizawa to feature a light permeable protruding convex cover to
obtain the benefits” taught by Ohsaki. Id. at 15–16 (citing, e.g., Ex. 1047
¶ 21). Similarly, regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a POSITA would
      have understood Aizawa’s sensor as being limited to placement
      on the palm side of the wrist, and would have understood
      Ohsaki’s sensor’s “tendency to slip” when arranged on the front
      side as informing consideration of Ohsaki’s teachings with
      respect to Aizawa, that would have further motivated the [person
      of ordinary skill in the art] to implement a light permeable
      convex cover in Aizawa’s sensor, to improve detection
      efficiency of that sensor when placed on the palm side.
Id. at 17–18 (citing, e.g., Ex. 1047 ¶ 25). In other words, Ohsaki’s
disclosure that a convex surface suppresses variation in reflected light would
have motivated an artisan to add such a surface to Aizawa to improve
detection efficiency of that sensor when placed on the palm side. Id. at 18.
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Aizawa’s sensor would not decrease signal
strength but, instead, “would improve Aizawa’s signal-to-noise ratio by
causing more light backscattered from tissue to strike Aizawa’s
photodetectors than would have with a flat cover” because such a cover


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improves light concentration across the entire lens and does not direct it only
towards the center. Id. at 20–28 (citing, e.g., Ex. 1047 ¶¶ 29–57).
      Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known principle of reversibility,” by which “a ray going from P to S
will trace the same route as one from S to P.” Pet. Reply 20–22 (quoting
Ex. 1040, 92; citing, e.g., Ex. 1040, 87–92; Ex. 1049, 106–111; Ex. 1047
¶ 33). When applied to Aizawa’s sensor, Petitioner contends that any
condensing benefit achieved by a convex cover would thus direct emitted
light toward Aizawa’s peripheral detectors. Id. at 21–22 (citing, e.g.,
Ex. 1047 ¶¶ 32–38). Although Dr. Madisetti “refused to acknowledge this
basic principle of reversibility during deposition,” Petitioner contends this
core concept of reversibility is applied in Aizawa. Id. at 22 (citing, e.g.,
Ex. 1041, 89:12–19; Ex. 1003 ¶¶ 83, 79; Ex. 1047 ¶ 32, 36–37).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and
angles.” Pet. Reply 23–25 (citing, e.g., Ex. 1019, 52, 86, 90; Ex. 1042, 803;
Ex. 1047 ¶¶ 39–40; Ex. 2006, 163:12–164:2). This scattered and diffuse
light, according to Petitioner, means that Ohsaki’s convex cover cannot
“focus all light at the center of the sensor device,” as Patent Owner argues.
Id. at 24. Instead, due to the random nature of this scattered light, Petitioner
asserts that a person of ordinary skill in the art would have understood that
“Ohsaki’s convex cover provides at best a slight refracting effect, such that
light rays that otherwise would have missed the detection area are instead
directed toward that area as they pass through the interface provided by the
cover.” Id. at 25 (citing, e.g., Ex. 1047 ¶¶ 46–48). Petitioner applies this

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understanding to Aizawa, and asserts that using a cover with a convex
protrusion in Aizawa would “enable backscattered light to be detected
within a circular active detection area surrounding” a central light source,
thereby “allow[ing] a larger fraction of light randomly backscattered from
tissue to be detected within the active detection area surrounding [the light]
source.” Id. at 25–27 (citing, e.g., Ex. 1019, 86, 90; Ex. 1047 ¶¶ 41–48).
      Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 28 (citing Ex. 1047 ¶ 55).




The above illustration depicts backscattered light with Aizawa’s sensor
reflecting off user tissue in various directions, such that it impinges upon the
peripheral detectors from various random angles and directions. Id.
According to Petitioner, this “allow[s] the detector to capture light that
otherwise would have been missed by the detectors, regardless of their
location within the sensor device.” Id.
      Petitioner also dismisses Patent Owner’s reliance on Figure 14B of the
’553 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. For example, the light
rays (1420) shown in FIG. 14B are collimated (i.e., travelling paths parallel
to one another), and each light ray’s path is perpendicular to the detecting
surface.” Pet. Reply 26 (citing, e.g., Ex. 1047 ¶¶ 49–51).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible

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disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to
combine. Id. at 28–29 (citing, e.g., Ex. 1047 ¶ 58).

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in sensor orientation or measurement location
result in slippage.” Sur-reply 3–14, 8.
      Concerning Patent Owner’s third argument (that the convex cover
would condense light toward the center and away from Aizawa’s detectors),
Patent Owner asserts that Petitioner’s Reply improperly presents several new
arguments, relying on new evidence, as compared with the Petition. Id. at
16 (regarding reversibility), 16–20. Patent Owner argues that Dr. Kenny and
Petitioner have not overcome their admissions that a convex lens directs
light toward the center. Id. at 14–16, 19. Moreover, Patent Owner argues
that Petitioner’s discussion of the principle of reversibility is “irrelevant”
because it “assumes conditions that are not present when tissue scatters and
absorbs light.” Id. at 16–17. The random nature of backscattered light, in
Patent Owner’s view, “hardly supports Petitioner’s argument that light will
necessarily travel the same paths regardless of whether the LEDs and
detectors are reversed,” and is irrelevant to the central issue presented here
of “whether changing Aizawa’s flat surface to a convex surface results in
more light on Aizawa’s peripherally located detectors.” Id. at 18.
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that Ohsaki’s cover with a convex protrusion
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“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. Sur-reply 19. Patent Owner’s position, rather, is that
Petitioner has not shown that a person of ordinary skill in the art “would
have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. at 19. In Patent Owner’s view, by arguing that
the convex cover provides only a “slight refracting effect,” Petitioner
undermines its contention that providing such a cover would have improved
detection efficiency. Id.
      Patent Owner also argues that Petitioner’s contention that a convex
cover allows more light collection generally is a new theory not supported
by Dr. Kenny’s original declaration. Id. at 20. Moreover, Patent Owner
argues that Petitioner’s theory is “unavailing because it fails to consider the
greater decrease in light at the detectors due to light redirection to a more
central location.” Id. at 21. According to Patent Owner, any light redirected
from the sensor’s edge could not make up for the loss of signal strength from
light redirected away from the detectors and toward the center. Id.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover
would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 23. Moreover, Patent Owner argues that the
risk of scratches undermines Petitioner’s argument of adding a convex cover
to protect the elements within the sensor housing. Id.

Analysis

      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
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by Ohsaki, to Aizawa’s sensor: (1) to improve adhesion between the sensor
and the user’s tissue, (2) to improve detection efficiency, and (3) to protect
the elements within the sensor housing. Pet. 36–37 (citing, e.g., Ex. 1003
¶¶ 94–97; Ex. 1009 ¶ 25). As further examined below, we determine all
three rationales are supported by the evidence, and further that any single
rationale standing alone would have been sufficient to establish a basis for
the person of ordinary skill in the art to combine the references as proposed.
      Rationales 1 and 2
      The evidence of record persuades us that adding a convex cover, such
as that taught by Ohsaki, would have improved adhesion between the sensor
and the user’s skin, which would have increased the signal strength of the
sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25 (emphasis added); see also id. ¶ 27 (“detecting element 2 is
stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
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convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
user’s wrist and to suppress variation. See, e.g., Ex. 1003 ¶¶ 85 (“[T]his
contact between the convex surface and the user’s skin is said to prevent
slippage, which increases the strength of the signals obtainable by Ohsaki’s
sensor.”), 87, 152 (“[O]ne of ordinary skill would have understood that this
adjustment would improve adhesion to the user’s skin and reduce variation
in the signals detected by the sensor.”). We find persuasive Dr. Kenny’s
explanation that the person of ordinary skill in the art “would have
understood that a protruding convex cover would reduce the adverse effects
of user movement on signals obtainable by the photodetectors within
Aizawa’s sensor, which like Ohsaki’s light receiving elements, detect light
reflected from user tissue.” Ex. 1047 ¶ 12.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.




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      We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies:
             One of ordinary skill would have combined the teachings
      of Aizawa-Inokawa and Ohsaki as doing so would have
      amounted to nothing more than the use of a known technique to
      improve similar devices in the same way. One of ordinary skill
      would have recognized that incorporating Ohsaki’s convex
      surface is simply improving Aizawa-Inokawa’s transparent plate
      6 that has a flat surface to improve adhesion to a subject’s skin
      and reduce variation in the signals detected by the sensor.
      [Ex. 1009 ¶ 25]. Furthermore, the elements of the combined
      system would each perform similar functions they had been
      known to perform prior to the combination—Aizawa-Inokawa’s
      transparent plate 6 would remain in the same position,
      performing the same function, but with a convex surface as
      taught by Ohsaki.
Ex. 1003 ¶ 91; see also id. ¶¶ 77–91. In light of Ohsaki’s express disclosure
of the benefits of a convex cover, we credit Dr. Kenny’s testimony that a
person of ordinary skill in the art would have been motivated to modify
Aizawa as proposed, and would have had a reasonable expectation of success
in doing so.
      We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 19–27. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,

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Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1009 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 14–16. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); see also Pet.
Reply 13–15; Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d
951, 956 (Fed. Cir. 2000) (“[I]t is well established that patent drawings do
not define the precise proportions of the elements and may not be relied on
to show particular sizes if the specification is completely silent on the
issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element from the right side to the
left side in FIG. 2 is longer than the length from the upper side to the lower
side.” Ex. 1009 ¶ 19. Ohsaki also describes that detecting element 2 is
aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).



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      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 13–16 (noting also that
Ohsaki’s board 8 “is not coextensive with the entire tissue-facing side of
detecting element 2”). We have considered the testimony of both Dr. Kenny
and Dr. Madisetti on this point. Ex. 1047 ¶¶ 10–11, 14, 16–21; Ex. 2004
¶¶ 39–42 (relying on Ohsaki’s Figures 1–2 to support his opinion that the
convex surface is rectangular). Dr. Madisetti’s reliance on the dimensions of
Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt, 222 F.3d at 956.
We credit Dr. Kenny’s testimony that Ohsaki does not describe its convex
surface as rectangular, because this testimony is most consistent with
Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 21–23; Sur-reply 9 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause problems, see
Ex. 1009 ¶¶ 6, 19, we do not agree that the only way to avoid these bones is
by aligning a rectangular cover with the longitudinal direction of the user’s
forearm. For example, in the annotated Figures provided by Patent Owner,
see PO Resp. 22, we discern that the circular sensor that purports to depict
the proposed modification would also avoid the bones in the forearm if it
were slightly smaller. Patent Owner provides no persuasive explanation to

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justify the dimensions it provides in this annotated figure, or to demonstrate
that such a large sensor would have been required. Indeed, we discern that it
would have been within the level of skill of an ordinary artisan to
appropriately size a modified sensor to avoid these well-known anatomical
obstacles. “A person of ordinary skill is also a person of ordinary creativity,
not an automaton.” KSR, 550 U.S. at 421. After all, an artisan must be
presumed to know something about the art apart from what the references
disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1047 ¶ 10.
Thus, we agree with Petitioner that Ohsaki’s teaching of a convex surface
would have motivated a person of ordinary skill in the art to add such a
surface to Aizawa’s circular-shaped sensor, to improve adhesion as taught
by Ohsaki. See, e.g., Pet. 24–25. Nothing in Ohsaki’s disclosure limits such
a benefit to a specific shape of the convex surface. Ex. 1047 ¶¶ 10–11, 14–
21.
      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,

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      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25; Ex. 1047 ¶ 11. Again, we agree with Petitioner that Ohsaki’s
teaching of a convex surface would have motivated a person of ordinary
skill in the art to add such a surface to Aizawa’s sensor, to improve signal
strength, as taught by Ohsaki. See, e.g., Pet. 24–27. Again, nothing in
Ohsaki’s disclosure limits such a benefit to the shape of the convex surface.
Ex. 1047 ¶¶ 10–12, 13, 16–21.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Aizawa and Ohsaki.
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 27–36. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply
proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 28. In other words,
Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex

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protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1009 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 66, 75. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1009 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, Ohsaki’s claims
are not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See
Ex. 1047 ¶¶ 10, 15, 22–28, 73. This is because the convex protrusion
“promot[es] ‘intimate contact with the surface of the user’s skin,’” which
“would have increased adhesion and reduced slippage of Aizawa’s sensor
when placed on the palm side of a user’s wrist, with associated
improvements in signal quality.” Id. ¶¶ 27, 28 (“additional adhesive
effect”).
      Dr. Madisetti testifies that
      [b]ased on Aizawa’s teaching that a flat acrylic plate improves
      adhesion on the palm side of the wrist, and Ohsaki’s teaching that
      a convex surface tends to slip on the palm side of the wrist, a
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       [person of ordinary skill in the art] would have come to the
       opposite conclusion from Dr. Kenny: that modifying Aizawa’s
       flat adhesive plate “to include a lens/protrusion . . . similar to
       Ohsaki’s translucent board’ would not ‘improve adhesion.”
Ex. 2004 ¶ 84; see also id. ¶ 82. We disagree with this reading of Aizawa.
It is true that Aizawa’s plate 6 is illustrated as having a flat surface
(Ex. 1006, Fig. 1(b)), and that Aizawa states the plate “improve[s] adhesion”
(id. ¶ 13). Aizawa further states: “the above belt 7 is fastened such that the
acrylic transparent plate 6 becomes close to the artery 11 of the wrist 10,”
and “[t]hereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶ 26. These disclosures, however, indicate the improved
adhesion is provided by the acrylic material of plate 6, not the shape of the
surface of the plate, which is never specifically addressed. See also id.
¶¶ 30, 34 (“Since the acrylic transparent plate 6 is provided . . . adhesion
between the pulse rate detector 1 and the wrist 10 can be improved . . . .”).
Aizawa does not associate this benefit of improved adhesion with the surface
shape of the plate, but rather, with the existence of an acrylic plate to begin
with. Thus, there is no teaching away from using a convex surface to
improve the adhesion of Aizawa’s detector to the user’s wrist.
       We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which
Patent Owner alleges would decrease signal strength. PO Resp. 39–46. We
disagree.
       There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet.
Reply 22–26; Tr. 27:18–28:4 (Petitioner’s counsel agreeing that “the
incoming light from a detection standpoint is going to be coming from all

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sorts of different directions because of the randomness caused by the back
scattering”), 65:23–66:16 (Patent Owner’s counsel agreeing that light does
not simply enter tissue and come back out “like it came out on a mirror”);
Ex. 1041, 35:19–37:18 (Patent Owner’s declarant describing light scattering
as it travels through tissue, e.g., reflecting off blood, tissue, or other
material); Ex. 1043, 28:2–10 (Patent Owner’s declarant agreeing that
reflecting light can be a signal for the ’553 patent’s sensor), 61:20–62:4
(explaining that “a light in this context, light emitted from the LEDs is
diffused through the skin in that particular context, whatever that is”);
Ex. 1047 ¶ 36.
        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1040,5
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




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    Eugene Hecht, Optics (2nd ed. 1990).
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This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1040, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides
diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1047 ¶ 51 (“A [person of ordinary skill in
the art] would have understood . . . the light that backscatters from the
measurement site after diffusing through tissue reaches the circular active
detection area provided by Aizawa’s detectors from various random
directions and angles.”).
      Dr. Kenny testifies that Aizawa “detect[s] light that has been ‘partially
reflected, transmitted, absorbed, and scattered by the skin and other tissues

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and the blood before it reaches the detector.’” Ex. 1047 ¶ 51 (quoting
Ex. 1019, 86). Dr. Kenny further opines that a convex cover, when added to
Aizawa’s sensor with multiple detectors symmetrically arranged about a
central light source, allows light rays that otherwise would have missed the
detection area to instead be directed toward that area as they pass through
the interface provided by the cover, thus increasing the light-gathering
ability of Aizawa’s sensor. Id. ¶¶ 46–48.
      By contrast Dr. Madisetti testifies that “a convex surface condenses
light passing through it towards the center of the sensor and away from the
periphery.” Ex. 2004 ¶ 86; see also id. ¶¶ 85, 89. We have considered this
testimony, however, Dr. Madisetti’s opinions largely are premised upon the
behavior of collimated and perpendicular light as depicted in Figure 14B of
the challenged patent. See id. ¶ 88. Dr. Madisetti does not explain how light
would behave when approaching the sensor from various angles, as it would
after being reflected by tissue. Id. ¶¶ 86–89; see also id. ¶¶ 90–97
(addressing motivation and also failing to discuss diffuse, scattered light). In
other words, even if Patent Owner is correct that the ’553 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light reflected by a user’s tissue is
scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both admit that a convex cover condenses light towards the center of the
sensor and away from the periphery,” in a different petition filed against a
related patent, i.e., in IPR2020-01520. PO Resp. 40–42; Ex. 2004 ¶¶ 86–87.
The cited portions of the Petition and Dr. Kenny’s declaration from

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IPR2020-01520 discuss a decrease in the “mean path length” of a ray of
light when it travels through a convex lens rather than through a flat surface.
See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that this discussion is
inconsistent with Dr. Kenny’s testimony here that, where light is reflected to
the detectors at various random angles and directions, more light will reach
Aizawa’s symmetrically disposed detectors when travelling through the
convex surface than would be reached without such a surface, because light
that might have otherwise missed the detectors now will be captured. See,
e.g., Ex. 1047 ¶¶ 29, 30, 56, 57 (“the addition of a convex cover allows the
detectors to capture some of the reflected light that otherwise would have
missed them completely”). We do not discern that the convergence of a
single ray of light toward the center, as discussed in IPR2020-01520, speaks
to the aggregate effect on all light that travels through the convex surface.
      We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition, to afford Patent Owner an adequate
opportunity to respond. See Sur-reply 16–19. The Petition proposed a
specific modification of Aizawa to include a convex protrusion in the cover,
for the purpose of increasing the light gathering ability of Aizawa’s device.
See Pet. 24–28. The Patent Owner Response then challenged that
contention, with several arguments that Petitioner’s proposed convex
protrusion would not operate in the way the Petition alleges it would operate.
See PO Resp. 39–47. This opened the door for Petitioner to provide, in the
Reply, arguments and evidence attempting to rebut the contentions in the
Patent Owner Response. See PTAB Consolidated Trial Practice Guide



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(Nov. 2019) (“Consolidated Guide”),6 73 (“A party also may submit rebuttal
evidence in support of its reply.”). This is what Petitioner did here. The
Reply does not change Petitioner’s theory for obviousness; rather, the Reply
presents more argument and evidence in support of the same theory for
obviousness presented in the Petition. Compare Pet. 24–28, with Pet.
Reply 20–27.
        Rationale 3
        Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 44–45. We are persuaded that adding a convex
cover, such as that taught by Ohsaki, would also protect the sensor’s internal
components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 87; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s] the LED or
PD”).
        We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner’s counsel did not dispute, during the oral
hearing, that a convex cover would indeed serve to protect the internal
sensor components in Aizawa, as Petitioner proposes. Tr. 64:6–65:5 (but
noting that a flat cover would also protect, and would be less prone to
scratches). Even if a convex cover seated against the skin may be more
prone to scratches than Aizawa’s flat cover, this is one of numerous


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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
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tradeoffs that a person of ordinary skill in the art would consider, in
determining whether the benefits of increased adhesion, signal strength, and
protection outweigh the potential for a scratched cover. Medichem, S.A. v.
Rolabo, S.L., 437 F.3d 1157, 1165 (Fed. Cir. 2006). The totality of the final
record does not support that the possibility of scratches alone would have
dissuaded a person of ordinary skill in the art from the proposed
modification, to achieve the benefits identified by Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

                             vi. Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                       5. Independent Claims 10 and 20
      Independent claims 10 and 20 consists of limitations that are
substantially similar to elements [a]–[d] of claim 1. Compare Ex. 1001,
44:50–44:67, with id. at 45:35–47, 46:22–46. In asserting that claims 10 and
20 also would have been obvious over the combined teachings of Aizawa,
Inokawa, and Ohsaki, Petitioner refers to the same arguments presented as to
claim 1, except for a few unique limitations. See Pet. 56–62, 57 (providing
explanation for how the art teaches the “planar surface” required by claim
10), 69–72 (describing how the art teaches “positioning the photodetectors
22 within a space formed by the substrate, the wall, and the cover” required
by claim 20).
      Patent Owner relies on the same arguments discussed above regarding
claim 1. PO Resp. 10–55.
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      For the same reasons discussed above, and for the reasons provided by
Petitioner for the unique limitations, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 10
and 20 would have been obvious over the cited combination of references.

               6. Dependent Claims 2–6, 9, 11–18, 21–24, and 29
      Petitioner also contends that claims 2–6, 9, 11–18, 21–24, and 29
would have been obvious based on the same combination of prior art
addressed above. These challenged claims all depend directly or indirectly
from independent claim 1, 10, or 20. Petitioner identifies teachings in the
prior art references that teach the limitations of these claims, and provides
persuasive reasoning as to why the claimed subject matter would have been
obvious to one of ordinary skill in the art. Pet. 46–55, 62–68, 72–74.
Petitioner also supports its contentions for these claims with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 153–175, 195–223, 240–252.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 54–55 (“[T]he Petition fails to establish that independent claims 1,
10, and 20 are obvious over the cited references of Ground 1 and therefore
fails to establish obviousness of any of the challenged dependent claims.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–6, 9, 11–18, 21–24, and 29 would have been obvious
over the combined teachings of Aizawa, Inokawa, and Ohsaki for the
reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny.


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                                 7. Conclusion
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
6, 9–18, 20–24, and 29 would have been obvious over the cited combination
of references.

             E. Obviousness over the Combined Teachings of
               Aizawa, Inokawa, Ohsaki, and Mendelson-2006
      Petitioner contends that claims 7 and 19 of the ’553 patent would have
been obvious over the combined teachings of Aizawa, Inokawa, Ohsaki, and
Mendelson-2006. Pet. 75–94; see also Pet. Reply 31–34. Patent Owner
disagrees. PO Resp. 55–58; see also Sur-reply 26–27.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 7 and 19 are unpatentable.

                       1. Mendelson-2006 (Ex. 1010)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1010, 1. 7
      Figure 1 of Mendelson-2006 is reproduced below.




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 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. See, e.g., Pet. 75. We
follow Petitioner’s numbering scheme.
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Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode

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(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded
microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required . . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with

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the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                           2. Dependent Claims 7 and 19
      Claims 7 and 19 additionally require “one or more processors
configured to” receive either data or one or more signals from the detectors
and output physiological measurement information to “a touchscreen display
or mobile phone.” Ex. 1001, 45:17–28, 46:11–21. Petitioner contends that it
would have been obvious for a person of ordinary skill in the art to have
modified the sensor system of Aizawa-Inokawa-Ohsaki to integrate
processors and a touchscreen display as taught by Mendelson-2006.
Pet. 77–94.

Petitioner’s Contentions

      Petitioner notes that Aizawa’s pulse rate detector is communicably
connected to and transmits pulse wave data to a display designed for
displaying pulse rate data. Pet. 77 (citing Ex. 1006 ¶¶ 15, 23, 28). Petitioner
contends that although the display is not depicted, a person of ordinary skill
in the art would have found it obvious to implement the display as a touch-
screen display. Id. Relying on Dr. Kenny, Petitioner argues that
“physiological monitoring devices commonly employed touch-screen
displays” as of 2008. Id. (citing Ex. 1003 ¶ 255). Petitioner relies on
Mendelson-2006’s pulse oximetry system that includes a sensor module that


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transmits signals wirelessly to a PDA through a receiver module. Pet. 77–78
(citing Ex. 1010, 2–4, Figs. 1–3). Petitioner reasons that a person of
ordinary skill in the art would have been motivated to look to Mendelson-
2006 for details regarding data transmission and display using the Aizawa-
Inokawa-Ohsaki sensor. Pet. 78–79 (citing Ex. 1003 ¶ 258). Petitioner
argues that signals acquired by Mendelson-2006’s sensor module are
received by the embedded microcontroller where software filters the signals
to compute oxygen saturation and heart rate. Id. Mendelson-2006 teaches
that information acquired by the sensor module is transmitted wirelessly via
an RF link over to a body-worn receiver module, and Petitioner relies on the
data processed by the receiver module as being “transmitted wirelessly to a
PDA.” Pet. 79 (quoting Ex. 1010, 2).
      According to Petitioner, a person of ordinary skill in the art would
have enabled transfer of information pertaining to physiological and
wellness parameters through wireless communication with the handheld
PDA taught by Mendelson-2006 to enhance a provider’s ability “to extend
more effective medical care, thereby saving the lives of critically injured
persons.” Pet. 80 (citing Ex. 1010, 2; Ex. 1003 ¶ 261). Petitioner contends
that a person of ordinary skill in the art “would have been motivated to
implement Aizawa’s pulse wave sensor as part of a physiological
measurement system including a handheld computing device, and to enable
a physiological sensor device including sensor 1 to communicate wirelessly
with the handheld computing device.” Pet. 81 (citing e.g., Ex. 1003 ¶ 262).
Petitioner touts many advantages of the combination that a person of
ordinary skill in the art would have recognized, including the benefit of
incorporating Mendelson-2006’s disclosure of a PDA with a touch-screen

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display and “simple GUI” to present “information to the user” and provide
“easy activation of various functions,” into the Aizawa-Inokawa-Ohsaki
sensor. Pet. 82 (citing Ex. 1010, 4).
       Petitioner identifies teachings in the prior art references that teach or
suggest the limitations of each of dependent claims 7 and 19, as well as the
claims as a whole. Pet. 83–94. Petitioner also supports its contentions for
these claims with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 263–297.

Patent Owner’s Contentions

       Patent Owner disputes Petitioner’s contentions. Patent Owner argues
that Petitioner’s proposed combination is rooted in hindsight and results in a
more complicated system. PO Resp. 55–57. Patent Owner contends that
“Petitioner’s addition of Mendelson-2006’s wireless approach makes no
sense given that—as discussed above—Petitioner’s combination already
replaced Aizawa’s wireless transmitter with Inokawa’s base station
approach.” Id. at 56–57 (citing Ex. 2004 ¶ 119). Patent Owner
characterizes Petitioner’s combination as requiring a person of ordinary skill
in the art to:
       (1) eliminate Aizawa’s existing transmitter so the resulting
       device will not require “a separate RF circuit” (Pet. 24); (2)
       change Aizawa’s structure to add a second LED to transmit data
       using a base station, which would also require that a user remove
       the sensor before any data transfer can occur and thus eliminate
       the ability to display data in real-time (Pet. 22-24); and then (3)
       add back in a separate communications circuit based on
       Mendelson-2006 to send data to a PDA with a touch screen
       display (Pet. 78-81, 85-86), thereby restoring the real-time
       display functionality original[ly] included in Aizawa’s sensor.
Id. at 57 (citing, e.g., Ex. 2004 ¶¶ 119–120). Patent Owner further argues
that such a modification eliminates the desired real-time monitoring
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employed by Mendelson-2006. Id. (citing Ex. 2004 ¶¶ 113, 115). 8 As
argued by Patent Owner, a person of ordinary skill in the art looking to
integrate a touch-screen display with Aizawa “would not bother with
Inokawa’s base station approach when Mendelson 2006 uses the same type
of dedicated transmission circuit already present in Aizawa.” Sur-reply 27.

Analysis

      As discussed above, we determine that Petitioner demonstrates
sufficiently that a person of ordinary skill in the art would have been
motivated to modify Aizawa to include an additional LED to, inter alia,
allow for wireless transmission of sensed pulse rate and motion data to a
base device. Although Aizawa discloses transmission of data for display
(Ex. 1006 ¶¶ 15, 35), Aizawa is silent as to how the data is transmitted or
displayed. In light of the combination with Inokawa, therefore, Aizawa’s
multiple LEDs would have allowed wireless transmission of data to a base
device. See, e.g., Ex. 1008 ¶ 76 (“[V]ital sign information stored in the
memory 63, such as pulse and body motion, is transmitted to the base device
17 using the S-side infrared LED 23 of the pulse sensor 1 and the B-side PD
45 of the base device 17.”). Inokawa further discloses that the base device,
once it receives information from the sensor, “transmits this information to
the PC 59.” Id. ¶ 75; see also id. ¶¶ 67, 77.
      With this backdrop, we are persuaded by Petitioner’s contention that a
person of ordinary skill in the art would have been motivated to implement


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 We do not address Patent Owner’s argument that Mendelson-2006 does not
disclose a “multi-emitter/multi-detector sensor” because Mendelson-2006 is
not relied upon for such limitations. PO Resp. 56.
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the physiological sensor device resulting from the combined teachings of
Aizawa, Inokawa, and Ohsaki as part of a physiological measurement
system that includes a touchscreen display or mobile phone as further taught
by Mendelson-2006. Indeed, Aizawa and Inokawa already teach the
desirability of transmitting sensed data to, e.g., a computer or a display,
although neither discloses further detail. See, e.g., Ex. 1006, 15; Ex. 1008
¶ 75; see also Ex. 1047 ¶ 66 (Aizawa “is silent about how such transmission
would be implemented.”). In light of these teachings, we credit Dr. Kenny’s
testimony that transmitting sensed data wirelessly to a handheld computing
device, as taught by Mendelson-2006, would have achieved the identified
benefits of, e.g., providing a low-cost display with a simple user interface
and easy activation of functions (Ex. 1003 ¶¶ 66, 257) and the ability to
provide more effective medical care when the handheld device is carried by
first responders (id. ¶ 261). See, e.g., id. ¶¶ 253–264; Ex. 1047 ¶¶ 64–70.
We are also persuaded that this would have been within the skill level of an
ordinary artisan and would have achieved predictable results. Ex. 1003
¶ 280 (“would have led to predictable results without altering or hindering
the functions performed by the sensor,” including “implement[ing] the well-
known technique of connecting a physiological sensor to a handheld device
to cause Aizawa-Inokawa-Ohsaki’s sensor to include such features to
achieve the predictable benefits offered by Mendelson 2006”).
      We do not agree with Patent Owner’s characterization of the proposed
combination. Petitioner does not propose “(1) eliminat[ing] Aizawa’s
existing transmitter . . . (2) chang[ing] Aizawa’s structure to add a second
LED to transmit data using a base station . . .; and then (3) add[ing] back in a
separate communications circuit to the base station.” PO Resp. 57. As

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discussed above, Petitioner proposes that the system suggested by, inter alia,
Aizawa and Inokawa—which includes a sensor in communication with a
base device, and which contemplates additional communication from the
base device to a PC—further includes a handheld computing device in
wireless communication with that system. In other words, Petitioner’s
proposed combination effectively replaces or supplements Inokawa’s PC 59
with a PDA, such as that taught by Mendelson-2006. Thus, in Petitioner’s
proposed combination, physiological data is sensed by Aizawa’s sensor,
transmitted to a base device through an additional LED, as taught by
Inokawa, and further transmitted to, inter alia, a PDA, as taught by
Mendelson-2006. See, e.g., Pet. 77–83. Indeed, both Aizawa and Inokawa
expressly contemplate transmission to an additional computing device (see,
e.g., Ex. 1006, 15; Ex. 1008 ¶ 75); Petitioner’s proposed modification
merely states that such transmission occurs wirelessly to a handheld device.
The record supports this contention.
      We have considered Dr. Madisetti’s testimony, but it is based on the
same mischaracterization put forth by Patent Owner. Ex. 2004 ¶¶ 118–120
(mischaracterizing the combination). Notwithstanding this
misrepresentation of the proposed modification, Dr. Madisetti does not
dispute Dr. Kenny’s testimony that wireless transmission to a handheld
computing device would have achieved the identified benefits, such as a
low-cost device that improves medical care. See id. As such, we credit
Dr. Kenny’s unrebutted testimony.
      Patent Owner and Dr. Madisetti further criticize the combination,
asserting that Mendelson-2006’s wireless transmission exists to allow real-
time monitoring, which is impossible where a sensor must be mounted on a

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base device to transfer information through LEDs. Id. ¶ 119; see also PO
Resp. 56–57. However, the lack of real-time measurement and transmission
is simply one consideration among many. As noted in Inokawa, real-time
wireless communication has its drawbacks. Ex. 1008 ¶ 5. We discern that a
skilled artisan would have weighed these competing interests. “[A] given
course of action often has simultaneous advantages and disadvantages, and
this does not necessarily obviate motivation to combine.” Medichem, 437
F.3d at 1165 (citation omitted).
      Further, as to the limitations of claims 7 and 19, the cited evidence
supports Petitioner’s contention that Mendelson-2006 describes wirelessly
transmitting vital physiological information acquired from a sensor to a
PDA, which receives it. Pet. 85–88; see, e.g., Ex. 1010, 1, 2 (“The PDA can
monitor multiple wearable pulse oximeters simultaneously and allows
medics to collect vital physiological information to enhance their ability to
extend more effective care to those with the most urgent needs.”), 3
(explaining that the PDA “has sufficient computational resources for the
intended application” and “can also serve to temporarily store vital medical
information received from the wearable unit”), 3 (“The [PDA’s graphical
user interface] also displays the subject’s vital signs, activity level, body
orientation, and a scrollable PPG waveform that is transmitted by the
wearable device.”), Fig. 3 (displaying SpO2 and HR data); Ex. 1003 ¶¶ 179–
180. As discussed above, Petitioner’s proposed combination involves
transmission of sensed data from Aizawa’s physiological sensor to a base
device, as taught by Inokawa, and further wireless transmission of that data
from the base device to a handheld computing device, such as a PDA.



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      Claim 19 requires the “output of information indicative of
measurements of the physiological parameter to” the touch-screen display or
mobile phone. Ex. 1001, 46:19–21. The cited evidence further supports
Petitioner’s contention that Mendelson-2006 describes a PDA with a
touchscreen display configured to display indicia responsive to
measurements of, e.g., SpO2 and HR. Pet. 85–88, 93; Ex. 1003 ¶ 297; see,
e.g., Ex. 1010, 3 (“The use of a PDA . . . also provides a low-cost touch
screen interface.”).

                                 3. Conclusion
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 7
and 19 would have been obvious over the cited combination of references.

              F. Obviousness over the Combined Teachings of
           Aizawa, Inokawa, Ohsaki, Mendelson-2006, and Sherman
      Petitioner contends that claims 8 and 25–28 of the ’553 patent would
have been obvious over the combined teachings of Aizawa, Inokawa,
Ohsaki, Mendelson-2006, and Sherman. Pet. 94–101; see also Pet. Reply
35–38. Patent Owner disagrees. PO Resp. 55–58; see also Sur-reply 27–29.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 8 and 25–28 are unpatentable.

                            1. Sherman (Exhibit 1011)
      Sherman is a patent titled “Magnetic Clasp for Wristwatch Strap,” and
it relates to use of magnetizable material embedded in thermoplastic material
with rows of alternating magnetic poles. Ex. 1011, codes (54), (57).
Sherman discloses a magnetic fastening mechanism for “wrist instruments,”

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such as wristwatches. Id. at 1:4–10. Sherman’s system provides “an
improved clasp for a flexible strap which eliminates buckles or other types
of protruding mechanisms” and is “secured, yet easy to engage when
desired.” Id. at 2:1–11. As shown below in Figure 2 of Sherman, the
mechanism includes a pair of flexible strap ends having “permanently
magnetizable material” of opposite polarities in addition to “mutually
nesting uniformly spaced protuberances and indentations.” Id. at 2:43–62,
Fig. 2.




Figure 2 of Sherman depicts an end elevational view showing the wristwatch
and strap with transverse ridges 4a and 5a incorporating magnetic securing
materials. Id.

                      2. Dependent Claims 8 and 25–28
      Claims 8 and 25–28 add only one substantive common feature not
addressed previously and that is “a magnet configured to be used as a
connecting mechanism.” Ex. 1001, 45:29–32 (claim 8), 46:66–67
(claim 25), 47:1–19 (claims 26–28 depending from claim 25). Petitioner
contends that it would have been obvious for a person of ordinary skill in the
art to have modified the sensor system of Aizawa-Inokawa-Ohsaki-

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Mendelson-2006 to integrate a magnetic connection as taught by Sherman.
Pet. 94–100.

Petitioner’s Contentions

      Petitioner contends that “[t]he Aizawa-Inokawa-Ohsaki-Mendelson-
2006 sensor does not describe the mechanism for closing the attachment
strap 7 that fastens the sensor onto the subject’s wrist, but a POSITA would
have been motivated to look to other wearable, and specifically wrist worn,
devices such as Sherman, for details regarding a mechanism for fastening
the sensor to the subject’s wrist.” Pet. 96 (citing Ex. 1003 ¶ 300). Petitioner
contends a person of ordinary skill in the art would have been motivated to
add Sherman’s magnetic connection in order to be more visually appealing,
prevent corners from catching upon clothing, and to prevent broken
connectors or accidental snagging. Pet. 96 (citing Ex. 1011, 1:11–24;
Ex. 1003 ¶ 301).

Patent Owner’s Contentions

      Patent Owner disputes Petitioner’s contentions. Patent Owner argues
that Petitioner’s proposed combination relies on Sherman solely for its
alleged disclosure of a magnetic connector, but Ohsaki already includes a
series of dedicated belts designed to exert a specific pressure on the user’s
wrist. PO Resp. 57 (citing Ex. 1009 ¶18). Patent Owner alleges that a
person of ordinary skill in the art would have understood that any advantage
from Ohsaki’s convex board would also require Ohsaki’s specific
attachment arrangement, which includes belts and a cushion to prevent
movement, yet, Petitioner does not explain how Sherman would have
allowed consistent attachment pressure for its sensor as required by Ohsaki.

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Id. at 57–58 (citing Ex. 1009 ¶ 18); see also Sur-reply 28 (“But Ohsaki
teaches a specialized attachment mechanism having specific features to
‘stably fix[]’ the detecting element to the wrist and improve signal-to-
noise.”). Thus, Patent Owner contends that the person of ordinary skill in
the art would not have been motivated to incorporate Sherman’s magnetic
attachment mechanism into Petitioner’s proposed combination. Id. at 58
(citing Ex. 2004 ¶ 122); see also Sur-reply 28 (“Aizawa’s silence about what
strap to use for its flat sensor is irrelevant,” because Ohsaki’s arrangement
stably fixes a convex surface.).

Analysis

      We are persuaded by Petitioner’s evidence and argument that a person
of ordinary skill in the art would have been motivated to combine Sherman’s
teaching of a magnetic connection in the existing combination of references.
We find persuasive Dr. Kenny’s testimony that a person of ordinary skill in
the art would have understood from Ohsaki itself that a cushion designed to
exert a specific pressure is not required to obtain the benefits described in
relation to Ohsaki’s board. Ex. 1047 ¶¶ 71–72 (noting that “Ohsaki’s
independent claims 1, 3, and 5 do not recite a cushion”) (citing Ex. 1009,
claims 1–3, 5–7). Further, we are persuaded by Dr. Kenny’s testimony that
a person of ordinary skill in the art “would have understood that a cover with
a convex protrusion would have provided the benefits taught by Ohsaki with
any suitable strap, and in considering Ohsaki’s teachings in relation to
Aizawa, would have found it obvious to employ Sherman’s magnetic
connector.” Id. ¶ 72. In light of the totality of the record, including
Dr. Kenny’s testimony, we determine that a person of ordinary skill in the
art would have been motivated to employ Sherman’s magnetic connector
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because the pressure range required for Ohsaki’s benefits could be achieved
by any number of connection fastening mechanisms. See id.
             Further, Patent Owner’s arguments do not persuasively address
Petitioner’s proposed combination. See Pet. 24–28, 94–98. Ohsaki was
relied upon for its teaching that a convex surface protruding into a user’s
skin will, inter alia, prevent slippage. See id.; see also Ex. 1047 ¶ 73; Ex.
1009, 25, Figs. 4A, 4B. As discussed above, we found persuasive Dr.
Kenny’s testimony that a person of ordinary skill in the art would have had
reason, in view of that teaching, to modify the Aizawa’s sensor’s flat cover
to include a protrusion, so as to improve adhesion between the user’s wrist
and the sensor’s surface, improve detection efficiency, and protect the
elements within the sensor housing. See Ex. 1003 ¶¶ 84–91. The resulting
sensor features Aizawa’s cover modified in view of Ohsaki, not Ohsaki’s
translucent board. Ex. 1047 ¶ 73 (“the resulting sensor features Aizawa’s
cover modified in view of Ohsaki, not Ohsaki’s translucent board 8”).
Likewise, Patent Owner does not effectively rebut Dr. Kenny’s testimony
that a person of ordinary skill in the art would have integrated a magnetic
connector in the combination of references in view of Sherman for reasons
related to engagement and user comfort. See PO Resp. 57–58; Ex. 1047
¶¶ 73, 74 (“obvious in view of Sherman’s teachings to incorporate a
magnetic connector, both for ease of engagement and user comfort”);
Ex. 1003 ¶¶ 300–303.




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                                 3. Conclusion
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 8
and 25–28 would have been obvious over the cited combination of
references.




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                               III.   CONCLUSION

            In summary:9
     Claims        35 U.S.C.      Reference(s)/       Claims     Claims Not
                       §             Basis            Shown        Shown
                                                   Unpatentable Unpatentable
    1–6, 9–18,     103           Aizawa,           1–6, 9–18,
    20–24, 29                    Inokawa,          20–24, 29
                                 Ohsaki
    7, 19          103           Aizawa,       7, 19
                                 Inokawa,
                                 Ohsaki,
                                 Mendelson-
                                 2006
    8, 25–28       103           Aizawa,       8, 25–28
                                 Inokawa,
                                 Ohsaki,
                                 Mendelson-
                                 2006, Sherman
    Overall                                    1–29
    Outcome




9
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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                             IV.    ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–29 of the ’553 patent have been shown to be
unpatentable;
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01538
                       United States Patent No.: 10,588,554 B2
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
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      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01538
   DATE                                        DESCRIPTION
09/02/2020   Petition for Inter Partes Review
09/02/2020   Petitioner’s Power of Attorney
09/02/2020   Petitioner’s Notice Ranking Petitions and Explaining Material Differences
09/17/2020   Notice of Filing Date Accorded
09/21/2020   Patent Owner’s Mandatory Notices
11/04/2020   Petitioner’s Updated Exhibit List
12/17/2020   Patent Owner’s Notice of Waiver of Preliminary Response
03/02/2021   Decision - Institution of Inter Partes Review Proceeding
03/02/2021   Scheduling Order
03/16/2021   Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted
             Before Trial Institution
04/08/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
04/14/2021   Stipulation Modifying Due Dates
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – Jeremiah Helm
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – William Zimmerman
04/16/2021   Patent Owner’s Updated Exhibit List
04/20/2021   Decision Granting Patent Owner’s Motions for Pro Hac Vice Admission
04/20/2021   Patent Owner’s Amended Notice of Deposition - Thomas W. Kenny
04/21/2021   Patent Owner’s Updated Mandatory Notice
04/21/2021   Patent Owner’s Supplemental Power of Attorney – W. Zimmerman and J. Helm
04/22/2021   Petitioner’s Motion to Submit Supplemental Information
05/06/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
05/14/2021   Petitioner’s Submission of Supplemental Information
06/08/2021   Patent Owner’s Response
06/11/2021   Petitioner’s Objections to Evidence
06/15/2021   Petitioner’s Objections to Evidence
07/19/2021   Petitioner’s Notice of Deposition - Vijay K. Madisetti
08/31/2021   Petitioner’s Reply to Patent Owner’s Response
09/07/2021   Petitioner’s Objections to Evidence
09/09/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
09/13/2021   Petitioner’s Updated Mandatory Notice
09/14/2021   Patent Owner’s Updated Notice of Deposition - Thomas W. Kenny
10/12/2021   Patent Owner’s Sur-Reply
10/19/2021   Petitioner’s Objections to Evidence
10/22/2021   Petitioner’s Request for Oral Hearing
10/22/2021   Patent Owner’s Oral Argument Request
10/28/2021   Patent Owner’s Supplemental Mandatory Notices
11/01/2021   Order Setting Oral Argument
11/22/2021   Petitioner’s Identification of Testimony

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   DATE                                        DESCRIPTION
12/03/2021   Patent Owner’s Demonstratives for Trial Hearing
12/03/2021   Petitioner’s Updated Exhibit List
01/06/2022   Oral Hearing Transcript
02/23/2022   Final Written Decision
04/12/2022   Notice of Appeal




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Trials@uspto.gov                                                  Paper 43
571-272-7822                                    Entered: February 23, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE

                            ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                              Petitioner,

                                    v.

                      MASIMO CORPORATION,
                            Patent Owner.



                           IPR2020-01538
                         Patent 10,588,554 B2



Before GEORGE R. HOSKINS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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                           I.   INTRODUCTION

                                A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–7 and 20–28 (“challenged claims”) of U.S. Patent
No. 10,588,554 B2 (Ex. 1001, “the ’554 patent”). Paper 3 (“Pet.”). Masimo
Corporation (“Patent Owner”) waived filing a Preliminary Response.
Paper 7. We instituted an inter partes review of all challenged claims 1–7
and 20–28 on the sole asserted ground of unpatentability, pursuant to 35
U.S.C. § 314. Paper 8 (“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 23, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 27, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 32, “PO Sur-reply”). 1 An oral hearing
was held on December 7, 2021, and a transcript of the hearing is included in
the record. Paper 42 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–7 and 20–28 of the ’554 patent are unpatentable.

                           B. Related Proceedings
      The parties identify the following matters related to the ’554 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);




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 After the Sur-reply was filed, we authorized Petitioner to file an
Identification of Testimony. Paper 38.
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      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (also challenging claims 1–28 of the ’554 patent);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2).
Pet. 3–4; Paper 5, 1–3.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’554 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 5, 1–2.




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                             C. The ’554 Patent
      The ’554 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on March 17,
2020, from U.S. Patent Application No. 16/544,713, filed August 19, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’554 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’554 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:38–
40. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–35, 64–65. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:45–48.
      Figure 1 of the ’554 patent is reproduced below.




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Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:47–58. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:59–63. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 14:3–7. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:7–10, 26–32. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:2–14.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:21–24. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:46–56. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:60–16:11.
      The ’554 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




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Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–39, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–48.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




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Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:39–43. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:49–63.

                            D. Illustrative Claim
      Of the challenged claims, claims 1 and 20 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A physiological measurement system comprising:
      [a] a physiological sensor device comprising:
         [b] a plurality of emitters configured to emit light into tissue
                of a user;
         [c] at least four detectors, wherein each of the at least four
                detectors has a corresponding window that allows light
                to pass through to the detector;
         [d] a wall that surrounds at least the at least four detectors;
               and

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          [e] a cover that operably connects to the wall and that is
                configured to be located between tissue of the user and
                the at least four detectors when the physiological
                sensor device is worn by the user, wherein:
             [f] the cover comprises a single protruding convex surface,
                     and
             [g] at least a portion of the cover is sufficiently rigid to
                    cause tissue of the user to conform to at least a
                    portion of a shape of the single protruding convex
                    surface when the physiological sensor device is
                    worn by the user; and
      [h] a handheld computing device in wireless communication
            with the physiological sensor device, wherein the
            handheld computing device comprises:
             [i] one or more processors configured to wirelessly receive
                    one or more signals from the physiological sensor
                    device, the one or more signals responsive to at least
                    a physiological parameter of the user;
             [j] a touch-screen display configured to provide a user
                    interface,
      wherein:
             [k] the user interface is configured to display indicia
                   responsive to measurements of the physiological
                   parameter, and
             [l] an orientation of the user interface is configurable
                   responsive to a user input; and
             [m] a storage device configured to at least temporarily
                   store at least the measurements of the physiological
                   parameter.
Ex. 1001, 44:51–45:21 (bracketed identifiers a–m added). Independent
claim 20 includes limitations substantially similar to limitations [a]–[h] of
claim 1. Id. at 46:31–52.


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                           E. Applied References
      Petitioner relies upon the following references:
            Mendelson, U.S. Patent No. 6,801,799 B2, filed February 6,
      2003, issued October 5, 2004 (Ex. 1012, “Mendelson-799”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
            Schulz et al., U.S. Patent Application Publication No.
      2004/0054291 A1, filed July 31, 2003, published March 18, 2004
      (Ex. 1013, “Schulz”); and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”).
Pet. 12.
      Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003) and the Second Declaration of Dr. Thomas W.
Kenny (Ex. 1047). Patent Owner submits, inter alia, the Declaration of
Dr. Vijay K. Madisetti (Ex. 2004). The parties also provide deposition
testimony from Dr. Kenny and Dr. Madisetti, including from this proceeding
and others. See Exs. 1041–1043, 2006–2009, 2027.

                    F. Asserted Ground of Unpatentability
      We instituted an inter partes review based on the following ground.
Inst. Dec. 9, 32.
     Claims Challenged          35 U.S.C. §          References/Basis
 1–7, 20–28                         103          Mendelson-799, Ohsaki,
                                                 Schulz, Mendelson-2006




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                             II.   DISCUSSION

                            A. Claim Construction
        For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 11. Patent Owner submits that claim terms should be
given their ordinary and customary meaning, consistent with the
Specification. PO Resp. 9–10.
        We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013,
1017 (Fed. Cir. 2017).

                              B. Principles of Law
        A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness.2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine


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    Patent Owner has not presented objective evidence of non-obviousness.
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whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person “having a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 10–11 (citing Ex. 1003 ¶¶ 1–18, 20–21). “Alternatively, the person
could have also had a Master of Science degree in a relevant academic
discipline with less than a year of related work experience in the same
discipline.” Id. at 11.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or purposes of this proceeding,

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[Patent Owner] nonetheless applies Petitioner’s asserted level of skill.” PO
Resp. 10.
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
              Mendelson-799, Ohsaki, Schulz, and Mendelson-2006
      Petitioner contends that claims 1–7 and 20–28 of the ’554 patent
would have been obvious over the combined teachings of Mendelson-799,
Ohsaki, Schulz, and Mendelson-2006. Pet. 43–96; see also generally Pet.
Reply. Patent Owner disagrees. PO Resp. 12–63; see also generally PO
Sur-reply.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 1–7 and 20–28 are unpatentable.

                     Overview of Mendelson-799 (Ex. 1012)

      Mendelson-799 is a U.S. patent titled “Pulse Oximeter and Method of
Operation,” and discloses a sensor for non-invasive measurement of a blood
parameter, which includes a sensor housing, a radiation source, and a
detector. Ex. 1012, codes (54), (57).
      Figure 7 of Mendelson-799 is reproduced below.




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Figure 7 illustrates optical sensor 10 with light source 12, which includes
three closely spaced light emitting elements 12a, 12b, 12c. Id. at 9:22–28.
Optical sensor 10 includes an array of discrete detectors, i.e., “far”
detectors 16 and “near” detectors 18, “arranged in two concentric ring-like
arrangements . . . surrounding the light emitting elements.” Id. at 9:29–34.
“[L]ight shield 14 is positioned between the photodiodes and the light
emitting elements, and prevents direct optical coupling between them,
thereby maximizing the fraction of backscattered light passing through the
arterially perfused vascular tissue in the detected light.” Id. at 9:35–40.
Sensor housing 17 accommodates the light source, light shield, and
detectors. Id. at 9:34–35.




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      Figure 8 of Mendelson-799 is reproduced below.




Figure 8 illustrates a block diagram of pulse oximeter 20 using sensor 10.
Id. at 10:16–17. Pulse oximeter 20 includes control unit 21, with electronic
block 22 connectable to sensor 10, microprocessor 24, and display 26, which
presents measurement results. Id. at 10:17–22. “The measured data (i.e.,
electrical output of the sensor 10 indicative of the detected light) is directly
processed in the block 22, and the converted signal 25 is further processed
by the microprocessor 24.” Id. at 10:22–25.

                          Overview of Ohsaki (Ex. 1009)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1009, code (54), ¶ 3.




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      Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




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Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.




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                         Overview of Schulz (Ex. 1013)

      Schulz is a U.S. patent application publication titled “Pulse Oximetry
Ear Sensor,” and discloses an ear sensor assembly including an emitter pad
and a detector pad. Ex. 1013, codes (54), (57).
      Figure 19C of Schulz is reproduced below.




Figure 19C illustrates an exploded top perspective view of an ear sensor clip.
Id. ¶ 31. Each sensor clip 1900 includes “opposingly positioned
housings 1902 and 1903 that house one or more sensor optical components.”
Id. ¶ 65. Each housing includes respective inward facing shells 1905 and
1906. 3 Id. ¶ 65. “[I]nward facing shells 1905 and 1906 further include
windows 1919 and 1924 that provide an aperture for transmission of optical


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 Figure 19C appears to label inward facing shell 1906 as 1916. See id. at
Fig. 19B.
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energy to or from a tissue site. Translucent silicone material covers
windows 1919 and 1924 providing lenses 1920 and 1921.” Id. ¶ 67.
      A “thin sheet of opaque material is located beneath window 1919 or
1924, and a window in the opaque material provides an aperture for
transmission of optical energy to or from the tissue site.” Id. ¶ 73. “The
opaque material blocks light, and the window in the opaque material can be
sized as needed to block the proper amount of light from entering the
aperture to, for example, avoid saturation of the light detector.” Id.

                           Mendelson-2006 (Ex. 1010)

      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1010, 1. 4
      Figure 1 of Mendelson-2006 is reproduced below.




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 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. See, e.g., Pet. 23–25.
We follow Petitioner’s numbering scheme.
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Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded

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microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
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level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                               Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-
2006. Pet. 43–69. Below, we set forth how the combination of prior art
references teaches or suggests the claim limitations that are not disputed by
the parties. For those limitations and reasons for combining the references
that are disputed, we examine each of the parties’ contentions and then
provide our analysis.

           i. “A physiological measurement system comprising”
      The cited evidence supports Petitioner’s undisputed contention that
the combination of Mendelson-799, Ohsaki, Schulz, and Mendelson-2006
satisfies the subject matter of the preamble. 5 Pet. 43–45; see, e.g., Ex. 1012,
code (57), 7:25–8:13, 8:37–41, 9:22–40, 10:16–22, Fig. 7 (sensor device), 8;
Ex. 1010, 1–4, Fig. 3 (handheld computing device); Ex. 1003 ¶¶ 102–115.

             ii. “[a] a physiological sensor device comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-799 discloses a physiological sensor device including sensor 10
and pulse oximeter 20. Pet. 46; see, e.g., Ex. 1012, code (57) (“A sensor for
use in an optical measurement device.”), 9:22–40 (describing sensor 10),
10:16–30 (describing pulse oximeter 20, including sensor 10), Figs. 7–8.

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 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the art.
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iii. “[b] a plurality of emitters configured to emit light into tissue of a user”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-799 discloses a plurality of light emitting elements 12a–c that
emit light into a user’s tissue. Pet. 46–47; see, e.g., Ex. 1012, 9:22–40 (“The
sensor 10 comprises . . . light source 12 composed of three closely spaced
light emitting elements (e.g., LEDs or laser sources) 12a, 12b and 12c
generating light of three different wavelengths.”), Fig. 7.

                      iv. “[c] at least four detectors,
    wherein each of the at least four detectors has a corresponding window
              that allows light to pass through to the detector”
Petitioner’s Undisputed Contentions

      Petitioner contends that Mendelson-799 discloses twelve
photodetectors located within a sensor housing. Pet. 48. Patent Owner does
not dispute this contention, and we agree with Petitioner. Mendelson-799
discloses that “sensor 10 comprises . . . an array of discrete detectors (e.g.,
photodiodes),” including six far detectors 16 and six near detectors 18. See,
e.g., Ex. 1012, 9:22–40, Fig. 7.
      Petitioner does not contend that Mendelson-799 discloses the claimed
windows. Rather, Petitioner contends that Schulz teaches “a sensor
featuring ‘a thin sheet of opaque material’ placed inside the sensor’s housing
. . . with ‘a window in the opaque material provid[ing] an aperture for
transmission of optical energy to or from the tissue site,” wherein the opaque
material blocks light and avoids saturation of the sensor’s detectors. Pet. 32
(quoting Ex. 1013 ¶ 73). Patent Owner does not dispute this contention, and
we agree with Petitioner. Schulz discloses that a “thin sheet of opaque
material” can be placed between the optical components of the sensor and


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the sensor’s housing. Ex. 1013 ¶ 73. Schulz explains that the opaque
material includes a window that allows for transmission of optical energy to
the detector. Id. According to Schulz, the “opaque material blocks light,
and the window in the opaque material can be sized as needed to block the
proper amount of light from entering the aperture to, for example, avoid
saturation of the light detector.” Id.

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
would have been motivated “to add a layer of opaque material” to
Mendelson-799’s sensor, as taught by Schulz, “and to size windows in the
opaque material as appropriate to avoid saturation of each of the sensor’s
detectors.” Pet. 33 (citing, e.g., Ex. 1003 ¶¶ 93–101), 49 (citing, e.g.,
Ex. 1003 ¶¶ 122–131). According to Petitioner, errors are reduced by
minimizing the amount of ambient light that reaches the detectors, for
example, by decreasing the angle of incidence to the detectors. Id. at 33
(citing Ex. 1019, 76, 79–80, 94). Petitioner contends that a person of
ordinary skill in the art would have understood that “Schulz’s opaque layer
limits errors by decreasing the angle of incidence to the photodiode to that
enabled by the window included within the layer, and by otherwise
preventing ambient light from reaching the photodiode.” Id. at 34 (citing,
e.g., Ex. 1003 ¶¶ 93–97). Petitioner also contends that a skilled artisan
would have recognized that, when applying Schulz’s teachings to a sensor
with multiple detectors, multiple windows would have been employed. Id.
at 34 (citing, e.g., Ex. 1003 ¶ 98).
      To illustrate its proposed modification, Petitioner includes an
annotated and modified view of Mendelson-799’s Figure 7, as well as an
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added sectional view, both of which are reproduced below. Pet. 36; see also
id. at 49 (similar figures with slightly different annotations); Ex. 1003 ¶100.




Petitioner’s modified figure and added sectional view depict the sensor of
Mendelson-799 with an added opaque layer (illustrated in green) having
windows, as Petitioner contends would have been rendered obvious by
Schulz.6 Pet. 49.

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Mendelson-799 as proposed because
adding an opaque layer would decrease signal strength, especially for a
reflectance pulse oximeter like Mendelson-799, which Patent Owner alleges
has a weak signal already. PO Resp. 47–48 (citing, e.g., Ex. 2004 ¶¶ 83–
84); PO Sur-reply 23–24. According to Patent Owner, Schulz uses the


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 Petitioner’s annotated figures also include an added opaque wall and an
added top cover as discussed infra at Sections II.D.5.v and II.D.5.vi.
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window in the opaque material only to reduce “desired” light to a “proper”
level, i.e., only to reduce the light generated by the emitter that passes
through the user’s tissue before reaching the detector, but the window in the
opaque material does not reduce ambient light. PO Resp. 50 (“Schulz uses a
separate cover—not the window [in the opaque material]—to block ambient
light.”) (citing Ex. 1013 ¶ 41); PO Sur-reply 21–23 (citing, e.g., Ex. 2004
¶¶ 83–88). Thus, according to Patent Owner, use of a windowed opaque
material in Mendelson-799’s sensor would make its weak signal even
weaker by limiting the light from the emitter. PO Sur-reply 23. Patent
Owner argues that decreasing signal strength in this way would have been
inconsistent with Petitioner’s additional modification to add a convex cover
to the sensor of Mendelson-799, to increase signal strength. PO Resp. 47–
48; PO Sur-reply 26; see infra § II.D.5.vi.
      Moreover, Patent Owner argues that the motivation put forth by
Petitioner—to avoid saturation—is not shown to have been a problem for the
sensor of Mendelson-799. PO Resp. 47. Patent Owner also argues that
there were “easier approaches for addressing saturation of the detectors,”
such as “adjusting gain or LED brightness.” Id. at 48.
      Patent Owner also argues aspects of Schulz individually. For
example, Patent Owner argues that Schulz is directed to an ear sensor, and
that there are physiological differences in measurement locations that are not
accounted for by Petitioner. PO Resp. 49 (citing, e.g., Ex. 2004 ¶ 85).
Additionally, Patent Owner argues that Schulz discloses only a single
window, not multiple windows as claimed. Id.; PO Sur-reply 26.




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      Finally, Patent Owner criticizes Petitioner’s reliance on additional
evidence that does not form part of the asserted ground. Id. at 51–52 (citing,
e.g., Ex. 1019; Ex. 1023; Ex. 2004 ¶¶ 89–91).

Analysis

      We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As discussed above, Schulz
explicitly teaches that its opaque material and window “blocks light” and
“avoid[s] saturation of the light detector.” Ex. 1013 ¶ 73. Petitioner cites
persuasive and well-supported evidence, including the testimony of its
declarant, that a person of ordinary skill in the art would have been
motivated to add such an arrangement to the sensor of Mendelson-799 to
achieve this same disclosed benefit, i.e., to avoid saturation of Mendelson’s
detectors. See, e.g., Ex. 1003 ¶¶ 95–96. For example, Dr. Kenny’s
testimony regarding the ability of an opaque material with windows to avoid
saturation is supported by Schulz and by the Webster textbook, which
discusses the importance of minimizing “light other than the optical signals
of interest.” Id. ¶ 96 (citing Ex. 1019, 76). We are persuaded by Petitioner’s
contentions and Dr. Kenny’s testimony.
      We do not agree with Patent Owner’s argument that this modification
would decrease signal strength. PO Resp. 47–48. We discern that
Petitioner’s proposed modification would not alter the signal of interest, i.e.,
the optical signal that passes from the emitter, through the user’s tissue, and
to the photodetectors. Rather, the cited evidence of record supports
Petitioner’s contention that the proposed modification would have blocked
light other than that from the signal of interest, i.e., that the modification
would have block light other than that from the emitter. See, e.g., Ex. 1003
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¶ 100 (“Schulz would have motivated one of ordinary skill to modify the
sensor . . . to further include an opaque layer that would have blocked light
other than at windows corresponding to the sensor’s photodiodes.”)
(emphasis added); Ex. 1013 ¶ 73 (“The opaque material blocks light, and the
window in the opaque material can be sized as needed to block the proper
amount of light from entering the aperture to, for example, avoid saturation
of the light detector.”); see also Pet. Reply 21–22. Thus, we do not agree
that the proposed modification would have decreased signal strength.
      We have considered Patent Owner’s argument that Schulz uses the
opaque material to reduce only “desired” light to a “proper” level, i.e., to
reduce light from the emitter that passes through the user’s tissue, to avoid
saturation. PO Resp. 50; PO Sur-reply 22–23 (citing, e.g., Ex. 2004 ¶¶ 83–
88). We do not find any support for this argument in Schulz. To the
contrary, Schulz explains that “the window in the opaque material can be
sized as needed to block the proper amount of light from entering the
aperture to, for example, avoid saturation of the light detector.” Ex. 1013
¶ 73. Contrary to Patent Owner’s argument, Schulz simply states that its
window is sized to control the amount of light that enters the aperture;
Schulz does not state where that light comes from, or that it only controls
against light from the emitter. Patent Owner identifies no basis in Schulz’s
disclosure to conclude that Schulz’s emitter operates at a level that would
saturate the detector, absent the addition of an opaque material. See also
Pet. Reply 25–26. Likewise, we do not find any support for this argument in
the cited portions of Dr. Madisetti’s declaration. See, e.g., Ex. 2004 ¶ 88
(concluding, without persuasive explanation, that Schulz’s window blocks



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light only from the emitter, not ambient light); but see, e.g., Ex. 1043,
28:11–18 (agreeing that ambient light is an example of interfering noise).
      We also do not agree with Patent Owner’s argument that Petitioner
has not shown that saturation was a problem for Mendelson-799’s sensor.
PO Resp. 47. Mendelson-799 need not identify a problem with saturation in
order to be improved by the proposed modification. Indeed, Petitioner “does
not need to show that there was a known problem with the prior art system.”
Unwired Planet, LLC v. Google Inc., 841 F.3d 995, 1002–03 (Fed. Cir.
2016); see also Sci. Plastic Prods., Inc. v. Biotage AB, 766 F.3d 1355, 1359–
61 (Fed. Cir. 2014); Hologic, Inc. v. Minerva Surgical, Inc., 764 F. App’x
873, 880 (Fed. Cir. 2019). As expressly recognized in KSR, any art-
recognized need or problem can provide a reason for combining claim
elements. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 416 (2007). Here,
Petitioner provides sufficient evidence to demonstrate that saturation was a
known problem (see, e.g., Ex. 1003 ¶ 96; Ex. 1019, 79; 7 Ex. 1047 ¶ 47) and
that Schulz provided a readily-applicable technique to solve it (Ex. 1013
¶ 73). That “easier approaches” may have existed, see PO Resp. 48, does
not teach away from the approach explicitly taught by Schulz.
      We also do not agree with Patent Owner’s argument that Schulz and
Mendelson-799 are incompatible because they obtain measurements at
different locations. Mendelson-799 explains that its sensor type can be used
in “multiple convenient locations on the body,” and does not exclude use on

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  It is of no moment that this evidence is not identified as part of the asserted
ground. PO Resp. 51–52. This evidence is cited by Dr. Kenny as support
for his testimony, consistent with our rules. 37 C.F.R. § 42.65(a) (“Expert
testimony that does not disclose the underlying facts or data on which the
opinion is based is entitled to little or no weight.”).
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a patient’s ear or elsewhere. Ex. 1012, 2:15–21; contra PO Resp. 49; see
also Ex. 1019, 104 (“The idea of using skin reflectance spectrophotometry
marked a significant advancement in the noninvasive monitoring of SaO2
from virtually any point on the skin surface.”). Moreover, the proposed
modification does not seek to bodily incorporate the references, one with the
other. Rather, Petitioner clearly proposes modifying Mendelson-799 to
include an opaque material with windows, as taught by Schulz, but plainly
does not propose incorporating any other aspect of Schulz, such as its
measurement location. See Pet. 47–49; see also In re Nievelt, 482 F.2d 965,
968 (CCPA 1973) (“Combining the teachings of references does not involve
an ability to combine their specific structures.”).
      We have considered the remainder of Patent Owner’s arguments, but
we do not agree with them. For example, it is irrelevant that Schulz teaches
only a single window, because Petitioner provides persuasive testimony to
show that a skilled artisan would have implemented a window for each
detector in Mendelson-799’s sensor. PO Resp. 49; Ex. 1003 ¶¶ 98–100. It
is likewise irrelevant that Schulz discloses an additional “separate cover . . .
to block ambient light,” because the presence of a separate cover does not
change the fact that Schulz explicitly teaches using its windowed opaque
material to avoid detector saturation. See Ex. 1013 ¶ 73; contra PO Resp.
50; PO Sur-reply 21–22.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

    v. “[d] a wall that surrounds at least the at least the four detectors”
      The cited evidence supports Petitioner’s undisputed contentions
regarding this limitation. Pet. 50–53. Specifically, Petitioner contends that

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Mendelson-799 discloses sensor housing 17 that encircles detectors 16, 18,
as shown below in Petitioner’s annotated and modified view of Mendelson-
799’s Figure 7. Id. at 50–51; see, e.g., Ex. 1012, 9:23–40 (“All these
elements are accommodated in a sensor housing 17.”), Fig. 7.




Petitioner’s modified figure depicts the sensor of Mendelson-799 with
sensor housing 17 identified in green and encircling the detectors.
      Petitioner acknowledges that Mendelson-799 does not depict a side
view of the sensor and thus, to the extent Mendelson-799 does not explicitly
teach that housing 17 includes an opaque wall that surrounds the detectors, a
person of ordinary skill in the art would have found it obvious “to connect,
to the illustrated portion of sensor housing 17, an opaque wall configured to
circumscribe the array of discrete detectors,” to shield the detectors from
ambient light and to protect from external forces. Pet. 14–15, 24–25, 50–52;
see, e.g., Ex. 1003 ¶¶ 63, 69, 82, 134.
      Petitioner contends this is consistent with the purpose of Mendelson-
799’s light shield 14, which prevents the emitters’ light from reaching the
detectors directly (Pet. 15 (citing Ex. 1012, 9:35–40)), as well as other prior
art references cited in Mendelson-799 (id. at 15–17 (citing Exs. 1017,

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1018)). See, e.g., Ex. 1003 ¶¶ 64–68, 135–139. For example, Petitioner
states that Ohsaki discloses that sensor package 5 includes a wall that
surrounds light emitting element 6 and light receiving element 7. Pet. 52;
see, e.g., Ex. 1009 ¶ 17, Fig. 2; Ex. 1003 ¶¶ 140–141.
      To illustrate its proposed modification, Petitioner includes an
annotated and modified view of Mendelson-799’s Figure 7, as well as an
added sectional view, both of which are reproduced below. Pet. 18; see also
id. at 26 (same), 52 (similar figures with slightly different annotations).




Petitioner’s modified and added figures depict the sensor of Mendelson-799
with an added opaque wall (illustrated in green) connected to the planar
substrate of housing 17 and encircling the sensor components, as Petitioner
contends would have been obvious to a person of ordinary skill in the art.
Id. at 18, 50–51; Ex. 1003 ¶¶ 82, 142–143.
      Patent Owner does not dispute Petitioner’s contentions regarding this
limitation. See generally PO Resp.; PO Sur-reply.

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      Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny,
who testifies that such a wall would “shield the detectors from ambient light,
and protect the detectors from external forces.” Ex. 1003 ¶ 136; see also
Ex. 1003 ¶¶ 63–71, 82, 132–144.

vi. “[e–g] a cover that operably connects to the wall and that is configured
     to be located between tissue of the user and the at least four detectors
     when the physiological sensor device is worn by the user, wherein: the
       cover comprises a single protruding convex surface, and at least a
      portion of the cover is sufficiently rigid to cause tissue of the user to
    conform to at least a portion of a shape of the single protruding convex
       surface when the physiological sensor device is worn by the user”
Petitioner’s Undisputed Contentions

      Petitioner contends that Mendelson-799 does not disclose a cover
located between the user’s tissue and the four detectors, as claimed. Pet. 26–
27. Patent Owner does not dispute this contention, and we agree that
Mendelson-799 is not shown to include a cover. See generally Ex. 1012.
      Petitioner relies upon Ohsaki for the recited cover, and contends that:
      Ohsaki discloses a wrist-worn “pulse wave sensor” that includes
      a light permeable convex cover—“translucent board 8”—that is
      configured to be located between user tissue and a detector when
      the sensor is worn, where the cover comprises a single protruding
      convex surface operable to conform [to] tissue of the user, and
      where a wall operably connects to a substrate and to the cover.
Pet. 27–28, 53–55 (citing, e.g., Ex. 1009 ¶¶ 15, 17, 25; Ex. 1003 ¶ 86).
Patent Owner does not dispute this contention, and we agree with Petitioner.
Ohsaki discloses that sensor 1 is “worn on the back side of the user’s wrist”
and includes translucent board 8, with a single convex surface formed on the
top of the board, to be placed against a user’s tissue. Ex. 1009 ¶¶ 16, 17,

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Figs. 1–2 (depicting translucent board 8 between tissue and detector). As
shown in Ohsaki’s Figure 2, the board 8 is operably connected to the walls
of sensor package 5 that houses the sensor components, including circuit
board 9, light emitting element 6 (e.g., LED), and light receiving element 7.
Id. ¶ 17 (“The translucent board 8 is . . . attached to the opening of the
package 5.”), Fig. 2.
      Petitioner also contends that the user’s tissue conforms to the shape of
the convex surface, such that a person of ordinary skill in the art would have
understood the convex surface to be “sufficiently rigid.” Pet. 55–57. Patent
Owner does not dispute this contention, and we agree with Petitioner. As
depicted in Ohsaki’s Figure 2, the user’s tissue 4 is shown to conform to the
shape of the protruding convex surface when the sensor is worn by the user.
Ex. 1009 ¶ 17 (“The translucent board 8 is a glass board.”), Fig. 2; see, e.g.,
Ex. 1003 ¶ 160 (testifying as to the convex surface’s rigidity).

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
“would have recognized that a light permeable cover with a protruding
convex surface,” such as that taught by Ohsaki, “would improve adhesion
between the sensor and the user’s tissue, improve detection efficiency, and
protect the elements within sensor housing 17.” Pet. 26 (citing, e.g.,
Ex. 1003 ¶ 84; Ex. 1009 ¶¶ 15, 17, 25), 29–30. Petitioner contends that
Ohsaki’s convex surface is in intimate contact with the user’s tissue, which
prevents slippage of the sensor and increases signal strength because
“variation of the amount of the reflected light . . . that reaches the light
receiving element 7 is suppressed” and “disturbance light from the outside”


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is prevented from penetrating board 8, as compared to a sensor with a flat
surface. Id. at 28–29 (citing, e.g., Ex. 1003 ¶ 87; quoting Ex. 1009 ¶ 25).
      Accordingly, Petitioner contends that, to achieve these identified
benefits, a person of ordinary skill in the art “would have added a
transparent convex cover to [Mendelson-799’s] sensor 10, the cover being
located between tissue of the user and the array of detectors 16 and 18 when
worn.” Pet. 30 (citing, e.g., Ex. 1003 ¶ 91; Ex. 1009 ¶¶ 15, 17, 25).
Petitioner also contends that an ordinarily skilled artisan would have
“configured the cover to be sufficiently rigid to conform tissue of the user to
at least a portion of the cover’s surface when worn.” Id. (citing, e.g.,
Ex. 1009 ¶ 30). Additionally, Petitioner contends the skilled artisan would
have “configured Mendelson-799’s circumscribing wall to operably
connect” to the sensor’s planar substrate and to the convex cover. Pet. 30–
31; see also id. at 53–57 (citing, e.g., Ex. 1003 ¶ 91).
      Petitioner contends these modifications would have been “nothing
more than the use of a known technique to improve similar devices in the
same way, and combining prior art elements according to known methods to
yield predictable results—improved adhesion of the sensor to the user’s skin,
and improved signal strength,” where “the elements of the resulting sensor
would each perform functions they had been known to perform prior to the
combination—a cover would simply be placed over the components
accommodated within Mendelson-799’s sensor housing 17, and would
perform the same function as taught by Ohsaki.” Id. at 31–32 (citing, e.g.,
Ex. 1003 ¶¶ 84–92).
      To illustrate its proposed modification, Petitioner includes an
annotated and modified view of Mendelson-799’s Figure 7, as well as an

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added sectional view, both of which are reproduced below. Pet. 31 (citing
Ex. 1003 ¶¶ 84–92); see also id. at 54 (same).




Petitioner’s modified and added figures depict the sensor of Mendelson-799
with an added convex cover (illustrated in red) connected to the wall of
Mendelson-799’s sensor (illustrated in green, see supra § II.D.5.v). Pet. 30–
31, 54–55; see, e.g., Ex. 1003 ¶¶ 153–154.

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Mendelson-799’s sensor to include
Ohsaki’s convex cover. PO Resp. 23–47; PO Sur-Reply 2–21.
      First, Patent Owner argues that the proposed modification “changes
Ohsaki’s structure and eliminates the longitudinal shape that gives Ohsaki’s
translucent board the ability to fit within the user’s anatomy and prevent
slipping.” PO Resp. 23. This argument is premised on Patent Owner’s
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contention that Ohsaki’s convex cover must be rectangular, with the cover’s
long direction aligned with the length of the user’s forearm, to avoid
interacting with bones in the wrist and forearm. Id. at 24–25 (citing, e.g.,
Ex. 2004 ¶¶ 51–54; Ex. 1009 ¶¶ 6, 19, 23, 24); see also PO Sur-reply 2–10.
According to Patent Owner, Ohsaki teaches that “aligning the sensor’s
longitudinal direction with the circumferential direction of the user’s arm
undesirably results in ‘a tendency [for Ohsaki’s sensor] to slip off.’” PO
Resp. 25–26 (citing Ex. 1009 ¶ 19), 27–28.
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus cannot coincide with the
longitudinal direction of the user’s wrist.” Id. at 26 (citing Ex. 2004 ¶¶ 55–
56). Patent Owner presents annotated Figures depicting what it contends is
Ohsaki’s disclosed sensor placement as compared to that of the proposed
modification, reproduced below.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
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Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
cannot avoid the undesirable interaction with the user’s bone structure,” such
that a skilled artisan “would have understood such a change would eliminate
Ohsaki’s benefit of preventing slipping.” Id. at 27–28 (citing, e.g., Ex. 2004
¶¶ 55–58).
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Mendelson-799’s sensor, and would
result in weak sensor signals. PO Resp. 32. Relying on other publications
by the named inventor on Mendelson-799, Patent Owner alleges that sensor
signals were difficult or impossible to discern from the wrist, even with
considerable pressure. Id. (citing Ex. 2003, 3–4); see also id. at 33–34
(citing Ex. 2015, 3, 4; Ex. 2014, 1, 99). Patent Owner contends that
Dr. Kenny admitted that signals from the wrist are weaker and noisier than
from other locations. Id. at 33 (citing Ex. 2008, 249:10–16, 255:12–21); see
also id. at 34–37 (citing Ex. 2017, 2; Ex. 2018, 4; Ex. 2010, 44, 71;
Ex. 2016, 2, 3).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Mendelson-799’s
peripheral detectors because the convex cover would condense light toward
the center and away from the detectors, which would decrease signal
strength. PO Resp. 38–43 (citing, e.g., Ex. 2004 ¶¶ 71–76). Patent Owner
also contends that Petitioner and Dr. Kenny admit as much, fail to account
for the impact of the proposed modification on light collection, and fail to

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propose a specific three-dimensional structure to embody the proposed
modification. Id. at 38–43 (citing, e.g., Ex. 2020, 69–70; Ex. 2006, 204:14–
20; Ex. 2008, 36:19–37:1, 57:19–58:16, 63:5–64:8, 170:12–171:1, 173:8–
15). Patent Owner relies on Figure 14B of the ’554 patent, which Patent
Owner contends supports its position. Id. at 39–40 (citing Ex. 1001, 36:3–6,
36:13–15).
      Fourth, Patent Owner argues that Ohsaki’s rectangular cover creates
air gaps at its peripheral edges, as shown in Ohsaki’s Figure 1, which
Mendelson-799 cautions against as potentially causing “specular reflection.”
PO Resp. 43–44 (citing, e.g., Ex. 1012, 2:58–64). Accordingly, Patent
Owner argues that a person of ordinary skill in the art “would not have
modified Mendelson[-]799’s structure to add Ohsaki’s air gaps.” Id. at 44
(citing Ex. 2004 ¶¶ 77–78).
      Fifth, Patent Owner argues that “a convex cover is just one of many
different alternatives for protecting the components of a sensor” including,
e.g., resin or encapsulation. PO Resp. 45–46. Concerning possible
alternatives, Patent Owner contends that a person of ordinary skill in the art
“would have understood that a flat cover would provide better protection
than a convex surface because—as Petitioner’s cited art teaches—a flat
cover would be less prone to scratches.” Id. at 46–47 (citing Ex. 1008
¶ 106).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
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the disclosed benefits. Pet. Reply 7–12 (citing, e.g., Ex. 1047 ¶¶ 17–30).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
somehow understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of attaching a
light permeable protruding convex cover to Me[nd]elson-799’s housing to
obtain the benefits attributed to such a cover by Ohsaki.” Id. at 10 (citing,
e.g., Ex. 1047 ¶ 23). Similarly, regarding the location of the sensor,
Petitioner asserts,
      [E]ven if a [person of ordinary skill in the art] would have
      somehow misunderstood Ohsaki’s sensor as limited to placement
      on the backside of the wrist, and even if the difficulty that [Patent
      Owner] alleges with respect to obtaining pulse oximetry
      measurements from that location were true, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Mendelson-799’s
      sensor, to improve detection efficiency.
Id. at 11 (citing, e.g., Ex. 1047 ¶ 26).
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Mendelson-799’s sensor would not decrease signal
strength but, instead, “would improve Mendelson-799’s signal-to-noise ratio
by causing more light backscattered from tissue to strike Mendelson-799’s
detectors than would have absent the cover” because such a cover improves
light concentration across the entire lens and does not direct it only towards
the center. Id. at 13–17 (citing, e.g., Ex. 1047 ¶¶ 31–45).
      Petitioner dismisses Patent Owner’s reliance on Figure 14B of the
’554 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. For example, the light rays


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(1420) shown in FIG. 14B are collimated (i.e., travelling paths parallel to
one another), and each light ray’s path is perpendicular to the detecting
surface.” Pet. Reply 13–14 (citing, e.g., Ex. 1047 ¶¶ 32–34). Moreover,
Petitioner argues that, even when collimated, light will focus at the center
“only if the light beam happens to be perfectly aligned with the axis of
symmetry of the lens” and, when entering at any other angle, will focus at a
different point. Id. at 15 (citing, e.g., Ex. 1047 ¶ 35).
      According to Petitioner, Patent Owner’s and Dr. Madisetti’s position
regarding convergence toward the center does not apply to diffuse light,
which reaches the detectors from various random angles and directions after
having been reflected by tissue. Id. at 15–16 (citing, e.g., Ex. 1047 ¶ 36).
As a result, Petitioner contends Ohsaki’s cover would have provided a
refracting effect such that light rays that would have missed the detectors
absent a cover are instead directed to that area as they pass through the
cover. Id. at 16–17 (citing Ex. 1047 ¶¶ 37–39). Petitioner thus contends that
“overall, more of the partially reflected, transmitted, absorbed, and
ultimately back scattered light strikes the detectors than otherwise would
have absent the cover.” Id. at 17 (citing Ex. 1047 ¶¶ 32–40).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
a skilled artisan would have known to avoid air gaps in the proposed
combination. Id. at 18 (citing, e.g., Ex. 1047 ¶¶ 41–43).
      Concerning Patent Owner’s fifth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “multiple advantages of
a convex cover,” and would not negate a motivation to combine. Id. at 19
(citing, e.g., Ex. 1047 ¶ 45).

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Patent Owner’s Sur-reply

         Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in sensor orientation or measurement location
result in slippage.” PO Sur-reply 3–14, 7.
         Concerning Patent Owner’s third argument, Patent Owner argues that
Dr. Kenny and Petitioner have not overcome their admissions that a convex
lens directs light toward the center. Id. at 15–16 (citing, e.g., Ex. 2004
¶¶ 72–76).
         Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that a convex cover focuses “all light” to a
single point at the center of the sensor. Id. at 16. Patent Owner instead
states that, “[l]ight entering the convex surface from all angles would, on
average, result in more light directed towards the center and less light at the
periphery—as compared to a flat surface—and therefore less light at the
peripherally located detectors.” Id. at 17 (citing Ex. 2004 ¶¶ 71–75).
         Finally, Patent Owner argues that Petitioner’s Reply arguments are
overly complex and instead a person of ordinary skill in the art “would have
understood and applied the straightforward understanding that a convex
surface condenses light toward the center.” Id. at 18–19.
         Concerning Patent Owner’s fourth argument, Patent Owner argues
that “Petitioner does not dispute that . . . air gaps would dissuade a
[person of ordinary skill in the art] from modifying Mendelson[-]799.” Id.
at 19.


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      Concerning Patent Owner’s fifth argument, Patent Owner argues that
Petitioner does not dispute Patent Owner’s position that a flat cover would
be less prone to scratches and offers “no plausible advantages for its asserted
combination.” Id. at 22. Moreover, Patent Owner argues that “the risk of
scratches is not merely a disadvantage—it directly undermines Petitioner’s
motivation to add a convex cover to ‘protect the elements within the sensor
housing.’” Id.

Analysis

      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Mendelson-799’s sensor: (1) to “improve adhesion between
the sensor and the user’s tissue,” (2) to “improve detection efficiency,” and
(3) to “protect the elements within sensor housing 17.” Pet. 26 (citing, e.g.,
Ex. 1003 ¶ 84; Ex. 1009 ¶¶ 15, 17, 25), 29–30. We conclude all three
rationales are supported by the evidence, as follows.
      Rationales 1 and 2
      The evidence of record persuades us that a person of ordinary skill in
the art would have been motivated to add a convex cover, such as that taught
by Ohsaki, to improve adhesion between the sensor and the user’s skin,
which would have increased the signal strength of the sensor. Ohsaki
teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the

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      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25 (emphasis added); see also id. ¶ 27 (“stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Mendelson-799 to improve that similar device in the same
way and to yield predictable results, i.e., to resist movement of the sensor on
the user’s wrist. See, e.g., Ex. 1003 ¶ 87 (“[T]his contact between the
convex surface and the user’s skin is said to prevent slippage, which
increases the strength of the signals obtainable by Ohsaki’s sensor.”). We
also credit Dr. Kenny’s testimony that, in light of these teachings, a person
of ordinary skill in the art would have made such a modification to improve
the pulse sensor’s ability to emit light into, and detect light reflected from,
the user’s wrist, to generate an improved pulse signal. Ex. 1003 ¶¶ 88–89,
149–150; Ex. 1047 ¶ 12.
      Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a

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convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the level of ordinary skill in the art. For example,
Dr. Kenny testifies:
               The above-described modification would require only
        routine knowledge of sensor design and assembly, which were
        well within the skill of one of ordinary skill prior to the Critical
        Date. Indeed, the modification would have amounted to nothing
        more than the use of a known technique to improve similar
        devices in the same way, and combining prior art elements
        according to known methods to yield predictable results—
        improved adhesion of the sensor to the user’s skin, and improved
        signal strength. Furthermore, the elements of the resulting sensor
        would each perform functions they had been known to perform
        prior to the combination—Ohsaki’s translucent board 8 would
        simply be placed over the components accommodated within
        Mendelson ’799’s sensor housing 17, and would perform the
        same function as taught by Ohsaki.
Ex. 1003 ¶ 92; see also id. ¶¶ 88–92, 154. In light of Ohsaki’s express
disclosure of the benefits of a convex cover, we credit Dr. Kenny’s
testimony that a person of ordinary skill in the art would have been
motivated to modify Mendelson-799 as proposed, and would have had a
reasonable expectation of success in doing so.
        We next address Patent Owner’s first through fourth arguments, each
of which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.


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      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 23–28. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Id. ¶ 17. Ohsaki’s convex surface
is located on board 8, which is “attached to the opening of the package 5.”
Id. Ohsaki provides no further discussion regarding the shape of board 8 or
its convex surface.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 17–18. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); see also Pet. Reply
9; Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d 951, 956 (Fed.
Cir. 2000) (“[I]t is well established that patent drawings do not define the
precise proportions of the elements and may not be relied on to show
particular sizes if the specification is completely silent on the issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element from the right side to the
left side in FIG. 2 is longer than the length from the upper side to the lower
side.” Id. ¶ 19. Ohsaki also describes that detecting element 2 is aligned
longitudinally with the user’s forearm: “[I]t is desirable that the detecting
element 2 is arranged so that its longitudinal direction agrees with the

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longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see also
id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 7–8 (noting also that
Ohsaki’s board 8 “is not coextensive with the entire tissue-facing side of
detecting element 2”). We have considered the cited testimony of both
Dr. Kenny and Dr. Madisetti on this point. Ex. 1047 ¶¶ 10–12, 12 n.2, 17–
23; Ex. 2004 ¶¶ 38–41 (relying on Ohsaki’s Figures 1–2 to support his
opinion that the convex surface is rectangular). Dr. Madisetti’s reliance on
the dimensions of Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt,
222 F.3d at 956. We credit Dr. Kenny’s testimony that Ohsaki does not
describe its convex surface as rectangular, because this testimony is most
consistent with Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 28; PO Sur-Reply 9 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause slippage problems,
see Ex. 1009 ¶¶ 6, 19, we do not agree that the only way to avoid these bones
is by aligning a rectangular cover with the longitudinal direction of the
user’s forearm. For example, in the annotated Figures provided by Patent

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Owner, see PO Resp. 27–28, we discern that the circular sensor that purports
to depict the proposed modification would also avoid the bones in the
forearm if it were slightly smaller. Patent Owner provides no persuasive
explanation to justify the dimensions it provides in this annotated figure, or
to demonstrate that such a large sensor would have been required. Indeed,
we discern that it would have been within the level of skill of an ordinary
artisan to appropriately size a modified sensor to avoid these well-known
anatomical obstacles. “A person of ordinary skill is also a person of
ordinary creativity, not an automaton.” KSR, 550 U.S. at 421. After all, an
artisan must be presumed to know something about the art apart from what
the references disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1047 ¶ 10.
Thus, we agree with Petitioner that Ohsaki’s teaching of a convex surface
would have motivated a person of ordinary skill in the art to add such a
surface to Mendelson-799’s circular-shaped sensor, to improve adhesion as
taught by Ohsaki. See, e.g., Pet. 26–28. Nothing in Ohsaki’s disclosure



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limits such a benefit to a specific shape of the convex surface. Ex. 1047
¶¶ 11–12.
      Moreover, Ohsaki contrasts its convex surface with a flat surface and
notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25; Ex. 1047 ¶ 11. Thus, we agree with Petitioner that Ohsaki’s
teaching of a convex surface would have motivated a person of ordinary
skill in the art to add such a surface to Mendelson-799’s sensor, to improve
signal strength, as taught by Ohsaki. See, e.g., Pet. 26–28. Again, nothing
in Ohsaki’s disclosure limits such a benefit to the shape of the convex
surface. Ex. 1047 ¶¶ 11–12.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Mendelson-799 and Ohsaki.8
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on


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  Patent Owner also argues that, to the extent contended by Petitioner, it
would not have been obvious to place a rectangular cover on top of
Mendelson-799’s sensor. PO Resp. 29–31. We do not understand Petitioner
to have made any such contention and, accordingly, do not address this
argument. See, e.g., Pet. 31, 54 (depicting circular convex surface over
circular sensor).
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the back of the user’s wrist, which is an unsuitable location for Mendelson-
799’s sensor. PO Resp. 32–38. We do not agree. As an initial matter,
Petitioner does not propose bodily incorporating the references; Petitioner
simply proposes adding a convex cover to Mendelson-799’s sensor, without
discussing where Mendelson-799’s sensor is used. See, e.g., Pet. 30. In
other words, Petitioner’s proposed modification does not dictate any
particular placement. Moreover, Mendelson-799 states that its sensor
“allows for measuring SaO2 from multiple convenient locations on the body
(e.g. the head, torso, or upper limbs).” Ex. 1012, 2:17–19; see also
Ex. 1019, 104 (“The idea of using skin reflectance spectrophotometry
marked a significant advancement in the noninvasive monitoring of SaO2
from virtually any point on the skin surface.”). Thus, we do not agree that
Mendelson-799 discourages or disparages use on the back of the wrist.
      Notwithstanding the foregoing, and assuming for sake of argument
that Patent Owner is correct that a person of ordinary skill in the art would
have expected a weaker signal from Mendelson-799’s sensor if placed on the
wrist, see PO Resp. 32, that alone does not nullify the proposed
combination. “[A] given course of action often has simultaneous advantages
and disadvantages, and this does not necessarily obviate motivation to
combine.” Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165 (Fed. Cir.
2006) (citation omitted). Indeed, we discern that, if Mendelson-799’s sensor
was placed at a location that results in decreased signal quality, a person of
ordinary skill in the art would have been further motivated to act to improve
signal quality, e.g., by employing Ohsaki’s convex surface. See, e.g.,
Ex. 1047 ¶¶ 27–30; Ex. 1009 (“[I]n the case that the translucent board 8 has
a convex surface like the present embodiment, the variation of the amount of

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the reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin is suppressed. It is also prevented that noise such as disturbance
light from the outside penetrates the translucent board 8.”).
      We have considered Patent Owner’s third argument that a convex
cover would condense light away from Mendelson-799’s peripheral
detectors, which Patent Owner alleges would decrease signal strength. PO
Resp. 38–43. We disagree. There appears to be no dispute that when
emitted light that passes through user tissue, the light is diffused and
scattered as it travels. See, e.g., Pet. Reply 13–17; Tr. 27:18–28:3
(Petitioner’s counsel agreeing that “the incoming light from a detection
standpoint is going to be coming from all sorts of different directions
because of the randomness caused by the back scattering”), 65:23–66:13
(Patent Owner’s counsel agreeing that light does not simply enter tissue and
come back out “like it came out on a mirror”); Ex. 1041, 35:19–37:18
(Patent Owner’s declarant describing light scattering as it travels through
tissue, e.g., reflecting off blood, tissue, or other material); Ex. 1043, 28:2–10
(Patent Owner’s declarant agreeing that reflecting light can be a signal for
the ’554 patent’s sensor), 61:20–62:4 (explaining that “a light in this context,
light emitted from the LEDs is diffused through the skin in that particular
context, whatever that is.”). The light thus travels at random angles and
directions, and no longer travels in a collimated and perpendicular manner.
      Dr. Kenny testifies that Mendelson-799 and Ohsaki “detect light that
has been ‘partially reflected, transmitted, absorbed, and scattered by the skin
and other tissues and the blood before it reaches the detector.” Ex. 1047
¶ 37. Dr. Kenny further opines that, “the POSITA would have understood

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that Mendelson-799’s sensor, which includes multiple photodiodes placed
symmetrically with respect to a central light source, offers the advantage of
enabling a large fraction of light randomly backscattered from tissue to be
detected within the circular active detection area surrounding that source,”
thus increasing the light-gathering ability of Mendelson-799’s sensor. Id.
¶ 38 (emphasis added); see also id. ¶ 39 (“Ohsaki’s cover provides a
refracting effect, such that light rays that otherwise would have missed the
detection area are instead directed toward that area as they pass through the
interface provided by the cover.”).
      By contrast Dr. Madisetti testifies that “a convex surface condenses
light away from the periphery and towards the sensor’s center.” Ex. 2004
¶ 74. We have considered this testimony; however, Dr. Madisetti’s opinions
largely are premised upon the behavior of collimated and perpendicular light
as depicted in Figure 14B of the challenged patent. See id. Dr. Madisetti
does not explain how light would behave when approaching the sensor from
various angles, as it would after being reflected by tissue. Id. ¶¶ 72–76. In
other words, even if Patent Owner is correct that the ’554 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light passing through a user’s tissue is
scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both previously admitted that a convex cover condenses light towards the
center of the sensor and away from the periphery in a different petition filed
against a related patent,” i.e., in IPR2020-01520. PO Resp. 38–39; Ex. 2004
¶¶ 72–73 (citing Ex. 2019, 45; Ex. 2020 ¶¶ 118–120). The cited portions of

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the Petition and Dr. Kenny’s declaration from IPR2020-01520 discuss a
decrease in the “mean path length” of a ray of light when it travels through a
convex lens rather than through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–
120. We do not agree that this discussion is inconsistent with Dr. Kenny’s
testimony here that, where light is reflected to the detectors at various
random angles and directions, more light will reach Mendelson-799’s
symmetrically disposed detectors when travelling through the convex
surface than would be reached without such a surface, because light that
might have otherwise missed the detectors now will be captured. Ex. 1047
¶¶ 37–40. We do not discern that the convergence of a single ray of light
toward the center, as discussed in IPR2020-01520, speaks to the aggregate
effect on all light that travels through the convex surface. Patent Owner
suggests that this prior discussion means that all light is always directed
toward the center regardless of where or how the light approaches the
convex surface, however, we do not understand Dr. Kenny’s testimony to
support such a position. PO Resp. 38–39.
      In its Sur-reply, Patent Owner argues that it “never argued that all
light focuses at the center.” PO Sur-reply 15–16. Be that as it may, neither
Patent Owner nor Dr. Madisetti sufficiently address the diffuse nature of the
light at issue here, which reflects from user tissue and scatters. Patent
Owner attempts to do so in its Sur-reply, stating that “light entering the
convex surface from all angles would, on average, result in more light
directed towards the center and less light at the periphery—as compared to a
flat surface—and therefore less light at the peripherally located detectors.”
Id. at 17. However, as support, Patent Owner identifies only the same
portions of Dr. Madisetti’s declaration discussed above, which fail to

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address diffuse or scattered light. Ex. 2004 ¶¶ 71–75. Accordingly,
considering all evidence of record, we credit the testimony of Dr. Kenny. 9
      With respect to Patent Owner’s fourth argument, we do not agree that
a person of ordinary skill in the art would have been discouraged from
modifying Mendelson-799 as proposed, due to the potential for air gaps to
form at the peripheral edges of the convex surface. PO Resp. 43–45. Patent
Owner misstates the proposed modification. Petitioner does not propose
“modif[ying] Mendelson[-]799’s structure to add Ohsaki’s air gaps.”
Contra PO Resp. 44. Petitioner proposes modifying Mendelson-799 only to
include a cover with a convex surface; Petitioner does not propose including
any air gaps that may be present in Ohsaki. See, e.g., Pet. 53. Moreover,
even if Ohsaki’s Figure 1 depicts small air gaps adjacent the convex surface,
Ohsaki nonetheless discloses that the convex surface is in “intimate contact”
with the user’s skin. Ex. 1009 ¶ 25; see also Hockerson-Halberstadt, 222
F.3d at 956. In view of such a teaching, we agree with Petitioner that it
would have been within the skill of a person of ordinary skill in the art, who
“is also a person of ordinary creativity, not an automaton,” to minimize any
such air gap that may be present when including a cover with a convex
surface in Mendelson-799’s sensor. Indeed, a purpose of Petitioner’s
proposed modification is to increase signal strength. See, e.g., Pet. 27. We
discern that it would have been within the capability of an ordinarily skilled


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  Moreover, we disagree with Patent Owner’s argument that Petitioner’s
Reply arguments are overly complex and instead a person of ordinary skill
in the art “would have understood and applied the straightforward
understanding that a convex surface condenses light toward the center.” PO
Sur-reply 18–19. As noted above, this “straightforward understanding”
lacks sufficient support, in the context of diffuse light.
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artisan to eliminate any air gap that would have decreased signal strength or
quality. Ex. 1047 ¶ 43.
      Rationale 3
      Petitioner further contends that a person of ordinary skill in the art
“would have recognized that a light permeable cover with a protruding
convex surface,” such as that taught by Ohsaki, would “protect the elements
within sensor housing 17” of Mendelson-799. Pet. 26. We are persuaded
that adding a convex cover, such as that taught by Ohsaki, would protect the
sensor’s internal components. Mendelson-799 is not shown to include a
cover over its emitters 12a–c or detectors 16, 18. See, e.g., Ex. 1012, Fig. 7.
By contrast, Ohsaki discloses that translucent board 8 with its convex
surface covers its emitter and detector. As such, we credit Dr. Kenny’s
testimony that a person of ordinary skill in the art would have been
motivated to add a transparent convex cover to Mendelson-799 to “provide
additional protection to the elements accommodated within sensor housing
17.” Ex. 1003 ¶ 150; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s]
the LED or PD”).
      We disagree with Patent Owner’s fifth argument that a person of
ordinary skill in the art would not have modified Mendelson-799 as
proposed because a convex cover would be prone to scratches and because
other alternatives existed. PO Resp. 45–47. Patent Owner’s counsel did not
dispute, during the oral hearing, that a convex cover would indeed serve to
protect the internal sensor components in Mendelson-799, as Petitioner
proposes. Tr. 64:6–65:5 (but noting that a flat cover would also protect, and
would be less prone to scratches). That a convex cover may be more prone
to scratches than a flat cover is one of numerous tradeoffs that a person of

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ordinary skill in the art would consider, in determining whether the benefits
of increased adhesion, signal strength, and protection outweigh the potential
for a scratched cover. Medichem, 437 F.3d at 1165. The record does not
support that the possibility of scratches alone would have dissuaded a person
of ordinary skill in the art from the proposed modification, to achieve the
benefits identified by Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

 vii.“[h] a handheld computing device in wireless communication with the
      physiological sensor device, wherein the handheld computing device
                                   comprises”
Petitioner’s Undisputed Contentions

      Petitioner relies upon the teachings of Mendelson-799, Ohsaki, and
Schulz, as discussed above, in further combination with Mendelson-2006 for
the remainder of the claim limitations. Specifically, Petitioner contends that
although Mendelson-799 does not explicitly disclose wireless
communication from its sensor to a handheld computing device, its sensor is
“for use in an optical measurement device” as part of “a method for non-
invasive measurement of a blood parameter.” Pet. 37, 43, 57. Patent Owner
does not dispute this contention, and we agree with Petitioner. See, e.g.,
Ex. 1012, code (57) (“A sensor for use in an optical measurement device and
a method for non-invasive measurement of a blood parameter.”).
      Petitioner also contends that Mendelson-2006 discloses a body-worn
pulse oximetry system including a sensor module, a receiver module, and a
PDA. Pet. 40, 59. Petitioner contends that data processed by the receiver
module is transmitted to the PDA and identifies several advantages of

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wireless communication noted in Mendelson-2006, including more effective
medical care. Pet. 59–60. Patent Owner does not dispute this contention,
and we agree with Petitioner. See, e.g. Ex. 1010, 1–2 (describing system), 3
(“The stream of data received from the wearable unit is distributed to
various locations on the PDA’s graphical display.”), 4 (explaining that
wireless communication results in “more effective medical care”); Fig. 1
(sensor attached to skin), Fig. 3 (PDA).

Petitioner’s Disputed Contentions

      Petitioner further contends a person of ordinary skill in the art would
have found it obvious to enable the sensor of the combination of Mendelson-
799, Ohsaki, and Schulz to communicate wirelessly with a handheld
computing device such as the PDA of Mendelson-2006, to transfer sensor
data and provide more effective care. Pet. 39, 42–43, 57, 60–61; see, e.g.,
Ex. 1003 ¶¶ 104, 109, 165, 171–175.

Patent Owner’s Arguments

      Patent Owner presents several arguments directed to Mendelson-2006,
including that Mendelson-2006 discloses a single detector (PO Resp. 52),
and that Mendelson-2006’s sensor is used on the forehead (id. at 53). Patent
Owner argues that Mendelson-2006 thus confirms that a person of ordinary
skill in the art would not have combined Mendelson-799 with Ohsaki or
Schulz due to signal strength issues raised by various locations where a
sensor might be attached to the user’s body. Id. at 53–55.

Analysis

      We are persuaded that Petitioner’s stated reasoning for the proposed
modification is sufficiently supported, including by the unrebutted testimony
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of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 102–109, 162–176. For example, we
credit Dr. Kenny’s testimony that a person of ordinary skill in the art would
have been motivated to implement Mendelson-799 as part of a physiological
measurement system including a handheld communication device in
wireless communication, in order to enable transfer of information and
improve medical care. Id. ¶¶ 170–171.
         Moreover, we disagree with Patent Owner’s arguments. First, we are
persuaded by Petitioner’s contentions regarding Mendelson-799, Ohsaki,
and Schulz, for the reasons discussed above, and we do not discern that the
teachings of Mendelson-2006 undercut those contentions in any manner.
Second, Petitioner relies on Mendelson-2006 for teachings regarding
wireless communications with a handheld device. Pet. 57–69. Patent
Owner’s arguments do not pertain to the modification actually proposed and,
as such, are misplaced.

 viii.     “[i] one or more processors configured to wirelessly receive one or
          more signals from the physiological sensor device, the one or more
         signals responsive to at least a physiological parameter of the user”
         The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes wirelessly transmitting vital physiological information
acquired from the sensor to the PDA, which receives it. Pet. 62–63; see,
e.g., Ex. 1010, 1, 2 (“The information acquired by the Sensor Module is
transmitted wirelessly via an RF link over a short range to a body-worn
Receiver Module. The data processed by the Receiver Module can be
transmitted wirelessly to a PDA.”), 3 (explaining that the PDA “has
sufficient computational resources for the intended application” and “can
also serve to temporarily store vital medical information received from the


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wearable unit”), Fig. 3 (displaying SpO2 and HR data); Ex. 1003 ¶¶ 179–
180.
       Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to configure a
processor of the PDA to wirelessly receive signals from the physiological
sensor device, the signals being responsive to physiological parameters of
the user.” Pet. 63; see, e.g., Ex. 1003 ¶ 181
       Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
Ex. 1003 ¶¶ 177–182. Patent Owner does not present any argument against
this limitation, apart from the arguments already addressed in Section
II.D.5.vii.

 ix. “[j]–[l] a touch-screen display configured to provide a user interface,
   wherein: the user interface is configured to display indicia responsive to
    measurements of the physiological parameter, and an orientation of the
           user interface is configurable responsive to a user input”
       The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes a PDA with a touchscreen display configured to display
indicia responsive to measurements of, e.g., SpO2 and HR. Pet. 64–65; see,
e.g., Ex. 1010, 3 (“The use of a PDA . . . also provides a low-cost touch
screen interface.”).
       Petitioner acknowledges that “Mendelson-2006 does not explicitly
state that an orientation of the GUI provided by the PDA is configurable
responsive to a user input.” Pet. 66. However, Petitioner contends that a
person of ordinary skill in the art would have understood that “the LabVIEW
software that was used ‘to control all interactions between the PDA and the
wearable unit via [t]he graphical user interface’ included the option to

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configure an orientation of a user interface,” e.g. by setting the report
orientation to portrait or landscape view. Id. (alteration in original); see,
e.g., Ex. 1003 ¶¶ 187–188; Ex. 1027, 186 (“Set the report orientation—
portrait or landscape.”).
      Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to make an orientation
of the PDA’s user interface configurable responsive to a user input, for the
sake of user convenience.” Pet. 67; see, e.g., Ex. 1003 ¶¶ 189–190.
      Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny,
who testifies that the proposed modification would have allowed for easy
activation of various functions. See, e.g., Ex. 1003 ¶¶ 183–191. Patent
Owner does not present any argument against this limitation, apart from the
arguments already addressed in Section II.D.5.vii.

x. “[m] a storage device configured to at least temporarily store at least the
               measurements of the physiological parameter”
      The cited evidence supports Petitioner’s contention that Mendelson-
2006 teaches that the PDA is configured to store vital medical information
received from the wearable pulse oximeter, and that an ordinarily skilled
artisan “would have understood that the vital medical information would
have included measurements of the physiological parameters obtained by the
physiological sensor device (e.g., SpO2 and HR).” Pet. 68; Ex. 1010, 3
(“The PDA can also serve to temporarily store vital medical information
received from the wearable unit.”); Ex. 1003 ¶ 194.
      Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to configure a storage

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device of the PDA to at least temporarily store measurements of
physiological parameters (e.g., SpO2 and HR).” Pet. 68; see, e.g., Ex. 1003
¶ 193.
         Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
See, e.g., Ex. 1003 ¶¶ 192–194. Patent Owner does not present any
argument against this limitation, apart from the arguments already addressed
in Section II.D.5.vii.

                      xi. Reasonable Expectation of Success
         Patent Owner argues that Petitioner has failed to demonstrate a
reasonable expectation of success because Dr. Kenny did not perform a
design analysis to create a functional sensor. PO Resp. 55. We disagree.
As discussed in detail above, each of Petitioner’s proposed modifications to
Mendelson-799—whether to include an opaque material with windows, as
taught by Schulz; or to include a cover with a convex surface, as taught by
Ohsaki; or to communicate with a handheld computing device, as taught by
Mendelson-2006—is rooted in explicit teachings of the prior art, and is
supported by persuasive declarant testimony.
         We credit Dr. Kenny’s testimony that, for each proposed
modification, the combined prior art teachings would have been applied as
known, to achieve predictable results. See, e.g., Ex. 1003 ¶¶ 92 (applying
Ohsaki’s teachings would have been “nothing more than the use of a known
technique to improve similar devices in the same way, and combining prior
art elements according to known methods to yield predictable results—
improved adhesion of the sensor to the user’s skin, and improved signal
strength”), 101 (applying Schulz’s teachings would have been “nothing

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more than the use of a known technique to improve similar devices in the
same way, and combining prior art elements according to known methods to
yield predictable results,” i.e. to “avoid saturation”), 173 (“applying
Mendelson[-]2006’s teachings . . . would have led to predictable results
without altering or hindering the functions performed by that device. In fact,
one of ordinary skill would have been motivated to implement the well-
known technique of wirelessly transmitting data . . . to a handheld
computing device”). For similar reasons discussed above with respect to
each proposed modification, we conclude that that a skilled artisan would
have had a reasonable expectation of success. See supra § II.D.5.iv, vi, vii–
x; see also Ex. 1003 ¶¶ 81–195.

                                  xii.Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                              Independent Claim 20

      Independent claim 20 consists of limitations that are substantially
similar to elements [a]–[h] of claim 1. Compare Ex. 1001, 44:51–45:21,
with id. at 46:31–52 (reciting that the “convex surface,” as opposed to “the
cover,” is “sufficiently rigid”; omitting details of the “handheld computing
device”). In asserting that claim 20 also would have been obvious over the
combined teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-
2006, Petitioner refers to the same arguments presented as to claim 1. See
Pet. 79–82. Patent Owner relies on the same arguments discussed above
regarding claim 1. PO Resp. 12–63.


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      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 20 would have been obvious over the cited combination of references.
See supra § II.D.5.

                           Dependent Claims 6 and 25

      Dependent claim 6 ultimately depends from independent claim 1 and
further recites, “the wall surrounds at least the at least four detectors on the
first surface, the wall operably connects to the substrate on one side of the
wall, and the wall operably connects to the cover on an opposing side of the
wall.” Ex. 1001, 45:40–47. Likewise, dependent claim 25 ultimately
depends from independent claim 20 and further recites “a substrate having a
first surface, wherein the at least four detectors are arranged on the first
surface, and wherein the wall surrounds at least the at least four detectors on
the first surface, wherein: the wall operably connects to the substrate on one
side of the wall, and the wall operably connects to the cover on an opposing
side of the wall.” Id. at 47:15–48:6.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-2006 “would
have included a wall surrounding the photodiodes included in far detector 16
and near detector 18, the wall being operably connected on one side to the
planar substrate on which the detectors are arranged, and on an opposing
side to a cover,” as shown in Petitioner’s annotated and modified view of
Mendelson-799’s Figure 7, as well as an added sectional view, both of
which are reproduced below. Pet. 76–77 (citing, e.g., Pet. § IV.B.6.1[d];
Ex. 1003 ¶¶ 132–144, 211–212); see also id. at 89–90 (similar discussion
regarding claim 25) (citing, e.g., Ex. 1003 ¶¶ 257–29).
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Petitioner’s annotated and modified figures depict the sensor of Mendelson-
799 with an added opaque wall illustrated in green and encircling the sensor
components, and operably connected to the convex cover (illustrated in red)
on the top and operably connected to the planar substrate of sensor
housing 17 (illustrated in green) on the bottom.
      Patent Owner argues that “Petitioner provides no independent
analysis” for these claims and instead refers back to analyses of claims 1 and
20. PO Resp. 57. Patent Owner also argues that, in the annotated figures,
Petitioner includes features not shown in the cited references, e.g., “a cover
. . . spanning the entire space above the substrate” and a wall with “notches
for the convex cover.” Id. at 58. Patent Owner argues that “Petitioner
cannot satisfy” the claims “by making unexplained changes to the cited art.”
Id. at 59. Moreover, Patent Owner argues that neither Ohsaki nor
Mendelson-799 disclose a wall as claimed. Id.
      As shown in the modified figures above, the wall of the combined
sensor surrounds the sensor components and is operably connected to the

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convex cover on the top and is operably connected to the planar substrate on
the bottom, as claimed. Moreover, as discussed above regarding claim 1,
Petitioner’s proposed modifications to Mendelson-799 are not premised
upon bodily incorporating Ohsaki’s cover directly with Mendelson-799’s
sensor. See In re Nievelt, 482 F.2d 965, 968 (CCPA 1973) (“Combining the
teachings of references does not involve an ability to combine their specific
structures.”). To the contrary, Petitioner proposes incorporating Ohsaki’s
teaching of a cover with a convex surface, not the precise cover and
structure disclosed by Ohsaki. In re Keller, 642 F.2d 413, 425 (CCPA 1981)
(“[T]he test is what the combined teachings of those references would have
suggested to those of ordinary skill in the art.”). If Ohsaki’s teaching is
implemented in a manner that varies from the precise implementation of
such a cover in Ohsaki, e.g., with a larger span or with notches, this is not a
material deviation from Ohsaki’s express teachings of using a cover with a
convex surface to achieve specific benefits, e.g., improved adhesion and
signal strength. Ex. 1009 ¶ 25; see supra § II.D.5.vi; see Lear Siegler, Inc.
v. Aeroquip Corp., 733 F.2d 881, 889 (Fed. Cir. 1984) (explaining that a
person of ordinary skill is not “compelled to adopt every single aspect of [a
reference] without the exercise of independent judgment”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 6 and 25 would have been obvious over the cited combination of
references.




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                               Dependent Claim 28

      Dependent claim 28 ultimately depends from independent claim 20
and further recites “the single protruding convex surface protrudes a height
greater than 2 millimeters and less than 3 millimeters.” Ex. 1001, 48:16–18.
      Petitioner reiterates that the sensor rendered obvious by the combined
teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-2006 would
have included a cover with a single protruding convex surface, see supra
§ II.D.5.vi, and further contends that a person of ordinary skill in the art
“would have found it obvious that a device designed to fit on a user’s wrist
would be on the order of millimeters,” consistent with Ohsaki’s disclosure
that the device is in “intimate contact” with the user’s skin. Pet. 94–95
(citing, e.g., Ex. 1003 ¶ 269). Petitioner also contends that an ordinarily
skilled artisan would have taken user comfort into account when establishing
the dimensions of the device’s convex cover. Id. at 96. With these
considerations in mind, Petitioner contends that, “in order to provide a
comfortable cover featuring a protruding convex surface that prevents
slippage, the surface should protrude a height greater than 2 millimeters and
less than 3 millimeters,” because “there would have been a finite range of
possible protruding heights, and it would have been obvious to select a
protruding height that would have been comfortable to the user.” Id. (citing,
e.g., Ex. 1003 ¶¶ 267–271).
      Patent Owner argues that none of the cited references disclose the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 60–62 (citing, e.g., Ex. 2004 ¶¶ 104–105). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
62.

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       Petitioner is correct that, “[w]hen there are a finite number of
identified, predictable solutions, a person of ordinary skill in the art has good
reason to pursue the known options within his or her technical grasp. If this
leads to the anticipated success, it is likely the product . . . of ordinary skill
and common sense.” KSR, 550 U.S. at 398. Petitioner has shown
sufficiently that only a finite number of solutions existed with respect to the
height of a convex protrusion on a tissue-facing sensor, which would have
met the art-recognized goals of both (1) intimate contact between the
sensor’s surface and the user and (2) user comfort. See, e.g., Ex. 1009 ¶¶ 6,
25. Bearing in mind these considerations, we credit Dr. Kenny’s testimony
that it would have been obvious, “in order to provide a comfortable cover
featuring a protruding convex surface that prevents slippage, [that] the
surface should protrude a height greater than 2 millimeters and less than 3
millimeters.” Ex. 1003 ¶ 270.
       We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of Mendelson-799,
Ohsaki, Schulz, or Mendelson-2006 teach the claimed range. PO Resp. 60;
Ex. 2004 ¶¶ 105–107. Petitioner relies upon the knowledge, ability, and
creativity of a person of ordinary skill in the art, not the teachings of a
specific reference. Notably, Dr. Madisetti does not dispute Dr. Kenny’s
position that there were a finite number of options available for the height of
the convex surface. Ex. 2004 ¶¶ 104–107. Therefore, we do not agree that
Petitioner’s contentions are rooted in impermissible hindsight. See, e.g., In
re McLaughlin, 443 F.2d 1392, 1395 (CCPA 1971) (“Any judgment on
obviousness is in a sense necessarily a reconstruction based upon hindsight
reasoning, but so long as it takes into account only knowledge which was

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within the level of ordinary skill at the time the claimed invention was made
and does not include knowledge gleaned only from applicant’s disclosure,
such a reconstruction is proper.”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 28 would have been obvious over the cited combination of references.

                  Dependent Claims 2–5, 7, 21–24, 26, and 27

      Petitioner also contends that claims 2–5, 7, 21–24, 26, and 27 would
have been obvious based on the same combination of prior art addressed
above. These challenged claims all depend directly or indirectly from
independent claim 1 or 20. Petitioner identifies teachings in the prior art
references that teach or suggest the limitations of these claims, and provides
persuasive reasoning as to why the claimed subject matter would have been
obvious to one of ordinary skill in the art. Pet. 69–79, 82–96. Petitioner
also supports its contentions for these claims with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 196–210, 213–215, 237–256, 260–266.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claims 1
and 20. PO Resp. 56 (“The Petition fails to establish that independent
claims 1 and 20 are obvious over the cited references of Ground 1 and
therefore fails to establish obviousness of any of the challenged dependent
claims.”); see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–5, 7, 21–24, 26, and 27 would have been obvious
over the combined teachings of Mendelson-799, Ohsaki, Schulz, and
                                      67
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Mendelson-2006, for the reasons discussed in the Petition and as supported
by the testimony of Dr. Kenny.

                                     Conclusion

       For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–7
and 20–28 would have been obvious over the cited combination of
references.

                          III.     CONCLUSION

       In summary: 10
     Claims     35 U.S.C. § Reference(s)/           Claims     Claims Not
                               Basis                Shown        Shown
                                                 Unpatentable Unpatentable
 1–7, 20–28     103              Mendelson-      1–7, 20–28
                                 799, Ohsaki,
                                 Schulz, and
                                 Mendelson-
                                 2006
 Overall                                         1–7, 20–28
 Outcome




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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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                             IV.    ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–7 and 20–28 of the ’554 patent have been
shown to be unpatentable;
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01539
                       United States Patent No.: 10,588,554 B2
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
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      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01539
   DATE                                        DESCRIPTION
09/02/2020   Petition for Inter Partes Review
09/02/2020   Petitioner’s Power of Attorney
09/02/2020   Petitioner’s Notice Ranking Petitions and Explaining Material Differences
09/17/2020   Notice of Filing Date Accorded
09/21/2020   Patent Owner’s Mandatory Notices
11/04/2020   Petitioner’s Updated Exhibit List
12/17/2020   Patent Owner’s Notice of Waiver of Preliminary Response
03/02/2021   Decision - Institution of Inter Partes Review Proceeding
03/02/2021   Scheduling Order
03/16/2021   Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted
             Before Trial Institution
04/08/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
04/14/2021   Stipulation Modifying Due Dates
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – Jeremiah Helm
04/16/2021   Patent Owner’s Motion for Pro Hac Vice Admission – William Zimmerman
04/16/2021   Patent Owner’s Updated Exhibit List
04/20/2021   Decision Granting Patent Owner’s Motions for Pro Hac Vice Admission
04/20/2021   Patent Owner’s Amended Notice of Deposition - Thomas W. Kenny
04/21/2021   Patent Owner’s Updated Mandatory Notice
04/21/2021   Patent Owner’s Supplemental Power of Attorney – W. Zimmerman and J. Helm
04/22/2021   Petitioner’s Motion to Submit Supplemental Information
05/06/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
05/14/2021   Petitioner’s Submission of Supplemental Information
06/08/2021   Patent Owner’s Response
06/17/2021   Petitioner’s Objections to Evidence
07/19/2021   Petitioner’s Notice of Deposition - Vijay K. Madisetti
09/03/2021   Petitioner’s Reply to Patent Owner’s Response
09/09/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
09/10/2021   Patent Owner’s Objections to Evidence
09/13/2021   Petitioner’s Updated Mandatory Notice
10/15/2021   Patent Owner’s Sur-Reply to Reply
10/22/2021   Petitioner’s Objections to Evidence
10/22/2021   Petitioner’s Request for Oral Hearing
10/22/2021   Patent Owner’s Oral Argument Request
10/28/2021   Patent Owner’s Supplemental Mandatory Notices
11/01/2021   Order Setting Oral Argument
11/22/2021   Petitioner’s Identification of Testimony
12/03/2021   Patent Owner’s Demonstratives for Trial Hearing
12/03/2021   Petitioner’s Updated Exhibit List

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   DATE                                      DESCRIPTION
01/06/2022 Oral Hearing Transcript
02/23/2022 Final Written Decision
04/12/2022 Notice of Appeal




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Trials@uspto.gov                                               Paper 41
571-272-7822                                 Entered: February 23, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE

                           ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                            Patent Owner.



                          IPR2020-01539
                        Patent 10,588,554 B2



Before GEORGE R. HOSKINS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.



                            JUDGMENT
                        Final Written Decision
           Determining Some Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
          Case: 22-1638   Document: 4       Page: 448   Filed: 05/25/2022

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                          I.    INTRODUCTION

                                A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–28 (“challenged claims”) of U.S. Patent No. 10,588,554
B2 (Ex. 1001, “the ’554 patent”). Paper 3 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a Preliminary Response. Paper 7. We
instituted an inter partes review of all challenged claims 1–28 on all asserted
grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 8 (“Inst.
Dec.”).
      After institution, Patent Owner filed a Response (Paper 23, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 26, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 30, “PO Sur-reply”). 1 An oral hearing
was held on December 7, 2021, and a transcript of the hearing is included in
the record. Paper 40 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–12 and 14–28 of the ’554 patent are unpatentable. However,
Petitioner has not met its burden of showing, by a preponderance of the
evidence, that challenged claim 13 is unpatentable.




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 After the Sur-reply was filed, we authorized Petitioner to file an
Identification of Testimony. Paper 36.
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                            B. Related Proceedings
      The parties identify the following matters related to the ’554 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (also challenging claims 1–7 and 20–28 of the ’554 patent);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2).
Pet. 3–4; Paper 5, 1–3.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’554 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and

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      U.S. Patent Application No. 16/805,605.
Paper 5, 1–2.

                             C. The ’554 Patent
      The ’554 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on March 17,
2020, from U.S. Patent Application No. 16/544,713, filed August 19, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’554 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’554 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:38–
40. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–35, 64–65. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:45–48.




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      Figure 1 of the ’554 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:47–58. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:59–63. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 14:3–7. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:7–10, 26–32. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:2–14.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:21–24. User interface 112 presents

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the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:46–56. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:60–16:11.
      The ’554 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–39, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–48.

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      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:39–43. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:49–63.

                            D. Illustrative Claim
      Of the challenged claims, claims 1 and 20 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A physiological measurement system comprising:
      [a] a physiological sensor device comprising:
         [b] a plurality of emitters configured to emit light into tissue
                of a user;
         [c] at least four detectors, wherein each of the at least four
                detectors has a corresponding window that allows light
                to pass through to the detector;
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        [d] a wall that surrounds at least the at least four detectors;
              and
        [e] a cover that operably connects to the wall and that is
              configured to be located between tissue of the user and
              the at least four detectors when the physiological
              sensor device is worn by the user, wherein:
           [f] the cover comprises a single protruding convex surface,
                   and
           [g] at least a portion of the cover is sufficiently rigid to
                  cause tissue of the user to conform to at least a
                  portion of a shape of the single protruding convex
                  surface when the physiological sensor device is
                  worn by the user; and
     [h] a handheld computing device in wireless communication
           with the physiological sensor device, wherein the
           handheld computing device comprises:
           [i] one or more processors configured to wirelessly receive
                  one or more signals from the physiological sensor
                  device, the one or more signals responsive to at least
                  a physiological parameter of the user;
           [j] a touch-screen display configured to provide a user
                  interface,
     wherein:
           [k] the user interface is configured to display indicia
                 responsive to measurements of the physiological
                 parameter, and
           [l] an orientation of the user interface is configurable
                 responsive to a user input; and
           [m] a storage device configured to at least temporarily
                 store at least the measurements of the physiological
                 parameter.




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Ex. 1001, 44:51–45:21 (bracketed identifiers a–m added). Independent
claim 20 includes limitations substantially similar to limitations [a]–[h] of
claim 1. Id. at 46:31–52.

                             E. Applied References
      Petitioner relies upon the following references:
             Aizawa, U.S. Patent Application Publication No. 2002/0188210
      A1, filed May 23, 2002, published December 12, 2002 (Ex. 1006,
      “Aizawa”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);2
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”); and
            Bergey, U.S. Patent No. 3,789,601, filed July 15, 1971, issued
      February 5, 1974 (Ex. 1016, “Bergey”).
Pet. 12.
      Petitioner also submits, inter alia, a Declaration of Dr. Thomas W.
Kenny, Ph.D. (Ex. 1003) and a Second Declaration of Dr. Kenny (Ex. 1047).
Patent Owner submits, inter alia, the Declaration of Dr. Vijay K. Madisetti
(Ex. 2004). The parties also provide deposition testimony from Dr. Kenny
and Dr. Madisetti, including from this proceeding and others. Exs.
1041–1043, 2006–2009, 2027.

2
 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
Ex. 1008, 24. In this Decision, we also refer to the translation.
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                    F. Asserted Grounds of Unpatentability
        We instituted an inter partes review based on the following grounds.
Inst. Dec. 9, 32.
     Claims Challenged             35 U.S.C. §        References/Basis
                                                  Aizawa, Inokawa, Ohsaki,
 1–7, 20–28                           103
                                                  Mendelson-2006
                                                  Aizawa, Inokawa, Ohsaki,
 8–19                                 103
                                                  Mendelson-2006, Bergey


                             II.   DISCUSSION

                             A. Claim Construction
        For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 11. Patent Owner submits that claim terms should be
given their ordinary and customary meaning, consistent with the
Specification. PO Resp. 9.
        We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013,
1017 (Fed. Cir. 2017).

                              B. Principles of Law
        A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406

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(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness. 3 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine
whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                       C. Level of Ordinary Skill in the Art
        Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software


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    Patent Owner has not presented objective evidence of non-obviousness.
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technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 10 (citing Ex. 1003 ¶¶ 1–18, 20–21). “Additional education in a
relevant field or industry experience may compensate for one of the other
aspects of the . . . characteristics stated above.” Id. at 11.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 10.
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

               D. Obviousness over the Combined Teachings of
                 Aizawa, Inokawa, Ohsaki, and Mendelson-2006
      Petitioner contends that claims 1–7 and 20–28 of the ’554 patent
would have been obvious over the combined teachings of Aizawa, Inokawa,
Ohsaki, and Mendelson-2006. Pet. 41–87; see also Pet. Reply 1–36. Patent
Owner disagrees. PO Resp. 11–67; see also PO Sur-reply 1–27.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 1–7 and 20–28 are unpatentable.

                          Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).




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      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




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Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.

                         Overview of Inokawa (Ex. 1007)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 code (57), ¶ 6.

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      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
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light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21 is
used to sense “the pulse from the light reflected off of the body (i.e.[,]
change in the amount of hemoglobin in the capillary artery),” and infrared
LED 23 is used to sense body motion from the change in reflected light. Id.
¶ 59. The pulse sensor stores this information in memory. Id. ¶ 68. To read
and store information, the pulse sensor includes a CPU that “performs the
processing to sense pulse, body motion, etc. from the signal . . . and
temporarily stores the analysis data in the memory.” Id. ¶ 69.
      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
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component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.

                        Overview of Ohsaki (Ex. 1009)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1009, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




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      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the

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user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                          Mendelson-2006 (Ex. 1010)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1010, 1. 4
      Figure 1 of Mendelson-2006 is reproduced below.




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 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. See, e.g., Pet. 20–22.
We follow Petitioner’s numbering scheme.
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Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded



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microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and

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output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                                Independent Claim 1
      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006.
Pet. 41–65. Below, we set forth how the combination of prior art references
teaches or suggests the claim limitations that are not disputed by the parties.
For those limitations and reasons for combining the references that are
disputed, we examine each of the parties’ contentions and then provide our
analysis.

            i.     “A physiological measurement system comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa satisfies the subject matter of the preamble. 5 Pet. 41; see, e.g.,
Ex. 1006 ¶ 2 (“The present invention relates to a pulse wave sensor for
detecting the pulse wave of a subject.”).

             ii.    “[a] a physiological sensor device comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a physiological sensor device including a pulse rate
detector. Pet. 41–43; see, e.g., Ex. 1006 ¶ 23 (pulse wave sensor 2),
Figs. 1(a)–(b).


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 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the art.
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iii.   “[b] a plurality of emitters configured to emit light into tissue of a user”
   Petitioner’s Undisputed Contentions

         Petitioner contends that Aizawa discloses an emitter—LED 21—and
   also states that, in certain embodiments, multiple LEDs may be employed.
   Pet. 13, 22. Patent Owner does not dispute this contention, and we agree
   with Petitioner. See Ex. 1006 ¶¶ 23 (“LED 21”), 32 (“The arrangement of
   the light emitting diode 21 and the photodetectors 22 is not limited to this.”).
   For example, Aizawa explains that “[t]he same effect can be obtained when
   the number of photodetectors 22 is 1 and a plurality of light emitting diodes
   21 are disposed around the photodetector.” Id. ¶ 33.
         Petitioner also contends that Inokawa teaches a sensor with two
   LEDs–a green LED to sense pulse and an infrared LED to sense body
   motion. Pet. 16, 23. Petitioner also contends that when Inokawa’s sensor is
   mounted on a base device, the infrared LED also is used to wirelessly
   transmit vital information to the base device. Id. at 17–18, 23–24. Patent
   Owner does not dispute these contentions, and we agree. Inokawa teaches a
   pair of LEDs 21, 23, where “the basic function of the S-side green LED 21 is
   to sense the pulse from the light reflected off of the body . . ., while the S-
   side infrared LED 23 serves to sense body motion from the change in this
   reflected light.” Ex. 1008 ¶¶ 58–59. Inokawa also explains that “vital sign
   information stored in the memory 63 [of the sensor], such as pulse and body
   motion, is transmitted to the base device 17 using the S-side infrared LED
   23 of the pulse sensor 1 and the B-side PD 45 of the base device 17,” such
   that “there is no need to use a special wireless communication circuit or a
   communication cable.” Id. ¶¶ 76–77.


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Petitioner’s Disputed Contentions

      Moreover, Petitioner contends that a person of ordinary skill in the art
would have been motivated to modify Aizawa “to include an additional LED
as taught by Inokawa to improve the detected pulse wave by distinguishing
between blood flow detection and body movement.” Pet. 23–24, 26, 43–45.
According to Dr. Kenny, “one of ordinary skill would have recognized that
this would improve Aizawa’s sensor by enabling it to account for motion
load through use of the second LED, by detecting and recording body
motion in addition to blood flow.” Ex. 1003 ¶ 120 (cited at Pet. 43).
      As a second and independent motivation, Petitioner also contends that
such a modification also would have provided “additional functionality,
including that of a wireless communication method,” which would have
“eliminate[d] problems associated with a physical cable, and, as taught by
Inokawa, without requiring a separate RF circuit.” Pet. 23–24. Petitioner
contends that although Aizawa discloses data transmission, Aizawa “is silent
about how such transmission would be implemented.” Id. at 24. According
to Petitioner, a skilled artisan “would have recognized that Aizawa’s LED
could have been used for wireless data communication with a personal
computer to eliminate problems associated with a physical cable, and, as
taught by Inokawa, without requiring a separate RF,” which “would result in
enhanced accuracy of the transmitted information.” Id. According to
Dr. Kenny, “as one of ordinary skill would have recognized, the LEDs
provided on the sensor can be used not only to detect pulse rate, but also to
‘accurately, easily, and without malfunction’ transmit sensed data to a base
station.” Ex. 1003 ¶ 122.


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      To illustrate its proposed modification, Petitioner includes annotated
and modified views of Aizawa’s Figures 1(a) and 1(b), reproduced below.
Pet. 25; see also id. at 44 (similar figures); Ex. 1003 ¶ 76.




Petitioner’s annotated and modified figures depict the sensor of Aizawa with
an added “LED B” (illustrated in light purple), as Petitioner contends would
have been rendered obvious by Inokawa. Id. at 26–27, 44–45; see also
Ex. 1003 ¶¶ 71–79, 110–129.

Patent Owner’s Arguments

      Patent Owner disputes Petitioner’s contentions regarding the
obviousness of modifying Aizawa to include two emitters. See PO
Resp. 51–58; Sur-reply 23–25.



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      First, Patent Owner argues that neither Aizawa nor Inokawa discloses
a device with both multiple detectors and multiple emitters in the same
sensor, because Aizawa’s embodiments have either a single emitter and
multiple detectors (e.g., Ex. 1006, Fig. 1(a)) or multiple emitters and a single
detector (e.g., id. ¶ 33), and Inokawa discloses multiple emitters and a single
detector (e.g., Ex. 1008, Fig. 2). See PO Resp. 51–52 (citing, e.g., Ex. 1006
¶ 33, Figs. 1, 2, 4, 5; Ex. 1008 ¶ 58, Fig. 2; Ex. 2004 ¶¶ 100–102). Patent
Owner concludes, therefore, that a person of ordinary skill in the art would
not have added a second emitter to Aizawa, when Aizawa already discloses
an embodiment with multiple LEDs, i.e., an embodiment with only a single
detector. PO Resp. 52 (citing, e.g., Ex. 2004 ¶ 103). Patent Owner argues
that Dr. Kenny’s testimony in this regard “conflicts with the references
themselves” and so “is not credible.” PO Resp. 35–36 (citing Ex. 1003
¶¶ 55, 77).
      Second, Patent Owner argues that the evidence does not support either
of Petitioner’s two proffered motivations for modifying Aizawa to include
two emitters. As to the first motivation (to measure body movement using a
second emitter), Patent Owner asserts that Dr. Kenny erroneously testifies
that Aizawa cannot do this with its single emitter. PO Resp. 53 (citing, e.g.,
Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10; Ex. 2004 ¶ 104). Patent Owner
argues that “Petitioner admits that Aizawa’s sensor ‘already records and
accounts for’ motion load.” PO Resp. 53 (citing, e.g., Pet. 26; Ex. 1006
¶ 15; PO Resp. 36; Ex. 2004 ¶ 84). Thus, Patent Owner contends that the
proposed motivation would not realize an improvement over Aizawa alone.
Id.



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      As to Petitioner’s second motivation (to enable transmission of data to
a base device using an optical communication link), Patent Owner argues
that “Aizawa already includes a wireless transmitter . . . so Aizawa does not
need to incorporate Inokawa’s base device [optical] data transmission
arrangement.” PO Resp. 54 (citing, e.g., Ex. 1006 ¶¶ 23, 28, 35; Ex. 2004
¶¶ 105–106). Indeed, Patent Owner argues “Dr. Kenny acknowledged
Aizawa identifies no problems with Aizawa’s form of data transmission.”
Id. at 55 (citing Ex. 2007, 409:13–410:2). Patent Owner further argues that
“Aizawa’s goal is ‘real-time measuring’ with the transmitter ‘transmitting
the measured pulse rate data to a display’” but that “Inokawa’s data transfer
approach does not allow real-time display of measurements.” Id. at 55
(citing, e.g., Ex. 1006 ¶¶ 4, 15; Ex. 1008 ¶¶ 70, 74; Ex. 2004 ¶ 107). Patent
Owner insists Inokawa does not aid Petitioner’s case, because Inokawa
discloses the benefits of using a second emitter in only two situations, i.e.,
first, to improve over a “cable” communication and, second, to avoid use of
a “dedicated wireless communication circuit,” whereas “Aizawa already
incorporates a transmitter into its design.” Id. at 56 (citing, e.g., Ex. 1008
¶ 4; Ex. 1006 ¶¶ 23, 28; Ex. 2004 ¶ 108).
      Third, Patent Owner accuses Petitioner and Dr. Kenny of overlooking
further complications that would ensue from modifying Aizawa to have two
emitters. Patent Owner argues that Dr. Kenny overlooked how placing “two
LEDs in close proximity may cause thermal interference that could create
significant issues for sensor performance,” and would require “structural
changes” to Aizawa’s configuration. PO Resp. 57 (citing, e.g., Ex. 2004
¶¶ 109–110; Ex. 1019, 59–60). Patent Owner also argues that “Petitioner
widened Aizawa’s emitter cavity to accommodate the extra LED with no

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explanation or recognition of this change,” which could impact optical
performance of the device. Id. at 57–58 (citing, e.g., Ex. 2004 ¶¶ 109–111).

Petitioner’s Reply

      Concerning Petitioner’s first motivation, Petitioner asserts that
Aizawa “is silent on whether it uses the computed motion load to improve
the detection signal” and thereby provide a “more reliable” pulse reading,
which is Petitioner’s asserted improvement to Aizawa. Pet. Reply 28–29
(citing, e.g., Ex. 1003 ¶¶ 61–63, 71–72; Ex. 2007, 401:11–402:4; Ex. 1047
¶ 51). Moreover, Petitioner contends that by using multiple LEDs at
different wavelengths, “two separate signals [can] be collected[, which]
allows noise arising from body motion to be better isolated and accounted
for.” Id. at 29 (citing Ex. 1047 ¶ 51).
      Concerning Petitioner’s second motivation, Petitioner maintains that
Inokawa’s use of two emitters having different wavelengths to upload data
to a base device using optical communication advantageously improves the
accuracy of the transmission by providing checksum information. Pet.
Reply 22–23 (citing, e.g., Ex. 1003 ¶ 123; Ex. 2007, 407:7–408:20, 416:5–
15; Ex. 1047 ¶ 52).
      As to the “other complications” that Patent Owner alleges would
result from the proposed modification, Petitioner asserts “such minor issues
are ‘part of what [a person of ordinary skill in the art] would bring . . . to the
problem and would know how to make the changes needed.’” Pet.
Reply 29–30 (quoting Ex. 2007, 384:8–388:12; Ex. 1047 ¶ 53).




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Patent Owner’s Sur-reply

      Concerning Petitioner’s first motivation, Patent Owner argues that
Inokawa’s disclosure is just as sparse as Aizawa’s disclosure regarding how
to use optical data to measure body movement. Sur-reply 23 (citing
Ex. 1008 ¶ 59). Patent Owner also asserts that “Petitioner cites nothing in
Inokawa that suggests” that Inokawa’s two emitter data gathering is more
reliable or otherwise superior to Aizawa’s single emitter data gathering. Id.
at 23–24.
      Concerning Petitioner’s second motivation, Patent Owner argues that
the proposed modification eliminates Aizawa’s ability to conduct “real-time
collection and display of physiological measurements—a key goal of
Aizawa’s system.” Id. at 24.
      Patent Owner also faults Petitioner for not specifying how a person of
ordinary skill in the art would have solved the alleged “additional cost,
energy use, and thermal problems” that would ensue from using two emitters
in the Aizawa device. Id. at 24–25.

Analysis

      Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that it would have been obvious to
replace Aizawa’s single near infrared LED 21 with an infrared LED and a
green LED, in light of Inokawa.
      First, a person of ordinary skill in the art would have been motivated
to make this replacement to improve the pulse measurements recorded by
Aizawa’s detector 1. Inokawa teaches that the infrared LED’s signal can be
used “to detect vital signs” such as “body motion,” and the green LED’s

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signal can be “used to detect pulse.” Ex. 1008, Fig. 2, ¶¶ 14, 58–59;
Ex. 1003 ¶¶ 64, 72, 75–78; Ex. 1047 ¶¶ 50–51.
      Patent Owner correctly points out that Aizawa describes its
single-emitter detector 1 as transmitting its pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only disclosure in Aizawa cited by Patent
Owner as relating to computing a motion characteristic of the user. Further,
we are unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear exactly what Aizawa proposes to do with the
computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 51
(“Aizawa is silent on whether it uses the computed motion load to improve
the detection signal.”). Aizawa does, however, describe the motion load as
being computed “from the pulse rate,” rather than being an input to the pulse
rate calculation. Ex. 1006 ¶¶ 15, 35.
      Dr. Kenny, when asked whether it was his understanding that
“Aizawa’s sensor could not account for motion load?”, answered that
“Aizawa’s sensor attempts to prevent motion load rather than account for it.”
Ex. 2007, 400:7–11. He explained that, because Aizawa uses only a single
emitter with a single wavelength, “what [Aizawa] sees as a signal would be
some mixture of pulse rate and motion load if there was no effort to prevent
motion load,” so Aizawa seeks to solve the problem of “prevent[ing] motion
load from corrupting the pulse rate signal.” Id. at 400:12–401:10.
Dr. Kenny did not further explain this distinction between preventing and
accounting for motion load in his deposition testimony cited by the parties as

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relating to this issue. Id. at 400:7–402:4. We do not rely on this distinction
as a basis for our present decision, because we find no express support for it
in Aizawa’s disclosure (see Ex. 1006 ¶¶ 15, 28, 35), and it is not explained
in persuasive detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a person
of ordinary skill in the art, upon reviewing Inokawa’s disclosure of using
two emitters of different wavelengths to calculate a user’s pulse and motion
separately, would understand that these two separate measurements would
enable the device to calculate a “more reliable” pulse rate because it “allows
noise arising from body motion to be better isolated and accounted for.”
Ex. 1047 ¶ 51; see also Ex. 1003 ¶¶ 73, 77, 122–123, 126. Aizawa does not
disclose using the computed motion load in this fashion, so it appears that
this would improve upon the accuracy of Aizawa’s pulse measurements, by
using the computed motion load to isolate and account for noise. See
Ex. 1006 ¶¶ 15, 28, 35.
      Dr. Madisetti also offers no meaningful opposing testimony in this
regard. See, e.g., Ex. 2004 ¶ 104. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of
adding the bare ability to measure body movement to Aizawa. See id. In
fact, Dr. Kenny further testified that it would have been beneficial to use the
measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶ 120; Ex. 1047 ¶ 51. Dr. Madisetti does not address that
testimony. See Ex. 2004 ¶ 104.
      Thus, because Dr. Madisetti’s testimony sets up a straw man to attack,
rather than directly addressing the entirety of Dr. Kenny’s testimony in this
regard, Dr. Kenny’s testimony stands unrebutted in the record before us.

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Dr. Kenny’s testimony also makes intuitive sense that measuring the user’s
motion separately from the user’s pulse, for example by using two
interrogating emitters of two different wavelengths, would provide a reliable
means of correcting the pulse data for motion artifacts by using the
separately measured motion data, rather than by trying to segregate these
two components in the single data stream provided by Aizawa’s single
emitter device. See, e.g., Ex. 1047 ¶ 51. We, therefore, are persuaded by
Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.
      Independently, we are also persuaded that a person of ordinary skill in
the art would have been motivated to replace Aizawa’s single near infrared
LED 21 with an infrared LED and a green LED, to provide a reliable method
of uploading pulse data stored by Aizawa’s wrist-worn pulse rate detector 1
to another device for display to the user. Inokawa expressly touts such
optically-based uploading of data from Inokawa’s wrist-worn sensor 1 to
Inokawa’s base device 17 as a benefit of incorporating two emitters in
sensor 1. See Ex. 1008, Figs. 3, 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa
identifies two specific benefits of this optically-based data communication
means. First, the infrared LED can transmit the pulse data, and the green
LED can separately transmit “checksum” information to increase the
accuracy of data transmission. Id. at Fig. 19, ¶¶ 14, 109–111. Second, using
light emitters in this fashion to perform two functions (data collection by
emitting light into the user’s wrist, and data transmission by emitting light to
photodetectors in a base device) obviates the need for providing “a special
wireless communication circuit [in the wrist-worn sensor 1] or a
communication cable.” Id. ¶¶ 3–7, 76–77.

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      Patent Owner correctly points out that Aizawa already has a
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. However, Aizawa’s Figure 1(b)
illustrates transmitter 4 only as an empty box contained within outer
casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to the other
device. See id.
      Patent Owner contends, and Dr. Madisetti and Dr. Kenny both testify,
that Aizawa’s transmitter 4 is a “wireless” transmitter. See, e.g.,
PO Resp. 54; Ex. 2004 ¶¶ 49, 105–106, 112; Ex. 2007, 403:17–22, 414:19–
21. They all appear to equate “wireless” communication to radio frequency
communication, and not to include optical communication, even though both
radio frequency and optical communication do not use a wire. Petitioner
disagrees that Aizawa discloses any specific form of data transmission,
including wireless transmission. See Tr. 71:5–72:3 (“[T]he transmitter
disclosure in Aizawa, they don’t say its’s a wireless transmitter. That was a
conjuration by [Patent Owner]. They don’t specify whether it’s a wired or
wireless.”). We assume, for this decision, that Aizawa expressly
contemplates radio frequency communication as one embodiment by which
transmitter 4 may transmit data to devices other than detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert Aizawa’s “goal” is to
measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., Ex. 2004 ¶¶ 106–108, 111. We find that

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Aizawa does not support this assertion. Instead, Aizawa discusses prior art
devices that “estimat[e] a burden on the heart of a person who takes exercise
by real-time measuring his/her heart rate at the time of exercise” (Ex. 1006
¶ 4 (emphasis added)), and then describes Aizawa’s detector 1 as having a
transmitter for transmitting the measured pulse rate data to another device
for display (id. ¶ 15). Aizawa does not indicate when this transmission
occurs. Aizawa also refers to “noise caused by the shaking of the body of
the subject” as a problem to be addressed (id. ¶ 6), but this problem occurs
regardless of whether the shaking results from exercise or the normal
movement of the user’s wrist over the course of the day. Thus, Aizawa does
not tout, as an important feature of Aizawa’s invention, the real time display
of pulse rate data during exercise, regardless of whether the data gathered by
Aizawa’s wrist-worn detector 1 is transmitted wirelessly or otherwise. Id.
¶¶ 4, 6, 15.
      No doubt, a person of ordinary skill in the art would have viewed the
capability of a wrist-worn pulse detector to transmit its pulse data to another
device for display in real time while the user is exercising to be a desirable
feature in some cases, even if this is not one of Aizawa’s specifically stated
goals. See, e.g., Ex. 1003 ¶ 67 (Dr. Kenny stating: “By wirelessly
transmitting the collected data wirelessly, Mendelson 2006’s system
provides ‘numerous advantages,’ . . . .”); Ex. 2009, 393:6–14 (Dr. Kenny
agreeing that a person of ordinary skill in the art “would have seen the
ability to wirelessly transmit collected data as an advantage”). Nonetheless,
Inokawa expressly discloses that, in other cases, the benefits achieved by
wireless transmission can be outweighed by obviating the need for the
wrist-worn sensor to include a special wireless communication circuit. See

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Ex. 1008 ¶¶ 3–7 (discussing problems associated with wireless transmission,
such as the need for a dedicated circuit, which is avoided by Inokawa’s
system that risks “few malfunctions” and has a “simple structure”), 76–77
(“As a result, there is no need to use a special wireless communication
circuit . . ., which makes it possible to transmit vital sign information to the
base device 17 accurately, easily, and without malfunction.”). We therefore
conclude that Petitioner’s case for obviousness in this regard is supported by
a preponderance of the evidence. See, e.g., In re Urbanski, 809 F.3d 1237,
1243–44 (Fed. Cir. 2016) (persons of ordinary skill in the art may be
motivated to pursue desirable properties of one prior art reference, even at
the expense of foregoing a benefit taught by another prior art reference).
      We disagree with Patent Owner’s argument that Petitioner’s case for
obviousness is deficient on the basis that neither Aizawa nor Inokawa
expressly discloses a wrist-worn sensor device that has both a plurality of
emitters and at least four detectors, as claim 1 recites. Obviousness does not
require “‘some motivation or suggestion to combine the prior art teachings’
[to] be found in the prior art.” KSR, 550 U.S. at 407, 415–418. Nor does it
require the bodily incorporation of Inokawa’s device into Aizawa’s device.
See, e.g., In re Keller, 642 F.2d 413, 425 (CCPA 1981) (test for obviousness
is not whether the features of one reference may be bodily incorporated into
the structure of the other reference, but rather is “what the combined
teachings of the references would have suggested to those of ordinary skill
in the art”); see also In re Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir.
1986) (nonobviousness is not established by attacking references
individually when unpatentability is predicated upon a combination of prior
art disclosures). Instead, “[a] person of ordinary skill is also a person of

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ordinary creativity, not an automaton,” and “in many cases a person of
ordinary skill will be able to fit the teachings of multiple patents together
like pieces of a puzzle.” KSR, 550 U.S. at 420–421.
      In this case, we are persuaded that a person of ordinary skill in the art
would have been motivated to modify Aizawa’s wrist-worn detector 1 to
replace its single near infrared LED 21 with an infrared LED and a green
LED, based on Inokawa, for all the reasons provided above. A person of
ordinary skill in the art would additionally have known to keep all four
detectors 22 that are already present in Aizawa’s detector 1, so that “[e]ven
when the attachment position of the sensor is dislocated, a pulse wave can be
detected accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9, 27. In short,
the combination of Aizawa and Inokawa teaches that having multiple
emitters is beneficial, and having multiple detectors is beneficial, for
different and not inconsistent reasons.
      Finally, we agree with Petitioner’s position that any thermal
interference and power consumption issues that may arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of POSITA to solve. We credit Dr. Kenny’s
testimony in this regard. See Ex. 1003 ¶¶ 78–79, 121; Ex. 1047 ¶ 53. For
example, Dr. Kenny acknowledges that Aizawa already discloses adding
additional emitters. Ex. 1003 ¶ 71 (citing Ex. 1006 ¶¶ 32–33). Dr. Kenny
further testifies that this modification “amount[s] to nothing more than the
use of a known technique [i.e., Inokawa’s use of two emitters in a
wrist-worn pulse detector] to improve similar devices [i.e., Aizawa’s
wrist-worn pulse detector] in the same way, and combining prior art
elements according to known methods to yield predictable results.” Id.

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¶¶ 78 (“Furthermore, one of ordinary skill would have readily understood
how to select different photodiodes with different sensitivities to detect the
different wavelengths of light emitted by the two LEDs.”), 121.
      Patent Owner cites several portions of Dr. Kenny’s deposition
testimony that, in Patent Owner’s view, indicate Dr. Kenny fails to
appreciate the significance of the thermal effects, optical interference
complications, and power consumption needs, that are posed by adding a
second emitter to Aizawa’s device, and fails to explain how these issues
would have been overcome. See PO Resp. 55, 57–58 (citing Ex. 2007,
379:17–21, 384:8–388:16, 394:11–395:22, 405:2–11, 409:13–410:2;
Ex. 2009, 381:18–382:8, 383:22–385:9, 390:5–392:3). We have reviewed
this deposition testimony, and we conclude Patent Owner overstates its
significance. It establishes, at most, that Dr. Kenny did not expressly
address these issues in his declaration (Exhibit 1003), but Dr. Kenny’s
opinion is that these issues would have been within the capability of a person
of ordinary skill in the art to resolve. Based on the evidentiary record
presented to us, we agree with Dr. Kenny. For example, Inokawa discloses a
wrist-worn pulse sensor 1 having two emitters 21 and 23 in close proximity
to each other. See Ex. 1008, Figs. 1–2. An artisan must be presumed to
know something about the art apart from what the relied-upon references
disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how the issues that
arise from adding a second emitter to Aizawa would have been solved;
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult for a person of ordinary skill in the art to solve, in

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the context of Aizawa’s device or wrist-worn pulse sensing devices in
general. See Ex. 2004 ¶ 109.
           Thus, we conclude a person of ordinary skill in the art would have
been motivated to replace Aizawa’s single near infrared LED 21 with an
infrared LED and a green LED, and would have had a reasonable
expectation of success in doing so.

iv.   “[c] at least four detectors, wherein each of the at least four detectors
       has a corresponding window that allows light to pass through to the
                                     detector”
           The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors, each stored in a separate cavity 23c,
which would have been understood to be “openings or windows that mirror
specific detector placement layouts.” Pet. 45, 49–51; see, e.g., Ex. 1006
¶¶ 23 (“four phototransistors 22”), 24 (“stored in cavities” and “set back
from . . . detection face 23a”), Figs. 1(a)–1(b); Ex. 1003 ¶¶ 138–143.

      v.     “[d] a wall that surrounds at least the at least four detectors”
           The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which is a wall that surrounds detectors 22, as
well as other elements. Pet. 51–52; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for
storing . . . light emitting diode 21 and the photodetectors 22”), Fig. 1(b).




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vi.   “[e–g] a cover that operably connects to the wall and that is configured
       to be located between tissue of the user and the at least four detectors
       when the physiological sensor device is worn by the user, wherein: the
         cover comprises a single protruding convex surface, and at least a
        portion of the cover is sufficiently rigid to cause tissue of the user to
      conform to at least a portion of a shape of the single protruding convex
         surface when the physiological sensor device is worn by the user”
 Petitioner’s Undisputed Contentions

        Petitioner contends that Aizawa discloses a cover, i.e., an “acrylic
 transparent plate positioned between the photodetectors and the wrist,” to
 improve adhesion between the sensor and the subject’s wrist. Pet. 15.
 Patent Owner does not dispute this contention, and we agree with Petitioner.
 Aizawa discloses that “acrylic transparent plate 6 is provided on the
 detection face 23a of the holder 23 to improve adhesion to the wrist 10.”
 Ex. 1006 ¶ 34, Fig. 1(b) (depicting transparent plate 6 between sensor 2 and
 wrist 10).
        Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
 includes a “translucent board” having a convex surface that contacts the
 user’s skin. Pet. 19, 34. Patent Owner does not dispute this contention, and
 we agree with Petitioner. Ohsaki discloses that sensor 1 includes detecting
 element 2 and sensor body 3, and is “worn on the back side of the user’s
 wrist.” Ex. 1009 ¶ 16. Ohsaki discloses that detecting element 2 includes
 package 5 and “translucent board 8[,which] is a glass board which is
 transparent to light, [and is] attached to the opening of the package 5. A
 convex surface is formed on the top of the translucent board 8.” Id. ¶ 17.
 As seen in Ohsaki’s Figure 2, translucent board 8 has a single protruding
 convex surface, which is placed between a user’s tissue and a light receiving
 element (e.g., photodetector) 7 when the sensor is worn. Id. at Fig. 2. As

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also seen in Figure 2, the board 8 is operably connected to the walls of
sensor package 5. Id. ¶ 17 (“The translucent board 8 is . . . attached to the
opening of the package 5.”), Fig. 2.
         Petitioner also contends that Ohsaki’s Figure 2 depicts the user’s
tissue conforming to the shape of the convex surface of the cover, such that
the convex surface would have been understood to be “sufficiently rigid.”
Pet. 56. Patent Owner does not dispute this contention, and we agree with
Petitioner. Ohsaki’s Figure 2 depicts the user’s tissue 4 conforming to the
shape of the protruding convex surface when the sensor is worn by the user.
Ex. 1009 ¶ 17 (“The translucent board 8 is a glass board.”), Fig. 2; see, e.g.,
Ex. 1003 ¶¶ 160 (testifying as to the convex surface’s rigidity), 164.

Petitioner’s Disputed Contentions

         Petitioner further contends that a person of ordinary skill in the art
“would have found it obvious to modify the sensor’s flat cover [in Aizawa]
. . . to include a lens/protrusion . . . similar to Ohsaki’s translucent board 8,
so as to [1] improve adhesion between the user’s wrist and the sensor’s
surface, [2] improve detection efficiency, and [3] protect the elements within
sensor housing.” Pet. 36–37 (citing, e.g., Ex. 1003 ¶¶ 94–97; Ex. 1009
¶¶ 25), 53–54 (citing, e.g., Ex. 1003 ¶¶ 71–102). Petitioner contends that
Ohsaki’s convex surface is in “intimate contact” with the user’s tissue,
which prevents slippage of the sensor and increases signal strength because
“variation of the amount of the reflected light . . . that reaches the light
receiving element 7 is suppressed” and because “disturbance light from the
outside” is prevented from penetrating board 8, as compared to a sensor with
a flat surface. Id. at 34–36 (citing, e.g., Ex. 1003 ¶ 95; quoting Ex. 1009
¶ 25).
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      Accordingly, Petitioner contends that a person of ordinary skill in the
art would have modified Aizawa’s sensor to include a cover with a single
convex protrusion, as taught by Ohsaki, “that operably connects to the wall
and that is configured to be located between tissue of the user and the at least
four detectors when the sensor is worn by the user.” Pet. 36–37 (citing, e.g.,
Ex. 1003 ¶¶ 94–97), 53–54 (citing, e.g., Ex. 1003 ¶¶ 147–153). Petitioner
also contends that an ordinarily skilled artisan would have configured the
cover to be “sufficiently rigid to cause tissue of the user to conform to the
shape of the surface when worn by the user.” Id. at 56 (citing, e.g., Ex. 1003
¶¶ 61–69, 71–161).
      Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., “simply improving Aizawa-Inokawa’s transparent plate 6 that has
a flat surface to improve adhesion to a subject’s skin and reduce variation in
the signals detected by the sensor.” Pet. 37 (citing Ex. 1003 ¶ 98). Further
according to Petitioner, “the elements of the combined system would each
perform functions they had been known to perform prior to the
combination—Aizawa-Inokawa’s transparent plate 6 would remain in the
same position, performing the same function, but with a convex surface as
taught by Ohsaki.” Id. at 37–38 (citing, e.g., Ex. 1003 ¶¶ 94–99), 53–54
(citing Ex. 1003 ¶¶ 71–102).
      To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 36–37 (citing Ex. 1003 ¶¶ 94–97), 53–54.




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Petitioner’s annotated figure on the left depicts Aizawa’s sensor, modified to
include LED B (see supra Section II.D.5.iii) and with a flat “light permeable
cover” (illustrated with blue outline); Petitioner’s annotated figure on the
right depicts Aizawa’s sensor, again modified to include LED B (see supra
Section II.D.5.iii) and with a convex “light permeable cover” (illustrated
with yellow shading and green outline).

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 20–51; PO Sur-Reply 3–22.
      First, Patent Owner argues that the proposed modification “changes
Ohsaki’s structure and eliminates the longitudinal shape that gives Ohsaki’s
translucent board the ability to prevent slipping.” PO Resp. 21. This
argument is premised on Patent Owner’s contention that Ohsaki’s convex
cover must be rectangular, with the cover’s long direction aligned with the
length of the user’s forearm, to avoid interacting with bones in the wrist and
forearm. Id. at 22–24 (citing, e.g., Ex. 2004 ¶¶ 52–54; Ex. 1009 ¶¶ 6, 19, 23,
24); see also PO Sur-reply 3–10. According to Patent Owner, Ohsaki
teaches that “aligning the sensor’s longitudinal direction with the


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circumferential direction of the user’s arm undesirably results in ‘a tendency
[for Ohsaki’s sensor] to slip off.’” PO Resp. 23–24 (citing Ex. 1009 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus cannot coincide with the
longitudinal direction of the user’s wrist.” Id. at 24 (citing Ex. 2004 ¶¶ 55–
57). Patent Owner presents annotated Figures depicting what it contends is
Ohsaki’s disclosed sensor placement as compared to that of the proposed
modification, reproduced below.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
cannot avoid the undesirable interaction with the user’s bone structure,” such
that a skilled artisan “would have understood such a change would eliminate


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Ohsaki’s benefit of preventing slipping.” Id. at 25 (citing, e.g., Ex. 2004
¶¶ 54–61).
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 30.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side
opposite from where Ohsaki’s sensor is worn. Id. at 30–35 (citing, e.g.,
Ex. 1006 ¶¶ 2, 7, 9, 26, 27, 36; Ex. 2004 ¶¶ 66–70). According to Patent
Owner, Ohsaki teaches that the sensor’s convex surface has a tendency to
slip when placed on the palm side of the wrist, i.e., in the location taught by
Aizawa. Id. at 36–38 (citing, e.g., Ex. 1009 ¶¶ 19, 23, 24; Ex. 2004 ¶¶ 74–
80). Thus, Patent Owner argues that a person of ordinary skill in the art
“would not have been motivated to use Ohsaki’s longitudinal board—
designed to be worn on the back side of a user’s wrist—with Aizawa’s
palm-side sensor.” Id. at 39. Similarly, Patent Owner argues that Aizawa
teaches away from the proposed modification because Aizawa teaches that
its flat acrylic plate improves adhesion on the palm side of the wrist, while
Ohsaki teaches that its convex board “has a tendency to slip” on the palm
side of the wrist. Id. at 39–41 (citing, e.g., Ex. 2004 ¶¶ 82–84).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease signal strength.
PO Resp. 42–48 (citing, e.g., Ex. 2004 ¶¶ 85–97). Patent Owner also
contends that Petitioner and Dr. Kenny admitted as much in a related

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proceeding. Id. at 43–44 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’554 patent to support its
position. Id. at 44–45 (citing Ex. 1001, 36:3–6, 36:13–15). Additionally,
Patent Owner argues that its position is also supported by Inokawa, which
also uses a convex lens to direct light toward the center but, in Inokawa’s
structure, the light is directed from peripheral emitters toward a central
detector. Id. at 48–50 (citing, e.g., Ex. 1008 ¶¶ 15, 58). In light of the
foregoing, Patent Owner argues that a person of ordinary skill in the art
would have understood that the proposed modification would have
decreased signal strength by directing light away from Aizawa’s peripheral
detectors. Id. at 45–48.
      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 50–51 (citing Ex. 1008 ¶ 106).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 13–19 (citing, e.g., Ex. 1047 ¶¶ 16–27).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
somehow understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of modifying
Aizawa to feature a light permeable protruding convex cover to obtain the
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benefits” taught by Ohsaki. Id. at 15–16 (citing, e.g., Ex. 1047 ¶ 21).
Similarly, regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a POSITA would
      have understood Aizawa’s sensor as being limited to placement
      on the palm side of the wrist, and would have understood
      Ohsaki’s sensor’s “tendency to slip” when arranged on the front
      side as informing consideration of Ohsaki’s teachings with
      respect to Aizawa, that would have further motivated the [person
      of ordinary skill in the art] to implement a light permeable
      convex cover in Aizawa’s sensor, to improve detection
      efficiency of that sensor when placed on the palm side.
Id. at 17 (citing, e.g., Ex. 1047 ¶ 25). In other words, Ohsaki’s disclosure
that a convex surface suppresses variation in reflected light would have
motivated an artisan to add such a surface to Aizawa to improve detection
efficiency of that sensor when placed on the palm side. Id. at 18.
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Aizawa’s sensor would not decrease signal
strength but, instead, “would improve Aizawa’s signal-to-noise ratio by
causing more light backscattered from tissue to strike Aizawa’s
photodetectors than would have with a flat cover” because such a cover
improves light concentration across the entire lens and does not direct it only
towards the center. Id. at 20–28 (citing, e.g., Ex. 1047 ¶¶ 29–45).
      Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known principle of reversibility,” by which “a ray going from P to S
will trace the same route as one from S to P.” Pet. Reply 20–22 (quoting
Ex. 1040, 92; citing, e.g., Ex. 1040, 87–92; Ex. 1049, 106–111; Ex. 1047
¶ 31). When applied to Aizawa’s sensor, Petitioner contends that any
condensing benefit achieved by a convex cover would thus direct emitted
light toward Aizawa’s peripheral detectors. Id. at 21–22 (citing, e.g.,
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Ex. 1047 ¶¶ 31–35). Although Dr. Madisetti “refused to acknowledge this
basic principle of reversibility during deposition,” Petitioner contends it is
applied in Aizawa. Id. at 22 (citing, e.g., Ex. 1041, 89:12–19; Ex. 1003
¶ 127 (citing Ex. 1006 ¶ 33); Ex. 1047 ¶ 34).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and
angles.” Pet. Reply 22–24 (citing, e.g., Ex. 1019, 52, 86, 90; Ex. 1042, 803;
Ex. 1047 ¶¶ 36–41; Ex. 2006, 163:12–164:2). This scattered and diffuse
light, according to Petitioner, means that Ohsaki’s convex cover cannot
“focus all light at the center of the sensor device,” as Patent Owner argues.
Id. at 23. Instead, due to the random nature of this scattered light, Petitioner
asserts that a person of ordinary skill in the art would have understood that
“Ohsaki’s convex cover provides at best a slight refracting effect, such that
light rays that otherwise would have missed the detection area are instead
directed toward that area as they pass through the interface provided by the
cover.” Id. at 24 (citing, e.g., Ex. 1047 ¶ 42). Petitioner applies this
understanding to Aizawa, and asserts that using a cover with a convex
protrusion in Aizawa would “enable backscattered light to be detected
within a circular active detection area surrounding” a central light source,
thereby “allow[ing] a larger fraction of light randomly backscattered from
tissue to be detected within the active detection area surrounding [the light]
source.” Id. at 24–27 (citing, e.g., Ex. 1019, 86, 90; Ex. 1047 ¶¶ 42–48).
      Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 27 (citing Ex. 1047 ¶ 47).



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The above illustration depicts backscattered light reflecting off user tissue in
various directions, such that it impinges upon the peripheral detectors from
various random angles and directions. Id. According to Petitioner, this
“allow[s] the detector to capture light that otherwise would have been
missed by the detectors, regardless of their location within the sensor
device.” Id.
      Finally, Petitioner dismisses Patent Owner’s reliance on Figure 14B of
the ’554 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. For example, the light rays
(1420) shown in FIG. 14B are collimated (i.e., travelling paths parallel to
one another), and each light ray’s path is perpendicular to the detecting
surface.” Pet. Reply 26 (citing, e.g., Ex. 1047 ¶ 45).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to
combine. Id. at 28 (citing, e.g., Ex. 1047 ¶ 49).

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,

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and that “even small changes in sensor orientation or measurement location
result in slippage.” PO Sur-reply 3–14, 7.
      Concerning Patent Owner’s third argument, Patent Owner asserts that
Petitioner’s Reply improperly presents several new arguments, relying on
new evidence, as compared with the Petition. Id. at 16 (regarding
reversibility), 18–22.
      Patent Owner argues that Dr. Kenny and Petitioner have not overcome
their admissions that a convex lens directs light toward the center. Id. at 14–
16, 19. Moreover, Patent Owner argues that Petitioner’s discussion of the
principle of reversibility is “irrelevant” because it “assumes conditions that
are not present when tissue scatters and absorbs light.” Id. at 16. The
random nature of backscattered light, in Patent Owner’s view, “hardly
supports Petitioner’s argument that light will necessarily travel the same
paths regardless of whether the LEDs and detectors are reversed,” and is
irrelevant to the central issue presented here of “whether changing Aizawa’s
flat surface to a convex surface results in more light on Aizawa’s
peripherally located detectors.” Id. at 16–17.
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that Ohsaki’s cover with a convex protrusion
“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. PO Sur-reply 18–19. Patent Owner’s position, rather, is
that Petitioner has not shown that a person of ordinary skill in the art “would
have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. at 19. In Patent Owner’s view, by arguing that
the convex cover provides only a “slight refracting effect,” Petitioner



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undermines its contention that providing such a cover would have improved
detection efficiency. Id.
       Patent Owner also argues that Petitioner’s contention that a convex
cover allows more light collection generally is a new theory not supported
by Dr. Kenny’s original declaration. Id. at 20. Moreover, Patent Owner
argues that “Petitioner’s theory is unavailing because it fails to consider the
greater decrease in light at the detectors due to light redirection to a more
central location.” Id. at 20–21. According to Patent Owner, any light
redirected from the sensor’s edge could not make up for the loss of signal
strength from light redirected away from the detectors and toward the center.
Id. at 21.
       Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover
would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 22. Moreover, Patent Owner argues that “the
risk of scratches is not merely a disadvantage—it directly undermines
Petitioner’s motivation to add a convex cover to ‘protect the elements within
the sensor housing.’” Id.

Analysis

       As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Aizawa’s sensor: (1) to improve adhesion between the sensor
and the user’s tissue, (2) to improve detection efficiency, and (3) to protect
the elements within the sensor housing. Pet. 36–37 (citing, e.g., Ex. 1003


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¶¶ 94–97; Ex. 1009 ¶¶ 25). We conclude all three rationales are supported
by the evidence, as follows.
      Rationales 1 and 2
      The evidence of record persuades us that adding a convex cover, such
as that taught by Ohsaki, would have improved adhesion between the sensor
and the user’s skin, which would have increased the signal strength of the
sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25 (emphases added); see also id. ¶ 27 (“stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
user’s wrist. See, e.g., Ex. 1003 ¶¶ 95 (“[T]his contact between the convex
surface and the user’s skin is said to prevent slippage, which increases the
strength of the signals obtainable by Ohsaki’s sensor.”), 97. We also credit
Dr. Kenny’s testimony that, in light of these teachings, a person of ordinary
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skill in the art would have made such a modification to improve the pulse
sensor’s ability to emit light into, and detect light reflected from, the user’s
wrist, to generate an improved pulse signal. Ex. 1003 ¶¶ 95, 97, 155;
Ex. 1047 ¶¶ 12–13.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies:
               One of ordinary skill would have combined the teachings
        of Aizawa-Inokawa and Ohsaki as doing so would have
        amounted to nothing more than the use of a known technique to
        improve similar devices in the same way. One of ordinary skill
        would have recognized that incorporating Ohsaki’s convex
        surface is simply improving Aizawa-Inokawa’s transparent
        plate 6 that has a flat surface to improve adhesion to a subject’s
        skin and reduce variation in the signals detected by the sensor.
        Furthermore, the elements of the combined system would each
        perform similar functions they had been known to perform prior
        to the combination—Aizawa-Inokawa’s transparent plate 6


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      would remain in the same position, performing the same
      function, but with a convex surface as taught by Ohsaki.
Ex. 1003 ¶ 98; see also id. ¶¶ 84–99, 155, 160. In light of Ohsaki’s express
disclosure of the benefits of a convex cover, we credit Dr. Kenny’s testimony
that a person of ordinary skill in the art would have been motivated to modify
Aizawa as proposed, and would have had a reasonable expectation of success
in doing so.
      We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 20–27. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1009 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 16–17. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); see also Pet.


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Reply 14–15; Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d
951, 956 (Fed. Cir. 2000) (“[I]t is well established that patent drawings do
not define the precise proportions of the elements and may not be relied on
to show particular sizes if the specification is completely silent on the
issue.”).
       To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element from the right side to the
left side in FIG. 2 is longer than the length from the upper side to the lower
side.” Ex. 1009 ¶ 19. Ohsaki also describes that detecting element 2 is
aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
       In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 13–16 (noting also that
Ohsaki’s board 8 “is not coextensive with the entire tissue-facing side of
detecting element 2”). We have considered the testimony of both Dr. Kenny
and Dr. Madisetti on this point. Ex. 1047 ¶¶ 10–11, 14, 16–21; Ex. 2004
¶¶ 36–41 (relying on Ohsaki’s Figures 1–2 to support his opinion that the
convex surface is rectangular). Dr. Madisetti’s reliance on the dimensions of
Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt, 222 F.3d at 956.
We credit Dr. Kenny’s testimony that Ohsaki does not describe its convex

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surface as rectangular, because this testimony is most consistent with
Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 22–23; PO Sur-Reply 9 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause problems, (see
Ex. 1009 ¶¶ 6, 19), we do not agree that the only way to avoid these bones is
by aligning a rectangular cover with the longitudinal direction of the user’s
forearm. For example, in the annotated Figures provided by Patent Owner,
see PO Resp. 23, we discern that the circular sensor that purports to depict
the proposed modification would also avoid the bones in the forearm if it
were slightly smaller. Patent Owner provides no persuasive explanation to
justify the dimensions it provides in this annotated figure, or to demonstrate
that such a large sensor would have been required. Indeed, we discern that it
would have been within the level of skill of an ordinary artisan to
appropriately size a modified sensor to avoid these well-known anatomical
obstacles. “A person of ordinary skill is also a person of ordinary creativity,
not an automaton.” KSR, 550 U.S. at 421. After all, an artisan must be
presumed to know something about the art apart from what the references
disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing

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the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1047 ¶ 10.
Thus, we agree with Petitioner that Ohsaki’s teaching of a convex surface
would have motivated a person of ordinary skill in the art to add such a
surface to Aizawa’s circular-shaped sensor, to improve adhesion as taught
by Ohsaki. See, e.g., Pet. 34–35. Nothing in Ohsaki’s disclosure limits such
a benefit to a specific shape of the convex surface. Ex. 1047 ¶¶ 10, 14, 16–
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      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25; Ex. 1047 ¶ 11. Again, we agree with Petitioner that Ohsaki’s
teaching of a convex surface would have motivated a person of ordinary
skill in the art to add such a surface to Aizawa’s sensor, to improve signal
strength, as taught by Ohsaki. See, e.g., Pet. 34–37. Again, nothing in
Ohsaki’s disclosure limits such a benefit to the shape of the convex surface.
Ex. 1047 ¶¶ 10, 12, 13, 16–21.


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      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Aizawa and Ohsaki.6
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 30–39. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply
proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 34. In other words,
Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1009 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in


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 Patent Owner also argues that, to the extent contended by Petitioner, it
would not have been obvious to place a rectangular cover on top of
Aizawa’s sensor. PO Resp. 27–30. We do not understand Petitioner to have
made any such contention and, accordingly, do not address this argument.
See, e.g., Pet. 37 (depicting Aizawa’s circular sensor with an added convex
cover).
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comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 66, 75. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1009 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, the claims are
not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See
Ex. 1047 ¶¶ 15, 22–28. This is because the convex protrusion “promot[es]
‘intimate contact with the surface of the user’s skin,’” which “would have
increased adhesion and reduced slippage of Aizawa’s sensor when placed on
the palm side of a user’s wrist, with associated improvements in signal
quality.” Id. ¶¶ 27, 28 (“additional adhesive effect”).
      Dr. Madisetti testifies that “[b]ased on Aizawa’s teaching that a flat
acrylic plate improves adhesion on the palm side of the wrist, and Ohsaki’s
teaching that a convex surface tends to slip on the palm side of the wrist, a
[person of ordinary skill in the art] would have come to the opposite
conclusion from Dr. Kenny: that modifying Aizawa’s flat adhesive plate ‘to
include a lens/protrusion . . . similar to Ohsaki’s translucent board’ would
not ‘improve adhesion.’” Ex. 2004 ¶ 84; see also id. ¶ 82. We disagree with
this reading of Aizawa. It is true that Aizawa’s plate 6 is illustrated as
having a flat surface (Ex. 1006, Fig. 1(b)), and that Aizawa states the plate
“improve[s] adhesion” (id. ¶ 13). Aizawa further states: “the above belt 7 is
fastened such that the acrylic transparent plate 6 becomes close to the

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artery 11 of the wrist 10,” and “[t]hereby, adhesion between the wrist 10 and
the pulse rate detector 1 is improved.” Id. ¶ 26. These disclosures, however,
indicate the improved adhesion is provided by the acrylic material of plate 6,
not the shape of the surface of the plate, which is never specifically
addressed. See also id. ¶¶ 30, 34 (“Since the acrylic transparent plate 6 is
provided . . . adhesion between the pulse rate detector 1 and the wrist 10 can
be improved . . . .”). Aizawa does not associate this benefit of improved
adhesion with the surface shape of the plate, but rather, with the existence of
an acrylic plate to begin with. Thus, there is no teaching away from using a
convex surface to improve the adhesion of Aizawa’s detector to the user’s
wrist.
         We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which
Patent Owner alleges would decrease signal strength. PO Resp. 42–50. We
disagree.
         There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet. Reply
22–26; Tr. 27:18–28:4 (Petitioner’s counsel agreeing that “the incoming
light from a detection standpoint is going to be coming from all sorts of
different directions because of the randomness caused by the back
scattering”), 65:23–66:16 (Patent Owner’s counsel agreeing that light does
not simply enter tissue and come back out “like it came out on a mirror”);
Ex. 1041, 35:19–37:18 (Patent Owner’s declarant describing light scattering
as it travels through tissue, e.g., reflecting off blood, tissue, or other
material); Ex. 1043, 28:2–10 (Patent Owner’s declarant agreeing that
reflecting light can be a signal for the ’554 patent’s sensor), 61:20–62:4

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(explaining that “a light in this context, light emitted from the LEDs is
diffused through the skin in that particular context, whatever that is”);
Ex. 1047 ¶ 36.
        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1040,7
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1040, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides

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    Eugene Hecht, Optics (2nd ed. 1990).
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diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1047 ¶ 36 (“A [person of ordinary skill in
the art] would have understood that light that backscatters from the
measurement site (after diffusing through tissue) reaches the active detection
area from many random directions and angles.”).
      Dr. Kenny testifies that Aizawa “detect[s] light that has been ‘partially
reflected, transmitted, absorbed, and scattered by the skin and other tissues
and the blood before it reaches the detector.’” Ex. 1047 ¶ 36 (quoting
Ex. 1019, 36). Dr. Kenny further opines that a convex cover, when added to
Aizawa’s sensor with multiple detectors symmetrically arranged about a
central light source, “allows light rays that otherwise would have missed the
detection area to instead be directed toward that area as they pass through
the interface provided by the cover,” thus increasing the light-gathering
ability of Aizawa’s sensor. Id. ¶ 42; see also id. ¶ 46.
      By contrast Dr. Madisetti testifies that “a convex surface condenses
light passing through it towards the center of the sensor and away from the
periphery.” Ex. 2004 ¶ 86; see also id. ¶¶ 85, 89. We have considered this
testimony, however, Dr. Madisetti’s opinions largely are premised upon the
behavior of collimated and perpendicular light as depicted in Figure 14B of
the challenged patent. See id. ¶ 88. Dr. Madisetti does not explain how light
would behave when approaching the sensor from various angles, as it would
after being reflected by tissue. Id. ¶¶ 86–89; see also id. ¶¶ 90–97
(addressing motivation and also failing to discuss diffuse, scattered light). In
other words, even if Patent Owner is correct that the ’554 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light reflected by a user’s tissue is

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scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both [previously admitted] that a convex cover condenses light towards the
center of the sensor and away from the periphery,” in a different petition
filed against a related patent, i.e., in IPR2020-01520. PO Resp. 43–45;
Ex. 2004 ¶ 86. The cited portions of the Petition and Dr. Kenny’s
declaration from IPR2020-01520 discuss a decrease in the “mean path
length” of a ray of light when it travels through a convex lens rather than
through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that
this discussion is inconsistent with Dr. Kenny’s testimony here that, where
light is reflected to the detectors at various random angles and directions,
more light will reach Aizawa’s symmetrically disposed detectors when
travelling through the convex surface than would be reached without such a
surface, because light that might have otherwise missed the detectors now
will be captured. See, e.g., Ex. 1047 ¶¶ 29–30, 36. We do not discern that
the convergence of a single ray of light toward the center, as discussed in
IPR2020-01520, speaks to the aggregate effect on all light that travels
through the convex surface.
      We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition, to afford Patent Owner an adequate
opportunity to respond. The Petition proposed a specific modification of
Aizawa to include a convex protrusion in the cover, for the purpose of
increasing the light gathering ability of Aizawa’s device. See Pet. 34–38.
The Patent Owner Response then challenged that contention, with several

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arguments that Petitioner’s proposed convex protrusion would not operate in
the way the Petition alleges it would operate. See PO Resp. 42–50. This
opened the door for Petitioner to provide, in the Reply, arguments and
evidence attempting to rebut the contentions in the Patent Owner Response.
See PTAB Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated
Guide”),8 73 (“A party also may submit rebuttal evidence in support of its
reply.”). This is what Petitioner did here. The Reply does not change
Petitioner’s theory for obviousness; rather, the Reply presents more
argument and evidence in support of the same theory for obviousness
presented in the Petition. Compare Pet. 34–38, with Reply 20–27.
        Rationale 3
        Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 36–37. We are persuaded that adding a convex
cover, such as that taught by Ohsaki, would also protect the sensor’s internal
components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 97; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s] the LED or
PD”).
        We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner’s counsel did not dispute, during the oral
hearing, that a convex cover would indeed serve to protect the internal


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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
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 sensor components in Aizawa, as Petitioner proposes. Tr. 64:6–65:5 (but
 noting that a flat cover would also protect and would be less prone to
 scratches). That a convex cover may be more prone to scratches than
 Aizawa’s flat cover is one of numerous tradeoffs that a person of ordinary
 skill in the art would consider in determining whether the benefits of
 increased adhesion, signal strength, and protection outweigh the potential for
 a scratched cover. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165
 (Fed. Cir. 2006). The record does not support that the possibility of
 scratches alone would have dissuaded a person of ordinary skill in the art
 from the proposed modification, to achieve the benefits identified by
 Petitioner.
        For the foregoing reasons, we are persuaded by Petitioner’s
 contentions.

vii.   “[h] a handheld computing device in wireless communication with the
        physiological sensor device, wherein the handheld computing device
                                     comprises”
 Petitioner’s Contentions

        Petitioner contends that the combination of, inter alia, Aizawa and
 Inokawa teaches a sensor device that is in wireless communication with a
 base device through its LEDs, wherein that base device is connected further
 to a PC. Pet. 27, 56–57; see, e.g., Ex. 1006 ¶ 15 (“a transmitter for
 transmitting the measured pulse rate data to a display for displaying the
 pulse rate data”); Ex. 1008 ¶¶ 75 (explaining that sensed physiological
 information is transmitted from the sensor to the base device, when
 mounted, and further that “[t]he base device 17 . . . transmits this
 information to the PC 59”), 76, 77.

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      Petitioner also contends that Mendelson-2006 discloses a body-worn
pulse oximetry system including a sensor module, a receiver module, and a
PDA. Pet. 29, 58–59; see, e.g., Ex. 1010, 1–2 (describing system), Fig. 1
(sensor attached to skin), Fig. 3 (PDA). Petitioner contends that signals
acquired by the sensor are received and processed by the receiver module,
and then wirelessly transmitted to the PDA. Pet. 30; Ex. 1010, 2. Petitioner
contends that wireless transmission to a PDA, as discussed in Mendelson-
2006, provides advantages such as offering “a low-cost touch screen
interface,” and “more effective medical care.” Pet. 30–31; Ex. 1010, 3–4.
      Petitioner contends that a person of ordinary skill in the art “would
have also found it obvious to implement the physiological sensor device
resulting from the combined teachings of Aizawa, Inokawa, and Ohsaki as
part of a physiological measurement system including a handheld computing
device, and to enable the physiological sensor device to communicate
wirelessly with the handheld computing device,” to obtain the advantages
taught by Mendelson-2006. Pet. 28, 31–32, 33, 58; Ex. 1003 ¶¶ 80–83, 89–
91; see also Pet. 43 n.4.

Patent Owner’s Arguments

      Patent Owner disputes Petitioner’s contentions. Patent Owner argues
that Petitioner’s proposed combination is rooted in hindsight and results in a
more complicated system. PO Resp. 59, 60. Specifically, Patent Owner
characterizes Petitioner’s combination as
      (1) eliminat[ing] Aizawa’s existing transmitter so the resulting
      device will not require “a separate RF circuit”; (2) chang[ing]
      Aizawa’s structure to add a second LED to transmit data using a
      base station, which would also require that a user remove the
      sensor before any data transfer can occur and thus eliminate the

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      ability to display data in real-time; and then (3) add[ing] back in
      a separate communications circuit to the base station based on
      Mendelson 2006 so that the base station can send data to a PDA
      with a touch screen display.
Id. at 59–60 (citing, e.g., Ex. 2004 ¶ 114), 61. Patent Owner further argues
that such a modification eliminates the desired real-time monitoring
employed by Mendelson-2006. Id. (citing Ex. 2004 ¶¶ 113, 115).9

Analysis

      As discussed above in Section II.D.5.iii, we determine that Petitioner
demonstrated sufficiently that a person of ordinary skill in the art would
have found it obvious to modify Aizawa to include an additional LED to,
inter alia, allow for wireless transmission of sensed pulse rate and motion
data to a base device. We further noted that although Aizawa discloses
transmission of data for display (Ex. 1006 ¶¶ 15, 35), Aizawa is silent as to
how the data is transmitted or displayed. In light of the combination with
Inokawa, therefore, Aizawa’s multiple LEDs would have allowed wireless
transmission of data to a base device. See, e.g., Ex. 1008 ¶ 76 (“[V]ital sign
information stored in the memory 63, such as pulse and body motion, is
transmitted to the base device 17 using the S-side infrared LED 23 of the
pulse sensor 1 and the B-side PD 45 of the base device 17.”).
      Inokawa further discloses that the base device, once it receives
information from the sensor, “transmits this information to the PC 59.” Id.
¶ 75; see also id. ¶¶ 67, 77. As described by Dr. Kenny, “the physiological



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 We do not address Patent Owner’s argument that Mendelson-2006 does not
disclose a “multi-emitter/multi-detector sensor” because Mendelson-2006 is
not relied upon for such limitations. See supra § II.D.iii, iv.
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sensor device’s sensor component transmits physiological measurement data
to an included base station via an optical communications interface, and the
physiological sensor device’s base station transmits signals responsive to a
physiological parameter to a computer, via a network interface.” Ex. 1003
¶ 81.
        With this backdrop, we are persuaded by Petitioner’s contention that it
would have been obvious to implement the physiological sensor device
resulting from the combined teachings of Aizawa, Inokawa, and Ohsaki as
part of a physiological measurement system that includes a handheld
computing device. Indeed, Aizawa and Inokawa already teach the
desirability of transmitting sensed data to, e.g., a computer or a display,
although neither discloses further detail. See, e.g., Ex. 1006, 15; Ex. 1008
¶ 75; see also Ex. 1047 ¶ 56 (Aizawa is silent). In light of these teachings,
we credit Dr. Kenny’s testimony that transmitting sensed data wirelessly to a
handheld computing device, as taught by Mendelson-2006, would have
achieved the identified benefits of, e.g., providing a low-cost display with a
simple user interface and easy activation of functions (Ex. 1003 ¶ 86) and
the ability to provide more effective medical care when the handheld device
is carried by first responders (id. ¶ 90). See, e.g., id. ¶¶ 82–87, 91–93;
Ex. 1047 ¶¶ 59–60. We are also persuaded that this would have been within
the skill level of an ordinary artisan and would have achieved predictable
results. Id. ¶ 92.
        We do not agree with Patent Owner’s characterization of the proposed
combination. Petitioner does not propose “(1) eliminat[ing] Aizawa’s
existing transmitter . . . (2) chang[ing] Aizawa’s structure to add a second
LED to transmit data using a base station . . .; and then (3) add[ing] back in a

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separate communications circuit to the base station.” Contra PO Resp. 59–
60; Ex. 1047 ¶ 58. As discussed above, Petitioner proposes that the system
suggested by, inter alia, Aizawa and Inokawa—which includes a sensor in
communication with a base device, and which contemplates additional
communication from the base device to a PC—further includes a handheld
computing device in wireless communication with that system. In other
words, Petitioner’s proposed combination effectively replaces or
supplements Inokawa’s PC 59 with a PDA, such as that taught by
Mendelson-2006. Thus, in Petitioner’s proposed combination, physiological
data is sensed by Aizawa’s sensor, transmitted to a base device through an
additional LED, as taught by Inokawa, and further transmitted to, inter alia,
a PDA, as taught by Mendelson-2006. See, e.g., Pet. 27–34; see also id. at
43 n.4 (describing the proposed combination as, inter alia, adding
“Inokawa’s base station to Aizawa’s physiological sensor device such that
the sensor device includes a sensor and a base station with which the sensor
communicates and through which the sensor communicates with a handheld
device”). Indeed, both Aizawa and Inokawa expressly contemplate
transmission to an additional computing device (see, e.g., Ex. 1006, 15;
Ex. 1008 ¶ 75); Petitioner’s proposed modification merely states that such
transmission occurs wirelessly to a handheld device. The record supports
this contention.
      We have considered Dr. Madisetti’s testimony, but it is based on the
same mischaracterization put forth by Patent Owner. Ex. 2004 ¶¶ 112
(mischaracterizing the combination), 114 (same). Notwithstanding this
misrepresentation of the proposed modification, Dr. Madisetti does not
dispute Dr. Kenny’s testimony that wireless transmission to a handheld

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    computing device would have achieved the identified benefits, such as a
    low-cost device that improves medical care. See id. ¶¶ 112–118. As such,
    we credit Dr. Kenny’s unrebutted testimony.
           Patent Owner and Dr. Madisetti further criticize the combination,
    asserting that Mendelson-2006’s wireless transmission exists to allow real-
    time monitoring, which is impossible where a sensor must be mounted on a
    base device to transfer information through LEDs. Id. ¶ 113; see also PO
    Resp. 59. However, as discussed in Section II.D.iii above, the lack of real-
    time measurement and transmission is simply one consideration among
    many. As noted in Inokawa, real-time wireless communication has its
    drawbacks. Ex. 1008 ¶ 5. We discern that a skilled artisan would have
    weighed these competing interests. “[A] given course of action often has
    simultaneous advantages and disadvantages, and this does not necessarily
    obviate motivation to combine.” Medichem, 437 F.3d at 1165 (citation
    omitted).

viii.   “[i] one or more processors configured to wirelessly receive one or more
          signals from the physiological sensor device, the one or more signals
              responsive to at least a physiological parameter of the user”
           The cited evidence supports Petitioner’s contention that Mendelson-
    2006 describes wirelessly transmitting vital physiological information
    acquired from a sensor to a PDA, which receives it. Pet. 59–61; see, e.g.,
    Ex. 1010, 1, 2 (“The PDA can monitor multiple wearable pulse oximeters
    simultaneously and allows medics to collect vital physiological information
    to enhance their ability to extend more effective care to those with the most
    urgent needs.”), 3 (explaining that the PDA “has sufficient computational
    resources for the intended application” and “can also serve to temporarily
    store vital medical information received from the wearable unit”), 3 (“The
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[PDA’s graphical user interface] also displays the subject’s vital signs,
activity level, body orientation, and a scrollable PPG waveform that is
transmitted by the wearable device.”), Fig. 3 (displaying SpO2 and HR data);
Ex. 1003 ¶¶ 179–180.
       As discussed above, Petitioner’s proposed combination involves
transmission of sensed data from Aizawa’s physiological sensor to a base
device, as taught by Inokawa, and further wireless transmission of that data
from the base device to a handheld computing device, such as a PDA. See
supra §§ II.D.5.iii (transmission to base device accomplished with an
additional LED, as taught by Inokawa), II.D.5.vii (further transmission from
base device to, e.g., a PC and/or PDA, as taught by Mendelson-2006, and
contemplated by Aizawa and Inokawa). In light of these teachings, we are
persuaded by Petitioner’s contention that a person of ordinary skill in the art
“would have found it obvious to configure a processor of the PDA to
wirelessly receive signals from the physiological sensor device” taught by
the combination of, inter alia, Aizawa, Inokawa, and Mendelson-2006,
wherein “the signals [are] responsive to physiological parameters of the
user.” Pet. 60–61; see, e.g., Ex. 1003 ¶ 185.
       Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
Ex. 1003 ¶¶ 181–186. Patent Owner does not present any argument against
this limitation, apart from the arguments already addressed in Section
II.D.5.vii.




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ix.    “[j]–[l] a touch-screen display configured to provide a user interface,
      wherein: the user interface is configured to display indicia responsive to
      measurements of the physiological parameter, and an orientation of the
             user interface is configurable responsive to a user input”
        The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes a PDA with a touchscreen display configured to display
indicia responsive to measurements of, e.g., SpO2 and HR. Pet. 61–62; see,
e.g., Ex. 1010, 3 (“The use of a PDA . . . also provides a low-cost touch
screen interface.”).
        Petitioner acknowledges that “Mendelson-2006 does not explicitly
state that an orientation of the GUI provided by the PDA is configurable
responsive to a user input.” Pet. 63. However, Petitioner contends that a
person of ordinary skill in the art would have understood that “the LabVIEW
software that was used ‘to control all interactions between the PDA and the
wearable unit via [t]he graphical user interface’ included the option to
configure an orientation of a user interface,” e.g., by setting the report
orientation to portrait or landscape view. Id. (alteration in original); see,
e.g., Ex. 1003 ¶¶ 191–192; Ex. 1027, 186 (“Set the report orientation—
portrait or landscape.”).
        Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to make an orientation
of the PDA’s user interface configurable responsive to a user input, for the
sake of user convenience.” Pet. 64; see, e.g., Ex. 1003 ¶ 193.
        Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
See, e.g., Ex. 1003 ¶¶ 187–195. Patent Owner does not present any



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 argument against this limitation, apart from the arguments already addressed
 in Section II.D.5.vii.

x.   “[m] a storage device configured to at least temporarily store at least the
                 measurements of the physiological parameter.”
        The cited evidence supports Petitioner’s contention that Mendelson-
 2006 teaches that the PDA is configured to store vital medical information
 received from the wearable pulse oximeter, and that an ordinarily skilled
 artisan “would have understood that the vital medical information would
 have included measurements of the physiological parameters obtained by the
 physiological sensor device (e.g., SpO2 and HR).” Pet. 65; Ex. 1010, 3
 (“The PDA can also serve to temporarily store vital medical information
 received from the wearable unit.”); Ex. 1003 ¶ 198. Thus, Petitioner
 contends that a person of ordinary skill in the art “would have configured a
 storage device of the PDA to at least temporarily store measurements of
 physiological parameters (e.g., SpO2 and HR).” Pet. 64–65; see, e.g.,
 Ex. 1003 ¶ 197.
        Petitioner’s stated reasoning for the proposed modification is
 sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
 See, e.g., Ex. 1003 ¶¶ 196–199. Patent Owner does not present any
 argument against this limitation, apart from the arguments already addressed
 in Section II.D.5.vii.

                   xi.    Reasonable Expectation of Success
        Patent Owner argues that Petitioner has failed to demonstrate a
 reasonable expectation of success because Dr. Kenny did not perform a
 design analysis to create a functional sensor. PO Resp. 62–63. We disagree.
 As discussed in detail above, each of Petitioner’s proposed modifications to

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Aizawa—whether to include a second emitter, as taught by Inokawa; or to
include a cover with a convex surface, as taught by Ohsaki; or to
communicate with a handheld computing device, as taught by Mendelson-
2006—is rooted in explicit teachings of the prior art, and is supported by
persuasive declarant testimony.
      We credit Dr. Kenny’s testimony that, for each proposed
modification, the combined prior art teachings would have been applied as
known, to achieve predictable results. See, e.g., Ex. 1003 ¶¶ 78 (applying
Inokawa’s teachings would have been “nothing more than improving
Aizawa’s pulse wave sensor that uses a single LED with the use of a known
technique disclosed by Inokawa to detect and record body motion in addition
to blood flow”), 160 (applying Ohsaki’s teachings would have been “nothing
more than adjusting transparent plate 6’s shape to include a convex
protrusion/lens surface similar to that disclosed by Ohsaki, and one of
ordinary skill would have understood that this adjustment would improve
adhesion to the user’s skin and reduce variation in the signals detected by the
sensor”), 178 (“applying Mendelson[-]2006’s teachings . . . would have led
to predictable results without altering or hindering the functions performed
by the physiological sensor device. In fact, one of ordinary skill would have
been motivated to implement the well-known technique of wirelessly
transmitting data . . . to a handheld computing device”). For similar reasons
discussed above with respect to each proposed modification, we conclude
that that a skilled artisan would have had a reasonable expectation of
success. See supra § II.D.5.iii, vi, vii–x; see also Ex. 1003 ¶¶ 71–199.




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                              xii.   Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                              Independent Claim 20
      Independent claim 20 consists of limitations that are substantially
similar to elements [a]–[h] of claim 1. Compare Ex. 1001, 44:51–45:21,
with id. at 46:31–52 (reciting that the “convex surface,” as opposed to “the
cover,” is “sufficiently rigid”; omitting details of the “handheld computing
device”). In asserting that claim 20 also would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006,
Petitioner refers to the same arguments presented as to claim 1. See Pet. 76–
78. Patent Owner relies on the same arguments discussed above regarding
claim 1. PO Resp. 11–63.
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 20 would have been obvious over the cited combination of references.
See supra § II.D.5.

                               Dependent Claim 28

      Dependent claim 28 ultimately depends from independent claim 20
and further recites “the single protruding convex surface protrudes a height
greater than 2 millimeters and less than 3 millimeters.” Ex. 1001, 48:16–18.
      Petitioner reiterates that the sensor rendered obvious by the combined
teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006 would have
included a cover with a single protruding convex surface, see supra
§ II.D.5.vi, and further contends that a person of ordinary skill in the art
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“would have found it obvious that a device designed to fit on a user’s wrist
would be on the order of millimeters,” consistent with Ohsaki’s disclosure
that the device is in “intimate contact” with the user’s skin. Pet. 85–86
(citing, e.g., Ex. 1003 ¶ 275). Petitioner also contends that an ordinarily
skilled artisan would have taken user comfort into account when establishing
the dimensions of the device’s convex cover. Id. at 86–87. With these
considerations in mind, Petitioner contends that, “in order to provide a
comfortable cover featuring a protruding convex surface that prevents
slippage, the surface should protrude a height greater than 2 millimeters and
less than 3 millimeters,” because “there would have been a finite range of
possible protruding heights, and it would have been obvious to select a
protruding height that would have been comfortable to the user.” Id. (citing,
e.g., Ex. 1003 ¶¶ 273–277).
       Patent Owner argues that none of the cited references disclose the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 64–66 (citing, e.g., Ex. 2004 ¶¶ 121–124). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
66–67.
       Petitioner is correct that, “[w]hen there are a finite number of
identified, predictable solutions, a person of ordinary skill in the art has good
reason to pursue the known options within his or her technical grasp. If this
leads to the anticipated success, it is likely the product . . . of ordinary skill
and common sense.” KSR, 550 U.S. at 398. Petitioner has shown
sufficiently that only a finite number of solutions existed with respect to the
height of a convex protrusion on a tissue-facing sensor, which would have
met the art-recognized goals of both (1) intimate contact between the

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sensor’s surface and the user and (2) user comfort. See, e.g., Ex. 1009 ¶¶ 6,
25. Bearing in mind these considerations, we credit Dr. Kenny’s testimony
that it would have been obvious, “in order to provide a comfortable cover
featuring a protruding convex surface that prevents slippage, [that] the
surface should protrude a height greater than 2 millimeters and less than 3
millimeters.” Ex. 1003 ¶ 276.
      We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of Aizawa,
Inokawa, Ohsaki, or Mendelson-2006 teach the claimed range. PO Resp.
64–66; Ex. 2004 ¶¶ 105–107. Petitioner relies upon the knowledge, ability,
and creativity of a person of ordinary skill in the art, not the teachings of a
specific reference. Notably, Dr. Madisetti does not dispute Dr. Kenny’s
position that there were a finite number of options available for the height of
the convex surface. Ex. 2004 ¶¶ 121–124. Therefore, we do not agree that
Petitioner’s contentions are rooted in impermissible hindsight. See, e.g., In
re McLaughlin, 443 F.2d 1392, 1395 (CCPA 1971) (“Any judgment on
obviousness is in a sense necessarily a reconstruction based upon hindsight
reasoning, but so long as it takes into account only knowledge which was
within the level of ordinary skill at the time the claimed invention was made
and does not include knowledge gleaned only from applicant’s disclosure,
such a reconstruction is proper.”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 28 would have been obvious over the cited combination of references.




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                        Dependent Claims 2–7 and 21–27

      Petitioner also contends that claims 2–7 and 21–27 would have been
obvious based on the same combination of prior art addressed above. These
challenged claims all depend directly or indirectly from independent claim 1
or 20. Petitioner identifies teachings in the prior art references that teach or
suggest the limitations of these claims, and provides persuasive reasoning as
to why the claimed subject matter would have been obvious to one of
ordinary skill in the art. Pet. 65–75, 78–87. Petitioner also supports its
contentions for these claims with the testimony of Dr. Kenny. Ex. 1003
¶¶ 200–230, 245–277.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claims 1
and 20. PO Resp. 63–64 (“[T]he Petition fails to establish that independent
claims 1 and 20 are obvious in view of the cited references of Ground 1 and
therefore fails to establish obviousness of any of the challenged dependent
claims.”); see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–7 and 21–27 would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006, for
the reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny.

                                    Conclusion

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–7

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and 20–28 would have been obvious over the cited combination of
references.

                E. Obviousness over the Combined Teachings of
              Aizawa, Inokawa, Ohsaki, Mendelson-2006, and Bergey
      Petitioner contends that claims 8–19 of the ’554 patent would have
been obvious over the combined teachings of Aizawa, Inokawa, Ohsaki,
Mendelson-2006, and Bergey. Pet. 87–98; see also Pet. Reply 36–38.
Patent Owner disagrees. PO Resp. 67–69; see also PO Sur-reply 27–29.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 8–12 and 14–19 are unpatentable,
but has not met its burden with respect to claim 13.

                         Overview of Bergey (Ex. 1016)
      Bergey is a U.S. patent titled “Solid State Watch with Magnetic
Setting,” and discloses a watch in which the electronics are “hermetically
sealed in the watch case to be free of dust and moisture.” Ex. 1016, code
(57). Moreover, the electronic components are “resiliently mounted for
improved shock resistance.” Id.

                  Dependent Claims 8–10, 12, 14–16, 18, and 19
      Petitioner contends that it would have been obvious to have modified
the sensor of Aizawa-Inokawa-Ohsaki-Mendelson-2006 to hermetically seal
the sensor components within the substrate, wall, and cover, so as to obtain
advantages disclosed by Bergey, e.g., to protect the electronics and prevent
condensation within the case. Pet. 88–89 (citing Ex. 1003 ¶¶ 278–281;
Ex. 1016, code (57), 2:56–67, 8:48–9:34).


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      Petitioner identifies teachings in the prior art references that teach or
suggest the limitations of each of dependent claims 8–10, 12, 14–16, 18, and
19, and provides persuasive reasoning as to why the claimed subject matter
would have been obvious to one of ordinary skill in the art. Pet. 89–97.
Petitioner also supports its contentions for these claims with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 282–291, 294–298, 302–312, 315–316.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claims 1
and 20. PO Resp. 63–64 (“[T]he Petition fails to establish that independent
claims 1 and 20 are obvious in view of the cited references of Ground 1 and
therefore fails to establish obviousness of any of the challenged dependent
claims.”); see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 8–10, 12, 14–16, 18, and 19 would have been obvious
over the combined teachings of Aizawa, Inokawa, Ohsaki, Mendelson-2006,
and Bergey for the reasons discussed in the Petition and as supported by the
testimony of Dr. Kenny.

                          Dependent Claims 11 and 17
      Dependent claim 11 ultimately depends from independent claim 1 and
further recites “the single protruding convex surface protrudes a height
between 1 millimeter and 3 millimeters.” Ex. 1001, 45:65–67. Dependent
claim 17 also ultimately depends from independent claim 1 and further
recites “the single protruding convex surface protrudes a height greater than
2 millimeters and less than 3 millimeters.” Id. at 46:23–25.


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      With respect to claims 11 and 17, both Petitioner and Patent Owner
refer to their positions advanced with respect to claim 28, addressed in
Section II.D.7 above. Pet. 91 (citing, e.g., Ex. 1003 ¶¶ 61–102, 273–277,
278–293), 96 (citing, e.g., Ex. 1003 ¶¶ 61–199, 273–277, 292–293, 313–
314); PO Resp. 67–68, 69 (citing Ex. 2004 ¶¶ 126–129).
      For the same reasons discussed above in Section II.D.7, we determine
that Petitioner has met its burden of demonstrating by a preponderance of
the evidence that claims 11 and 17 would have been obvious over the cited
combination of references.

                              Dependent Claim 13
      Dependent claim 13 ultimately depends from independent claim 1 and
further recites “the displayed indicia are further responsive to temperature.”
Ex. 1001, 46:4–6; see also id. 45:14–16 (claim 1 reciting, “the user interface
is configured to display indicia responsive to measurements of the
physiological parameter”).
      Petitioner contends that, as discussed above in Section II.D.5, the
combined sensor “would have included a touch-screen display that provides
a GUI including display indicia that are response [sic] to a user input.”
Pet. 92. Petitioner further contends,
             Consistent with Mendelson-2006’s description of the
      PDA’s “simple GUI” being configured to allow for “easy
      activation of various functions,” a [person of ordinary skill in the
      art] would have found it obvious to make an orientation of the
      PDA’s user interface configurable responsive to temperature, for
      the sake of user convenience. A POSITA would have understood
      that a display indicia that changes when the temperature reaches
      a threshold value is responsive to temperature. Thus, a POSITA
      would have found it obvious that a system resulting from the
      combination of Aizawa, Inokawa, Ohsaki, Mendelson-2006, and

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      Bergey would have allowed an orientation of the user interface
      to be further responsive to temperature.
Id. at 93 (citing Ex. 1003 ¶¶ 299–301; Ex. 1010, 3; Ex. 1020, 2, 6).
      Patent Owner disputes Petitioner’s contention, arguing that “Petitioner
fails to identify any mention of temperature in Ohsaki, Aizawa, Inokawa,
Mendelson 2006, or Bergey, let alone display indicia responsive to
temperature.” PO Resp. 68. Patent Owner also argues that the cited portion
of Exhibit 1020 likewise fails to mention temperature, and while an uncited
portion mentions “operating temperature” and “storage temperature,” they
are not relied upon or explained. Id.
      On Reply, Petitioner contends that Dr. Kenny’s cited testimony
described the “LabView program, which includes a user interface configured
to indicate when a temperature exceeds a threshold. . . . Thus, the Petition
provides clear evidence that it was well known to display indicia that are
responsive to temperature, and relates the same to Mendelson-2006’s
description of the PDA’s user interface.” Pet. Reply 37–38 (citing, inter
alia, Ex. 1003 ¶ 300; Ex. 1027, 46; Ex. 1047 ¶¶ 66–67).
      In its Sur-Reply, Patent Owner argues that reliance on the LabView
manual provided as Exhibit 1027 is untimely, as it was not cited in the
Petition or in Dr. Kenny’s Declaration. PO Sur-reply 28–29. Moreover,
Patent Owner argues that Petitioner still fails to explain why a person of
ordinary skill in the art “would have added indicia responsive to
temperature to Aizawa’s pulse wave sensor based on LabVIEW’s
discussion of ‘monitoring the temperature of an experiment.’” Id. at 29
(citing Ex. 1027, 46). Further, Patent Owner argues that “Petitioner
abandons its original argument” regarding the “orientation of the user


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interface” being “responsive to temperature,” and now on Reply argues that
it is the “display indicia that are responsive to temperature.” Id. (citing
Pet. 93; Reply 37–38).
      We agree with Patent Owner. The Petition contends it would have
been obvious “to make an orientation of the PDA’s user interface
configurable responsive to temperature, for the sake of user convenience.”
However, none of the cited evidence supports this contention. Pet. 93;
Ex. 1003 ¶¶ 299–301; Ex. 1010, 3; Ex. 1020, 2, 6.
      Specifically, Dr. Kenny’s declaration discusses the LabVIEW
program and contends that it “included features that indicated ‘when the
temperature goes above a certain level,’” and concluded that “[o]ne of
ordinary skill would have understood that a display indicia that changes
when the temperature reaches a threshold value is responsive to
temperature.” Ex. 1003 ¶ 300. However, while the citation to Mendelson-
2006 (Ex. 1010, 3) references LabVIEW, it does not discuss temperature, or
display indicia responsive to temperature. Likewise, the cited portions of the
HP iPAQ Specifications (Ex. 1020, 2, 6) also fail to discuss temperature or
display indicia responsive to temperature. As such, Dr. Kenny’s initial
testimony lacks any supporting evidence.
      On Reply, Petitioner cites a LabVIEW User Manual (Ex. 1027),
which states that a warning light may activate to indicate when the
temperature of an experiment exceeds a certain level. Id. at 46. We agree
with Patent Owner that this evidence should have been cited in the Petition.
As discussed above, the Petition lacks any supporting evidence to support
the contention of obviousness. Petitioner cannot provide such evidence on
Reply when it should have been offered in the Petition.

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                                   Conclusion

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 8–
12 and 14–19 would have been obvious over the cited combination of
references, but has not met its burden with respect to claim 13.




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                           III.     CONCLUSION

        In summary: 10
     Claims      35 U.S.C. § Reference(s)/          Claims     Claims Not
                                Basis               Shown        Shown
                                                 Unpatentable Unpatentable
 1–7, 20–28      103              Aizawa,        1–7, 20–28
                                  Inokawa,
                                  Ohsaki,
                                  Mendelson-
                                  2006
 8–19            103              Aizawa,      8–12, 14–19       13
                                  Inokawa,
                                  Ohsaki,
                                  Mendelson-
                                  2006, Bergey
 Overall                                       1–12, 14–28       13
 Outcome


                                  IV.   ORDER

        Upon consideration of the record before us, it is:
        ORDERED that claims 1–12 and 14–28 of the ’554 patent have been
shown to be unpatentable;




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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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      FURTHER ORDERED that claim 13 of the ’554 patent has not been
shown to be unpatentable;
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01714
                       United States Patent No.: 10,631,765 B1
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
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      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01714
   DATE                                     DESCRIPTION
09/30/2020   Petition for Inter Partes Review
09/30/2020   Petitioner’s Power of Attorney
09/30/2020   Petitioner’s Notice Ranking Petitions and Explaining Material Differences
10/15/2020   Notice of Filing Date Accorded
10/20/2020   Patent Owner’s Mandatory Notices
01/08/2021   Petitioner’s Updated Exhibit List
01/15/2021   Patent Owner’s Notice of Waiver of Preliminary Response
04/13/2021   Decision - Institution of Inter Partes Review Proceeding
04/13/2021   Scheduling Order
04/27/2021   Patent Owner’s Objections to Admissibility of Petitioner’s Evidence
             Submitted Before Trial Institution
05/20/2021   Petitioner’s Motion to File Supplemental Information
05/26/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
06/01/2021   Petitioner’s Submission of Supplemental Information
06/10/2021   Stipulation Modifying Due Dates
06/29/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
07/23/2021   Patent Owner’s Response to Petition
07/23/2021   Patent Owner’s Exhibit List
07/30/2021   Petitioner’s Objections to Evidence
09/13/2021   Petitioner’s Updated Mandatory Notice
10/29/2021   Petitioner’s Reply to Patent Owner’s Response
11/05/2021   Patent Owner’s Objections to Admissibility of Evidence to Petitioner’s Reply
11/17/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
12/03/2021   Petitioner’s Oral Hearing Request
12/03/2021   Patent Owner’s Request for Oral Argument
12/10/2021   Patent Owner’s Sur-reply
12/10/2021   Patent Owner’s Updated Exhibit List
12/17/2021   Order Setting Oral Argument
12/17/2021   Petitioner’s Objections to Evidence
01/06/2022   Patent Owner’s Mandatory Notice
01/14/2022   Patent Owner’s Demonstratives for Trial Hearing
01/14/2022   Petitioner’s Updated Exhibit List
02/16/2022   Oral Hearing Transcript
04/06/2022   Final Written Decision
04/12/2022   Notice of Appeal
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Trials@uspto.gov                                                   Paper 34
571-272-7822                                             Date: April 6, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE



        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01714
                         Patent 10,631,765 B1


Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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Patent 10,631,765 B1

                           I.    INTRODUCTION

                                 A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–29 (“challenged claims”) of U.S. Patent No. 10,631,765
B1 (Ex. 1001, “the ’765 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 7 (“PO
Waiver”). We instituted an inter partes review of all challenged claims 1–
29 on all grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 8
(“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 16, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 20, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 25, “PO Sur-reply”). An oral hearing
was held on January 19, 2022, and a transcript of the hearing is included in
the record. Paper 33 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–29 of the ’765 patent are unpatentable.

                                B. Related Matters
      The parties identify the following matters related to the ’765 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims 1–29 of the ’765 patent);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
                                        2
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      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1); and

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      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 4–5; Paper 5, 1–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’765 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 5, 1–2.

                              C. The ’765 Patent
      The ’765 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on April 28,
2020, from U.S. Patent Application No. 16/725,478, filed December 23,
2019. Ex. 1001, codes (21), (22), (45), (54). The ’765 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’765 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:38–
40. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–35, 64–65. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:45–48.


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      Figure 1 of the ’765 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:47–58. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:59–63. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 14:3–7. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:7–10, 26–32. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:2–14.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals

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received from the detectors.” Id. at 15:21–24. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:46–56. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:60–16:11.
      The ’765 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–39, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492a, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–48.



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      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:39–43. The measurement site contact area may
include windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:49–63.

                            D. Illustrative Claim
      Of the challenged claims, claims 1 and 21 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A physiological measurement system comprising:
      [a] a physiological sensor device comprising:
         [b] one or more emitters configured to emit light into tissue
               of a user;
         [c] at least four detectors, wherein each of the at least four
                detectors has a corresponding window that allows light
                to pass through to the detector;

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          [d] a wall that surrounds at least the at least four detectors;
                and
          [e] a cover comprising a protruding convex surface, wherein
                 the protruding convex surface is above all of the at least
                 four detectors, wherein at least a portion of the
                 protruding convex surface is rigid, and wherein the
                 cover operably connects to the wall; and
      [f] a handheld computing device in wireless communication with
             the physiological sensor device, wherein the handheld
             computing device comprises:
               [g] one or more processors configured to wirelessly
                     receive one or more signals from the physiological
                     sensor device, the one or more signals responsive to
                     at least a physiological parameter of the user;
               [h] a touch-screen display configured to provide a user
                      interface, wherein:
               [i] the user interface is configured to display indicia
                      responsive to measurements of the physiological
                      parameter, and
               [j] an orientation of the user interface is configurable
                     responsive to a user input; and
               [k] a storage device configured to at least temporarily store
                       at least the measurements of the physiological
                       parameter.
Ex. 1001, 44:51–15 (bracketed identifiers a–k added). Independent claim 21
includes limitations substantially similar to limitations [a]–[f] of claim 1. Id.
at 46:31–49.

                              E. Applied References
      Petitioner relies upon the following references:
            Bergey, U.S. Patent No. 3,789,601, filed July 15, 1971, issued
      February 5, 1974 (Ex. 1016, “Bergey);


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            Mendelson, U.S. Patent No. 6,801,799 B2, filed February 6,
      2003, issued October 5, 2004 (Ex. 1012, “Mendelson-799”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Schulz et al., U.S. Patent Application Publication No.
      2004/0054291 A1, filed July 31, 2003, published March 18, 2004
      (Ex. 1013, “Schulz”);
            Goldsmith et al., U.S. Patent Application Publication
      No. 2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1011, “Goldsmith”); and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”).
Pet. 11.
      Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), and the Second Declaration of Thomas W. Kenny
(Ex. 1047). Patent Owner submits, inter alia, the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this proceeding and
others. See Exs. 1052–1054, 2006–2009, 2027.




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                     F. Asserted Grounds of Unpatentability
      We instituted an inter partes review based on the following grounds.
Inst. Dec. 10, 34.
 Claim(s) Challenged         35 U.S.C. §                  References/Basis
 1–8, 10–13, 15–16,                              Mendelson-799, Ohsaki,
                                   103
 20–29                                           Schulz, Mendelson-2006
                                                 Mendelson-799, Ohsaki,
 9                                 103           Schulz, Mendelson-2006,
                                                 Bergey
                                                 Mendelson-799, Ohsaki,
 14                                103           Schulz, Mendelson-2006,
                                                 Goldsmith
                                                 Mendelson-799, Ohsaki,
 17–19                             103           Schulz, Mendelson-2006,
                                                 Aizawa
                             II.    DISCUSSION

                             A. Claim Construction
      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 9–10. Patent Owner submits that claim terms should be
given their ordinary and customary meaning, consistent with the
Specification. PO Resp. 10–11.
      We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013,
1017 (Fed. Cir. 2017).




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                              B. Principles of Law
        A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness.1 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine
whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).


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    Patent Owner has not presented objective evidence of non-obviousness.
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      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                      C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person with “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 9 (citing Ex. 1003 ¶¶ 20–21). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 10 (citing
Ex. 2004 ¶¶ 32–35).
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
              Mendelson-799, Ohsaki, Schulz, and Mendelson-2006
      Petitioner contends that claims 1–8, 10–13, 15, 16, and 20–29 of the
’765 patent would have been obvious over the combined teachings of
Mendelson-799, Ohsaki, Schulz, and Mendelson-2006. Pet. 11–87; see also
generally Pet. Reply. Patent Owner disagrees. PO Resp. 12–62; see also
generally PO Sur-reply.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a

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preponderance of evidence that claims 1–8, 10–13, 15, 16, and 20–29 are
unpatentable.

                     Overview of Mendelson-799 (Ex. 1012)

      Mendelson-799 is a U.S. patent titled “Pulse Oximeter and Method of
Operation,” and discloses a sensor for non-invasive measurement of a blood
parameter, which includes a sensor housing, a radiation source, and a
detector. Ex. 1012, codes (54), (57).
      Figure 7 of Mendelson-799 is reproduced below.




Figure 7 illustrates optical sensor 10 with light source 12, which includes
three closely spaced light emitting elements 12a, 12b, 12c. Id. at 9:22–28.
Optical sensor 10 includes an array of discrete detectors, i.e., “far”
detectors 16 and “near” detectors 18, “arranged in two concentric ring-like
arrangements . . . surrounding the light emitting elements.” Id. at 9:29–34.
“[L]ight shield 14 is positioned between the photodiodes and the light
emitting elements, and prevents direct optical coupling between them,
thereby maximizing the fraction of backscattered light passing through the
arterially perfused vascular tissue in the detected light.” Id. at 9:35–40.
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Sensor housing 17 accommodates the light source, light shield, and
detectors. Id. at 9:34–35.
      Figure 8 of Mendelson-799 is reproduced below.




Figure 8 illustrates a block diagram of pulse oximeter 20 using sensor 10.
Id. at 10:16–17. Pulse oximeter 20 includes control unit 21, with electronic
block 22 connectable to sensor 10, microprocessor 24, and display 26, which
presents measurement results. Id. at 10:17–22. “The measured data (i.e.,
electrical output of the sensor 10 indicative of the detected light) is directly
processed in the block 22, and the converted signal 25 is further processed
by the microprocessor 24.” Id. at 10:22–25.

                          Overview of Ohsaki (Ex. 1009)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1009, code (54), ¶ 3.

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      Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




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Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.




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                         Overview of Schulz (Ex. 1013)

      Schulz is a U.S. patent application publication titled “Pulse Oximetry
Ear Sensor,” and discloses an ear sensor assembly including an emitter pad
and a detector pad. Ex. 1013, codes (54), (57).
      Figure 19C of Schulz is reproduced below.




Figure 19C illustrates an exploded top perspective view of an ear sensor clip.
Id. ¶ 31. Each sensor clip 1900 includes “opposingly positioned
housings 1902 and 1903 that house one or more sensor optical components.”
Id. ¶ 65. Each housing includes respective inward facing shells 1905 and
1906.2 Id. ¶ 65. “[I]nward facing shells 1905 and 1906 further include
windows 1919 and 1924 that provide an aperture for transmission of optical


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 Figure 19C appears to label inward facing shell 1906 as 1916. See id. at
Fig. 19B.
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energy to or from a tissue site. Translucent silicone material covers
windows 1919 and 1924 providing lenses 1920 and 1921.” Id. ¶ 67.
A “thin sheet of opaque material is located beneath window 1919 or 1924,
and a window in the opaque material provides an aperture for transmission
of optical energy to or from the tissue site.” Id. ¶ 73. “The opaque material
blocks light, and the window in the opaque material can be sized as needed
to block the proper amount of light from entering the aperture to, for
example, avoid saturation of the light detector.” Id.

                          Mendelson-2006 (Ex. 1010)

      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1010, 1.3
      Figure 1 of Mendelson-2006 is reproduced below.




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 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. See, e.g., Pet. 23–25.
We follow Petitioner’s numbering scheme.
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Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded

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microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
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level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                              Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-
2006. Pet. 11–61. Below, we set forth how the combination of prior art
references teaches or suggests the claim limitations that are not disputed by
the parties. For those limitations and reasons for combining the references
that are disputed, we examine each of the parties’ contentions and then
provide our analysis.

           i. “A physiological measurement system comprising”
      The cited evidence supports Petitioner’s undisputed contention that
the combination of Mendelson-799, Ohsaki, Schulz, and Mendelson-2006
satisfies the subject matter of the preamble.4 Pet. 40–42; see, e.g., Ex. 1012,
code (57), 8:37–41, 9:22–40, 10:15–22, Fig. 7 (sensor device), 8 (pulse
oximeter); Ex. 1010, 1–4, Fig. 3 (handheld computing device); Ex. 1003
¶¶ 89–118, 121–122.

             ii. “[a] a physiological sensor device comprising”

      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-799 discloses a physiological sensor device including sensor 10
and pulse oximeter 20. Pet. 42; see, e.g., Ex. 1012, code (57) (“A sensor for

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 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the art.
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use in an optical measurement device.”), 9:22–40 (describing sensor 10),
10:16–30 (describing pulse oximeter 20, including sensor 10), Figs. 7–8.

 iii. “[b] one or more emitters configured to emit light into tissue of a user”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-799 discloses one or more light emitting elements 12a–c that
emit light into a user’s tissue. Pet. 43–44; see, e.g., Ex. 1012, 9:22–40 (“The
sensor 10 comprises . . . light source 12 composed of three closely spaced
light emitting elements (e.g., LEDs or laser sources) 12a, 12b and 12c
generating light of three different wavelengths.”), Fig. 7.

                      iv. “[c] at least four detectors,
    wherein each of the at least four detectors has a corresponding window
              that allows light to pass through to the detector”

Petitioner’s Undisputed Contentions

      Petitioner contends that Mendelson-799 discloses twelve
photodetectors located within a sensor housing. Pet. 44–45. Patent Owner
does not dispute this contention, and we agree with Petitioner. Mendelson-
799 discloses that “sensor 10 comprises . . . an array of discrete detectors
(e.g., photodiodes),” including six far detectors 16 and six near detectors 18.
See, e.g., Ex. 1012, 9:22–40, Fig. 7.
      Petitioner does not contend that Mendelson-799 discloses the claimed
windows. Rather, Petitioner contends that Schulz teaches “a sensor
featuring ‘a thin sheet of opaque material’ placed inside the sensor’s housing
. . . with ‘a window in the opaque material provid[ing] an aperture for
transmission of optical energy to or from the tissue site,’” wherein the
opaque material blocks light and avoids saturation of the sensor’s detectors.

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Pet. 30. Patent Owner does not dispute this contention, and we agree with
Petitioner. Schulz discloses that a “thin sheet of opaque material” can be
placed between the optical components of the sensor and the sensor’s
housing. Ex. 1013 ¶ 73. Schulz explains that the opaque material includes a
window that allows for transmission of optical energy to the detector. Id.
According to Schulz, the “opaque material blocks light, and the window in
the opaque material can be sized as needed to block the proper amount of
light from entering the aperture to, for example, avoid saturation of the light
detector.” Id.

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
would have been motivated “to add a layer of opaque material” to
Mendelson-799’s sensor, as taught by Schulz, “and to size windows in the
opaque material as appropriate to avoid saturation of each of the sensor’s
detectors.” Pet. 30 (citing, e.g., Ex. 1003 ¶¶ 103–109), 45–46 (citing, e.g.,
Ex. 1003 ¶¶ 89–109). According to Petitioner, errors are reduced by
minimizing the amount of ambient light that reaches the detectors, for
example, by decreasing the angle of incidence to the detectors. Id. at 31
(citing Ex. 1019, 76, 79–80, 94). Petitioner contends that a person of
ordinary skill in the art would have understood that “Schulz’s opaque layer
limits errors by decreasing the angle of incidence to the photodiode to that
enabled by the window included within the layer, and by otherwise
preventing ambient light from reaching the photodiode.” Id. (citing, e.g.,
Ex. 1003 ¶¶ 104–105). Petitioner also contends that a skilled artisan would
have recognized that, when applying Schulz’s teachings to a sensor with


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multiple detectors, multiple windows would have been employed. Id. at 31–
32 (citing, e.g., Ex. 1003 ¶¶ 106–109).
      To illustrate its proposed modification, Petitioner includes an
annotated and modified view of Mendelson-799’s Figure 7, as well as an
added sectional view, both of which are reproduced below. Pet. 34; see also
id. at 46 (similar figures with slightly different annotations); Ex. 1003
¶¶ 108–109.




Petitioner’s modified figure and added sectional view depict the sensor of
Mendelson-799 with an added opaque layer (illustrated in green) having
windows, as Petitioner contends would have been rendered obvious by
Schulz.5 Pet. 34, 46.




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 Petitioner’s annotated figures also include an added opaque wall and an
added top cover as discussed infra at Sections II.D.5.v and II.D.5.vi.
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Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Mendelson-799 as proposed because
adding an opaque layer would decrease signal strength, especially for a
reflectance pulse oximeter like Mendelson-799, which Patent Owner alleges
has a weak signal already. PO Resp. 47–48 (citing, e.g., Ex. 2004 ¶¶ 83–
84); PO Sur-reply 22–24. According to Patent Owner, Schulz uses the
window in the opaque material only to reduce “desired” light to a “proper”
level, i.e., only to reduce the light generated by the emitter that passes
through the user’s tissue before reaching the detector, but the window in the
opaque material does not reduce ambient light. PO Resp. 50 (“Schulz uses a
separate cover—not the window [in the opaque material]—to block ambient
light.”) (citing Ex. 1013 ¶ 41); PO Sur-reply 22–23 (citing, e.g., Ex. 2004
¶¶ 83–88). Thus, according to Patent Owner, use of a windowed opaque
material in Mendelson-799’s sensor would make its weak signal even
weaker by limiting the light from the emitter. PO Sur-reply 24. Patent
Owner argues that decreasing signal strength in this way would have been
inconsistent with Petitioner’s additional modification to add a convex cover
to the sensor of Mendelson-799, to increase signal strength. PO Resp. 47–
48; PO Sur-reply 26; see infra § II.D.5.vi.
      Moreover, Patent Owner argues that the motivation put forth by
Petitioner—to avoid saturation—is not shown to have been a problem for the
sensor of Mendelson-799. PO Resp. 47. Patent Owner also argues that
there were “easier approaches for addressing saturation of the detectors,”
such as “adjusting gain or LED brightness.” Id. at 48.


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      Patent Owner also argues aspects of Schulz individually. For
example, Patent Owner argues that Schulz is directed to an ear sensor, and
that there are physiological differences in measurement locations that are not
accounted for by Petitioner. PO Resp. 48–49 (citing, e.g., Ex. 2004 ¶ 85).
Additionally, Patent Owner argues that Schulz discloses only a single
window, not multiple windows as claimed. Id. at 49; PO Sur-reply 26–27.
      Finally, Patent Owner criticizes Petitioner’s reliance on additional
evidence that does not form part of the asserted ground. Id. at 51 (citing,
e.g., Ex. 1019; Ex. 1023; Ex. 2004 ¶¶ 89–92).

Analysis

      We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As discussed above, Schulz
explicitly teaches that its opaque material and window “blocks light” and
“avoid[s] saturation of the light detector.” Ex. 1013 ¶ 73. Petitioner cites
persuasive and well-supported evidence, including the testimony of its
declarant, that a person of ordinary skill in the art would have been
motivated to add such an arrangement to the sensor of Mendelson-799 to
achieve this same disclosed benefit, i.e., to avoid saturation of Mendelson-
799’s detectors. See, e.g., Ex. 1003 ¶¶ 101–109. For example, Dr. Kenny’s
testimony regarding the ability of an opaque material with windows to avoid
saturation is supported by Schulz and by the Webster textbook, which
discusses the importance of minimizing “light other than the optical signals
of interest.” Id. ¶ 104 (citing Ex. 1019, 76). We are persuaded by
Petitioner’s contentions and Dr. Kenny’s testimony.
      We do not agree with Patent Owner’s argument that this modification
would decrease signal strength. PO Resp. 47–48. We discern that
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Petitioner’s proposed modification would not alter the signal of interest, i.e.,
the optical signal that passes from the emitter, through the user’s tissue, and
to the photodetectors. Rather, the cited evidence supports Petitioner’s
contention that the proposed modification would have blocked light other
than that from the signal of interest, i.e., that the modification would have
block light other than that from the emitter. See, e.g., Ex. 1003 ¶ 108
(“Schulz would have motivated one of ordinary skill to modify the sensor . .
. to further include an opaque layer that would have blocked light other than
at windows corresponding to the sensor’s photodiodes.”) (emphasis added);
Ex. 1013 ¶ 73 (“The opaque material blocks light, and the window in the
opaque material can be sized as needed to block the proper amount of light
from entering the aperture to, for example, avoid saturation of the light
detector.”); see also Pet. Reply 22–23 (“By blocking noise while allowing
signal to reach the detectors, the features of Schulz lead to increased signal-
to-noise ratio at the detectors, rather than leading to a ‘weaker signal’ as
Masimo alleges.”). Thus, we do not agree that the proposed modification
would have decreased signal strength.
      We have considered Patent Owner’s argument that Schulz uses the
opaque material to reduce only “desired” light to a “proper” level, i.e., to
reduce light from the emitter that passes through the user’s tissue, to avoid
saturation. PO Resp. 50; PO Sur-reply 22–23 (citing, e.g., Ex. 2004 ¶¶ 83–
88). We do not find any support for this argument in Schulz. To the
contrary, Schulz explains that “the window in the opaque material can be
sized as needed to block the proper amount of light from entering the
aperture to, for example, avoid saturation of the light detector.” Ex. 1013
¶ 73. Contrary to Patent Owner’s argument, Schulz simply states that its

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window is sized to control the amount of light that enters the aperture;
Schulz does not state where that light comes from, or that it only controls
against light from the emitter. Patent Owner identifies no basis in Schulz’s
disclosure to conclude that Schulz’s emitter operates at a level that would
saturate the detector, absent the addition of an opaque material. Likewise,
we do not find any support for this argument in the cited portions of
Dr. Madisetti’s declaration. See, e.g., Ex. 2004 ¶ 88 (concluding, without
persuasive explanation, that Schulz’s window blocks light only from the
emitter, not ambient light).
      We also do not agree with Patent Owner’s argument that Petitioner
has not shown that saturation was a problem for Mendelson-799’s sensor.
PO Resp. 47. Mendelson-799 need not identify a problem with saturation in
order to be improved by the proposed modification. Indeed, Petitioner “does
not need to show that there was a known problem with the prior art system.”
Unwired Planet, LLC v. Google Inc., 841 F.3d 995, 1002–03 (Fed. Cir.
2016); see also Sci. Plastic Prods., Inc. v. Biotage AB, 766 F.3d 1355, 1359–
61 (Fed. Cir. 2014); Hologic, Inc. v. Minerva Surgical, Inc., 764 F. App’x
873, 880 (Fed. Cir. 2019). As expressly recognized in KSR, any art-
recognized need or problem can provide a reason for combining claim
elements. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 416 (2007). Here,
Petitioner provides sufficient evidence to demonstrate that saturation was a
known problem (see, e.g., Ex. 1003 ¶¶ 104, 109; Ex. 1019, 79;6 Ex. 1047

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  It is of no moment that this evidence is not identified as part of the asserted
ground. PO Resp. 51. This evidence is cited by Dr. Kenny as support for
his testimony, consistent with our rules. 37 C.F.R. § 42.65(a) (“Expert
testimony that does not disclose the underlying facts or data on which the
opinion is based is entitled to little or no weight.”).
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¶¶ 51–52) and that Schulz provided a readily-applicable technique to solve it
(Ex. 1013 ¶ 73). That “easier approaches” may have existed, see PO
Resp. 48, does not teach away from the approach explicitly taught by
Schulz.
      We also do not agree with Patent Owner’s argument that Schulz and
Mendelson-799 are incompatible because they obtain measurements at
different locations. Mendelson-799 explains that its sensor type can be used
in “multiple convenient locations on the body,” and does not exclude use on
a patient’s ear or elsewhere. Ex. 1012, 2:15–21; contra PO Resp. 48– 49;
see also Ex. 1019, 104 (“The idea of using skin reflectance
spectrophotometry marked a significant advancement in the noninvasive
monitoring of SaO2 from virtually any point on the skin surface.”).
Moreover, the proposed modification does not seek to bodily incorporate the
references, one with the other. Rather, Petitioner clearly proposes modifying
Mendelson-799 to include an opaque material with windows, as taught by
Schulz, but plainly does not propose incorporating any other aspect of
Schulz, such as its measurement location. See Pet. 30–34; see also In re
Nievelt, 482 F.2d 965, 968 (CCPA 1973) (“Combining the teachings of
references does not involve an ability to combine their specific structures.”).
      We have considered the remainder of Patent Owner’s arguments, but
we do not agree with them. For example, it is irrelevant that Schulz teaches
only a single window, because Petitioner provides persuasive testimony to
show that a skilled artisan would have implemented a window for each
detector in Mendelson-799’s sensor. PO Resp. 49; Ex. 1003 ¶¶ 106–108. It
is likewise irrelevant that Schulz discloses an additional “separate cover . . .
to block ambient light,” because the presence of a separate cover does not

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change the fact that Schulz explicitly teaches using its windowed opaque
material to avoid detector saturation. See Ex. 1013 ¶ 73; contra PO
Resp. 50; PO Sur-reply 22–23.
       For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

    v. “[d] a wall that surrounds at least the at least the four detectors”
       The cited evidence supports Petitioner’s undisputed contentions
regarding this limitation. Pet. 23–24, 47–48. Specifically, Petitioner
contends that Mendelson-799 discloses sensor housing 17 that
accommodates detectors 16, 18, as shown below in Petitioner’s annotated
and modified view of Mendelson-799’s Figure 7. Id. at 23–24; see, e.g.,
Ex. 1012, 9:22–40 (“All these elements are accommodated in a sensor
housing 17.”), Fig. 7.




Petitioner’s modified figure depicts the sensor of Mendelson-799 with
sensor housing 17 identified in green and encircling the detectors. Pet. 24;
see also id. at 47.
       Petitioner acknowledges that Mendelson-799 does not depict a side
view of the sensor and thus, to the extent Mendelson-799 does not explicitly
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teach that housing 17 includes an opaque wall that surrounds the detectors, a
person of ordinary skill in the art would have found it obvious “to connect,
to the portion of sensor housing 17, an opaque wall that surrounds the array
of discrete detectors . . . both to shield the detectors from ambient light, and
protect the detectors from external forces.” Pet. 12–13; see also id. at 23–
24; see, e.g., Ex. 1003 ¶¶ 62–72, 89–117.
       Petitioner provides an added sectional view of this proposed
modification, shown below.




Petitioner’s added figure depicts a side view of the sensor of Mendelson-799
with an opaque wall identified in green and encircling the detectors. Pet. 24;
see also id. at 47.
       Patent Owner does not dispute Petitioner’s contentions regarding this
limitation. See generally PO Resp.; PO Sur-reply.
       Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny,
who testifies that such a wall would “shield the detectors from ambient light,
and protect the detectors from external forces.” Ex. 1003 ¶ 64; see also
Ex. 1003 ¶¶ 63–72, 89–91, 132–136.




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    vi. “[e] cover comprising a protruding convex surface, wherein the
     protruding convex surface is above all of the at least four detectors,
    wherein at least a portion of the protruding convex surface is rigid, and
               wherein the cover operably connects to the wall;”
Petitioner’s Undisputed Contentions

      Petitioner contends that Mendelson-799 does not disclose a cover
above the four detectors, as claimed. Pet. 24–25. Patent Owner does not
dispute this contention, and we agree that Mendelson-799 is not shown to
include a cover. See generally Ex. 1012.
      Petitioner relies upon Ohsaki for the recited cover, and contends that:
      Ohsaki discloses a wrist-worn “pulse wave sensor” that includes
      a light permeable convex cover—“translucent board 8”—that is
      configured to be located between user tissue and a detector when
      the sensor is worn, where the cover comprises a protruding
      convex surface operable to conform [to] tissue of the user, and
      where a wall operably connects to a substrate and to the cover.
Pet. 25 (citing, e.g., Ex. 1009 ¶¶ 15, 17, 25; Ex. 1003 ¶¶ 73–75, 94). Patent
Owner does not dispute this contention, and we agree with Petitioner.
Ohsaki discloses that sensor 1 is “worn on the back side of the user’s wrist”
and includes translucent board 8, with a convex surface formed on the top of
the board, to be placed against a user’s tissue. Ex. 1009 ¶¶ 16, 17, Figs. 1–2
(depicting translucent board 8 above detector). As shown in Ohsaki’s
Figure 2, the board 8 is operably connected to the walls of sensor package 5
that houses the sensor components, including circuit board 9, light emitting
element 6 (e.g., LED), and light receiving element 7. Id. ¶ 17 (“The
translucent board 8 is . . . attached to the opening of the package 5.”), Fig. 2.
      Petitioner also contends that a person of ordinary skill in the art would
have understood the convex surface to be “rigid.” Pet. 22, 50–51. Patent

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Owner does not dispute this contention, and we agree with Petitioner. As
depicted in Ohsaki’s Figure 2, the user’s tissue 4 is shown to conform to the
shape of the protruding convex surface when the sensor is worn by the user.
Ex. 1009 ¶ 17 (“The translucent board 8 is a glass board.”), Fig. 2; see, e.g.,
Ex. 1003 ¶¶ 99, 141 (testifying as to the convex surface’s rigidity).

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
“would have recognized that a light permeable cover with a protruding
convex surface,” such as that taught by Ohsaki, “would improve adhesion
between the sensor and the user’s tissue, improve detection efficiency, and
protect the elements within sensor housing 17.” Pet. 25 (citing, e.g.,
Ex. 1003 ¶ 92; Ex. 1009 ¶¶ 15, 17, 25), 27–28. Petitioner contends that
Ohsaki’s convex surface is in intimate contact with the user’s tissue, which
prevents slippage of the sensor and increases signal strength because
“variation of the amount of the reflected light . . . that reaches the light
receiving element 7 is suppressed.” Id. at 25–26 (citing, e.g., Ex. 1003 ¶ 95;
quoting Ex. 1009 ¶ 25).
      Accordingly, Petitioner contends that, to achieve these identified
benefits, a person of ordinary skill in the art would have added a light
permeable convex cover to Mendelson-799’s sensor, the cover being located
“over the array of detectors 16 and 18” when worn. Pet. 27–28 (citing, e.g.,
Ex. 1003 ¶¶ 98–99; Ex. 1009 ¶¶ 15, 17, 25), 48 (citing, e.g., Ex. 1003 ¶¶ 73–
75, 89–100, 137). Petitioner also contends that an ordinarily skilled artisan
would have configured the cover to be “rigid to conform tissue of the user to
at least a portion of the cover’s surface when worn.” Id. at 28 (citing, e.g.,
Ex. 1003 ¶ 99), 49–50 (citing, e.g., Ex. 1003 ¶¶ 73–75, 89–100, 140–141).
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Additionally, Petitioner contends the skilled artisan would have “configured
a circumscribing wall in Mendelson-799’s sensor to operably connect” to the
sensor’s planar substrate and to the convex cover. Pet. 28 (citing, e.g.,
Ex. 1003 ¶ 99), 49–50 (citing, e.g., Ex. 1003 ¶¶ 73–75, 89–100, 140–141).
        Petitioner contends these modifications would have been “nothing
more than the use of a known technique to improve similar devices in the
same way, and combining prior art elements according to known methods to
yield predictable results—improved adhesion of the sensor to the user’s skin,
and improved signal strength.” Id. at 29 (citing, e.g., Ex. 1003 ¶¶ 62–75,
100).
        To illustrate its proposed modification, Petitioner includes an
annotated and modified view of Mendelson-799’s Figure 7, as well as an
added sectional view, both of which are reproduced below. Pet. 29 (citing
Ex. 1003 ¶¶ 99–100), 49 (citing Ex. 1003 ¶¶ 73–75, 89–100, 137–138).




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Petitioner’s modified and added figures depict the sensor of Mendelson-799
with an added convex cover (illustrated in red) connected to the wall of
Mendelson-799’s sensor (illustrated in green, see supra § II.D.5.v). Pet. 29.

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Mendelson-799’s sensor to include
Ohsaki’s convex cover. PO Resp. 22–47; PO Sur-Reply 2–21.
      First, Patent Owner argues that the proposed modification “changes
Ohsaki’s structure and eliminates the longitudinal shape that gives Ohsaki’s
translucent board the ability to fit within the user’s anatomy and prevent
slipping.” PO Resp. 23. This argument is premised on Patent Owner’s
contention that Ohsaki’s convex cover must be rectangular, with the cover’s
long direction aligned with the length of the user’s forearm, to avoid
interacting with bones in the wrist and forearm. Id. at 24–25 (citing, e.g.,
Ex. 2004 ¶¶ 51–54; Ex. 1009 ¶¶ 6, 19, 23, 24); PO Sur-reply 2–10.
According to Patent Owner, Ohsaki teaches that “aligning the sensor’s
longitudinal direction with the circumferential direction of the user’s arm
undesirably results in ‘a tendency [for Ohsaki’s sensor] to slip off.’” PO
Resp. 25–26 (citing Ex. 1009 ¶ 19), 27–28.
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus cannot coincide with the
longitudinal direction of the user’s wrist.” Id. at 26 (citing Ex. 2004 ¶¶ 55–
56). Patent Owner presents annotated Figures depicting what it contends is


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Ohsaki’s disclosed sensor placement as compared to that of the proposed
modification, reproduced below.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. PO Resp. 27. Based on these annotations, Patent Owner argues that
the proposed “circular shape would press on the user’s arm in all directions
and thus cannot avoid the undesirable interaction with the user’s bone
structure,” such that a skilled artisan “would have understood such a change
would eliminate Ohsaki’s benefit of preventing slipping.” Id. at 27–28
(citing, e.g., Ex. 2004 ¶¶ 55–58).
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Mendelson-799’s sensor, and would
result in weak sensor signals. PO Resp. 32. Relying on other publications
by the named inventor on Mendelson-799, Patent Owner alleges that sensor
signals were difficult or impossible to discern from the wrist, even with
considerable pressure. Id. at 32 (citing Ex. 2003, 3–4), 33–34 (citing
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Ex. 2015, 3, 4; Ex. 2014, 1, 99). Patent Owner contends that Dr. Kenny
admitted that signals from the wrist are weaker and noisier than from other
locations. Id. at 33 (citing Ex. 2008, 249:10–16, 255:12–21), 34–37 (citing
Ex. 2017, 2; Ex. 2018, 4; Ex. 2010, 44, 71; Ex. 2016, 2, 3).
       Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Mendelson-799’s
peripheral detectors because the convex cover would condense light toward
the center and away from the detectors, which would decrease signal
strength. PO Resp. 38–43 (citing, e.g., Ex. 2004 ¶¶ 71–76). Patent Owner
also contends that Petitioner and Dr. Kenny admit as much, fail to account
for the impact of the proposed modification on light collection, and fail to
propose a specific three-dimensional structure to embody the proposed
modification. Id. (citing, e.g., Ex. 2020, 69–70; Ex. 2006, 204:14–20;
Ex. 2008, 36:19–37:1, 57:19–58:16, 63:5–64:8, 170:12–171:1, 173:8–15).
Patent Owner relies on Figure 14B of the ’765 patent, which Patent Owner
contends supports its position. Id. at 39–40 (citing Ex. 1001, 36:3–6, 36:13–
15).
       Fourth, Patent Owner argues that Ohsaki’s rectangular cover creates
air gaps at its peripheral edges, as shown in Ohsaki’s Figure 1, which
Mendelson-799 cautions against as potentially causing “specular reflection.”
PO Resp. 43–44 (citing, e.g., Ex. 1012, 2:58–64). Accordingly, Patent
Owner argues that a person of ordinary skill in the art “would not have
modified Mendelson[-]799’s structure to add Ohsaki’s air gaps.” Id. at 44–
45 (citing Ex. 2004 ¶¶ 77–80).
       Fifth, Patent Owner argues that “a convex cover is just one of many
different alternatives for protecting the components of a sensor” including,

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e.g., resin or encapsulation. PO Resp. 45–46. Concerning possible
alternatives, Patent Owner contends that a person of ordinary skill in the art
“would have understood that a flat cover would provide better protection
than a convex surface because—as Petitioner’s cited art teaches—a flat
cover would be less prone to scratches.” Id. at 46–47 (citing Ex. 1008 ¶ 106;
Ex. 2004 ¶¶ 81–82).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 7–14 (citing, e.g., Ex. 1047 ¶¶ 17–28).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
somehow understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of attaching a
light permeable protruding convex cover to Me[nd]elson-799’s housing to
obtain the benefits attributed to such a cover by Ohsaki.” Id. at 10–11
(citing, e.g., Ex. 1047 ¶ 23). Similarly, regarding the location of the sensor,
Petitioner asserts,
      [E]ven if a [person of ordinary skill in the art] would have
      somehow misunderstood Ohsaki’s sensor as limited to placement
      on the backside of the wrist, and even if the difficulty that [Patent
      Owner] alleges with respect to obtaining pulse oximetry
      measurements from that location were true, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Mendelson-799’s
      sensor, to improve detection efficiency.

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Id. at 12 (citing, e.g., Ex. 1047 ¶ 26).
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Mendelson-799’s sensor would not decrease signal
strength but, instead, “would improve Mendelson-799’s signal-to-noise ratio
by causing more light backscattered from tissue to strike Mendelson-799’s
detectors than would have absent the cover” because such a cover improves
light concentration across the entire lens and does not direct it only towards
the center. Id. at 14–18 (citing, e.g., Ex. 1047 ¶¶ 29–44).
      Petitioner dismisses Patent Owner’s reliance on Figure 14B of the
’765 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. The light rays (1420) shown
in FIG. 14B are collimated (i.e., travelling paths parallel to one another), and
each light ray’s path is perpendicular to the detecting surface.” Pet.
Reply 16 (citing, e.g., Ex. 1047 ¶¶ 30–35). Moreover, Petitioner argues that,
“Dr. Madisetti’s overly-simplistic statements only apply to a special narrow
case of collimated light incident on a convex lens along the axis of
symmetry.” Id. at 16 (citing, e.g., Ex. 1047 ¶ 36).
      According to Petitioner, Patent Owner’s and Dr. Madisetti’s argument
regarding convergence toward the center does not apply to diffuse light,
which reaches the detectors from various random angles and directions after
having been reflected by tissue. Id. at 16–17 (citing, e.g., Ex. 1047 ¶¶ 37–
38). As a result, Petitioner contends Ohsaki’s cover would have provided a
refracting effect such that light rays that would have missed the detectors
absent a cover are instead directed to that area as they pass through the
cover. Id. at 17 (citing Ex. 1047 ¶¶ 38–39). Petitioner thus contends that
“overall, more of the partially reflected, transmitted, absorbed, and

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ultimately back scattered light strikes the detectors than otherwise would
have absent the cover.” Id. at 17–18 (citing Ex. 1047 ¶¶ 40).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
a skilled artisan would have known to avoid air gaps in the proposed
combination. Id. at 19–20 (citing, e.g., Ex. 1047 ¶¶ 45–48).
      Concerning Patent Owner’s fifth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “multiple advantages of
a convex cover,” and would not negate a motivation to combine. Id. at 20
(citing, e.g., Ex. 1047 ¶ 49).

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in its sensor orientation or body location result
in ‘a tendency to slip.’” PO Sur-reply 2–15, 6.
      Concerning Patent Owner’s third argument, Patent Owner argues that
Dr. Kenny and Petitioner have not overcome their admissions that a convex
lens directs light toward the center. Id. at 15–16 (citing, e.g., Ex. 2004
¶¶ 72–76).
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that a convex cover focuses “all light” to a
single point at the center of the sensor. Id. at 17. Patent Owner instead
states that, “a convex surface would direct relatively more light towards the
center and away from Mendelson ’799’s peripheral detectors” and that “any
signal strength from light redirected from the edge would be weak and fail to
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compensate for the much stronger lost signal strength from light directed
towards the center.” Id. at 17, 18.
      Finally, Patent Owner argues that Petitioner’s Reply arguments are
overly complex and instead a person of ordinary skill in the art “would have
understood and applied the straightforward understanding that a convex
surface condenses light toward the center.” Id. at 19.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that “Petitioner does not dispute [that] air gaps would dissuade a
[person of ordinary skill in the art] from modifying Mendelson[-]799.” Id.
at 19–21.
      Concerning Patent Owner’s fifth argument, Patent Owner argues that
Petitioner does not dispute Patent Owner’s position that a flat cover would
be less prone to scratches and offers “no plausible advantages for its asserted
combination.” Id. at 21. Moreover, Patent Owner argues that “the risk of
scratches directly undermines Petitioner’s argument that a [person of
ordinary skill in the art] would have included a convex cover instead of a flat
surface to provide ‘additional protection.’” Id.

Analysis

      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Mendelson-799’s sensor: (1) to “improve adhesion between
the sensor and the user’s tissue,” (2) to “improve detection efficiency,” and
(3) to “protect the elements within sensor housing 17.” Pet. 25 (citing, e.g.,
Ex. 1003 ¶ 92; Ex. 1009 ¶¶ 15, 17, 25), 27–28. We conclude all three
rationales are supported by the evidence, as follows.
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      Rationales 1 and 2
      The evidence of record persuades us that a person of ordinary skill in
the art would have been motivated to add a convex cover, such as that taught
by Ohsaki, to improve adhesion between the sensor and the user’s skin,
which would have increased the signal strength of the sensor. Ohsaki
teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore, the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25 (emphases added); see also id. ¶ 27 (“stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Mendelson-799 to improve that similar device in the same
way and to yield predictable results, i.e., to resist movement of the sensor on
the user’s wrist. See, e.g., Ex. 1003 ¶ 95 (“[T]his contact [between the
convex surface and the user’s skin] prevents slippage, which increases the
strength of the signals obtainable by Ohsaki’s sensor.”). We also credit
Dr. Kenny’s testimony that, in light of these teachings, a person of ordinary
skill in the art would have made such a modification to improve the pulse
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sensor’s ability to emit light into, and detect light reflected from, the user’s
wrist, to generate an improved pulse signal. Ex. 1003 ¶¶ 95–98; Ex. 1047
¶¶ 10, 12.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the level of ordinary skill in the art. For example,
Dr. Kenny testifies:
               The above-described modification would require only
        routine knowledge of sensor design and assembly, which were
        well within the skill of one of ordinary skill prior to the Critical
        Date. Indeed, the modification would have amounted to nothing
        more than the use of a known technique to improve similar
        devices in the same way, and combining prior art elements
        according to known methods to yield predictable results—
        improved adhesion of the sensor to the user’s skin, and improved
        signal strength. Furthermore, the elements of the resulting sensor
        would each perform functions they had been known to perform
        prior to the combination—a cover would simply be placed over
        the components (e.g., detectors) accommodated within


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      Mendelson-799’s sensor housing 17, and would perform the
      same function as taught by Ohsaki.
Ex. 1003 ¶ 100. In light of Ohsaki’s express disclosure of the benefits of a
convex cover, we credit Dr. Kenny’s testimony that a person of ordinary
skill in the art would have been motivated to modify Mendelson-799 as
proposed, and would have had a reasonable expectation of success in doing
so.
      We next address Patent Owner’s first through fourth arguments, each
of which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 23–31. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1009 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex surface.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 13, 17–18. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); Pet. Reply 9–10;


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Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d 951, 956 (Fed.
Cir. 2000) (“[I]t is well established that patent drawings do not define the
precise proportions of the elements and may not be relied on to show
particular sizes if the specification is completely silent on the issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element from the right side to the
left side in FIG. 2 is longer than the length from the upper side to the lower
side.” Ex. 1009 ¶ 19. Ohsaki also describes that detecting element 2 is
aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 7–8 (noting also that
Ohsaki’s board 8 “is not coextensive with the entire tissue-facing side of
detecting element 2”). We have considered the cited testimony of both
Dr. Kenny and Dr. Madisetti on this point. Ex. 1047 ¶¶ 10–12, 12 n.2, 17–
23; Ex. 2004 ¶¶ 37–41 (relying on Ohsaki’s Figures 1–2 to support his
opinion that the convex surface is rectangular). Dr. Madisetti’s reliance on
the dimensions of Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt,
222 F.3d at 956. We credit Dr. Kenny’s testimony that Ohsaki does not



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describe its convex surface as rectangular, because this testimony is most
consistent with Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 27–28; PO Sur-Reply 10 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause slippage problems,
see Ex. 1009 ¶¶ 6, 19, we do not agree that the only way to avoid these bones
is by aligning a rectangular cover with the longitudinal direction of the
user’s forearm. For example, in the annotated Figures provided by Patent
Owner, see PO Resp. 27, we discern that the circular sensor that purports to
depict the proposed modification would also avoid the bones in the forearm
if it were slightly smaller. Patent Owner provides no persuasive explanation
to justify the dimensions it provides in this annotated figure, or to
demonstrate that such a large sensor would have been required. Indeed, we
discern that it would have been within the level of skill of an ordinary artisan
to appropriately size a modified sensor to avoid these well-known
anatomical obstacles. “A person of ordinary skill is also a person of
ordinary creativity, not an automaton.” KSR, 550 U.S. at 421. After all, an
artisan must be presumed to know something about the art apart from what
the references disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing

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the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1047 ¶ 10.
Thus, we agree with Petitioner that Ohsaki’s teaching of a convex surface
would have motivated a person of ordinary skill in the art to add such a
surface to Mendelson-799’s circular-shaped sensor, to improve adhesion as
taught by Ohsaki. See, e.g., Pet. 24–25, 27–28. Nothing in Ohsaki’s
disclosure limits such a benefit to a specific shape of the convex surface.
Ex. 1047 ¶¶ 11–12.
      Moreover, Ohsaki contrasts its convex surface with a flat surface and
notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore, the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25; Ex. 1047 ¶ 11. Thus, we agree with Petitioner that Ohsaki’s
teaching of a convex surface would have motivated a person of ordinary
skill in the art to add such a surface to Mendelson-799’s sensor, to improve
signal strength, as taught by Ohsaki. See, e.g., Pet. 24–25, 27–28. Again,
nothing in Ohsaki’s disclosure limits such a benefit to the shape of the
convex surface. Ex. 1047 ¶¶ 11–12.


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      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Mendelson-799 and Ohsaki.7
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is an unsuitable location for Mendelson-
799’s sensor. PO Resp. 32–38. We do not agree. As an initial matter,
Petitioner does not propose bodily incorporating the references; Petitioner
simply proposes adding a convex cover to Mendelson-799’s sensor, without
discussing where Mendelson-799’s sensor is used. See, e.g., Pet. 27–28. In
other words, Petitioner’s proposed modification does not dictate any
particular placement. Moreover, Mendelson-799 states that its sensor
“allows for measuring SaO2 from multiple convenient locations on the body
(e.g. the head, torso, or upper limbs).” Ex. 1012, 2:17–19; see also
Ex. 1019, 104 (“The idea of using skin reflectance spectrophotometry
marked a significant advancement in the noninvasive monitoring of SaO2
from virtually any point on the skin surface.”). Thus, we do not agree that
Mendelson-799 discourages or disparages use on the back of the wrist.
      Notwithstanding the foregoing, and assuming for sake of argument
that Patent Owner is correct that a person of ordinary skill in the art would
have expected a weaker signal from Mendelson-799’s sensor if placed on the
wrist, see PO Resp. 32, that alone does not nullify the proposed

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  Patent Owner also argues that it would not have been obvious to place a
rectangular cover on top of Mendelson-799’s sensor. PO Resp. 29–31. We
do not understand Petitioner to have made any such contention and,
accordingly, do not address this argument. See, e.g., Pet. 29, 49 (depicting
circular convex surface over circular sensor).
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combination. “[A] given course of action often has simultaneous advantages
and disadvantages, and this does not necessarily obviate motivation to
combine.” Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165 (Fed. Cir.
2006) (citation omitted). Indeed, we discern that, if Mendelson-799’s sensor
was placed at a location that results in decreased signal quality, a person of
ordinary skill in the art would have been further motivated to act to improve
signal quality, e.g., by employing Ohsaki’s convex surface. See, e.g.,
Ex. 1047 ¶¶ 26–28; Ex. 1009 (“[I]n the case that the translucent board 8 has
a convex surface like the present embodiment, the variation of the amount of
the reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin is suppressed. It is also prevented that noise such as disturbance
light from the outside penetrates the translucent board 8.”).
      We have considered Patent Owner’s third argument that a convex
cover would condense light away from Mendelson-799’s peripheral
detectors, which Patent Owner alleges would decrease signal strength. PO
Resp. 38–43. We disagree. There appears to be no dispute that when
emitted light passes through user tissue, the light is diffused and scattered as
it travels. See, e.g., Pet. Reply 16–17; Tr. 33:13–34:7 (Patent Owner’s
counsel agreeing that “when [light] goes into the tissue you get the diffusion
and that is random scattering”); Ex. 1052, 35:19–37:18 (Patent Owner’s
declarant describing light scattering as it travels through tissue, e.g.,
reflecting off blood, tissue, or other material); Ex. 1054, 28:2–10 (Patent
Owner’s declarant agreeing that reflected light can be a signal to a sensor),
61:20–62:4 (explaining that “a light in this context, light emitted from the
LEDs is diffused through the skin in that particular context, whatever that

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is.”). The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner.
      Dr. Kenny testifies that Mendelson-799 and Ohsaki “detect light that
has been ‘partially reflected, transmitted, absorbed, and scattered by the skin
and other tissues and the blood before it reaches the detector.” Ex. 1047
¶ 37. Dr. Kenny further opines that, “the POSITA would have understood
that Mendelson-799’s sensor, which includes multiple photodiodes placed
symmetrically with respect to a central light source, offers the advantage of
enabling a large fraction of light randomly backscattered from tissue to be
detected within the circular active detection area surrounding that source,”
thus increasing the light-gathering ability of Mendelson-799’s sensor. Id.
¶ 38 (emphasis added); see also id. ¶ 39 (“Ohsaki’s cover provides a slight
refracting effect, such that light rays that otherwise would have missed the
detection area are instead directed toward that area as they pass through the
interface provided by the cover.”).
      By contrast Dr. Madisetti testifies that “a convex surface condenses
light away from the periphery and towards the sensor’s center.” Ex. 2004
¶ 74. We have considered this testimony; however, Dr. Madisetti’s opinions
largely are premised upon the behavior of collimated and perpendicular light
as depicted in Figure 14B of the challenged patent. See id. Dr. Madisetti
does not explain how light would behave when approaching the sensor from
various angles, as it would after being reflected by tissue. Id. ¶¶ 72–76. In
other words, even if Patent Owner is correct that the ’765 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light passing through a user’s tissue is



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scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both previously admitted that a convex cover condenses light towards the
center of the sensor and away from the periphery in a different petition filed
against a related patent,” i.e., in IPR2020-01520. PO Resp. 38–39; Ex. 2004
¶¶ 72–73 (citing Ex. 2019, 45; Ex. 2020 ¶¶ 118–120). The cited portions of
the Petition and Dr. Kenny’s declaration from IPR2020-01520 discuss a
decrease in the “mean path length” of a ray of light when it travels through a
convex lens rather than through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–
120. We do not agree that this discussion is inconsistent with Dr. Kenny’s
testimony here that, where light is reflected to the detectors at various
random angles and directions, more light will reach Mendelson-799’s
symmetrically disposed detectors when travelling through the convex
surface than would be reached without such a surface, because light that
might have otherwise missed the detectors now will be captured. Ex. 1047
¶¶ 37–40. We do not discern that the convergence of a single ray of light
toward the center, as discussed in IPR2020-01520, speaks to the aggregate
effect on all light that travels through the convex surface. Patent Owner
suggests that this prior discussion means that all light is always directed
toward the center regardless of where or how the light approaches the
convex surface, however, we do not understand Dr. Kenny’s testimony to
support such a position. PO Resp. 38–39.
      In its Sur-reply, Patent Owner argues that it “never argued all
incoming light condenses to a single point.” PO Sur-reply 17. Be that as it
may, neither Patent Owner nor Dr. Madisetti sufficiently address the diffuse

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nature of the light at issue here, which reflects from user tissue and scatters.
Ex. 2004 ¶¶ 71–75. Accordingly, considering all evidence of record, we
credit the testimony of Dr. Kenny.8
      With respect to Patent Owner’s fourth argument, we do not agree that
a person of ordinary skill in the art would have been discouraged from
modifying Mendelson-799 as proposed, due to the potential for air gaps to
form at the peripheral edges of the convex surface. PO Resp. 43–45. Patent
Owner misstates the proposed modification. Petitioner does not propose
“modif[ying] Mendelson[-]799’s structure to add Ohsaki’s air gaps.”
Contra PO Resp. 44. Petitioner proposes modifying Mendelson-799 only to
include a cover with a convex surface; Petitioner does not propose including
any air gaps that may be present in Ohsaki. See, e.g., Pet. 48. Moreover,
even if Ohsaki’s Figure 1 depicts small air gaps adjacent the convex surface,
Ohsaki nonetheless discloses that the convex surface is in “intimate contact”
with the user’s skin. Ex. 1009 ¶ 25; Hockerson-Halberstadt, 222 F.3d at
956. In view of such a teaching, we agree with Petitioner that it would have
been within the skill of a person of ordinary skill in the art, who “is also a
person of ordinary creativity, not an automaton,” to minimize any such air
gap that may be present when including a cover with a convex surface in
Mendelson-799’s sensor. KSR, 550 U.S. at 421. Indeed, a purpose of
Petitioner’s proposed modification is to increase signal strength. See, e.g.,


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  Moreover, we disagree with Patent Owner’s argument that Petitioner’s
Reply arguments are overly complex and instead a person of ordinary skill
in the art “would have understood and applied the straightforward
understanding that a convex surface condenses light toward the center.” PO
Sur-reply 19. As noted above, Patent Owner’s “straightforward
understanding” lacks sufficient support, in the context of diffuse light.
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Pet. 26. We discern that it would have been within the capability of an
ordinarily skilled artisan to eliminate any air gap that would have decreased
signal strength or quality. Ex. 1047 ¶ 47.
      Rationale 3
      Petitioner further contends that a person of ordinary skill in the art
“would have recognized that a light permeable cover with a protruding
convex surface,” such as that taught by Ohsaki, would “protect the elements
within sensor housing 17” of Mendelson-799. Pet. 25. We are persuaded
that adding a convex cover, such as that taught by Ohsaki, would protect the
sensor’s internal components. Mendelson-799 is not shown to include a
cover over its emitters 12a–c or detectors 16, 18. See, e.g., Ex. 1012, Fig. 7.
By contrast, Ohsaki discloses that translucent board 8 with its convex
surface covers its emitter and detector. As such, we credit Dr. Kenny’s
testimony that a person of ordinary skill in the art would have been
motivated to add a transparent convex cover to Mendelson-799 to “provide
additional protection to the elements accommodated within sensor housing
17.” Ex. 1003 ¶ 98; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s]
the LED or PD”).
      We disagree with Patent Owner’s fifth argument that a person of
ordinary skill in the art would not have modified Mendelson-799 as
proposed because a convex cover would be prone to scratches and because
other alternatives existed. PO Resp. 45–47. Indeed, we discern that a
convex cover would indeed serve to protect internal sensor components
better than Mendelson-799, which lacks a cover entirely. That a convex
cover may be more prone to scratches than a flat cover is one of numerous
tradeoffs that a person of ordinary skill in the art would consider, in

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determining whether the benefits of increased adhesion, signal strength, and
protection outweigh the potential for a scratched cover. Medichem, 437 F.3d
at 1165. The record does not support the premise that the possibility of
scratches alone would have dissuaded a person of ordinary skill in the art
from the proposed modification, to achieve the benefits identified by
Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

  vii.“[f] a handheld computing device in wireless communication with the
      physiological sensor device, wherein the handheld computing device
                                   comprises”

Petitioner’s Undisputed Contentions

      Petitioner relies upon the teachings of Mendelson-799, Ohsaki, and
Schulz, as discussed above, in further combination with Mendelson-2006 for
the remainder of the claim limitations [f–k]. Specifically, Petitioner
contends that although Mendelson-799 does not explicitly disclose wireless
communication from its sensor to a handheld computing device, its sensor is
“for use in an optical measurement device” as part of “a method for non-
invasive measurement of a blood parameter.” Pet. 35–36. Patent Owner
does not dispute this contention and we agree with Petitioner. See, e.g.,
Ex. 1012, code (57) (“A sensor for use in an optical measurement device and
a method for non-invasive measurement of a blood parameter.”).
      Petitioner also contends that Mendelson-2006 discloses a body-worn
pulse oximetry system including a sensor module, a receiver module, and a
PDA. Pet. 37. Petitioner contends that data processed by the receiver
module is transmitted to the PDA and identifies several advantages of

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wireless communication noted in Mendelson-2006, including more effective
medical care. Id. at 37–40. Patent Owner does not dispute this contention
and we agree with Petitioner. See, e.g. Ex. 1010, 1–2 (describing system), 3
(“The stream of data received from the wearable unit is distributed to
various locations on the PDA’s graphical display.”), 4 (explaining that
wireless communication results in “more effective medical care”); Fig. 1
(sensor attached to skin), Fig. 3 (PDA).

Petitioner’s Disputed Contentions

      Petitioner further contends a person of ordinary skill in the art would
have found it obvious to enable the sensor of the combination of Mendelson-
799, Ohsaki, and Schulz to communicate wirelessly with a handheld
computing device such as the PDA of Mendelson-2006, to transfer sensor
data and provide more effective care. Pet. 36, 51, 55; see, e.g., Ex. 1003
¶¶ 110–117, 145–151.

Patent Owner’s Arguments

      Patent Owner presents several arguments directed to Mendelson-2006,
including that Mendelson-2006 discloses a single detector (PO Resp. 52),
and that Mendelson-2006’s sensor is used on the forehead (id. at 53). Patent
Owner argues that Mendelson-2006 thus confirms that a person of ordinary
skill in the art would not have combined Mendelson-799 with Ohsaki or
Schulz due to signal strength issues raised by various locations where a
sensor might be attached to the user’s body. Id. at 53–55.

Analysis

      We are persuaded that Petitioner’s stated reasoning for the proposed
modification is sufficiently supported, including by the testimony of
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Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 110–117, 145–151. For example, we
credit Dr. Kenny’s testimony that a person of ordinary skill in the art would
have been motivated to implement Mendelson-799 as part of a physiological
measurement system including a handheld communication device in
wireless communication, in order to enable transfer of information and
improve medical care. Id. ¶¶ 116–117.
         Moreover, we disagree with Patent Owner’s arguments. First, we are
persuaded by Petitioner’s contentions regarding Mendelson-799, Ohsaki,
and Schulz, for the reasons discussed above, and we do not discern that the
teachings of Mendelson-2006 undercut those contentions in any manner.
Second, Petitioner relies on Mendelson-2006 for teachings regarding
wireless communications with a handheld device. Pet. 51–55. Patent
Owner’s arguments do not pertain to the modification actually proposed, i.e.,
to enable wireless communication and, as such, are misplaced.
Dr. Madisetti’s testimony likewise fails to address substantively the
modification actually proposed, i.e., wireless communications to a handheld
computing device. Ex. 2004 ¶¶ 93–96.

 viii.     “[g] one or more processors configured to wirelessly receive one or
          more signals from the physiological sensor device, the one or more
         signals responsive to at least a physiological parameter of the user”
         The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes wirelessly transmitting vital physiological information
acquired from the sensor to the PDA, which receives it. Pet. 56–57; see,
e.g., Ex. 1010, 1, 2 (“The information acquired by the Sensor Module is
transmitted wirelessly via an RF link over a short range to a body-worn
Receiver Module. The data processed by the Receiver Module can be

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transmitted wirelessly to a PDA.”), 3 (explaining that the PDA “has
sufficient computational resources for the intended application” and “can
also serve to temporarily store vital medical information received from the
wearable unit”), Fig. 3 (displaying SpO2 and HR data); Ex. 1003 ¶¶ 110–
117, 152.
       Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found configured a processor of the
PDA to receive signals wirelessly from the physiological sensor device, the
signals being responsive to physiological parameters of the user.” Pet. 56;
see, e.g., Ex. 1003 ¶ 153.
       Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
Ex. 1003 ¶¶ 152–156. Patent Owner does not present any argument against
this limitation, apart from the arguments already addressed in Section
II.D.5.vii.

 ix. “[h]–[j] a touch-screen display configured to provide a user interface,
    wherein: the user interface is configured to display indicia responsive to
    measurements of the physiological parameter, and an orientation of the
           user interface is configurable responsive to a user input”

       The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes a PDA with a touchscreen display configured to display
indicia responsive to measurements of, e.g., SpO2 and HR. Pet. 57–60; see,
e.g., Ex. 1010, 3 (“The use of a PDA . . . also provides a low-cost touch
screen interface.”).
       Petitioner acknowledges that “Mendelson-2006 does not explicitly
state that an orientation of the GUI provided by the PDA is configurable


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responsive to a user input.” Pet. 59. However, Petitioner contends that a
person of ordinary skill in the art would have understood that “the LabVIEW
software that was used ‘to control all interactions between the PDA and the
wearable unit via [t]he graphical user interface’ included the option to
configure an orientation of a user interface,” e.g. by setting the report
orientation to portrait or landscape view. Id. at 59–60 (alteration in
original); see, e.g., Ex. 1003 ¶¶ 161–162; Ex. 1027, 186 (“Set the report
orientation—portrait or landscape.”).
      Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to make an orientation
of the PDA’s user interface configurable responsive to a user input, for the
sake of user convenience.” Pet. 60; see, e.g., Ex. 1003 ¶ 163.
      Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny,
who testifies that the proposed modification would have allowed for easy
activation of various functions. See, e.g., Ex. 1003 ¶¶ 157–163. Patent
Owner does not present any argument against this limitation, apart from the
arguments already addressed in Section II.D.5.vii.

x. “[k] a storage device configured to at least temporarily store at least the
                measurements of the physiological parameter”
      The cited evidence supports Petitioner’s contention that Mendelson-
2006 teaches that the PDA is configured to store vital medical information
received from the wearable pulse oximeter, and that an ordinarily skilled
artisan “would have understood that the vital medical information would
have included measurements of the physiological parameters obtained by the
physiological sensor device (e.g., SpO2 and HR).” Pet. 60–61; Ex. 1010, 3
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(“The PDA can also serve to temporarily store vital medical information
received from the wearable unit.”); Ex. 1003 ¶ 166.
         Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to configure a storage
device of the PDA to at least temporarily store measurements of
physiological parameters (e.g., SpO2 and HR).” Pet. 61; see, e.g., Ex. 1003
¶ 166.
         Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
See, e.g., Ex. 1003 ¶¶ 165–168. Patent Owner does not present any
argument against this limitation, apart from the arguments already addressed
in Section II.D.5.vii.

                      xi. Reasonable Expectation of Success
         Patent Owner argues that Petitioner has failed to demonstrate a
reasonable expectation of success because Dr. Kenny did not perform a
design analysis to create a functional sensor. PO Resp. 55–56. We disagree.
As discussed in detail above, each of Petitioner’s proposed modifications to
Mendelson-799—whether to include an opaque material with windows, as
taught by Schulz; or to include a cover with a convex surface, as taught by
Ohsaki; or to communicate with a handheld computing device, as taught by
Mendelson-2006—is rooted in explicit teachings of the prior art, and is
supported by persuasive declarant testimony.
         We credit Dr. Kenny’s testimony that, for each proposed
modification, the combined prior art teachings would have been applied as
known, to achieve predictable results. See, e.g., Ex. 1003 ¶¶ 100 (applying


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Ohsaki’s teachings would have been “nothing more than the use of a known
technique to improve similar devices in the same way, and combining prior
art elements according to known methods to yield predictable results—
improved adhesion of the sensor to the user’s skin, and improved signal
strength”), 109 (applying Schulz’s teachings would have been “nothing
more than the use of a known technique to improve similar devices in the
same way, and combining prior art elements according to known methods to
yield predictable results,” i.e. to “avoid saturation”), 117 (“To obtain these
and other advantages described by Mendelson-2006, a POSITA would have
been motivated to wirelessly transmit information or data acquired or
processed by sensor 10 and pulse oximeter 20 to a PDA”.). For similar
reasons discussed above with respect to each proposed modification, we
conclude that that a skilled artisan would have had a reasonable expectation
of success. See supra § II.D.5.iv, vi, vii; Ex. 1003 ¶¶ 89–168.

                                  xii.Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                               Independent Claim 21

      Independent claim 21 consists of limitations that are substantially
similar to elements [a]–[f] of claim 1. Compare Ex. 1001, 44:51–45:15,
with id. at 46:31–49 (reciting that the convex surface is “located between
tissue of the user and all of the at least four detectors,” instead of “above all
of the at least four detectors” as in claim 1; omitting details of the “handheld
computing device”). In asserting that claim 21 also would have been

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obvious over the combined teachings of Mendelson-799, Ohsaki, Schulz,
and Mendelson-2006, Petitioner refers to the same arguments presented as to
claim 1. See Pet. 81–83; Ex. 1003 ¶¶ 206–212. Patent Owner relies on the
same arguments discussed above regarding claim 1. PO Resp. 12–56.
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 21 would have been obvious over the cited combination of references.
See supra § II.D.5.

                            Dependent Claims 7 and 26

      Dependent claim 7 ultimately depends from independent claim 1 and
further recites, “the wall surrounds at least the at least four detectors on the
first surface, the wall operably connects to the substrate on one side of the
wall, and the wall operably connects to the cover on an opposing side of the
wall.” Ex. 1001, 45:40–47. Likewise, dependent claim 26 ultimately
depends from independent claim 21 and further recites “the wall surrounds
at least the at least four detectors on the first surface, wherein: the wall
operably connects to the substrate on one side of the wall, and the wall
operably connects to the cover on an opposing side of the wall.” Id. at
47:12–48:5.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-2006 “would
have included a wall surrounding the photodetectors, the wall being operably
connected on one side to the substrate on which the detectors are arranged,
and on an opposing side to a cover,” as shown in Petitioner’s annotated and
modified view of Mendelson-799’s Figure 7, as well as an added sectional
view, both of which are reproduced below. Pet. 68–70 (citing, e.g., Ex. 1003
                                        61
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¶¶ 62–72, 89–100, 181); see also id. at 86 (regarding claim 26) (citing, e.g.,
Ex. 1003 ¶¶ 177–180, 221).




Petitioner’s annotated and modified figures depict the sensor of Mendelson-
799 with an added opaque wall illustrated in green and encircling the sensor
components, and operably connected to the convex cover (illustrated in red)
on the top and operably connected to the planar substrate of sensor
housing 17 (illustrated in green) on the bottom.
      Patent Owner argues that “Petitioner provides no independent
analysis” for these claims and instead refers back to analyses of claims 1 and
21. PO Resp. 57. Patent Owner also argues that, in the annotated figures,
Petitioner includes features not shown in the cited references, e.g., “a cover
. . . spanning the entire space above the substrate” and a wall with “notches
for the convex cover.” Id. Patent Owner argues that “Petitioner cannot
satisfy” the claims “by making unexplained changes to the cited art.” Id. at



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58. Moreover, Patent Owner argues that neither Ohsaki nor Mendelson-799
disclose a wall as claimed. Id.
      As shown in the modified figures above, the wall of the combined
sensor surrounds the sensor components and is operably connected to the
convex cover on the top and is operably connected to the planar substrate on
the bottom, as claimed. Moreover, as discussed above regarding claim 1,
Petitioner’s proposed modifications to Mendelson-799 are not premised
upon bodily incorporating Ohsaki’s cover directly with Mendelson-799’s
sensor. See In re Nievelt, 482 F.2d 965, 968 (CCPA 1973) (“Combining the
teachings of references does not involve an ability to combine their specific
structures.”). To the contrary, Petitioner proposes incorporating Ohsaki’s
teaching of a cover with a convex surface, not the precise cover and
structure disclosed by Ohsaki. In re Keller, 642 F.2d 413, 425 (CCPA 1981)
(“[T]he test is what the combined teachings of those references would have
suggested to those of ordinary skill in the art.”). If Ohsaki’s teaching is
implemented in a manner that varies from the precise implementation of
such a cover in Ohsaki, e.g., with a larger span or with notches, this is not a
material deviation from Ohsaki’s express teachings of using a cover with a
convex surface to achieve specific benefits, e.g., improved adhesion and
signal strength. Ex. 1009 ¶ 25; see supra § II.D.5.vi; see Lear Siegler, Inc.
v. Aeroquip Corp., 733 F.2d 881, 889 (Fed. Cir. 1984) (explaining that a
person of ordinary skill is not “compelled to adopt every single aspect of [a
reference] without the exercise of independent judgment”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that



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claims 7 and 26 would have been obvious over the cited combination of
references.

                               Dependent Claim 29

      Dependent claim 29 ultimately depends from independent claim 21
and further recites “the protruding convex surface protrudes a height greater
than 2 millimeters and less than 3 millimeters.” Ex. 1001, 48:14–16.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Mendelson-799, Ohsaki, Schulz, and Mendelson-2006 would
have included a cover with a protruding convex surface. See supra
§ II.D.5.vi. With respect to claim 29, Petitioner incorporates its contentions
regarding, inter alia, claims 12 and 18. Pet. 87 (incorporating, e.g., id. at
74–76); Ex. 1003 ¶¶ 89–100, 192–196, 224. In discussing claim 12,
Petitioner contends that a person of ordinary skill in the art “would have
found it obvious that a device designed to fit on a user’s wrist would be on
the order of millimeters,” consistent with Ohsaki’s disclosure that the device
is in “intimate contact” with the user’s skin. Pet. 75–76 (citing, e.g.,
Ex. 1003 ¶ 194). Petitioner also contends that an ordinarily skilled artisan
would have taken user comfort into account when establishing the
dimensions of the device’s convex cover. Id. at 76. With these
considerations in mind, Petitioner contends that, “in order to provide a
comfortable cover featuring a protruding convex surface that prevents
slippage, the surface should protrude a height between 1 millimeter and
3 millimeters,” because “there would have been a finite range of possible
protruding heights, and it would have been obvious to select a protruding
height that would have been comfortable to the user.” Id. (citing, e.g.,
Ex. 1003 ¶¶ 192–196).
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       Patent Owner argues that none of the cited references discloses the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 60–62 (citing, e.g., Ex. 2004 ¶¶ 104–107). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
62.
       Petitioner is correct that, “[w]hen there are a finite number of
identified, predictable solutions, a person of ordinary skill in the art has good
reason to pursue the known options within his or her technical grasp. If this
leads to the anticipated success, it is likely the product . . . of ordinary skill
and common sense.” KSR, 550 U.S. at 398. Petitioner has shown
sufficiently that only a finite number of solutions existed with respect to the
height of a convex protrusion on a tissue-facing sensor, which would have
met the art-recognized goals of both (1) intimate contact between the
sensor’s surface and the user and (2) user comfort. See, e.g., Ex. 1009 ¶¶ 6,
25. Bearing in mind these considerations, we credit Dr. Kenny’s testimony
that it would have been obvious, “in order to provide a comfortable cover
featuring a protruding convex surface that prevents slippage, [that] the
surface should protrude a height between 1 millimeter and 3 millimeters,”
which includes the claimed range of 2 to 3 millimeters. Ex. 1003 ¶ 195;
Ex. 1047 ¶ 74. Further, the record does not support that any new and
unexpected results were achieved at the claimed height greater than
2 millimeters and less than 3 millimeters.
       We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of Mendelson-799,
Ohsaki, Schulz, or Mendelson-2006 teach the claimed range. PO Resp. 60;
Ex. 2004 ¶¶ 105. Petitioner relies upon the knowledge, ability, and

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creativity of a person of ordinary skill in the art, not the teachings of a
specific reference. Notably, Dr. Madisetti does not dispute Dr. Kenny’s
position that there were a finite number of options available for the height of
the convex surface. Ex. 2004 ¶¶ 104–107. Therefore, we do not agree that
Petitioner’s contentions are rooted in impermissible hindsight. See, e.g., In
re McLaughlin, 443 F.2d 1392, 1395 (CCPA 1971) (“Any judgment on
obviousness is in a sense necessarily a reconstruction based upon hindsight
reasoning, but so long as it takes into account only knowledge which was
within the level of ordinary skill at the time the claimed invention was made
and does not include knowledge gleaned only from applicant’s disclosure,
such a reconstruction is proper.”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 29 would have been obvious over the cited combination of references.

        Dependent Claims 2–6, 8, 10–13, 15, 16, 20, 22–25, 27, and 28

      Petitioner also contends that claims 2–6, 8, 10–13, 15, 16, 20, 22–25,
27, and 28 would have been obvious based on the same combination of prior
art addressed above. These challenged claims all depend directly or
indirectly from independent claim 1 or 21. Petitioner identifies teachings in
the prior art references that teach or suggest the limitations of these claims,
and provides persuasive reasoning as to why the claimed subject matter
would have been obvious to one of ordinary skill in the art. Pet. 62–81, 83–
87. Petitioner also supports its contentions for these claims with the
testimony of Dr. Kenny. Ex. 1003 ¶¶ 169–205, 213–224.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claims 1
                                       66
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and 21. PO Resp. 56 (“The Petition fails to establish that independent
claims 1 and 21 are obvious over the cited references of Ground 1 and
therefore fails to establish obviousness of any of the challenged dependent
claims.”); see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–6, 8, 10–13, 15, 16, 20, 22–25, 27, and 28 would
have been obvious over the combined teachings of Mendelson-799, Ohsaki,
Schulz, and Mendelson-2006, for the reasons discussed in the Petition and as
supported by the testimony of Dr. Kenny.

                                   Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
8, 10–13, 15, 16, and 20–29 would have been obvious over the cited
combination of references.

             E. Obviousness over the Combined Teachings of
         Mendelson-799, Ohsaki, Schulz, Mendelson-2006, and Bergey
      Petitioner contends that claim 9 would have been obvious over the
combined teachings of Mendelson-799, Ohsaki, Schulz, Mendelson-2006,
and Bergey. Pet. 88–90.

                         Overview of Bergey (Ex. 1016)

      Bergey is a U.S. patent titled “Solid State Watch with Magnetic
Setting,” and discloses a watch in which the electronics are “hermetically
sealed in the watch case to be free of dust and moisture.” Ex. 1016,



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code (57). Moreover, the electronic components are “resiliently mounted for
improved shock resistance.” Id.
      Petitioner contends that it would have been obvious to have modified
the sensor of Aizawa-Inokawa-Ohsaki-Mendelson-2006 to hermetically seal
the sensor components within the substrate, wall, and cover, so as to obtain
advantages disclosed by Bergey, e.g., to protect the electronics and prevent
condensation within the case. Pet. 88–89 (citing Ex. 1003 ¶¶ 82–83, 225–
228; Ex. 1016, code (57), 2:56–67, 8:48–9:34).

                                     Analysis

      Petitioner also contends that claim 9 would have been obvious over
the combined teachings of Mendelson-799, Ohsaki, Schulz, Mendelson-
2006, and Bergey. Pet. 88–90. Claim 9 depends indirectly from
independent claim 1. Petitioner identifies teachings in the prior art
references that teach or suggest the limitations of this claim, and provides
persuasive reasoning as to why the claimed subject matter would have been
obvious to one of ordinary skill in the art. Id. Petitioner also supports its
contentions for this claim with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 82–
83, 225–228.
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 63 (“Bergey’s alleged disclosure of a hermetically sealed watch does
not fix the deficiencies identified for Ground 1.”); see supra § II.D.
      We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that claim 9
would have been obvious over the combined teachings of Mendelson-799,
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Ohsaki, Schulz, Mendelson-2006, and Bergey for the reasons discussed in
the Petition and as supported by the testimony of Dr. Kenny. See, e.g.,
Ex. 1016, 8:48–9:34; Ex. 1003 ¶¶ 225–228.

             F. Obviousness over the Combined Teachings of
        Mendelson-799, Ohsaki, Schulz, Mendelson-2006, and Goldsmith
        Dependent claim 14 ultimately depends from independent claim 1 and
further recites, “the displayed indicia are further responsive to temperature.”
Ex. 1001, 46:4–6. Petitioner contends that claim 14 would have been
obvious over the combined teachings of Mendelson-799, Ohsaki, Schulz,
Mendelson-2006, and Goldsmith. Pet. 90–94.

                         Overview of Goldsmith (Ex. 1011)

        Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1011, codes (54),
(57).
        Goldsmith’s Figure 9A and 9B are reproduced below.




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Figure 9A and Figure 9A are respective front and rear views of a combined
watch and controller device. Id. ¶¶ 30–31. As shown in Figure 9A, watch
controller 900 includes housing 905, transparent member 950, display 910,
input devices 925a–c, scroll wheel 930, and wrist band 940. Id. ¶¶ 85–86.
Figure 9B shows rear-side cover 960, and a rear view of housing 905, scroll
wheel 930, and wrist band 940. Id.
      Goldsmith discloses the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. The display is customizable in a variety of
configurations including user-customizable backgrounds, languages, sounds,
font (including font size), and wall papers. Id. ¶¶ 102, 104. Additionally, the
watch controller may communicate with a remote station, e.g., a computer,
to allow data downloading. Id. ¶ 89 (including wireless). The remote
station may also include a cellular telephone to be “used as a conduit for
remote monitoring and programming.” Id.

                                     Analysis

      Petitioner contends that claim 14 would have been obvious over the
combined teachings of Mendelson-799, Ohsaki, Schulz, Mendelson-2006,
and Goldsmith. Pet. 90–94. Claim 14 depends indirectly from independent
claim 1. Petitioner identifies teachings in the prior art references that teach
or suggest the limitations of this claim, and provides persuasive reasoning as
to why the claimed subject matter would have been obvious to one of
                                       70
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ordinary skill in the art. Id. Petitioner also supports its contentions for this
claim with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 84–85, 229–233.
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 63 (“Goldsmith’s alleged disclosure of a temperature-responsive
display does not fix the deficiencies identified for Ground 1.”); see supra
§ II.D.
      We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that
claim 14 would have been obvious over the combined teachings of
Mendelson-799, Ohsaki, Schulz, Mendelson-2006, and Goldsmith for the
reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny. See, e.g., Ex. 1011 ¶¶ 11, 87, 95, 102; Ex. 1003 ¶¶ 229–233.

               G. Obviousness over the Combined Teachings of
           Mendelson-799, Ohsaki, Schulz, Mendelson-2006, and Aizawa
      Petitioner contends that claims 17–19 would have been obvious over
the combined teachings of Mendelson-799, Ohsaki, Schulz, Mendelson-
2006, and Aizawa. Pet.

                          Overview of Aizawa (Ex. 1006)

      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).




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      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




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Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.

                           Analysis of Claims 17 and 19

      Claims 17 and 19 depend indirectly from independent claim 1.
Petitioner identifies teachings in the prior art references that teach or suggest
the limitations of this claim, and provides persuasive reasoning as to why the
claimed subject matter would have been obvious to one of ordinary skill in
                                       73
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the art. Pet. Petitioner also supports its contentions for this claim with the
testimony of Dr. Kenny. Ex. 1003 ¶¶ 86–88, 234–241.
      Patent Owner does not present any substantive argument for these
claims other than those we have already considered with respect to
independent claim 1. PO Resp. 63–64 (“Aizawa’s alleged disclosure of a
detector orientation does not fix the deficiencies identified for Ground 1.”);
see supra § II.D.
      We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that
claims 17 and 19 would have been obvious over the combined teachings of
Mendelson-799, Ohsaki, Schulz, Mendelson-2006, and Aizawa for the
reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny. See, e.g., Ex. 1006 ¶¶ 23, 32, Figs. 1(a), 4(a), 7; Ex. 1003
¶¶ 234–241.

                               Analysis of Claim 18

      Claim 18 depends indirectly from independent claim 1 and further
recites that the “convex surface protrudes a height greater than 2 millimeters
and less than 3 millimeters,” as also recited in claim 29, discussed above.
Petitioner incorporates its contentions regarding, inter alia, claim 12.
Pet. 99–100 (citing, e.g., Ex. 1003 ¶¶ 89–100, 192–196, 234–240).
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1 and
dependent claim 29. PO Resp. 63–64.
      We have considered the evidence and arguments of record, including
those directed to claims 1 and 29 addressed above, and we determine that
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Petitioner has demonstrated by a preponderance of the evidence that
claim 18 would have been obvious over the combined teachings of
Mendelson-799, Ohsaki, Schulz, Mendelson-2006, and Aizawa for the
reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 192–196, 240; see supra § II.D.8.

                             III.     CONCLUSION

           In summary:9
         Claims    35 U.S.C. § Reference(s)/          Claims      Claims Not
                                  Basis               Shown         Shown
                                                    Unpatentable Unpatentable
                                    Mendelson-
    1–8, 10–13,                     799, Ohsaki,
                                                    1–8, 10–13,
    15–16, 20–         103          Schulz,
                                                    15–16, 20–29
    29                              Mendelson-
                                    2006
                                    Mendelson-
                                    799, Ohsaki,
    9                  103          Schulz,         9
                                    Mendelson-
                                    2006, Bergey
                                    Mendelson-
                                    799, Ohsaki,
    14                 103                          14
                                    Schulz,
                                    Mendelson-

9
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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                             2006,
                             Goldsmith
                             Mendelson-
                             799, Ohsaki,
 17–19              103      Schulz,      17–19
                             Mendelson-
                             2006, Aizawa
 Overall                                  1–29
 Outcome


                             IV.    ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–29 of the ’765 patent have been shown to be
unpatentable; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                       U.S. DEPARTMENT OF COMMERCE
                 UNITED STATES PATENT AND TRADEMARK O FFICE

                                                                     May 23, 2022

THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceeding identified below.


                                     APPLE INC.,

                                       Petitioner,

                                           v.

                               MASIMO CORPORATION,

                                   Patent Owner.
                            ________________________

                             Case No.: IPR2020-01715
                       United States Patent No.: 10,631,765 B1
                     ____________________________________



                                    By authority of the
                                    DIRECTOR OF THE UNITED STATES
                                    PATENT AND TRADEMARK O FFICE

                                            /s/ Mekbib Solomon
                                                Certifying Officer
        Case: 22-1638      Document: 4     Page: 613     Filed: 05/25/2022




      PROS ECUTION HIS TORY FOR INTER PARTES REVIEW NO .: IPR2020-01715
   DATE                                     DESCRIPTION
09/30/2020   Petition for Inter Partes Review
09/30/2020   Petitioner’s Power of Attorney
09/30/2020   Petitioner’s Notice Ranking Petitions and Explaining Material Differences
10/15/2020   Notice of Filing Date Accorded
10/20/2020   Patent Owner’s Mandatory Notices
01/08/2021   Petitioner’s Updated Exhibit List
01/15/2021   Patent Owner’s Notice of Waiver of Preliminary Response
04/13/2021   Decision - Institution of Inter Partes Review Proceeding
04/13/2021   Scheduling Order
04/27/2021   Patent Owner’s Objections to Admissibility of Petitioner’s Evidence
             Submitted Before Trial Institution
05/20/2021   Petitioner’s Motion to File Supplemental Information
05/26/2021   Order Granting Petitioner’s Motion to Submit Supplemental Information
06/01/2021   Petitioner’s Submission of Supplemental Information
06/10/2021   Stipulation Modifying Due Dates
06/29/2021   Patent Owner’s Notice of Deposition - Thomas W. Kenny
07/27/2021   Patent Owner’s Response to Petition
07/27/2021   Patent Owner’s Exhibit List
07/30/2021   Petitioner’s Objections to Evidence
09/13/2021   Petitioner’s Updated Mandatory Notice
11/09/2021   Petitioner’s Reply to Patent Owner’s Response
11/17/2021   Patent Owner’s Objections to Admissibility of Evidence to Petitioner’s Reply
12/03/2021   Petitioner’s Oral Hearing Request
12/03/2021   Patent Owner’s Request for Oral Argument
12/17/2021   Order Setting Oral Argument
12/17/2021   Patent Owner’s Sur-Reply
12/17/2021   Patent Owner’s Updated Exhibit List
01/06/2022   Patent Owner’s Updated Mandatory Notice
01/14/2022   Petitioner’s Updated Exhibit List
01/14/2022   Patent Owner’s Demonstratives for Trial Hearing
02/16/2022   Oral Hearing Transcript
04/06/2022   Final Written Decision
04/12/2022   Notice of Appeal
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Trials@uspto.gov                                                   Paper 33
571-272-7822                                             Date: April 6, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE

                            ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.
                          ____________

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                            ____________


Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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                           I.    INTRODUCTION

                                 A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–29 (“challenged claims”) of U.S. Patent No. 10,631,765
B1 (Ex. 1001, “the ’765 patent”). Paper 3 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 7 (“PO
Waiver”). We instituted an inter partes review of all challenged claims 1–
29 on all grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 8
(“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 17, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 21, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 26, “PO Sur-reply”). An oral hearing
was held on January 19, 2022, and a transcript of the hearing is included in
the record. Paper 32 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–29 of the ’765 patent are unpatentable.

                                B. Related Matters
      The parties identify the following matters related to the ’765 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims 1–29 of the ’765 patent);



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      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);

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      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1); and
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 3–4; Paper 5, 1–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’765 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 5, 1–2.

                              C. The ’765 Patent
      The ’765 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on April 28,
2020, from U.S. Patent Application No. 16/725,478, filed December 23,
2019. Ex. 1001, codes (21), (22), (45), (54). The ’765 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’765 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:38–
40. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–35, 64–65. The patient monitor includes a


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display and a network interface for communicating with a handheld
computing device. Id. at 2:45–48.
      Figure 1 of the ’765 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:47–58. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:59–63. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 14:3–7. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:7–10, 26–32. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:2–14.



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      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:21–24. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:46–56. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:60–16:11.
      The ’765 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–39, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding

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enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492a, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–48.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:39–43. The measurement site contact area may
include windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:49–63.

                            D. Illustrative Claim
      Of the challenged claims, claims 1 and 21 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A physiological measurement system comprising:
      [a] a physiological sensor device comprising:
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          [b] one or more emitters configured to emit light into tissue
                of a user;
          [c] at least four detectors, wherein each of the at least four
                 detectors has a corresponding window that allows light
                 to pass through to the detector;
          [d] a wall that surrounds at least the at least four detectors;
                and
          [e] a cover comprising a protruding convex surface, wherein
                 the protruding convex surface is above all of the at least
                 four detectors, wherein at least a portion of the
                 protruding convex surface is rigid, and wherein the
                 cover operably connects to the wall; and
      [f] a handheld computing device in wireless communication with
             the physiological sensor device, wherein the handheld
             computing device comprises:
             [g] one or more processors configured to wirelessly
                   receive one or more signals from the physiological
                   sensor device, the one or more signals responsive to
                   at least a physiological parameter of the user;
             [h] a touch-screen display configured to provide a user
                    interface, wherein:
             [i] the user interface is configured to display indicia
                    responsive to measurements of the physiological
                    parameter, and
             [j] an orientation of the user interface is configurable
                   responsive to a user input; and
             [k] a storage device configured to at least temporarily store
                     at least the measurements of the physiological
                     parameter.
Ex. 1001, 44:51–45:15 (bracketed identifiers a–k added). Independent claim
21 includes limitations substantially similar to limitations [a]–[f] of claim 1.
Id. at 46:31–49.


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                           E. Applied References
      Petitioner relies upon the following references:
            Bergey, U.S. Patent No. 3,789,601, filed July 15, 1971, issued
      February 5, 1974 (Ex. 1016, “Bergey”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);1 and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”).
Pet. 10.
      Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), and the Second Declaration of Thomas W. Kenny
(Ex. 1047). Patent Owner submits, inter alia, the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this proceeding and
others. See Exs. 1052–1054, 2006–2009, 2027.




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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
In this Decision, we also refer to the translation.
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                  F. Asserted Grounds of Unpatentability
      We instituted an inter partes review based on the following grounds.
 Claim(s) Challenged       35 U.S.C. §                  References/Basis
                                               Aizawa, Inokawa, Ohsaki,
 1–8, 10–13, 15–29               103
                                               Mendelson-2006
                                               Aizawa, Inokawa, Ohsaki,
 9                               103
                                               Mendelson-2006, Bergey
                                               Aizawa, Inokawa, Ohsaki,
 14                              103
                                               Mendelson-2006, Goldsmith

                           II.    DISCUSSION

                           A. Claim Construction
      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 9. Patent Owner submits that claim terms should be given
their ordinary and customary meaning, consistent with the Specification. PO
Resp. 9.
      We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013,
1017 (Fed. Cir. 2017).

                            B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
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(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness.2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine
whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                       C. Level of Ordinary Skill in the Art
        Petitioner identifies the appropriate level of skill in the art as that
possessed by a person with “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software


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    Patent Owner has not presented objective evidence of non-obviousness.
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technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 9 (citing Ex. 1003 ¶¶ 20–21). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
         Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 9–10
(citing Ex. 2004 ¶¶ 32–35).
         We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

                D. Obviousness over the Combined Teachings of
                  Aizawa, Inokawa, Ohsaki, and Mendelson-2006
         Petitioner contends that claims 1–8, 10–13, and 15–29 of the ’765
patent would have been obvious over the combined teachings of Aizawa,
Inokawa, Ohsaki, and Mendelson-2006. Pet. 11–93; see generally Pet.
Reply. Patent Owner disagrees. PO Resp. 11–66; see generally PO Sur-
reply.
         Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of evidence that claims 1–8, 10–13, and 15–29 are
unpatentable.
                       1. Overview of Aizawa (Ex. 1006)
         Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that



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detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.




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      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”


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Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                     2. Overview of Inokawa (Ex. 1007)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.
      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.



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      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21 is
used to sense “the pulse from the light reflected off of the body (i.e.[,]
change in the amount of hemoglobin in the capillary artery),” and infrared
LED 23 is used to sense body motion from the change in reflected light. Id.
¶ 59. The pulse sensor stores this information in memory. Id. ¶ 68. To read
and store information, the pulse sensor includes a CPU that “performs the
processing to sense pulse, body motion, etc. from the signal . . . and
temporarily stores the analysis data in the memory.” Id. ¶ 69.




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      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.
                     3. Overview of Ohsaki (Ex. 1009)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
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discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1009, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




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Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.
                       4. Mendelson-2006 (Ex. 1010)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a

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wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1010, 1.3
      Figure 1 of Mendelson-2006 is reproduced below.




Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.




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 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. See, e.g., Pet. 20–22.
We follow Petitioner’s numbering scheme.
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      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded
microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
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      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.



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                           5. Independent Claim 1
      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006.
Pet. 11–62. Below, we set forth how the combination of prior art references
teaches or suggests the claim limitations that are not disputed by the parties.
For those limitations and reasons for combining the references that are
disputed, we examine each of the parties’ contentions and then provide our
analysis.

            i. “A physiological measurement system comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa satisfies the subject matter of the preamble.4 Pet. 38; see, e.g.,
Ex. 1006 ¶ 2 (“The present invention relates to a pulse wave sensor for
detecting the pulse wave of a subject.”).

             ii. “[a] a physiological sensor device comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a physiological sensor device including a pulse rate
detector. Pet. 38–41; see, e.g., Ex. 1006 ¶ 23 (pulse wave sensor 2),
Figs. 1(a)–(b).




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 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the art.
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 iii. “[b] one or more emitters configured to emit light into tissue of a user”

Petitioner’s Undisputed Contentions

      Petitioner contends that Aizawa discloses one emitter—LED 21—and
also states that, in certain embodiments, multiple LEDs may be employed.
Pet. 11, 20–21. Patent Owner does not dispute this contention, and we agree
with Petitioner that Aizawa discloses “one or more emitters” as claimed.
See Ex. 1006 ¶¶ 23 (“LED 21”), 32 (“The arrangement of the light emitting
diode 21 and the photodetectors 22 is not limited to this.”). For example,
Aizawa explains that “[t]he same effect can be obtained when the number of
photodetectors 22 is 1 and a plurality of light emitting diodes 21 are
disposed around the photodetector.” Id. ¶ 33.
      Petitioner also contends that Inokawa teaches a sensor with two
LEDs–a green LED to sense pulse and an infrared LED to sense body
motion. Pet. 14, 20. Petitioner also contends that when Inokawa’s sensor is
mounted on a base device, the infrared LED also is used to wirelessly
transmit vital information to the base device. Id. at 14–15, 20–21. Patent
Owner does not dispute these contentions, and we agree with Petitioner.
Inokawa teaches a pair of LEDs 21, 23, where “the basic function of the S-
side green LED 21 is to sense the pulse from the light reflected off of the
body . . ., while the S-side infrared LED 23 serves to sense body motion
from the change in this reflected light.” Ex. 1008 ¶¶ 58–59. Inokawa also
explains that “vital sign information stored in the memory 63 [of the sensor],
such as pulse and body motion, is transmitted to the base device 17 using the
S-side infrared LED 23 of the pulse sensor 1 and the B-side PD 45 of the
base device 17,” such that “there is no need to use a special wireless
communication circuit or a communication cable.” Id. ¶¶ 76–77.
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Petitioner’s Disputed Contentions

      Moreover, Petitioner contends that a person of ordinary skill in the art
would have been motivated to modify Aizawa “to include an additional LED
as taught by Inokawa to improve the detected pulse wave by distinguishing
between blood flow detection and body movement.” Pet. 20, 42–43.
According to Dr. Kenny, “[i]n this manner, Aizawa’s sensor is improved by
using a separate LED to account for motion load that the system already
records and accounts for.” Ex. 1003 ¶ 85.
      As a second and independent motivation, Petitioner also contends that
such a modification also would have provided “additional functionality,
including that of a wireless communication method,” which would have
“eliminate[d] problems associated with a physical cable, and, as taught by
Inokawa, without requiring a separate RF circuit.” Pet. 20–21. Petitioner
contends that although Aizawa discloses data transmission, Aizawa “is silent
about how such transmission would be implemented.” Id. at 21. According
to Petitioner, a skilled artisan “would have recognized that Aizawa’s LED
could have been used for wireless data communication with a personal
computer to eliminate problems associated with a physical cable, and, as
taught by Inokawa, without requiring a separate RF,” which “would result in
enhanced accuracy of the transmitted information.” Id. According to
Dr. Kenny, “the LEDs provided on the sensor can be used not only to detect
pulse rate but also to ‘accurately, easily, and without malfunction’ transmit
sensed data to a base station.” Ex. 1003 ¶ 81.
      To illustrate its proposed modification, Petitioner includes annotated
and modified views of Aizawa’s Figures 1(a) and 1(b), reproduced below.
Pet. 22; see also id. at 42 (similar figures); Ex. 1003 ¶ 84.

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Petitioner’s annotated and modified figures depict the sensor of Aizawa with
an added “LED B” (illustrated in light purple), as Petitioner contends would
have been rendered obvious by Inokawa. Id. at 22, 42; Ex. 1003 ¶¶ 79–87,
109–110.

Patent Owner’s Arguments

      Patent Owner disputes Petitioner’s contentions regarding the
obviousness of modifying Aizawa to include two emitters. See PO
Resp. 50–57; Sur-reply 23–25.
      First, Patent Owner argues that neither Aizawa nor Inokawa discloses
a device with both multiple detectors and multiple emitters in the same
sensor, because Aizawa’s embodiments have either a single emitter and
multiple detectors (e.g., Ex. 1006, Fig. 1(a)) or multiple emitters and a single

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detector (e.g., id. ¶ 33), and Inokawa discloses multiple emitters and a single
detector (e.g., Ex. 1008, Fig. 2). See PO Resp. 50–51 (citing, e.g., Ex. 1006
¶ 33, Figs. 1, 2, 4, 5; Ex. 1008 ¶ 58, Fig. 2; Ex. 2004 ¶¶ 100–102). Patent
Owner concludes, therefore, that there would have been no reason for a
person of ordinary skill in the art to add a second emitter to Aizawa, when
Aizawa already discloses an embodiment with multiple LEDs, i.e., an
embodiment with only a single detector. PO Resp. 51 (citing, e.g., Ex. 2004
¶ 103).
      Second, Patent Owner argues that the evidence does not support either
of Petitioner’s two proffered motivations for modifying Aizawa to include
two emitters. As to the first motivation (to measure body movement using a
second emitter), Patent Owner asserts that Dr. Kenny erroneously testifies
that Aizawa cannot do this with its single emitter. PO Resp. 51–52 (citing,
e.g., Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10; Ex. 2004 ¶ 104). Patent Owner
argues that “Petitioner admits that Aizawa’s sensor ‘already records and
accounts for’ motion load.” Id. at 52 (citing, e.g., Pet. 20, 23; Ex. 1006
¶ 28). Thus, Patent Owner contends that the proposed motivation would not
realize an improvement over Aizawa alone. Id.
      As to Petitioner’s second motivation (to enable transmission of data to
a base device using an optical communication link), Patent Owner argues
that “Aizawa already includes a wireless transmitter . . . so Aizawa does not
need to incorporate Inokawa’s base-device [optical] data transmission
arrangement.” PO Resp. 53 (citing, e.g., Ex. 1006 ¶¶ 23, 28, 35; Ex. 2004
¶¶ 105–106). Indeed, Patent Owner argues “Dr. Kenny acknowledged
Aizawa identifies no problems with Aizawa’s form of data transmission.”
Id. (citing Ex. 2007, 409:13–410:2). Patent Owner further argues that

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“Aizawa’s goal is ‘real-time measuring’ with the transmitter ‘transmitting
the measured pulse rate data to a display’” but that “Inokawa’s data transfer
approach does not allow real-time display of measurements.” Id. at 53–54
(citing, e.g., Ex. 1006 ¶¶ 4, 15; Ex. 1008 ¶¶ 70, 74; Ex. 2004 ¶ 107). Patent
Owner insists Inokawa does not aid Petitioner’s case, because Inokawa
discloses the benefits of using a second emitter in only two situations, i.e.,
first, to improve over a “mechanically-connected system,” e.g., with a cable
for communication, and, second, to avoid use of a “dedicated wireless
communication circuit,” whereas “Aizawa already incorporates a transmitter
into its design.” Id. at 54–55 (citing, e.g., Ex. 1008 ¶ 4; Ex. 1006 ¶¶ 16, 23,
28, 35; Ex. 2004 ¶ 108).
      Third, Patent Owner accuses Petitioner and Dr. Kenny of overlooking
further complications that would ensue from modifying Aizawa to have two
emitters. Patent Owner argues that Dr. Kenny overlooked how placing “two
LEDs in close proximity may cause thermal interference that could create
significant issues for sensor performance,” and would require “structural
changes” to Aizawa’s configuration. PO Resp. 56 (citing, e.g., Ex. 2004
¶¶ 109–110; Ex. 1019, 76–77). Patent Owner also argues that “Petitioner
widened Aizawa’s emitter cavity to accommodate the extra LED with no
explanation or recognition of this change,” which could impact optical
performance of the device. Id. at 56–57 (citing, e.g., Ex. 2004 ¶¶ 109–111).

Petitioner’s Reply

      Concerning Petitioner’s first motivation, Petitioner asserts that adding
an additional LED enables the sensor to distinguish between blood flow and
body movement, which provides a “more reliable” pulse measurement,
which is Petitioner’s asserted improvement to Aizawa. Pet. Reply 34
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(citing, e.g., Ex. 1003 ¶¶ 79–86; Ex. 2007, 401:11–402:4; Ex. 1047 ¶ 70).
Moreover, Petitioner contends that by using multiple LEDs at different
wavelengths, “two separate signals” can be collected, which “allows noise
arising from body motion to be better isolated and accounted for.” Id.
(citing Ex. 1047 ¶ 70).
      Concerning Petitioner’s second motivation, Petitioner maintains that
Inokawa’s use of two emitters having different wavelengths to upload data
to a base device using optical communication advantageously improves the
accuracy of the transmission by providing checksum information. Id. at 34–
35 (citing, e.g., Ex. 1003 ¶ 70; Ex. 1008 ¶ 111; Ex. 2007, 407:7–408:20,
416:5–15; Ex. 1047 ¶ 71).
      As to the “other complications” that Patent Owner alleges would
result from the proposed modification, Petitioner asserts “such issues are
‘part of what [a person of ordinary skill in the art] would bring . . . to the
problem and would know how to make the changes needed.’” Id. at 35
(quoting Ex. 2007, 384:8–388:12; Ex. 1047 ¶ 72).

Patent Owner’s Sur-reply

      Concerning Petitioner’s first motivation, Patent Owner argues that
Inokawa’s disclosure is just as sparse as Aizawa’s disclosure regarding how
to use optical data to measure body movement. Sur-reply 24 (citing
Ex. 1008 ¶ 59). Patent Owner also asserts that “Petitioner cites nothing in
Inokawa that suggests” that Inokawa’s two emitter data gathering is more
reliable or otherwise superior to Aizawa’s single emitter data gathering. Id.
      Concerning Petitioner’s second motivation, Patent Owner argues that
the proposed modification eliminates Aizawa’s ability to conduct “real-time


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collection and display of physiological measurements—a key goal of
Aizawa’s system.” Id. at 24–25.
      Patent Owner also notes that Petitioner does not dispute that the
proposed modification would cause problems such as “additional cost,
energy use, and thermal problems” that would ensue from using two emitters
in the Aizawa device. Id.

Analysis

      Upon review of the foregoing, we conclude a preponderance of the
evidence supports Petitioner’s contention that it would have been obvious to
replace Aizawa’s single near infrared LED 21 with an infrared LED and a
green LED, in light of Inokawa.
      First, a person of ordinary skill in the art would have been motivated
to make this replacement to improve the pulse measurements recorded by
Aizawa’s detector 1. Inokawa teaches that the infrared LED’s signal can be
used “to detect vital signs” such as “body motion,” and the green LED’s
signal can be “used to detect pulse.” Ex. 1008, Fig. 2, ¶¶ 14, 58–59;
Ex. 1003 ¶¶ 68, 80, 83–85; Ex. 1047 ¶¶ 69–70.
      Patent Owner correctly points out that Aizawa describes its
single-emitter detector 1 as transmitting its pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only disclosure in Aizawa cited by Patent
Owner as relating to computing a motion characteristic of the user. Further,
we are unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear exactly what Aizawa proposes to do with the
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computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 70
(“Aizawa is silent on whether it uses the computed motion load to improve
the detection signal.”). Aizawa does, however, describe the motion load as
being computed “from the pulse rate,” rather than being an input to the pulse
rate calculation. Ex. 1006 ¶¶ 15, 35.
      In a deposition for other proceedings related to this inter partes
review, see supra § I.B, Dr. Kenny was asked whether it was his
understanding that “Aizawa’s sensor could not account for motion load?”;
Dr. Kenny answered that “Aizawa’s sensor attempts to prevent motion load
rather than account for it.” Ex. 2007, 400:7–11 (deposition for IPR2020-
01520, IPR2020-01537, and IPR2020-01539). He explained that, because
Aizawa uses only a single emitter with a single wavelength, “what [Aizawa]
sees as a signal would be some mixture of pulse rate and motion load if there
was no effort to prevent motion load,” so Aizawa seeks to solve the problem
of “prevent[ing] motion load from corrupting the pulse rate signal.” Id.
at 400:12–401:10. Dr. Kenny did not further explain this distinction
between preventing and accounting for motion load in his deposition
testimony cited by the parties as relating to this issue. Id. at 400:7–402:4.
We do not rely on this distinction as a basis for our present decision, because
we find no express support for it in Aizawa’s disclosure (see Ex. 1006 ¶¶ 15,
28, 35), and it is not explained in persuasive detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a person
of ordinary skill in the art, upon reviewing Inokawa’s disclosure of using
two emitters of different wavelengths to calculate a user’s pulse and motion
separately, would understand that these two separate measurements would
enable the device to calculate a “more reliable” pulse rate because it “allows

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noise arising from body motion to be better isolated and accounted for.”
Ex. 1047 ¶ 70; Ex. 1003 ¶¶ 80, 83, 85, 109–110. Aizawa does not disclose
using the computed motion load in this fashion, so it appears that this would
improve upon the accuracy of Aizawa’s pulse measurements, by using the
computed motion load to isolate and account for noise. See Ex. 1006 ¶¶ 15,
28, 35.
      Dr. Madisetti also offers no meaningful opposing testimony in this
regard. See, e.g., Ex. 2004 ¶ 104. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of
adding the bare ability to measure body movement to Aizawa. See id. In
fact, Dr. Kenny further testified that it would have been beneficial to use the
measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶¶ 80, 83, 85; Ex. 1047 ¶ 70. Dr. Madisetti does not address
that testimony. See Ex. 2004 ¶ 104.
      Thus, because Dr. Madisetti’s testimony sets up a straw man to attack,
rather than directly addressing the entirety of Dr. Kenny’s testimony in this
regard, Dr. Kenny’s testimony stands unrebutted in the record before us.
Dr. Kenny’s testimony also makes intuitive sense that measuring the user’s
motion separately from the user’s pulse, for example by using two
interrogating emitters of two different wavelengths, would provide a reliable
means of correcting the pulse data for motion artifacts by using the
separately measured motion data, rather than by trying to segregate these
two components in the single data stream provided by Aizawa’s single
emitter device. See, e.g., Ex. 1047 ¶ 70. We, therefore, are persuaded by
Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.

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      Independently, we are also persuaded that a person of ordinary skill in
the art would have been motivated to replace Aizawa’s single near infrared
LED 21 with an infrared LED and a green LED, to provide a reliable method
of uploading pulse data stored by Aizawa’s wrist-worn pulse rate detector 1
to another device for display to the user. Inokawa expressly touts such
optically-based uploading of data from Inokawa’s wrist-worn sensor 1 to
Inokawa’s base device 17 as a benefit of incorporating two emitters in
sensor 1. See Ex. 1008, Figs. 3, 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa
identifies two specific benefits of this optically-based data communication
means. First, the infrared LED can transmit the pulse data, and the green
LED can separately transmit “checksum” information to increase the
accuracy of data transmission. Id. at Fig. 19, ¶¶ 14, 109–111. Second, using
light emitters in this fashion to perform two functions (data collection by
emitting light into the user’s wrist, and data transmission by emitting light to
photodetectors in a base device) obviates the need for providing “a special
wireless communication circuit [in the wrist-worn sensor 1] or a
communication cable.” Id. ¶¶ 3–7, 76–77.
      Patent Owner correctly points out that Aizawa already has a
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. However, Aizawa’s Figure 1(b)
illustrates transmitter 4 only as an empty box contained within outer
casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to the other
device. See id.

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      Patent Owner contends, and Dr. Madisetti and Dr. Kenny both testify,
that Aizawa’s transmitter 4 is a “wireless” transmitter. See, e.g.,
PO Resp. 53; Ex. 2004 ¶¶ 49, 105–106, 112; Ex. 2007, 403:17–22, 414:19–
21. They all appear to equate “wireless” communication to radio frequency
communication, and not to include optical communication, even though both
radio frequency and optical communication do not use a wire. Based on the
foregoing testimony, we assume, for this decision, that Aizawa contemplates
radio frequency communication as one embodiment by which transmitter 4
may transmit data to devices other than detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert Aizawa’s “goal” is to
measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., Ex. 2004 ¶¶ 106–108, 111. We find that
Aizawa does not support this assertion. Instead, Aizawa discusses prior art
devices that “estimat[e] a burden on the heart of a person who takes exercise
by real-time measuring his/her heart rate at the time of exercise” (Ex. 1006
¶ 4 (emphasis added)), and then describes Aizawa’s detector 1 as having a
transmitter for transmitting the measured pulse rate data to another device
for display (id. ¶ 15). Aizawa does not indicate when this transmission
occurs. Aizawa also refers to “noise caused by the shaking of the body of
the subject” as a problem to be addressed (id. ¶ 6), but this problem occurs
regardless of whether the shaking results from exercise or the normal
movement of the user’s wrist over the course of the day. Thus, Aizawa does
not tout, as an important feature of Aizawa’s invention, the real time display
of pulse rate data during exercise, regardless of whether the data gathered by



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Aizawa’s wrist-worn detector 1 is transmitted wirelessly or otherwise. Id.
¶¶ 4, 6, 15.
      No doubt, a person of ordinary skill in the art would have viewed the
capability of a wrist-worn pulse detector to transmit its pulse data to another
device for display in real time while the user is exercising to be a desirable
feature in some cases, even if this is not one of Aizawa’s specifically stated
goals. See, e.g., Ex. 1003 ¶ 72 (Dr. Kenny stating: “By wirelessly
transmitting the collected data, the condition of a subject can be determined
‘remotely’ . . . .”); Ex. 2009, 393:6–14 (in a deposition for other related
proceedings, Dr. Kenny agreeing that a person of ordinary skill in the art
“would have seen the ability to wirelessly transmit collected data as an
advantage”). Nonetheless, Inokawa expressly discloses that, in other cases,
the benefits achieved by wireless transmission can be outweighed by
obviating the need for the wrist-worn sensor to include a special wireless
communication circuit. See Ex. 1008 ¶¶ 3–7 (discussing problems
associated with wireless transmission, such as the need for a dedicated
circuit, which is avoided by Inokawa’s system that risks “few malfunctions”
and has a “simple structure”), 76–77 (“As a result, there is no need to use a
special wireless communication circuit . . ., which makes it possible to
transmit vital sign information to the base device 17 accurately, easily, and
without malfunction.”). We therefore conclude that Petitioner’s case for
obviousness in this regard is supported by a preponderance of the evidence.
See, e.g., In re Urbanski, 809 F.3d 1237, 1243–44 (Fed. Cir. 2016) (persons
of ordinary skill in the art may be motivated to pursue desirable properties of
one prior art reference, even at the expense of foregoing a benefit taught by
another prior art reference).

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      We disagree with Patent Owner’s argument that Petitioner’s case for
obviousness is deficient on the basis that neither Aizawa nor Inokawa
expressly discloses a wrist-worn sensor device that has both a plurality of
emitters and at least four detectors, as claim 1 recites. Obviousness does not
require “‘some motivation or suggestion to combine the prior art teachings’
[to] be found in the prior art.” KSR, 550 U.S. at 407, 415–418. Nor does it
require the bodily incorporation of Inokawa’s device into Aizawa’s device.
See, e.g., In re Keller, 642 F.2d 413, 425 (CCPA 1981) (test for obviousness
is not whether the features of one reference may be bodily incorporated into
the structure of the other reference, but rather is “what the combined
teachings of the references would have suggested to those of ordinary skill
in the art”); see also In re Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir.
1986) (nonobviousness is not established by attacking references
individually when unpatentability is predicated upon a combination of prior
art disclosures). Instead, “[a] person of ordinary skill is also a person of
ordinary creativity, not an automaton,” and “in many cases a person of
ordinary skill will be able to fit the teachings of multiple patents together
like pieces of a puzzle.” KSR, 550 U.S. at 420–421.
      In this case, we are persuaded that a person of ordinary skill in the art
would have been motivated to modify Aizawa’s wrist-worn detector 1 to
replace its single near infrared LED 21 with an infrared LED and a green
LED, based on Inokawa, for all the reasons provided above. A person of
ordinary skill in the art would additionally have known to keep all four
detectors 22 that are already present in Aizawa’s detector 1, so that “[e]ven
when the attachment position of the sensor is dislocated, a pulse wave can be
detected accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9, 27. In short,

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the combination of Aizawa and Inokawa teaches that having multiple
emitters is beneficial, and having multiple detectors is beneficial, for
different and not inconsistent reasons.
      Finally, we agree with Petitioner’s position that any thermal
interference and power consumption issues that may arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of a person of ordinary skill in the art to solve.
We credit Dr. Kenny’s testimony in this regard. See Ex. 1003 ¶ 86;
Ex. 1047 ¶ 72. For example, Dr. Kenny acknowledges that Aizawa already
discloses adding additional emitters. Ex. 1003 ¶ 79 (citing Ex. 1006 ¶¶ 32–
33). Dr. Kenny further testifies that this modification “amount[s] to nothing
more than the use of a known technique [i.e., Inokawa’s use of two emitters
in a wrist-worn pulse detector] to improve similar devices [i.e., Aizawa’s
wrist-worn pulse detector] in the same way and combining prior art elements
according to known methods to yield predictable results.” Id. ¶ 86.
      Patent Owner cites portions of Dr. Kenny’s deposition testimony that,
in Patent Owner’s view, indicate Dr. Kenny fails to appreciate the
significance of optical interference complications posed by adding a second
emitter to Aizawa’s device, and fails to explain how this would have been
overcome. See PO Resp. 56–57 (citing Ex. 2007, 394:11–395:17). We have
reviewed this deposition testimony, and we conclude Patent Owner
overstates its significance. It establishes, at most, that Dr. Kenny did not
expressly address this issue in his declaration (Exhibit 1003), but
Dr. Kenny’s opinion is that this would have been within the capability of a
person of ordinary skill in the art to resolve. Based on the evidentiary record
presented to us, we agree with Dr. Kenny. For example, Inokawa discloses a

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wrist-worn pulse sensor 1 having two emitters 21 and 23 in close proximity
to each other. See Ex. 1008, Figs. 1–2. An artisan must be presumed to
know something about the art apart from what the relied-upon references
disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how issues that
arise from adding a second emitter to Aizawa would have been solved;
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult for a person of ordinary skill in the art to solve, in
the context of Aizawa’s device or wrist-worn pulse sensing devices in
general. See Ex. 2004 ¶ 109.
      Thus, we conclude a person of ordinary skill in the art would have
been motivated to replace Aizawa’s single near infrared LED 21 with an
infrared LED and a green LED, and would have had a reasonable
expectation of success in doing so.

 iv. “[c] at least four detectors, wherein each of the at least four detectors
      has a corresponding window that allows light to pass through to the
                                    detector”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors, each stored in a separate cavity 23c,
which would have been understood to be “openings or windows that mirror
specific detector placement layouts.” Pet. 48, 43–49; see, e.g., Ex. 1006
¶¶ 23 (“four phototransistors 22”), 24 (“stored in cavities” and “set back
from . . . detection face 23a”), Figs. 1(a)–1(b); Ex. 1003 ¶¶ 111–119.




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    v. “[d] a wall that surrounds at least the at least the four detectors”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which is a wall that surrounds detectors 22, as
well as other elements. Pet. 50–51; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for
storing . . . light emitting diode 21 and the photodetectors 22”), Fig. 1(b).

    vi. “[e] cover comprising a protruding convex surface, wherein the
     protruding convex surface is above all of the at least four detectors,
    wherein at least a portion of the protruding convex surface is rigid, and
               wherein the cover operably connects to the wall;”
Petitioner’s Undisputed Contentions

      Petitioner contends that Aizawa discloses a cover, i.e., “an acrylic
transparent plate positioned between the photodetectors and the wrist,” to
improve adhesion between the sensor and the subject’s wrist. Pet. 13.
Patent Owner does not dispute this contention, and we agree with Petitioner.
Aizawa discloses that “acrylic transparent plate 6 is provided on the
detection face 23a of the holder 23 to improve adhesion to the wrist 10.”
Ex. 1006 ¶ 34, Fig. 1(b) (depicting transparent plate 6 between sensor 2 and
wrist 10).
      Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a convex surface that contacts the
user’s skin. Pet. 16, 31. Patent Owner does not dispute this contention, and
we agree with Petitioner. Ohsaki discloses that sensor 1 includes detecting
element 2 and sensor body 3, and is “worn on the back side of the user’s
wrist.” Ex. 1009 ¶ 16. Ohsaki discloses that detecting element 2 includes
package 5 and “translucent board 8[,which] is a glass board which is
transparent to light, [and is] attached to the opening of the package 5. A

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convex surface is formed on the top of the translucent board 8.” Id. ¶ 17.
As seen in Ohsaki’s Figure 2, translucent board 8 has a protruding convex
surface, and is located above all of the detectors. Id. at Fig. 2. As also seen
in Figure 2, the cover is operably connected to the walls of sensor package 5.
Id. ¶ 17 (“The translucent board 8 is . . . attached to the opening of the
package 5.”), Fig. 2.
      Petitioner also contends that Ohsaki’s Figure 2 depicts the user’s
tissue conforming to the shape of the convex surface of the cover, such that
the convex surface would have been “rigid.” Pet. 53. Patent Owner does
not dispute this contention, and we agree with Petitioner. Ohsaki’s Figure 2
depicts the user’s tissue 4 conforming to the shape of the protruding convex
surface when the sensor is worn by the user. Ex. 1009 ¶ 17 (“The
translucent board 8 is a glass board.”), Fig. 2; see, e.g., Ex. 1003 ¶ 124.

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
would have found it obvious “to modify the sensor’s flat cover [in Aizawa]
. . . to include a lens/protrusion . . . similar to Ohsaki’s translucent board 8,
so as to [1] improve adhesion between the user’s wrist and the sensor’s
surface, [2] improve detection efficiency, and [3] protect the elements within
sensor housing.” Pet. 33, 52 (citing, e.g., Ex. 1003 ¶¶ 25, 100–101;
Ex. 1006 ¶¶ 2, 5, 8–16, 23–24, 27–29, 32–33). Petitioner contends that
Ohsaki’s convex surface is in “intimate contact” with the user’s tissue,
which prevents slippage of the sensor and increases signal strength because
“variation of the amount of the reflected light . . . that reaches the light
receiving element 7 is suppressed” and because “disturbance light from the
outside” is prevented from penetrating board 8, as compared to a sensor with
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a flat surface. Id. at 31–32 (citing, e.g., Ex. 1003 ¶ 99; quoting Ex. 1009
¶ 25). Petitioner also contends that, in the combination, the protruding
convex surface would have been rigid, and the cover would have operably
connected to the wall, as taught by Ohsaki. Pet. 52–53.
      Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., “simply improving Aizawa-Inokawa’s transparent plate 6 that has
a flat surface to improve adhesion to a subject’s skin and reduce variation in
the signals detected by the sensor.” Pet. 34 (citing Ex. 1003 ¶ 102). Further
according to Petitioner, “the elements of the combined system would each
perform functions they had been known to perform prior to the
combination—Aizawa-Inokawa’s transparent plate 6 would remain in the
same position, performing the same function, but with a convex surface as
taught by Ohsaki.” Id. at 34–35.
      To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 34.




Petitioner’s annotated figure on the left depicts Aizawa’s sensor, modified to
include LED B (see supra Section II.D.5.iii) and with a flat “light permeable
cover” (illustrated with blue outline); Petitioner’s annotated figure on the

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right depicts Aizawa’s sensor, again modified to include LED B (see supra
Section II.D.5.iii) and with a convex “light permeable cover” (also
illustrated with blue outline).

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 19–50; PO Sur-reply 3–23.
      First, Patent Owner argues that the proposed modification
“fundamentally changes Ohsaki’s structure and eliminates the longitudinal
shape that gives Ohsaki’s translucent board the ability to prevent slipping.”
PO Resp. 20. This argument is premised on Patent Owner’s contention that
Ohsaki’s convex cover must be rectangular, with the cover’s long direction
aligned with the length of the user’s forearm, to avoid interacting with bones
in the wrist and forearm. Id. at 22–24 (citing, e.g., Ex. 2004 ¶¶ 52–57;
Ex. 1009 ¶¶ 6, 19, 23, 24); PO Sur-reply 3–11. According to Patent Owner,
Ohsaki teaches that “aligning the sensor’s longitudinal direction with the
circumferential direction of the user’s arm undesirably results in ‘a tendency
[for Ohsaki’s sensor] to slip off.’” PO Resp. 22–23 (citing Ex. 1009 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus cannot coincide with the
longitudinal direction of the user’s wrist.” Id. at 23 (citing Ex. 2004 ¶¶ 56–
57). Patent Owner presents annotated Figures depicting what it contends is
Ohsaki’s disclosed sensor placement as compared to that of the proposed
modification, reproduced below. Id. at 24.
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Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
cannot avoid the undesirable interaction with the user’s bone structure,” such
that a skilled artisan “would have understood such a change would eliminate
Ohsaki’s benefit of preventing slipping.” Id. (citing, e.g., Ex. 2004 ¶¶ 56–
57).
       Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 29–30.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side
opposite from where Ohsaki’s sensor is worn. Id. at 29–34 (citing, e.g.,
Ex. 2004 ¶¶ 66–73). According to Patent Owner, Ohsaki teaches that the
sensor’s convex surface has a tendency to slip when placed on the palm side
of the wrist, i.e., in the location taught by Aizawa. Id. at 35–38 (citing, e.g.,
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Ex. 1009 ¶¶ 19, 23, 24; Ex. 2004 ¶¶ 74–80). Thus, Patent Owner argues that
a person of ordinary skill in the art “would not have been motivated to use
Ohsaki’s longitudinal board—designed to be worn on the back side of a
user’s wrist—with Aizawa’s palm-side sensor.” Id. at 38. Similarly, Patent
Owner argues that Aizawa teaches away from the proposed modification
because Aizawa teaches that its flat acrylic plate improves adhesion on the
palm side of the wrist, while Ohsaki teaches that its convex board “has a
tendency to slip” on the palm side of the wrist. Id. at 39–41 (citing, e.g.,
Ex. 2004 ¶¶ 82–84).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease signal strength.
PO Resp. 41–48 (citing, e.g., Ex. 2004 ¶¶ 85–97). Patent Owner also
contends that Petitioner and Dr. Kenny admitted as much in a related
proceeding. Id. at 42–43 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’765 patent to support its
position. Id. at 43 (citing Ex. 1001, 36:3–6, 36:13–15). Additionally, Patent
Owner argues that its position is also supported by Inokawa, which also uses
a convex lens to direct light toward the center but, in Inokawa’s structure,
the light is directed from peripheral emitters toward a central detector. Id. at
47–48 (citing, e.g., Ex. 1008 ¶¶ 15, 58). In light of the foregoing, Patent
Owner argues that a person of ordinary skill in the art would have
understood that the proposed modification would have decreased signal
strength by directing light away from Aizawa’s peripheral detectors. Id. at
45–48.

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      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 49–50 (citing Ex. 1008 ¶ 106).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 13–21 (citing, e.g., Ex. 1047 ¶¶ 16–33).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
somehow understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of modifying
Aizawa to feature a light permeable protruding convex cover to obtain the
benefits” taught by Ohsaki. Id. at 17 (citing, e.g., Ex. 1047 ¶ 26). Similarly,
regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a [person of
      ordinary skill in the art] would have understood Aizawa’s sensor
      as being limited to placement on the backside of the wrist, and
      would have understood Ohsaki’s sensor’s “tendency to slip”
      when arranged on the front side as informing consideration of
      Ohsaki’s teachings with respect to Aizawa, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Aizawa’s sensor,
      to improve detection efficiency of that sensor when placed on the
      palm side.
Id. at 19 (citing, e.g., Ex. 1047 ¶ 30). In other words, Ohsaki’s disclosure
that a convex surface suppresses variation in reflected light would have
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motivated an artisan to add such a surface to Aizawa to improve detection
efficiency of that sensor when placed on the palm side. Id. at 20–21.
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Aizawa’s sensor would not decrease signal
strength but, instead, “would improve Aizawa’s signal-to-noise ratio by
causing more light backscattered from tissue to strike Aizawa’s
photodetectors than would have with a flat cover” because such a cover
improves light concentration across the entire lens and does not direct it only
towards the center. Id. at 21–28 (citing, e.g., Ex. 1047 ¶¶ 34–58).
      Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known principle of reversibility,” by which “a ray going from P to S
will trace the same route as one from S to P.” Pet. Reply 23 (quoting
Ex. 1051, 92; citing, e.g., Ex. 1051, 87–92; Ex. 1049, 106–111; Ex. 1047
¶ 38). When applied to Aizawa’s sensor, Petitioner contends that any
condensing benefit achieved by a convex cover would thus direct emitted
light toward Aizawa’s peripheral detectors. Id. at 24–26 (citing, e.g.,
Ex. 1047 ¶¶ 40–49). Although Dr. Madisetti “refused to acknowledge” “this
basic principle of reversibility during deposition,” Petitioner contends it is
applied in Aizawa. Id. at 25 (citing, e.g., Ex. 1052, 89:12–19; Ex. 1003
¶ 127 (citing Ex. 1006 ¶ 33); Ex. 1047 ¶ 34).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and
angles.” Pet. Reply 26–28 (citing, e.g., Ex. 1019, 52, 86, 90; Ex. 1053, 803;
Ex. 1047 ¶¶ 50–56; Ex. 2006, 163:12–164:2). This scattered and diffuse
light, according to Petitioner, means that Ohsaki’s convex cover cannot

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“focus all light at the center of the sensor device,” as Patent Owner argues.
Id. at 27. Instead, due to the random nature of this scattered light, Petitioner
asserts that a person of ordinary skill in the art would have understood that
“Ohsaki’s convex cover provides a slight refracting effect, such that light
rays that otherwise would have missed the detection area are instead directed
toward that area as they pass through the interface provided by the cover.”
Id. at 28 (citing, e.g., Ex. 1047 ¶¶ 55–56). Petitioner applies this
understanding to Aizawa, and asserts that using a cover with a convex
protrusion in Aizawa would “enable backscattered light to be detected
within a circular active detection area surrounding” a central light source.
Id. at 28 (citing, e.g., Ex. 1047 ¶ 56).
      Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 30–31 (citing Ex. 1047 ¶¶ 62–67).




The above illustration depicts backscattered light reflecting off user tissue in
various directions, such that it impinges upon the peripheral detectors from
various random angles and directions. Id. According to Petitioner, “light
rays that otherwise would have missed the active detection area are instead
directed toward that area as they pass through the interface provided by the
convex cover.” Id. at 31.
      Finally, Petitioner dismisses Patent Owner’s reliance on Figure 14B of
the ’765 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. For example, the light

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rays (1420) shown in FIG. 14B are collimated (i.e., travelling paths parallel
to one another), and each light ray’s path is perpendicular to the detecting
surface.” Pet. Reply 28–29 (citing, e.g., Ex. 1047 ¶¶ 57–60).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to
combine. Id. at 33 (citing, e.g., Ex. 1047 ¶ 68). Moreover, Petitioner argues
that “by choosing a suitable material of the protrusion to be scratch-resistant,
it would have been obvious for a [person of ordinary skill in the art] to
achieve both benefits of light gathering and scratch-resistance.” Id.

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in its sensor’s orientation or body location
result in ‘a tendency to slip.’” PO Sur-reply 3–14, 6.
      Concerning Patent Owner’s third argument, Patent Owner asserts that
Petitioner’s Reply improperly presents several new theories as compared
with the Petition. Id. at 16 (regarding reversibility), 19 (regarding
refraction).
      Patent Owner argues that Dr. Kenny and Petitioner have not overcome
their admissions that a convex lens directs light toward the center. Id. at 15.
Moreover, Patent Owner argues that Petitioner’s discussion of the principle
of reversibility is “irrelevant” because “Petitioner never explains how the
principle of reversibility could apply to such ‘random’ scattered and
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absorbed light” as is present when light interacts with user tissue. Id. at 16–
17. The random nature of backscattered light, in Patent Owner’s view,
“hardly supports Petitioner’s argument that light will necessarily travel the
same paths regardless of whether the LEDs and detectors are reversed,” and
is irrelevant to the central issue presented here of “whether changing
Aizawa’s flat surface to a convex surface results in more light on Aizawa’s
peripherally located detectors.” Id. at 17–18.
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that a cover with a convex protrusion
“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. PO Sur-reply 19. Patent Owner’s position, rather, is that
Petitioner has not shown that a person of ordinary skill in the art “would
have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. In Patent Owner’s view, by arguing that the
convex cover provides only a “slight refracting effect,” Petitioner
undermines its contention that providing such a cover would have improved
detection efficiency. Id. at 19–20.
      Moreover, Patent Owner argues that Petitioner’s theory regarding the
“slight refracting effect” of a convex protrusion is “unavailing because it
fails to consider the greater decrease in light at the detectors due to light
redirection to a more central location.” Id. at 20. According to Patent
Owner, any light redirected from the sensor’s edge could not make up for
the loss of signal strength from light redirected away from the detectors and
toward the center. Id.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover

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would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 23. Moreover, Patent Owner argues that “the
risk of scratches undermines Petitioner’s argument that a [person of ordinary
skill in the art] would have been motivated to add a convex cover to ‘protect
the elements within the sensor housing.’” Id.

Analysis

      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Aizawa’s sensor: (1) to improve adhesion between the sensor
and the user’s tissue, (2) to improve detection efficiency, and (3) to protect
the elements within the sensor housing. Pet. 33. We conclude all three
rationales are supported by the evidence, as follows.
      Rationales 1 and 2
      The evidence of record persuades us that adding a convex cover, such
as that taught by Ohsaki, would have improved adhesion between the sensor
and the user’s skin, which would have increased the signal strength of the
sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented

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      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25 (emphases added); see also id. ¶ 27 (“stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
user’s wrist. See, e.g., Ex. 1003 ¶¶ 99 (“[T]his contact between the convex
surface and the user’s skin is said to prevent slippage, which increases the
strength of the signals obtainable by Ohsaki’s sensor.”), 101–102. We also
credit Dr. Kenny’s testimony that, in light of these teachings, a person of
ordinary skill in the art would have made such a modification to improve the
pulse sensor’s ability to emit light into, and detect light reflected from, the
user’s wrist, to generate an improved pulse signal. Ex. 1003 ¶¶ 71, 98, 100;
Ex. 1047 ¶¶ 7, 14.
      Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as



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disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies:
              [A person of ordinary skill in the art] would have
        combined the teachings of Aizawa-Inokawa and Ohsaki as doing
        so would have amounted to nothing more than the use of a known
        technique to improve similar devices in the same way. [One of
        ordinary skill] would have recognized that incorporating
        Ohsaki’s convex surface is simply improving Aizawa-Inokawa’s
        transparent plate 6 that has a flat surface to improve adhesion to
        a subject’s skin and reduce variation in the signals detected by
        the sensor. Furthermore, the elements of the combined system
        would each perform similar functions they had been known to
        perform prior to the combination—Aizawa-Inokawa’s
        transparent plate 6 would remain in the same position,
        performing the same function, but with a convex surface as
        taught by Ohsaki.
Ex. 1003 ¶ 102. In light of Ohsaki’s express disclosure of the benefits of a
convex cover, we credit Dr. Kenny’s testimony that a person of ordinary skill
in the art would have been motivated to modify Aizawa as proposed, and
would have had a reasonable expectation of success in doing so.
        We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
        Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 20–28. We disagree. Ohsaki does not disclose


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the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1009 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 15–17. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); Pet. Reply 16–17;
Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d 951, 956 (Fed.
Cir. 2000) (“[I]t is well established that patent drawings do not define the
precise proportions of the elements and may not be relied on to show
particular sizes if the specification is completely silent on the issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element from the right side to the
left side in FIG. 2 is longer than the length from the upper side to the lower
side.” Ex. 1009 ¶ 19. Ohsaki also describes that detecting element 2 is
aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).



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      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 14 (noting also that Ohsaki’s
board 8 “is not coextensive with the entire tissue-facing side of detecting
element 2”). We have considered the testimony of both Dr. Kenny and
Dr. Madisetti on this point. Ex. 1047 ¶¶ 10, 13, 19–26; Ex. 2004 ¶¶ 37–41
(relying on Ohsaki’s Figures 1–2 to support the opinion that the convex
surface is rectangular). Dr. Madisetti’s reliance on the dimensions of
Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt, 222 F.3d at 956.
We credit Dr. Kenny’s testimony that Ohsaki does not describe its convex
surface as rectangular, because this testimony is most consistent with
Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 21–23; PO Sur-reply 10 (“[A person of ordinary skill in the art]
would have understood Ohsaki’s convex board must also have a longitudinal
shape oriented up-and-down the watch-side of the user’s wrist/forearm.”).
Although Ohsaki recognizes that interaction with these bones can cause
problems, (see Ex. 1009 ¶¶ 6, 19), we do not agree that the only way to avoid
these bones is by aligning a rectangular cover with the longitudinal direction
of the user’s forearm. For example, in the annotated Figures provided by
Patent Owner, see PO Resp. 24, we discern that the circular sensor that
purports to depict the proposed modification would also avoid the bones in
the forearm if it were slightly smaller. Patent Owner provides no persuasive

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explanation to justify the dimensions it provides in this annotated figure, or
to demonstrate that such a large sensor would have been required. Indeed,
we discern that it would have been within the level of skill of an ordinary
artisan to appropriately size a modified sensor to avoid these well-known
anatomical obstacles. “A person of ordinary skill is also a person of
ordinary creativity, not an automaton.” KSR, 550 U.S. at 421. After all, an
artisan must be presumed to know something about the art apart from what
the references disclose. See In re Jacoby, 309 F.2d at 516.
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1047 ¶¶ 12–
13. Thus, we agree with Petitioner that Ohsaki’s teaching of a convex
surface would have motivated a person of ordinary skill in the art to add
such a surface to Aizawa’s circular-shaped sensor, to improve adhesion as
taught by Ohsaki. Nothing in Ohsaki’s disclosure limits such a benefit to a
specific shape of the convex surface. Ex. 1047 ¶¶ 10, 12–14, 19–26.
      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,



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      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1009 ¶ 25; Ex. 1047 ¶ 13. Again, we agree with Petitioner that Ohsaki’s
teaching of a convex surface would have motivated a person of ordinary
skill in the art to add such a surface to Aizawa’s sensor, to improve signal
strength, as taught by Ohsaki. Again, nothing in Ohsaki’s disclosure limits
such a benefit to the shape of the convex surface. Ex. 1047 ¶¶ 13, 19–26.
Accordingly, we do not agree that Ohsaki’s disclosed advantages attach only
to a rectangular convex surface, or would have been inapplicable to the
proposed combination of Aizawa and Ohsaki.5
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 28–41. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply
proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 31. In other words,



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 Patent Owner also argues that, to the extent contended by Petitioner, it
would not have been obvious to place a rectangular cover on top of
Aizawa’s sensor. PO Resp. 26–28. We do not understand Petitioner to have
made any such contention and, accordingly, do not address this argument.
See, e.g., Pet. 31–35.
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Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1009 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 66, 75. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1009 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, the claims are
not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See
Ex. 1047 ¶¶ 11, 14, 16, 27–33. This is because the convex protrusion is in
“intimate contact with the surface of the user’s skin,” id. ¶ 12, which “would
have provided improved adhesion as described by Ohsaki in a sensor placed,
e.g., on the palm side of the wrist, or other locations on the body.” Id. ¶¶ 16,
28.

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      Dr. Madisetti testifies that “[b]ased on Aizawa’s teaching that a flat
acrylic plate improves adhesion on the palm side of the wrist, and Ohsaki’s
teaching that a convex surface tends to slip on the palm side of the wrist, a
[person of ordinary skill in the art] would have come to the opposite
conclusion from Dr. Kenny: that modifying Aizawa’s flat adhesive plate ‘to
include a lens/protrusion . . . similar to Ohsaki’s translucent board’ would
not ‘improve adhesion.’” Ex. 2004 ¶¶ 84, 82. We disagree with this reading
of Aizawa. It is true that Aizawa’s plate 6 is illustrated as having a flat
surface (Ex. 1006, Fig. 1(b)), and that Aizawa states the plate “improve[s]
adhesion” (id. ¶ 13). Aizawa further states: “the above belt 7 is fastened
such that the acrylic transparent plate 6 becomes close to the artery 11 of the
wrist 10,” and “[t]hereby, adhesion between the wrist 10 and the pulse rate
detector 1 is improved.” Id. ¶ 26. These disclosures, however, indicate the
improved adhesion is provided by the acrylic material of plate 6, not the
shape of the surface of the plate, which is never specifically addressed. Id.
¶¶ 30, 34 (“Since the acrylic transparent plate 6 is provided . . . adhesion
between the pulse rate detector 1 and the wrist 10 can be improved . . . .”).
Aizawa does not associate this benefit of improved adhesion with the surface
shape of the plate, but rather, with the existence of an acrylic plate to begin
with. Thus, there is no teaching away from using a convex surface to
improve the adhesion of Aizawa’s detector to the user’s wrist.
      We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which
Patent Owner alleges would decrease signal strength. PO Resp. 41–48. We
disagree.



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        There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet.
Reply 26 (“[R]eflectance-type sensors detect light that has been ‘partially
reflected, transmitted, absorbed, and scattered by the skin and other tissues
and the blood before it reaches the detector.’ Thus, a [person of ordinary
skill in the art] would have understood that light reaches the active detection
area from various random directions and angles.”) (quoting Ex. 1019, 86);
PO Sur-reply 16 (“Even Petitioner admits, however, that tissue randomly
scatters and absorbs light rays.”), Tr. 33:13–34:7 (Patent Owner’s counsel
stating that “when [light] goes into the tissue you get the diffusion and that is
random scattering, correct”).
        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1050,6
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




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    Eugene Hecht, Optics (2nd ed. 1990).
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This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1050, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides
diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1047 ¶¶ 42–43 (discussing Ex. 1050,
Figure 4.12), 50 (“A [person of ordinary skill in the art] would have
understood that light that backscatters from the measurement site (after
diffusing through tissue) reaches the active detection area from many
random directions and angles.”).
      Dr. Kenny testifies that Aizawa’s sensor “detect[s] light that has been
‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector.’” Ex. 1047 ¶ 50
(quoting Ex. 1019, 86). Dr. Kenny further opines that a convex cover, when
added to Aizawa’s sensor with multiple detectors symmetrically arranged
about a central light source, “allows light rays that otherwise would have
missed the detection area to instead be directed toward that area as they pass
through the interface provided by the cover,” thus increasing the light-
gathering ability of Aizawa’s sensor. Id. ¶¶ 56, 62.
      By contrast Dr. Madisetti testifies that “a convex ‘lens/protrusion’
would direct light away from the detectors and thus result in decreased light
collection and optical signal strength at the peripheral detectors” because it
condenses light towards the center of the sensor and away from the
peripheral detectors. Ex. 2004 ¶¶ 85–86, 89. We have considered this

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testimony, however, Dr. Madisetti’s opinions largely are premised upon the
behavior of collimated and perpendicular light as depicted in Figure 14B of
the challenged patent. See id. ¶ 88. Dr. Madisetti does not explain how light
would behave when approaching the sensor from various angles, as it would
after being reflected by tissue. Id. ¶¶ 86–89; see also id. ¶¶ 90–97
(addressing motivation and also failing to discuss diffuse, scattered light). In
other words, even if Patent Owner is correct that the ’765 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light reflected by a user’s tissue is
scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both [previously admitted] that a convex cover condenses light towards the
center of the sensor and away from the periphery,” in a different petition
filed against a related patent, i.e., in IPR2020-01520. PO Resp. 42–44;
Ex. 2004 ¶ 86. The cited portions of the Petition and Dr. Kenny’s
declaration from IPR2020-01520 discuss a decrease in the “mean path
length” of a ray of light when it travels through a convex lens rather than
through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that
this discussion is inconsistent with Dr. Kenny’s testimony here that, where
light is reflected to the detectors at various random angles and directions,
more light will reach Aizawa’s symmetrically disposed detectors when
travelling through the convex surface than would be reached without such a
surface, because light that might have otherwise missed the detectors now
will be captured. See, e.g., Ex. 1047 ¶¶ 34, 37, 56; see generally id. ¶¶ 34–
67. We do not discern that the convergence of a single ray of light toward

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the center, as discussed in IPR2020-01520, speaks to the aggregate effect on
all light that travels through the convex surface.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new theories that should have been first
presented in the Petition, to afford Patent Owner an adequate opportunity to
respond. The Petition proposed a specific modification of Aizawa to include
a convex protrusion in the cover, for the purpose of, inter alia, increasing the
light gathering ability of Aizawa’s device. See Pet. 31–35. Patent Owner’s
Response then challenged that contention, with several arguments that
Petitioner’s proposed convex protrusion would not operate in the way the
Petition alleges it would operate. See PO Resp. 41–48. This opened the
door for Petitioner to provide, in the Reply, arguments and evidence
attempting to rebut the contentions in the Patent Owner Response. See
PTAB Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated
Guide”),7 73 (“A party also may submit rebuttal evidence in support of its
reply.”). This is what Petitioner did here. The Reply does not change
Petitioner’s theory for obviousness; rather, the Reply presents more
argument and evidence in support of the same theory for obviousness
presented in the Petition. Compare Pet. 31–35, with Reply 21–32.
        Rationale 3
        Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 33. We are persuaded that adding a convex cover,


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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
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such as that taught by Ohsaki, would also protect the sensor’s internal
components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 101; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s] the LED or
PD”).
        We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner does not explain how the potential
presence of scratches on a convex cover would preclude that cover’s ability
to, nonetheless, protect the internal sensor components in Aizawa, as
Petitioner proposes. That a convex cover may be more prone to scratches
than Aizawa’s flat cover is one of numerous tradeoffs that a person of
ordinary skill in the art would consider in determining whether the benefits
of increased adhesion, signal strength, and protection outweigh the potential
for a scratched cover. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165
(Fed. Cir. 2006). Moreover, as Petitioner notes, and Patent Owner does not
dispute, a scratch resistant material could be employed in fabricating the
cover. Pet. Reply 33; PO Sur-reply 23. The record does not support the
premise that the possibility of scratches alone would have dissuaded a
person of ordinary skill in the art from the proposed modification, to achieve
the benefits identified by Petitioner.
        For the foregoing reasons, we are persuaded by Petitioner’s
contentions.




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  vii.“[f] a handheld computing device in wireless communication with the
      physiological sensor device, wherein the handheld computing device
                                   comprises”

Petitioner’s Contentions

      Petitioner contends that the combination of, inter alia, Aizawa and
Inokawa teaches a sensor device that is in wireless communication with a
base device through its LEDs, wherein that base device is connected further
to a PC. Pet. 24, 54; see, e.g., Ex. 1006 ¶ 15 (“a transmitter for transmitting
the measured pulse rate data to a display for displaying the pulse rate data”);
Ex. 1008 ¶¶ 75 (sensed physiological information is transmitted from the
sensor to the base device and, further, “[t]he base device 17 . . . transmits
this information to the PC 59”), 76, 77.
      Petitioner also contends that Mendelson-2006 discloses a body-worn
pulse oximetry system including a sensor module, a receiver module, and a
PDA. Pet. 26; see, e.g., Ex. 1010, 1–2 (describing system), Fig. 1 (sensor
attached to skin), Fig. 3 (PDA). Petitioner contends that signals are
wirelessly transmitted to the PDA through a receiver module. Pet. 26–28;
Ex. 1010, 2. Petitioner contends that wireless transmission to a PDA, as
discussed in Mendelson-2006, provides advantages such as offering “a low-
cost touch screen interface,” and “more effective medical care.” Pet. 27–28;
Ex. 1010, 3–4.
      Petitioner contends that a person of ordinary skill in the art “would
have also found it obvious to implement the physiological sensor device
resulting from the combined teachings of Aizawa, Inokawa, and Ohsaki as
part of a physiological measurement system including a handheld computing
device, and to enable the physiological sensor device to communicate

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wirelessly with the handheld computing device,” to obtain the advantages
taught by Mendelson-2006. Pet. 25, 25–30, 41 n.5; Ex. 1003 ¶¶ 88–97, 125–
128.

Patent Owner’s Arguments

       Patent Owner disputes Petitioner’s contentions. Patent Owner argues
that Petitioner’s proposed combination is rooted in hindsight and results in a
more complicated system. PO Resp. 58, 59. Specifically, Patent Owner
characterizes Petitioner’s combination as
       (1) eliminat[ing] Aizawa’s existing transmitter so the resulting
       device will not require “a separate RF circuit”; (2) chang[ing]
       Aizawa’s structure to add a second LED to transmit data using a
       base station, which would also require that a user remove the
       sensor before any data transfer can occur and thus eliminate the
       ability to display data in real-time; and then (3) add[ing] back in
       a separate communications circuit to the base station based on
       Mendelson 2006 so that the base station can send data to a PDA
       with a touch screen display.
Id. at 58–60 (citing, e.g., Ex. 2004 ¶ 114). Patent Owner further argues that
such a modification eliminates the desired real-time monitoring employed by
Mendelson-2006. Id. 58–59 (citing Ex. 2004 ¶¶ 113, 115).8

Analysis

       As discussed above in Section II.D.5.iii, we determine that Petitioner
demonstrated sufficiently that a person of ordinary skill in the art would
have found it obvious to modify Aizawa to include an additional LED to,
inter alia, allow for wireless transmission of sensed pulse rate and motion

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 We do not address Patent Owner’s argument that Mendelson-2006 does not
disclose a “multi-emitter/multi-detector sensor” because Mendelson-2006 is
not relied upon for such limitations. See supra § II.D.iii, iv.
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data to a base device. We further noted that although Aizawa discloses
transmission of data for display (Ex. 1006 ¶¶ 15, 35), Aizawa is silent as to
how the data is transmitted or displayed. In light of the combination with
Inokawa, therefore, Aizawa’s multiple LEDs would have allowed wireless
transmission of data to a base device. See, e.g., Ex. 1008 ¶ 76 (“[V]ital sign
information stored in the memory 63, such as pulse and body motion, is
transmitted to the base device 17 using the S-side infrared LED 23 of the
pulse sensor 1 and the B-side PD 45 of the base device 17.”).
        Inokawa further discloses that the base device, once it receives
information from the sensor, “transmits this information to the PC 59.” Id.
¶¶ 75, 67, 77. As described by Dr. Kenny, “the physiological sensor
device’s sensor component transmits physiological measurement data to an
included base station via an optical communications interface, and the
physiological sensor device’s base station transmits signals responsive to a
physiological parameter to a computer, via a network interface.” Ex. 1003
¶ 81.
        With this backdrop, we are persuaded by Petitioner’s contention that it
would have been obvious to implement the physiological sensor device
resulting from the combined teachings of Aizawa, Inokawa, and Ohsaki as
part of a physiological measurement system that includes a handheld
computing device. Indeed, Aizawa and Inokawa already teach the
desirability of transmitting sensed data to, e.g., a computer or a display,
although neither discloses further detail. See, e.g., Ex. 1006, 15; Ex. 1008
¶ 75; see also Ex. 1047 ¶ 56 (Aizawa is silent). In light of these teachings,
we credit Dr. Kenny’s testimony that transmitting sensed data wirelessly to a
handheld computing device, as taught by Mendelson-2006, would have

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achieved the identified benefits of, e.g., providing a low-cost display with a
simple user interface and easy activation of functions and the ability to
provide more effective medical care (Ex. 1003 ¶¶ 93–95). See, e.g., id.
¶¶ 88–97, 125–128; Ex. 1047 ¶ 79. We are also persuaded that this would
have been within the skill level of an ordinary artisan and would have
achieved predictable results. Ex. 1003 ¶ 96.
      We do not agree with Patent Owner’s characterization of the proposed
combination. Petitioner does not propose “(1) eliminat[ing] Aizawa’s
existing transmitter . . . (2) chang[ing] Aizawa’s structure to add a second
LED to transmit data using a base station . . .; and then (3) add[ing] back in a
separate communications circuit to the base station.” Contra PO Resp. 58–
59; Ex. 1047 ¶ 77. As discussed above, Petitioner proposes that the system
suggested by, inter alia, Aizawa and Inokawa—which includes a sensor in
communication with a base device, and which contemplates additional
communication from the base device to a PC—further includes a handheld
computing device in wireless communication with that system. In other
words, Petitioner’s proposed combination effectively replaces or
supplements Inokawa’s PC 59 with a PDA, such as that taught by
Mendelson-2006. Thus, in Petitioner’s proposed combination, physiological
data is sensed by Aizawa’s sensor, transmitted to a base device through an
additional LED, as taught by Inokawa, and further transmitted to, inter alia,
a PDA, as taught by Mendelson-2006. See, e.g., Pet. 24–30; see also id. at
41 n.5 (describing the proposed combination as, inter alia, adding
“Inokawa’s base station to Aizawa’s physiological sensor device such that
the sensor device includes a sensor and a base station with which the sensor
communicates and through which the sensor communicates with a handheld

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device”). Indeed, both Aizawa and Inokawa expressly contemplate
transmission to an additional computing device (see, e.g., Ex. 1006, 15;
Ex. 1008 ¶ 75); Petitioner’s proposed modification merely states that such
transmission occurs wirelessly to a handheld device. The record supports
this contention.
      We have considered Dr. Madisetti’s testimony, but it is based on the
same mischaracterization put forth by Patent Owner. Ex. 2004 ¶¶ 112
(mischaracterizing the combination), 114 (same). Notwithstanding this
misrepresentation of the proposed modification, Dr. Madisetti does not
dispute Dr. Kenny’s testimony that wireless transmission to a handheld
computing device would have achieved the identified benefits, such as a
low-cost device that improves medical care. See id. ¶¶ 112–118. As such,
we credit Dr. Kenny’s unrebutted testimony.
      Patent Owner and Dr. Madisetti further criticize the combination,
asserting that Mendelson-2006’s wireless transmission exists to allow real-
time monitoring, which is impossible where a sensor must be mounted on a
base device to transfer information through LEDs. Id. ¶ 113; PO Resp. 59.
However, as discussed in Section II.D.iii above, the lack of real-time
measurement and transmission is simply one consideration among many. As
noted in Inokawa, real-time wireless communication has its drawbacks.
Ex. 1008 ¶ 5. We discern that a skilled artisan would have weighed these
competing interests. “[A] given course of action often has simultaneous
advantages and disadvantages, and this does not necessarily obviate
motivation to combine.” Medichem, 437 F.3d at 1165 (citation omitted).




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 viii.     “[g] one or more processors configured to wirelessly receive one or
          more signals from the physiological sensor device, the one or more
         signals responsive to at least a physiological parameter of the user”

         The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes wirelessly transmitting vital physiological information
acquired from a sensor to a PDA, which receives it. Pet. 57–58; see, e.g.,
Ex. 1010, 1, 2 (“The PDA can monitor multiple wearable pulse oximeters
simultaneously and allows medics to collect vital physiological information
to enhance their ability to extend more effective care to those with the most
urgent needs.”), 3 (explaining that the PDA “has sufficient computational
resources for the intended application” and “can also serve to temporarily
store vital medical information received from the wearable unit”), 3 (“The
[PDA’s graphical user interface] also displays the subject’s vital signs,
activity level, body orientation, and a scrollable PPG waveform that is
transmitted by the wearable device.”), Fig. 3 (displaying SpO2 and HR data);
Ex. 1003 ¶¶ 129–132.
         As discussed above, Petitioner’s proposed combination involves
transmission of sensed data from Aizawa’s physiological sensor to a base
device, as taught by Inokawa, and further wireless transmission of that data
from the base station to a handheld computing device, such as a PDA. See
supra §§ II.D.5.iii (transmission to base station accomplished with an
additional LED, as taught by Inokawa), II.D.5.vii (further transmission from
base device to, e.g., a PC and/or PDA, as taught by Mendelson-2006, and
contemplated by Aizawa and Inokawa). In light of these teachings, we are
persuaded by Petitioner’s contention that a person of ordinary skill in the art
“would have found it obvious to configure a processor of the PDA to
wirelessly receive signals from the physiological sensor device” taught by
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the combination of, inter alia, Aizawa, Inokawa, and Mendelson-2006,
wherein “the signals [are] responsive to physiological parameters of the
user.” Pet. 57–58; see, e.g., Ex. 1003 ¶ 132.
       Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
Ex. 1003 ¶¶ 129–132. Patent Owner does not present any argument against
this limitation, apart from the arguments already addressed in Section
II.D.5.vii.

 ix. “[h]–[j] a touch-screen display configured to provide a user interface,
    wherein: the user interface is configured to display indicia responsive to
    measurements of the physiological parameter, and an orientation of the
           user interface is configurable responsive to a user input”

       The cited evidence supports Petitioner’s contention that Mendelson-
2006 describes a PDA with a touchscreen display configured to display
indicia responsive to measurements of, e.g., SpO2 and HR. Pet. 58–61; see,
e.g., Ex. 1010, 3 (“The use of a PDA . . . also provides a low-cost touch
screen interface.”).
       Petitioner acknowledges that “Mendelson-2006 does not explicitly
state that an orientation of the GUI provided by the PDA is configurable
responsive to a user input.” Pet. 60. However, Petitioner contends that a
person of ordinary skill in the art would have understood that “the LabVIEW
software that was used ‘to control all interactions between the PDA and the
wearable unit via [t]he graphical user interface’ included the option to
configure an orientation of a user interface,” e.g., by setting the report
orientation to portrait or landscape view. Id. at 60–61 (alteration in



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original); see, e.g., Ex. 1003 ¶¶ 133–138; Ex. 1027, 186 (“Set the report
orientation—portrait or landscape.”).
         Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to make an orientation
of the PDA’s user interface configurable responsive to a user input, for the
sake of user convenience.” Pet. 61; see, e.g., Ex. 1003 ¶ 138.
         Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
See, e.g., Ex. 1003 ¶¶ 133–138. Patent Owner does not present any
argument against this limitation, apart from the arguments already addressed
in Section II.D.5.vii.

x. “[k] a storage device configured to at least temporarily store at least the
                measurements of the physiological parameter”

         The cited evidence supports Petitioner’s contention that Mendelson-
2006 teaches that the PDA is configured to store vital medical information
received from the wearable pulse oximeter, and that an ordinarily skilled
artisan “would have understood that the vital medical information would
have included measurements of the physiological parameters obtained by the
physiological sensor device (e.g., SpO2 and HR).” Pet. 62; Ex. 1010, 3
(“The PDA can also serve to temporarily store vital medical information
received from the wearable unit.”); Ex. 1003 ¶ 140. Thus, Petitioner
contends that a person of ordinary skill in the art “would have configured a
storage device of the PDA to at least temporarily store measurements of
physiological parameters (e.g., SpO2 and HR).” Pet. 62; see, e.g., Ex. 1003
¶ 139.


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      Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
See, e.g., Ex. 1003 ¶¶ 139–140. Patent Owner does not present any
argument against this limitation, apart from the arguments already addressed
in Section II.D.5.vii.

                    xi. Reasonable Expectation of Success
      Patent Owner argues that Petitioner has failed to demonstrate a
reasonable expectation of success because Dr. Kenny did not perform a
design analysis to create a functional sensor. PO Resp. 61–62. We disagree.
As discussed in detail above, each of Petitioner’s proposed modifications to
Aizawa—whether to include a second emitter, as taught by Inokawa; or to
include a cover with a convex surface, as taught by Ohsaki; or to
communicate with a handheld computing device, as taught by Mendelson-
2006—is rooted in explicit teachings of the prior art, and is supported by
persuasive declarant testimony.
      We credit Dr. Kenny’s testimony that, for each proposed
modification, the combined prior art teachings would have been applied as
known, to achieve predictable results. See, e.g., Ex. 1003 ¶¶ 86 (applying
Inokawa’s teachings would have been “nothing more than the use of a
known technique to improve similar devices in the same way and combining
prior art elements according to known methods to yield predictable results,”
e.g., improving Aizawa’s sensor “to detect and record body motion in
addition to blood flow”), 102 (applying Ohsaki’s teachings would have been
“nothing more than the use of a known technique to improve similar devices
in the same way,” which would “improve adhesion to a subject’s skin and


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reduce variation in the signals detected by the sensor”), 96 (“[A]pplying
Mendelson-2006’s . . . would have led to predictable results without altering
or hindering the functions performed by the sensor.”). For similar reasons
discussed above with respect to each proposed modification, we conclude
that that a skilled artisan would have had a reasonable expectation of
success. See supra § II.D.5.iii, vi, vii–x; Ex. 1003 ¶¶ 79–140.

                                  xii.Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.
                           6. Independent Claim 21
      Independent claim 21 consists of limitations that are substantially
similar to elements [a]–[f] of claim 1. Compare Ex. 1001, 44:51–45:15,
with id. at 46:31–49 (reciting that the convex surface is “located between
tissue of the user and all of the at least four detectors,” instead of “above all
of the at least four detectors” as in claim 1; omitting details of the “handheld
computing device”). In asserting that claim 21 also would have been
obvious over the combined teachings of Aizawa, Inokawa, Ohsaki, and
Mendelson-2006, Petitioner refers to the same arguments presented as to
claim 1. See Pet. 87–89; Ex. 1003 ¶¶ 173–179. Patent Owner relies on the
same arguments discussed above regarding claim 1. PO Resp. 11–61.
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 21 would have been obvious over the cited combination of references.
See supra § II.D.5.


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                     7. Dependent Claims 12, 18, and 29
      Dependent claim 12 ultimately depends from independent claim 1 and
further recites “the protruding convex surface protrudes a height between 1
millimeter and 3 millimeters.” Ex. 1001, 45:65–67.
      Dependent claim 18 ultimately depends from independent claim 1 and
further recites “the protruding convex surface protrudes a height greater than
2 millimeters and less than 3 millimeters.” Id. at 46:23–23. Dependent
claim 29 ultimately depends from independent claim 21 and includes the
same further limitation as claim 18. Id. at 48:14–16.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006 would have
included a cover with a protruding convex surface. See supra § II.D.5.vi.
With respect to claim 12, Petitioner contends that a person of ordinary skill
in the art “would have found it obvious that a device designed to fit on a
user’s wrist would be on the order of millimeters,” consistent with Ohsaki’s
disclosure that the device is in “intimate contact” with the user’s skin.
Pet. 78–79 (citing, e.g., Ex. 1003 ¶¶ 159–160). Petitioner also contends that
an ordinarily skilled artisan would have taken user comfort into account
when establishing the dimensions of the device’s convex cover. Id. With
these considerations in mind, Petitioner contends that, “in order to provide a
comfortable cover featuring a protruding convex surface that prevents
slippage, the surface should protrude a height between 1 millimeter and 3
millimeters,” because “there would have been a finite range of possible
protruding heights, and it would have been obvious to select a protruding
height that would have been comfortable to the user.” Id. (citing, e.g.,
Ex. 1003 ¶ 161). With respect to claims 18 and 29, Petitioner incorporates

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its contentions regarding, inter alia, claim 12. Pet. 87, 93; Ex. 1003 ¶¶ 169,
191.
       Patent Owner argues that none of the cited references disclose the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 63–64 (citing, e.g., Ex. 2004 ¶¶ 121–124). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
65–66.
       Petitioner is correct that, “[w]hen there are a finite number of
identified, predictable solutions, a person of ordinary skill in the art has good
reason to pursue the known options within his or her technical grasp. If this
leads to the anticipated success, it is likely the product . . . of ordinary skill
and common sense.” KSR, 550 U.S. at 398. Petitioner has shown
sufficiently that only a finite number of solutions existed with respect to the
height of a convex protrusion on a tissue-facing sensor, which would have
met the art-recognized goals of both (1) intimate contact between the
sensor’s surface and the user and (2) user comfort. See, e.g., Ex. 1009 ¶¶ 6,
25. Bearing in mind these considerations, we credit Dr. Kenny’s testimony
that it would have been obvious, “in order to provide a comfortable cover
featuring a protruding convex surface that prevents slippage, [that] the
surface should protrude a height between 1 millimeter and 3 millimeters,” as
recited in claim 12, and which further includes the claimed range of 2 to 3
millimeters as recited in claims 18 and 29. Ex. 1003 ¶ 161. Further, the
record does not support that any new and unexpected results were achieved
at the claimed height greater than 2 millimeters and less than 3 millimeters.
       We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of Mendelson-799,

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Ohsaki, Schulz, or Mendelson-2006 teach the claimed range. PO Resp. 63;
Ex. 2004 ¶¶ 122. Petitioner relies upon the knowledge, ability, and
creativity of a person of ordinary skill in the art, not the teachings of a
specific reference. Notably, Dr. Madisetti does not dispute Dr. Kenny’s
position that there were a finite number of options available for the height of
the convex surface. Ex. 2004 ¶¶ 121–124. Therefore, we do not agree that
Petitioner’s contentions are rooted in impermissible hindsight. See, e.g., In
re McLaughlin, 443 F.2d 1392, 1395 (CCPA 1971) (“Any judgment on
obviousness is in a sense necessarily a reconstruction based upon hindsight
reasoning, but so long as it takes into account only knowledge which was
within the level of ordinary skill at the time the claimed invention was made
and does not include knowledge gleaned only from applicant’s disclosure,
such a reconstruction is proper.”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 12, 18, and 29 would have been obvious over the cited combination
of references.
          8. Dependent Claims 2–8, 10, 11, 13, 15–17, and 19–28
      Petitioner also contends that claims 2–8, 10, 11, 13, 15–17, and 19–28
would have been obvious based on the same combination of prior art
addressed above. These challenged claims all depend directly or indirectly
from independent claim 1 or 21. Petitioner identifies teachings in the prior
art references that teach or suggest the limitations of these claims, and
provides persuasive reasoning as to why the claimed subject matter would
have been obvious to one of ordinary skill in the art. Pet. 62–87, 89–93.



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Petitioner also supports its contentions for these claims with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 141–172, 180–191.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claims 1
and 21. PO Resp. 62 (“T]he Petition fails to establish that independent
claims 1 and 21 are obvious in view of the cited references of Ground 1 and
therefore fails to establish obviousness of any of the challenged dependent
claims.”); see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–8, 10, 11, 13, 15–17, and 19–28 would have been
obvious over the combined teachings of Aizawa, Inokawa, Ohsaki, and
Mendelson-2006, for the reasons discussed in the Petition and as supported
by the testimony of Dr. Kenny
                                 9. Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
8, 10–13, and 15–29 would have been obvious over the cited combination of
references.

                E. Obviousness over the Combined Teachings of
              Aizawa, Inokawa, Ohsaki, Mendelson-2006, and Bergey
      Petitioner contends that claim 9 would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, Mendelson-2006, and
Bergey. Pet. 93–96.




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                          Overview of Bergey (Ex. 1016)
      Bergey is a U.S. patent titled “Solid State Watch with Magnetic
Setting,” and discloses a watch in which the electronics are “hermetically
sealed in the watch case to be free of dust and moisture.” Ex. 1016, code
(57). Moreover, the electronic components are “resiliently mounted for
improved shock resistance.” Id.
      Petitioner contends that it would have been obvious to have modified
the sensor of Aizawa-Inokawa-Ohsaki-Mendelson-2006 to hermetically seal
the sensor components within the substrate, wall, and cover, so as to obtain
advantages disclosed by Bergey, e.g., to protect the electronics and prevent
condensation within the case. Pet. 88–89 (citing Ex. 1003 ¶¶ 278–281;
Ex. 1016, code (57), 2:56–67, 8:48–9:34).
                                     Analysis
      Petitioner also contends that claim 9 would have been obvious over
the combined teachings of Aizawa, Inokawa, Ohsaki, Mendelson-2006, and
Bergey. Pet. 93–96. Claim 9 depends indirectly from independent claim 1.
Petitioner identifies teachings in the prior art references that teach or suggest
the limitations of this claim, and provides persuasive reasoning as to why the
claimed subject matter would have been obvious to one of ordinary skill in
the art. Id. Petitioner also supports its contentions for this claim with the
testimony of Dr. Kenny. Ex. 1003 ¶¶ 76–76, 192–196.
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 66 (“Bergey’s alleged disclosure of a hermetically sealed watch does
not fix the deficiencies identified for Ground 1.”); see supra § II.D.



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        We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that claim 9
would have been obvious over the combined teachings of Aizawa, Inokawa,
Ohsaki, Mendelson-2006, and Bergey for the reasons discussed in the
Petition and as supported by the testimony of Dr. Kenny. See, e.g.,
Ex. 1016, 8:48–9:34; Ex. 1003 ¶¶ 192–196.

              F. Obviousness over the Combined Teachings of
           Aizawa, Inokawa, Ohsaki, Mendelson-2006, and Goldsmith
        Petitioner contends that claim 14 would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, Mendelson-2006, and
Goldsmith. Pet. 96–100.
                         Overview of Goldsmith (Ex. 1011)
        Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1011, codes (54),
(57).
        Goldsmith’s Figures 9A and 9B are reproduced below.




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Figure 9A and Figure 9B are respective front and rear views of a combined
watch and controller device. Id. ¶¶ 30–31. As shown in Figure 9A, watch
controller 900 includes housing 905, transparent member 950, display 910,
input devices 925a–c, scroll wheel 930, and wrist band 940. Id. ¶¶ 85–86.
Figure 9B shows rear-side cover 960, and a rear view of housing 905, scroll
wheel 930, and wrist band 940. Id.
      Goldsmith discloses the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. The display is customizable in a variety of
configurations including user-customizable backgrounds, languages, sounds,
font (including font size), and wall papers. Id. ¶¶ 102, 104. Additionally,
the watch controller may communicate with a remote station, e.g., a
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computer, to allow data downloading. Id. ¶ 89 (including wireless). The
remote station may also include a cellular telephone to be “used as a conduit
for remote monitoring and programming.” Id.
                                      Analysis
      Petitioner also contends that claim 14 would have been obvious over
the combined teachings of Aizawa, Inokawa, Ohsaki, Mendelson-2006, and
Goldsmith. Pet. 96–100. Claim 14 depends indirectly from independent
claim 1. Petitioner identifies teachings in the prior art references that teach
or suggest the limitations of this claim, and provides persuasive reasoning as
to why the claimed subject matter would have been obvious to one of
ordinary skill in the art. Id. Petitioner also supports its contentions for this
claim with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 77–78, 197–202.
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 66–67 (“Goldsmith’s alleged disclosure of a watch controller device
with a display does not fix the deficiencies identified for Ground 1.”); see
supra § II.D.
      We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that claim
14 would have been obvious over the combined teachings of Aizawa,
Inokawa, Ohsaki, Mendelson-2006, and Goldsmith for the reasons discussed
in the Petition and as supported by the testimony of Dr. Kenny. See, e.g.,
Ex. 1011 ¶¶ 11, 87, 95, 102; Ex. 1003 ¶¶ 197–202.




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                             III.     CONCLUSION

           In summary:9
         Claims    35 U.S.C. § Reference(s)/          Claims      Claims Not
                                  Basis               Shown         Shown
                                                    Unpatentable Unpatentable
                                    Aizawa,
                                    Inokawa,
    1–8, 10–13,                                     1–8, 10–13,
                       103          Ohsaki,
    15–29                                           15–29
                                    Mendelson-
                                    2006
                                    Aizawa,
                                    Inokawa,
    9                  103          Ohsaki,         9
                                    Mendelson-
                                    2006, Bergey
                                    Aizawa,
                                    Inokawa,
                                    Ohsaki,
    14                 103                          14
                                    Mendelson-
                                    2006,
                                    Goldsmith
    Overall                                         1–29
    Outcome




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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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                             IV.    ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–29 of the ’765 patent have been shown to be
unpatentable; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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